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                    EXHIBIT A
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                            COMMONWEALTH OF MASSACHUSETTS


SUFFOLK, SS.                                                       BUSINESS LffiGATION
                                                                   SESSION OF THE
                                                                   SUPERIOR COURT (BLS)


NAHANT PRESERVATION TRUST, INC., and                           )
its Directors, Officers, Trustees, Comminee Members            )
and/or Volunteers: CHRISTIAN BAUTA, TESS BAUTA,                )
ELIZABETH K. BERMAN, ANNE BROMER,                              )
CANDACE CAHILL, MICHELLE CAPANO, ALICE      )
CORT, MARK CULLINAN, CARL JENKINS, MARILY N )
MAHONEY, WILLIAM MAHONEY, DAN McMACKIN, )
DIANE MONTEITH, ANDREA MURPHY, JEFFREY                         )
                                                                                                      .... '
MUSMAN, PATRICK O'REILY, MARIE ELIZABETH                       )                          c           =
                                                                                                      ..... ;
                                                                                                                  c

                                                                                                      .....
PASINSKI, M.D., ROGER PASINSKI, M.D., VI PATEK,                )
                                                                                          .. .        ...,.,        '

LINDA PI VACEK, EMILY P OTTS, LAURA POULIN,
                                                                                                      .......
                                                               )                          •,
                                                                                                      c:i
P ETER ROGAL, PEGGY SILVA, SUSAN SOLOMON,                      )
                                                                                          -
                                                                                                      c:>
P h.D, PAUL SPIRN, DONNA STEINBERG, and IlM                                                '     ·'


                                                               )                           c�·.

WALSH,                                                         )                           c
                                                                                           -          J>                .)
                                                               )                           �;;'        g
                      Plaintiffs,                              )      CML ACTIOJVJ\10.                 0,
                                                                                                       s=
                                                               )
v.                                                             )
                                                               )
MOUNT V ERNON FIRE INSURANCE                                   )
COMPANY and UNITED STATES LIABILITY                            )
INSURANCE GROUP,                                               )
                                                               )
                      Defendants.                              )
��������-                                                      )

                                               COMPLAINT

       Plaintiffs, by and through their anomey, Law Office of John D. Frumer, submit their Complaint


against the Defendants and state as follows:



      1.       Plaintiff Nahant P reservation Trust, Inc. (hereinafter referred to   as   "NPT" or..'.'.PlainUff"),
                                                                                                  =                     _
                                                                                                                         .
                                                                                                                            ,

                                                                                                            �           -·-
                                                                                                            �

and Christian Bauta, Tess Bauta, Elizabeth K. Berman, Anne Bromer, Candace Cahil!;: Mi                                      ¢helle
                                                                                                                :-D     �
                                                                                                                        ;:::_Dan
                                                                                                                -           lfl
Capano, Alice Cort, Mark Cullinan, Carl Jenkins, Marilyn Mahoney, William Ma®ney
                                                                                                                            ....


McMackin, Diane Monteith, Andrea Murphy, Jeffrey Musman, Paoick O' Reilly, Mari                                 J>EliZ!i_�eth
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                                                     1
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Pasinski, M.D., Roger Pasinski, M.D., Vi Patek, Linda Pivacek, Emily Potts, Laura Poulin, Peter


Rogal, Peggy Silva, Susan Solomon, Ph.D, Paul Spirn, Donna Steinberg, and Jim Walsh (collectively


referred to as "Individual Plaintiffs") ("Plaintiff" and "Individual Plaintiffs collectively referred to as


"Plaintiffs") bring this action for a declaratory judgment, damages for breach of contract on certain


insurance policies issued to Plaintiffs by Defendants, and attorneys' fees for this declaratory judgment


action against Defendant Mount Vernon Fire Insurance Company ("Mount Vernon"), A Member


Company of United States Liability Insurance Group ("USLI") and Defendant USLI (hereinafter


collectively referred to as "USLI").


      2.       Plaintiffs seek a declaration that USLI i s obligated to defend and to indemnify them


under certain insurance policies issued by USLI to Plaintiffs for costs they have incurred and may incur


in the future with regard to the defense of claims asserted against them in the action captioned


Northeastern University v. Nahant Preservation Trust, Inc., et al,    No. MISC 19000390 (Mass. Land


Court, filed August 9, 2019) (hereinafter "Northeastern University Action").


      3.       In addition, Plaintiffs have filed a lawsuit in Massachusetts Superior Court against


Northeastern University (hereinafter "Northeastern"), seeking immediate and permanent injunctive


relief to protect certain land in the Town of Nahant, which action arises from the same facts and


circumstances alleged in the Northeastern University Action. Nahant Preservation Trust, Inc., et al., v.


Northeastern University, No. 1977CV01211 (Mass. Super. Ct., Essex County) ("Nahant Action").


      4.       The   Northeastern University Action and the Nahant Action address the same claims


and arise from the same circumstances and operative facts, and have already been consolidated by the


Massachusetts Courts.    Hereinafter, the consolidated Northeastern University Action and the Nahant


Action will be referred to as "the Consolidated Action."


       5.      Plaintiffs bring this action for declaratory relief seeking an order that USLI is obligated


to defend, to indemnify, and to pay in full, the defense costs and damages which have been, and which


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may be incurred by Plaintiffs, in connection with the Consolidated Action. Plaintiffs also seek, by this


declaratory judgment action, to recover damages for USLI's breach of contract, and to recover


Plaintiffs' attorneys' fees for the prosecution of this declaratory judgment action to determine the


parties' rights and obligations under the four continuous, successive, Non Profit Management Liability


Policies issued to Plaintiffs by USLI without a lapse in coverage, as referenced below.


                                            1HEPARTIES


      6.       Plaintiff NPT is a Massachusetts not-for-profit charitable corporation based in the Town


of Nahant, Massachusetts (hereinafter "Town"). Its mission is to preserve the open spaces, historically


significant properties, and conservation lands of the Town for public and community benefit.


      7.       All . twenty-eight Massachusetts-domiciled Individual Plaintiffs are, or at all relevant


times were, directors, officers, trustees, committee members, and/or volunteers of Plaintiff NPT, and


are defendants in the Consolidated Action.     At all relevant times addressed in this Complaint, the


Individual Plaintiffs resided at the following addresses in the Town of Nahant, County of Essex,


Commonwealth of Massachusetts:


               a.     Christian Bauta is an individual, who resides at 3 Swallow Cave Road;


               b.     Tess Bauta is an individual who resides at 3 Swallow Cave Road;


               c.     Elizabeth K. Berman is an individual who resides at 44 Spring Road;


               d.     Anne Bromer is an individual who resides at 29 Willow Road;


               e.     Candace Cahill is an individual who resides at 20 Rollins Avenue;


               f.     Michelle Capano is an individual who resides at 29 Ocean Street;


               g.     Alice Cort is an individual who resides at 7 Valley Road;


               h.     Mark Cullinan is an individual who resides at 38 Ocean Street;


               i.     Carl Jenkins is an individual who resides at 339 Nahant Road;


               j.     Marilyn Mahoney is an individual who resides at 179 Willow Road;


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                k.    William Mahoney is an individual who resides at 179 Willow Road;


                I.    Dan McMackin is an individual who resides at 20 Rollins Avenue;


                m.    Diane Monteith is an individual who resides at 20 Seabreeze Lane;


                n.    Andrea Murphy is an individual who resides at 8 Wendell Road;


                0.    Jeffrey Musman is an individual who resides at 15 Trimountain Road;


                p.    Patrick O'Reily is an individual who resides at 1 Harris Road;


                q.     Marie Elizabeth Pasinski, M.D. is an individual who resides at 36 Swallow Cave


Road;


                r.    Roger Pasinski. M.D. is an individual who resides at 36 Swallow Cave Road;


                s.    Vi Patek is an individual who resides at 172 Willow Road;


                t.    Linda Pivacek is an individual who resides at 41 Little Nahant Road;


                u.    Emily Potts is an individual who resides at 114 Pond Street;


                v.    Laura Poulin is an individual who resides at 182 Wilson Road;


                w.     Peter Rogal is an individual who resides at 391 Nahant Road;


                x.     Peggy Silva is an individual who resides at 7 Burpee Road;


                y.     Susan Solomon, Ph.D. is an individual who resides at 4 Wendell Road;


                z.     Paul Spirn is an individual who resides at 36 Maolis Road;


                aa.   Donna Steinberg is an individual who resides at 33 Winter Street, and;


                bb.   Jim Walsh is an individual who resides at 33 High Street.


        8.      Upon information and belief, USLI is a corporation organized under the laws of the


State of Delaware, with its principal place of business at 1190 Devon Park Drive, Wayne, Pennsylvania


19087 that sells insurance policies in the Commonwealth of Massachusetts and is licensed to do


business in Massachusetts. USLI issued several Non Profit Management Liability Policies to Plaintiffs,


as will be more specifically described below.


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                                    JURISDICTION AND VENUE


        9.      At all relevant times, USLI had its primary place of business in Pennsylvania. However,

this Court has personal jurisdiction over USLI pursuant to M.G.L. ch. 223A, §§ 3 (a), (b), and (f),

because, upon information and belief, USLI: (1) has transacted business in Massachusetts, (2) is

licensed to do business in Massachusetts, and; 3) contracted with NPT, a not-for-profit Massachusetts

charitable corporation, to issue the Non Profit Management Liability Policies of insurance that are the

subject of this lawsuit.

        10.     Venue is appropriate in the Business Litigation Session for this complex insurance

coverage case, as the Business Litigation Session may handle business litigation cases that arise

anywhere in the Commonwealth and have contacts to venues other than Suffolk County.        See   Superior

Court Administrative Directive No.   17-1   (stating that "A plaintiff may seek acceptance into the BLS

even if venue for an action does not lie in Suffolk County. Although nothing in this Administrative

Directive changes the statutory requirements for venue, because improper venue may be waived, the

BLS Administrative Justice does not consider venue when determining whether to accept case [sic] into

the BLS.").

                    FACTUAL ALLEGATIONS COMMON TO EACH COUNT


                       A.     HISTORY OF THE CONSOLIDATED ACTION


        11.     NPT's mission is, in relevant part, to protect the open spaces, historically significant

properties, and conservation lands of the Town including the approximately 28 acres that comprise the

peninsula of East Point.

        12.     On information and belief, Northeastern owns approximately 20 of the 28 acres of East

Point, which it acquired without payment in   1967.


        13.     Northeastern constructed a Marine Science Center on its East Point property shortly

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after acquiring the 20 acres, and has been operating that Science Center ever since.


       14.     The deed to Northeastern expressly reserves a public easement across Northeastem's


property to the remaining eight acres on East Point. In or about 1975, the Town acquired the remaining


eight acres of land on East Point. In 1989, the Town dedicated that land as Lodge Park, and the Town


has since reiterated its intent that the Lodge Park land remain protected open space.


       15.      Northeastern made a dedication of approximately 12.5 acres of the undeveloped


portions of its property for passive recreation and as an ecological preserve (hereinafter the "Ecological


Preserve").   It is NPT's well-supported position that the Ecological Preserve constitutes natural


resources protected from development under the provisions of Article 97 of the Articles of Amendment


to the Massachusetts Constitution ("Article 97").       Land governed by Article 97 is deemed to be


reserved exclusively for use by the public for passive recreation, open space and other environmental


purposes, and may not be used for any other purposes without the approval of two-thirds of the


members of each house of the Massachusetts State Legislature.


       16.     A person or entity seeking to protect property governed by Article 97 from damage must


first give written notice by certified mail to the Massachusetts Attorney General and all affected parties


at least 21 days before filing a lawsuit or taking other action.   M.G.L. c. 214, § 7A ("Section 7A").


       17.     In 2018, Northeastern publicly proposed to further develop its property by, among other


things, building a new 55,000 square foot building, with ancillary parking and other improvements in


the midst of the Ecological Preserve, and in June of 2019 in furtherance of that plan Northeastern began


cutting down trees and otherwise disturbing the natural habitat of the Ecological Preserve in order to


clear cut an access road through land that NPT believes is protected.


       18.     In response to Northeastern's actions, by letter dated July 23, 2019, NPT, and citizens of


the Town, all of whom are or at all relevant times were directors, officers, trustees, committee


members, and/or volunteers of NPT, gave notice to Northeastern under Section 7A in an effort to


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prevent further damage to the environment of the Article 97 protected property that is the Ecological


Preserve.


        19.      Before the Section 7A 21-day notice period had run, on or about August 9, 2019


Northeastern filed the Northeastern University Action. In its Complaint, Northeastern sought, among


other claims and other monetary relief, a declaratory judgment as to whether its East Point property is


subject to Article 97.


        20.      Effectively as a responsive pleading, on or about August 20, 2019, Plaintiffs filed the


Nahant Action, seeking a declaration that Article 97 has been violated by Northeastern, an injunction to


enforce appropriate environmental regulations, costs of suit, and "such other and further relief as is just


and proper."


        21.      As stated above, the Northeastern University Action and the Nahant Action have been


consolidated. Plaintiffs have incurred, and continue to incur, reasonable and necessary legal fees and


expenses in their defense of the Northeastern University Action as consolidated into the Consolidated


Action. Plaintiffs now seek payment under the Policies for those Defense Costs.


                                  B.   THE INSURANCE POLICIES


        22.      USLI issued four continuous, successive, Non Profit Management Liability Policies to


NPT for the period June 19, 2018-June 19, 2022 without a lapse in coverage (hereinafter "the


Policies").


                 a.      USLI issued Non Profit Management Liability Policy No. ND02557425


("Policy 1") to NPT for the policy period from June 19, 2018 to June 19, 2019 with a limit of liability


of $1,000,000 for each Claim and in the aggregate, and with no retention. A true and correct copy of


that Policy is attached hereto as Exhibit "l."


                 b.      USLI issued Non Profit Management Liability Policy No. ND02557425A


("Policy 2") to NPT for the policy period from June 19, 2019 to June 19, 2020 with a limit of liability


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of $1,000,000 for each Claim and in the aggregate, and with no retention. A true and correct copy of


that Policy is attached hereto as Exhibit "2."


               c.         USU issued Non Profit Management Liability Policy No. ND02557425B


("Policy 3") to NPT for the policy period from June 19, 2020 to June 19, 2021 with a limit of liability


of $1,000,000 for each Claim and in the aggregate, and with no retention. A true and correct copy of


that Policy is attached hereto as Exhibit "3."


               d.         USU issued Non Profit Management Liability Policy No. ND02557425C


("Policy 4") to NPT for the policy period from June 19, 2021 to June 19, 2022 with a limit of liability


of $1,000,000 for each Claim and in the aggregate, and with no retention. A true and correct copy of


that Policy is attached hereto as Exhibit "4."


        23.    Each of the Policies provides coverage for the "Organization"           (i.e., NPT) and for

"Individual Insureds")    (i.e., NPT's directors, officers, trustees, committee members, and/or volunteers).

       24.     Each of the Individual Plaintiffs named above is, or was at all relevant times herein, a


director, officer, trustee, committee member, and/or volunteer of NPT, and is an Individual Insured


under the Policies.


       25.     The Declarations page of each of the Policies defines "Company" as Mount Vernon Fire


Insurance Company, "A Member Company of United States Liability Insurance Group."


        26.    Each of the Policies imposes upon USU a "Duty to Defend" Claims covered under the


Policies.


       27.     The "Duty to Defend" language in Policy 1 at Section I., Insuring Agreement, paragraph


Bin Form D0-100 (04-07) reads: "The Company has the right and duty to defend any Claim to which


this insurance applies, even if the allegations of the Claim are groundless, false or fraudulent."


(emphasis in original).


       28.     Policies 2, 3, and 4 state, in Section III, Defense & Settlement, of Form DO GTC (05-


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17) that "The Company shall have the right and duty to defend any Claim covered by this Policy even


if the allegations are groundless, false or fraudulent." (emphasis in original).


       29.     Policies 2, 3, and 4 define "Claim" in Form DO 100 (05-17) in relevant part as any:


                "1.    written demand for monetary damages or non-monetary relief, including
       injunctive relief:
                 2.    civil proceeding commenced by service of a complaint or similar
       pleading;

                                                 *   *    *   *


       ...received by, or brought or initiated against any insured alleging a Wrongful Act,
       including any appeal therefrom." (emphasis in original).


       30.     Policy 1 defines "Claim" differently than Policies 2, 3, and 4. Policy 1 defines "Claim"


in Form D0-100 (04-07) as follows:


        "'Claim" means:


               (1) Any written demand seeking money damages; or
               (2) Any proceeding initiated against the Insured, including any appeal there
       from, before any governmental body legally authorized to render an enforceable
       judgment or order for money damages or other relief against such Insured alleging that
       the Insured has committed, or is responsible for, a Wrongful Act." (emphasis in
       original).


        31.    A Claim must allege a "Wrongful Act," which Policies 2, 3, and 4 define in relevant part


in Form DO 100 (05-17) as follows:


               "'Wrongful Act' means any:


               1.      actual or alleged act, error, omission, misstatement, misleading statement,
       neglect, or breach of duties;
               2.      Personal Injury Wrongful Act;


        committed or allegedly committed by:
                       a.      the Organization;
                       b.      any Individual Insured, arising solely from duties conducted on
       behalf of the Organization or asserted against an Individual Insured because of 1.
        above; .... (emphasis in original).


       32.     Policy 1 defines "Wrongful Act" in Form D0-100 (04-07) as follows:




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       "'Wrongful Act' means any actual or alleged act, error, omission, misstatement,
       misleading statement, neglect, or breach of duties, or Personal Injury Act
       committed or allegedly committed:
                       (1)     by the Organization;
                       (2)     by the Individual Insureds arising solely from duties conducted
       on behalf of the Organization or asserted against an Individual Insured because of 1.
       above; .... (emphasis in original).


       33.     A "Personal Injury Wrongful Act" as defined in Policies        2,   3, and 4 in Form D0-100


(05/17) means "any actual or alleged false arrest, wrongful detention, malicious prosecution, invasion of


privacy, wrongful entry or eviction, libel, slander or defamation."


       34.     Although the definition of "Personal Injury Act" in Policy 1 is similar to the definition of


"Personal Injury Wrongful Act" that appears in Form D0-100 (05/17) of Policies 2, 3, and 4, Policy 1


does not include false arrest or wrongful detention in its "Personal Injury Act" definition.


       35.     In addition, each of the Policies imposes a duty on USLI to pay Loss and Defense Costs for


covered Claims. "Loss" is defined in Form D0-100 (05/17) in Policies 2, 3, and 4 in relevant part as


follows:


       "Loss means the. amount the Insured becomes legally obligated to pay as a result of a
       Claim, including:


               1.      damages, settlements and judgments;
               2.      pre-judgment and post judgment interest;
               3.      punitive or exemplary damages to the extent such damages are insurable
       under applicable law, statute or regulation;
               4.      the multiplied portion of any multiple damage award to the extent such
       damages are insurable under applicable law, statute or regulation. ....


       For the purpose of determining the insurability of damages in items 3 and 4 above, the
       laws of the jurisdiction most favorable to the insurability of such damages shall control;
       provided that such jurisdiction has a substantial relationship to the relevant Insured or to
       the Claim giving rise to the damages. ...." (emphasis in original).


       36.     The "Loss" definition in Policy 1, Form D0-100 (04-07) is different from the definition


in Policies 2, 3, and 4 in that it does not include "fines, penalties, taxes, the multiplied portion of any


multiple damage award, and other monetary sanctions that are uninsurable by operation of law."



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       37.     "Defense Costs" are defined in Policies     2, 3, and 4, Form DO 100 (05-17) as follows:

               "l.     reasonable and necessary legal fees and expenses incurred by                the
       Company, or by any attorney designated by the Company to defend the Insured; and
                2.     all other fees, costs, costs of attachment or similar bonds (without any
       obligation on the Company's part to apply for or furnish such bonds;


       resulting from the investigation, defense, adjustment, defense and appeal of a Claim.
       Defense Costs does not include Loss or the Insured's salaries, wages, overhead or
       benefits expenses." (emphasis in original).


       38.     In contrast, Policy   1, in Form D0-100 (04-07) defines "Defense Costs" as follows:

       "'Defense Costs' means reasonable and necessary legal fees and expenses incurred by
       the Company, or by any attorney designated by the Company to defend the Insureds,
       resulting from the investigation, adjustment, defense and appeal of a Claim. Defense
       Costs includes other fees, costs, costs of attachment or similar bonds (without any
       obligation on the part of the Company to apply for or furnish such bonds). but does not
       include salaries, wages, overhead or benefits expenses of the Insured." (emphasis in
       original).


       39.     "Policy Period" is defined in Policies   2, 3, and 4, Form DO GTC (05-17) as follows:

       "Policy Period means the period of time from the effective date and time of this Policy
       to the date and time of expiration as shown in the Policy Declarations, or its earlier
       cancellation or termination date.     If the length of the Policy Period is the same as the
       Policy Year, the terms Policy Period and Policy Year are used interchangeably herein."


       40.     "Policy Period," in contrast, is defined in Policy   1, Form D0-100 (04-07) as "the period

from the effective date of this Policy set forth in Item II. of the Policy Declarations, to the expiration


date or the effective date of cancellation or non-renewal date, if any." Exhibit   1 (emphasis in original).

       41.     Each of the four Policies contains a Notice and Claim Reporting Provision that requires


written reporting of Claims (the "Notice Provision").


       42.     The Notice Provision in Policy         1, Form DO 294 (04-14) Section IV. of Amended

Notice/Claim And Circumstance Reporting Provisions, reads in pertinent part:


       "Notice hereunder shall be given in writing to the Company. If mailed, the date of
       mailing of such notice shall constitute the date that such notice was given and proof of
       mailing shall be sufficient proof of notice.


       A.      Written Notice of a Claim:


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       (1) As a condition precedent to exercising any right to coverage under this Policy, an
       Insured shall give to the Company written notice of a Claim, as soon as practicable but:


               (a) if the Policy expires, is cancelled or is non-renewed and if no Extended
       Reporting Period is purchased, no later than sixty (60) days after the expiration date or
       effective date of such cancellation or non-renewal. Coverage for a Claim reported to the
       Company during the sixty (60) day period after expiration, cancellation or non-renewal
       applies only if the Claim is first made against an Insured prior to the Policy expiration
       or effective date of cancellation or non-renewal; or


                      (b) if an Extended Reporting Period is purchased, no later than the last
       day of the Extended Reporting Period; provided that if the Company sends written
       notice to the Parent Organization stating that this Policy is being terminated for
       nonpayment of premium, an Insured shall give to the Company written notice of such
       Claim prior to the effective date of such termination.


       Coverage for a Claim reported to the Company during an Extended Reporting Period
       shall only apply if the Claim arises from a Wrongful Act or Wrongful Employment
       Act committed before the date of the Policy expiration, cancellation or non-renewal."
       (boldface emphasis in original).


       43.     Policies 2, 3 and 4 (Form DO GTC (05-17) contain a different Notice Provision than


Policy 1, with a longer time period for reporting claims. That Notice Provision, found in Section V.,


Notice and Claim Reporting Provisions, reads, in relevant part:


       "Notice hereunder shall be given in writing to the Company. If mailed, the date of
       mailing of such notice shall constitute the date that such notice was given and proof of
       mailing shall be sufficient proof of notice.


       1.      As a condition precedent to exercising any right to coverage under this Policy, the
               Insured shall give to the Company written notice of a Claim as soon as
               practicable after any Chief Executive Officer, Chief Financial Officer, Chief
               Operating Officer, Chairperson, Executive Director, Human Resources Manager,
               In-House General Counsel, Managing Member or Fiduciary of any Plan
               becomes aware of such Claim, however:


                      a.      if the Policy expires, is cancelled or is non-renewed and no
                              Extended Reporting Period is purchased, no later than ninety (90)
                              days after the expiration date or the effective date of such
                              cancellation or non-renewal;
                              or
                      b.      if an Extended Reporting Period is purchased, no later than the last
                              day of the Extended Reporting Period.




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                However, if the Policy is cancelled for non-payment of premium, notice shall be
                provided by the Insured to the Company no later than the effective date of
                cancellation.


        2.      Coverage for a Claim reported to the Company during the automatic 90 day
                period noted in 1. a. above shall only apply if the Claim is first made prior to the
                date of the Policy expiration, cancellation, or non-renewal." (boldface emphasis
                in original).


        44.     The Declaration pages of all four of the Policies provide that "This is a Claims Made


Policy Coverage Form and unless otherwise provided herein. the coverage of this form is limited to


liability for Claims first made during the Policy Period, or the extension period, if applicable."


(underscore emphasis supplied).


        45.     Thus, when these Notice Provisions trigger coverage depends upon how the term


"Policy Period" is defined.


        46.      Policy 1 reads: "Policy Period means the period from the effective date of this Policy


set forth in ITEM II. of the Policy Declarations. to the expiration date or the effective date of


cancellation or non-renewal date. if any." (underscore emphasis supplied; boldface in original).


        47.     Policies 2, 3, and 4 define "Policy Period" in relevant part as "the period of time from


the effective date and time of this Policy to the date and time of expiration as shown in the Policy


Declarations. or its earlier cancellation or termination date." (underscore emphasis supplied; boldface


in original).


        48.     Policies 2, 3 and 4 also contain an Endorsement that changes the effective date of the


Policies, and that extends the time in which a Claim must be reported to trigger coverage.             This


Endorsement appears in Form D0-298 (05/17). The Endorsement is titled "Amendment of Prior or


Pending Litigation Exclusion" (hereinafter "Prior Pending Exclusion Amendment") and is applied


specifically to each Coverage Part of each Policy.


        49.     As applied to the Directors and Officers Coverage Part of each of the Policies, the Prior




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Pending Exclusion Amendment states:


        It is hereby agreed that the Directors and Officers Coverage Part, Section IV.
       EXCLUSIONS, Subsection A., "Prior or Pending Litigation" is deleted and replaced by
       the following:


       Prior or Pending Litigation.           Any litigation, demand, claim, arbitration, decree,
                                              judgment, proceeding, or investigation against any
                                              Insured, or any such action based upon the same or
                                              essentially the same facts, circumstances, matters,
                                              situations, transactions or events underlying or
                                              alleged therein which was pending on or prior to the
                                              effective date of this Policy;


                                              provided that, if this Policy is a renewal of a Policy
                                              previously issued by the Company in a continuous
                                              succession of Policies with no lapses in coverage,
                                              the effective date of this Policy will mean the
                                              effective date of the first Policy issued by the
                                              Company in such succession of Policies.


(emphasis in original).


       50.     The Prior Pending Exclusion Amendment amends the term "Policy Period." The Prior


Pending Exclusion Amendment states that if "[a]ny litigation ... " is pending "on or prior to the effective


date of this Policy," the "effective date of this Policy will mean the effective date of the first Policy


issued by the Company in such succession of Policies" so long as the Policy in effect is "a renewal of a


Policy previously issued by the Company in a continuous succession of Policies with no lapses in


coverage...." (underscore emphasis added; boldface emphasis in original).


       51.     A plain reading of the Prior Pending Exclusion Amendment is that, so long as the


continuous succession of Policies is not broken by a lapse in coverage, a Claim that is first asserted


after the "effective date" of Policy 1 may be reported at any time before the continuous succession of


policies lapses, in order to satisfy the reporting requirement for coverage.


       52.     The Policies use a variety of different, undefined, terms intended to indicate the date on


which the "Policy Period," and thus USLI's coverage obligations, begins.         Those terms include the



                                                    14
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phrases "effective date," "inception date," and "the effective date set forth in ITEM II. of the Policy


Declarations." To the extent that such differences and conflicts in critical wording create an ambiguity


in the meaning of the term "Policy Period," that ambiguity must be strictly construed against USLI.


E.g., Hakim v. Massachusetts Insurers Insolvency Fund, 424 Mass. 275, 281-82, 675 N.E.2d 1161


(Mass. 1997).


       53.      All premiums have been paid for the Policies.


       54.      No Policies have been cancelled or non-renewed by USLI and there is a continuous


succession of Policies issued by USLI with no lapses in coverage.


       55.      Plaintiffs have complied with all applicable conditions precedent and all other material


terms under the Policies, as will be further described below.


       C.       USLI'S BREACHES OF CONTRACT AND DENIALS OF COVERAGE


       56.      NPT's counsel sent a letter to USLI dated July 27, 2021, giving USLI notice of the


Claims asserted by Northeastern in the Northeastern University Action as consolidated into the


Consolidated Action and requesting payment of Plaintiff's Defense Costs. A true and correct copy of


that Notice Letter, complete with attachments, is attached hereto as Exhibit "5."


       57.      By letter dated August 3, 2021, Matthew Rubin, Assistant Vice President of USLI,


responded to Plaintiffs' counsel's July 27, 2021 letter.   Mr. Rubin's letter on behalf of USLI denied


coverage, or any duty of defense or indemnification, for Plaintiffs' claims ("USLI Denial"). A true and


correct copy of USLI's August 3, 2021 denial is attached hereto as Exhibit "6."


       58.      The USLI Denial maintains that, if no Extended Reporting Period is purchased, notice


of a claim shall be given "no later than "sixty (60) days after the expiration date or effective date of


such cancellation or non-renewal" of the policy, or the last day of the Extended Policy period, if one is


purchased.


       59.      The USLI Denial also states that "Coverage for a Claim reported to the Company


                                                   15
            Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 17 of 314



during an Extended Reporting Period shall only apply if the Claim arises from a Wrongful Act or


Wrongful Employment Act committed before the date of the Policy expiration, cancellation or non­


renewal." (emphasis in original). No other grounds for USLI's disclaimer were identified in the USLI


Denial.


          60.   Plaintiffs' counsel responded to the USLI Denial with a letter dated August 6, 2021


("Plaintiffs' Reply").   Plaintiffs' Reply explained that Plaintiffs' Claims were made after the effective


date of the Policy, and within sixty days of its expiration date, because the Prior Pending Exclusion


Amendment changed the effective date of Policy 3 to June 19, 2018, while the expiration date of Policy


4 is June 19, 2022. Thus, Plaintiffs' July 27, 2021 notice letter was timely. A true and correct copy of


Plaintiffs' Reply is attached as Exhibit "7."


          61.   Mr. Rubin responded to Plaintiffs' Reply by e-mail sent on August 25, 2021, stating that


USLI stood by its coverage position that the "Amendment of Prior or Pending Litigation Exclusion"


did not change the effective date or the expiration date of the relevant Policy Period. A true and correct


copy of the relevant e-mail is attached as Exhibit "8."


          62.   Upon information and belief, USLI never attempted to investigate Plaintiffs' Claim or to


address the arguments, based upon the Prior Pending Exclusion Amendment, made by Plaintiffs'


counsel which showed that Notice of Claim had been timely made, given the language of the Policies,


properly read as a whole.


          63.   Each of the four Policies is part of a continuous succession of Policies issued by USLI


with no lapses in coverage.


          64.   Plaintiffs contend that a plain reading of the Prior Pending Exclusion Amendment


changes the effective date of Policy 4, the current USLI Policy, to the effective date of the earliest


Policy issued by USLI, namely, Policy 1, effective date June 19, 2018.


          65.   Plaintiffs contend that a plain reading of the Prior Pending Exclusion Amendment shows


                                                     16
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that it expanded the time periods set forth in the Notice Provision.


          66.   Thus, the Claim first asserted against Plaintiffs in the Northeastern University Action on


or about August 9, 2019 was first made during the Policy Period, subsequent to the effective date, and


Plaintiffs' written Notice of Claim, given on July 27, 2021, was provided before the expiration date of


the Policy Period, June 19, 2022; which is the expiry of current Policy 4.


          67.   Policy 1 does not use the term "effective date" for the date that marks the beginning of a


Policy Period but instead uses the term "inception date." The term "inception date" does not appear in


the notice or reporting provisions in Policies 2, 3, or 4 but is replaced by the term "effective date." To


the extent this change of terms creates an ambiguity in the meaning of the policy language, that


ambiguity must be construed against USLI. E . g ., Hakim v. Massachusetts Insurers Insolvency Fund,


424 Mass. 275, 281-82, 675 N.E.2d 1161(Mass.1997).


          68.   Plaintiffs aver that the meaning of the Prior Pending Exclusion Amendment is clear and


unambiguous and provides coverage for Plaintiffs' claims for coverage in defense of the Consolidated


Action.


       69.      The USLI Denial creates an ambiguity which Plaintiffs do not believe exists, but if it


does then an ambiguity must be construed against USLI and in favor of Plaintiffs.


          70.   If the Prior Pending Exclusion Amendment is not clear and unambiguous, Plaintiffs'


plain reading of the meaning of the Prior Pending Exclusion Amendment should be adopted to provide


coverage for Plaintiffs because where "there is more than one rational interpretation of policy language,


'the insured is entitled to the benefit of the one that is more favorable to it.' " Trustees of Tufts


University v. Commercial Union Ins. Co., 415 Mass. 844, 849, 616 N.E.2d 68 (Mass. 1993).             T his


principle of construction "applies with particular force to exclusionary provisions" such as the Prior


Pending Exclusion Amendment.       E.g., Hakim v. Massachusetts Insurers Insolvency Fund, 424 Mass.


275, 281-82, 675 N.E.2d 1161(Mass. 1997).


                                                    17
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        71.        Plaintiffs have been damaged by the USLI Denial by (1) having to continue to pay for


their own defense and losing the use of that money, and (2) having to pay to litigate the present action


to obtain a declaration of their contractual rights under the Policies.


              D.       INSURANCE COVERAGE FOR THE CONSOLIDATE D ACTION


        72.        The Northeastern University Action as consolidated into the Consolidated Action


alleges, or allegedly involves, a Wrongful Act, and/or a Personal Injury Wrongful Act, by NPT and/or


the Individual Plaintiffs taking place during one or more of the periods covered in the Policies.


        73.        The Policies' definition of "Wrongful Act" includes an "actual or alleged act, error,


omission, misstatement, misleading statement, neglect, or breach of duties," and Northeastern expressly


alleges at least an "actual or alleged act" in its allegations as to NPT's and/or the Individual Plaintiffs'


actions as to the Section 7A Notice.


       74.         A "Personal Injury Wrongful Act" includes "any actual or alleged ... invasion of privacy,


wrongful entry or eviction..." and Northeastern's allegations can be viewed as alleging that NPT's


and/or the Individual Plaii:Jtiffs' actions amount to an invasion of privacy, a wrongful entry, or a de facto


eviction.


       75.         Specifically, in Paragraph 49 of the Northeastern        University Action    Complaint,


Northeastern alleges that NPT and the Individual Plaintiffs advised Northeastern of their intent "to seek


injunctive relief to prevent Northeastern from proceeding with the Project [i.e., the new building in the


Ecological Preserve]." A true and correct copy of the Northeastern University Action Complaint is


attached hereto as Exhibit "9."


       76.    Because the Northeastern University Action Complaint makes explicit allegations of an


"actual or alleged act, error, omission, misstatement, misleading statement, neglect, or breach of


duties," and an "actual or alleged ... invasion of privacy, wrongful entry or eviction ... " the Northeastern


University Action as consolidated into the Consolidated Action alleges Claims that trigger USLI's duty


                                                       18
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to defend under the Policies.


       77.     Plaintiffs have paid, and will continue to pay, substantial defense costs, which USLI is


obligated to pay pursuant to the terms of the Policies.


       78.     USLI must pay on behalf of, or indemnify, Plaintiffs for any and all sums that Plaintiffs


may be legally obligated to pay as damages under the Policies.


       79.     USLI has disputed, and continues to dispute, its obligations to defend Plaintiffs and/or to


pay Plaintiffs' defense costs in connection with the Northeastern University Action as consolidated into


the Consolidated Action, and has also disputed its obligation to pay Plaintiffs' liabilities, if any, arising


from the Northeastern University Action as consolidated into the Consolidated Action.


       80.     USLI's wrongful denial of coverage in and through the USLI Denial and USLI's


continuing failure to acknowledge its obligations under the Policies, thereby breaching its duties and


obligations under the Policies, has damaged, and will continue to damage, Plaintiffs because USLl's


failure has required, and will continue to require, Plaintiffs to expend sums for their defense and to pay


for their liabilities, if any, arising from the Northeastern University Action as consolidated into the


Consolidated Action.


                                                COUNT I
             DECLARATORY JUDGMENT PURSUANT TO M.G.L.                          c.   231A §§ 1-9


       81.     Plaintiffs repeat and re-allege each and every averment contained in paragraphs 1


through 80 of this Complaint with the same force and effect as if set forth herein.


       82.     All premiums owed to USLI for the Policies have been duly and timely paid.


       83.     All conditions precedent to recovery under the Policies have been satisfied or waived.


       84.     No Policy has been cancelled, non-renewed or terminated by USLI and there is a


continuous succession of Policies issued by USLI with no lapses in coverage.


       85.     USLI owes an obligation to defend Plaintiffs and an obligation to reimburse Plaintiffs




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for all defense costs Plaintiffs have incurred, and will incur, by reason of the Northeastern University


Action as consolidated into the Consolidated Action.


       86.     USLI must pay, on behalf of Plaintiffs, all loss that Plaintiffs may become obligated to


pay by reason of liability for damages either by way of settlement, judgment or otherwise, in


connection with the Northeastern University Action as consolidated into the Consolidated Action.


       87.     USLI has expressly denied, and on information and belief will continue to deny, its


contractual obligation to pay Plaintiffs' liabilities, if any, in connection with the Northeastern


University Action as consolidated into the Consolidated Action.

       88.     As a result of USLl's refusal and failure to acknowledge its obligations as set forth in the


foregoing paragraphs, a judicial declaration is necessary to determine Plaintiffs' rights and USLl's


obligations under the Policies regarding the Consolidated Action.


       89.     Pursuant to M.G.L. c. 231A §§ 1-9, Plaintiffs therefore seek a declaration that USLI is


obligated under the Policies: (1) to reimburse Plaintiffs for the costs incurred to date in defending the


Northeastern University Action as consolidated into the Consolidated Action; (2) to pay for costs of

defending the Northeastern University Action as consolidated into the Consolidated Action that will be


incurred in the future, and; (3) to indemnify Plaintiffs in full, to the limits of the Policies, for any and


all loss Plaintiffs may be required to pay as damages in connection with the Northeastern University


Action as consolidated into the Consolidated Action.


                                                COUNT II
                                      BREACH OF CONTRACT


       90.     Plaintiffs repeat and re-allege each and every averment contained in paragraphs 1


through 89 of this Complaint with the same force and effect as if set forth herein.


       91.     The Policies constitute valid contracts between Plaintiffs and USLI. All premiums have


been paid and all conditions precedent to recover under the Policies have been satisfied or waived,




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Plaintiffs are entitled to the benefits of those contracts.


        92.     Northeastern seeks to impose substantial liability on Plaintiffs for damages and/or other


relief through settlement and judgment and/or otheIWise, from the Northeastern University Action as


consolidated into the Consolidated Action.          Plaintiffs have incurred, and will continue to incur,


substantial costs and expenses in defending against the Northeastern University Action as consolidated


into the Consolidated Action.


        93.     USLI has breached its contractual obligations to Plaintiffs under the Policies by failing


to pay the defense costs incurred by Plaintiffs, and by refusing to agree to pay the other costs and


damages described above as they are incurred, as is required pursuant to the terms of the Policies.


        94.     Plaintiffs have been damaged and may continue to be damaged by USLl's breach of its


contractual obligations as aforesaid in the amount of costs, including, but not limited to, defense and


indemnity costs, which Plaintiffs have incurred and may incur, in connection with the Northeastern


University Action as consolidated into the Consolidated Action, which costs should be paid by USLI


under the Policies.


                                                  COUNT III
              ATTORNEYS' FEES PURSUANT TO MASSACHUSETTS CASE LAW


       95.      Plaintiffs repeat and re-allege each and every averment contained in paragraphs 1


through 94 of this Complaint with the same force and effect as if set forth herein.


        96.     As averred above, USLI has breached its contractual obligations to Plaintiffs under the


Policies by failing either to provide Plaintiffs with a defense to the claims asserted against them in the


Northeastern University Action as consolidated into the Consolidated Action, or to pay the defense


costs incurred by Plaintiffs in the Northeastern University Action as consolidated into the Consolidated


Action, and by refusing to agree to pay costs and damages described above as they are incurred, as is


required pursuant to the terms of the Policies.




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       97.     Because Plaintiffs have been forced to initiate this lawsuit to obtain a declaration of their


rights and USLI's obligations under the Policies, and the defense and repayment of defense costs for the


Northeastern University Action as consolidated into the Consolidated Action, Plaintiffs have incurred


attorneys' fees, over and above any attorneys' fees necessary for the defense of the Northeastern


University Action as consolidated into the Consolidated Action, which fees Plaintiffs would not have


had to incur if USLI had honored the terms and USLI's obligations under the Policies.


        98.    Under Massachusetts law, as set forth in the Supreme Judicial Court's decision in


Preferred Mutual Ins. Co. v. Gamache, 426 Mass. 93, 686 N.E. 2d 989 (1997), Plaintiffs are entitled to


payment of their attorneys' fees for the prosecution of this declaratory judgment action in order to make


them whole.


                                        PRAYER FOR RELIEF


       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment as follows:


       1.      That this Court declare all rights and obligations that USLI owes to Plaintiffs under the


Policies;


       2.      That this Court declare that a plain reading of the Policies affords the coverage to


Plaintiffs that Plaintiffs seek. Trustees of Tufts University v. Commercial Union Ins. Co., 415 Mass.


844, 849, 616 N.E.2d 68 (Mass. 1993);


       3.      That this Court declare that if the language of the Policies is ambiguous, that it will


construe the ambiguity in Plaintiffs' favor and thus that the Plaintiffs are entitled to the coverage under


the Policies that they seek. E.g., Hakim v. Massachusetts Insurers Insolvency Fund, 424 Mass. 275,


281-82, 675 N.E.2d 1161 (Mass. 1997); Trustees of Tufts Univ. v. Commercial Union Ins. Co., 415


Mass. 844, 849, 616 N.E.2d 68 (Mass. 1993);


       4.      That this Court determine an_d declare that USLJ is obligated under the Policies to


reimburse Plaintiffs for the costs, including but not limited to attorneys' fees incurred to date in


                                                    22
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defending the Northeastern University Action as consolidated into the Consolidated Action, plus


interest;


          5.      That this Court determine and declare that USLI is obligated under the Policies to


reimburse Plaintiffs for costs, including but not limited to attorneys' fees, of defending the Northeastern


University Action as consolidated into the Consolidated Action which will be incurred in the future;


          6.      That this Court determine and declare that USLI is obligated under the Policies to pay


and indemnify Plaintiffs in full for any and all sums which Plaintiffs may be compelled to pay as


damages with regard to the Northeastern University Action as consolidated into the Consolidated


Action;


          7.      That this Court grant Plaintiffs specific performance of USLI's duty to defend them in


the Northeastern University Action as consolidated into the Consolidated Action, pursuant to the


Policies;


          8.      That this Court order USLI to reimburse Plaintiffs, in accordance with the Policies, for


all damages, costs and payment (whether by judgment, settlement, or otherwise), and all other sums


incurred to date or in the future by Plaintiffs in the Northeastern University Action as consolidated into


the Consolidated Action, including defense costs, which may include but are not limited to, counsel


fees, expert fees, and all costs, and pre-judgment and post-judgment interest if and as applicable;


        9.        That this Court order USLI to reimburse Plaintiffs, in accordance with the Policies, for


any money damages that may be imposed upon Plaintiffs, including, but not limited to, consequential


damages together with pre-judgment and post-judgment interest;


          10.     That this Court order USLI to reimburse Plaintiffs, in accordance with Massachusetts


law, for all litigation costs, including reasonable attorneys' fees, interest, and all other reasonable


expenses for the commencement and pursuit of litigation of this action, Preferred Mutual Ins. Co. v.


Gamache, 426 Mass. 93, 686 N.E. 2d 989 (1997); and


                                                     23
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        lJ.    For such other and fmther .relief as the Comt may deem just and proper.



                                            JUBYDEMAND

        Plaintiffs demand a uial by jury on all counts so triable.


                                                       Respectfully submitted,

                                                       Nahant Prese1vatio11 Trnst, Inc. and
                                                       the Individual Plaintiffs identified
                                                       above


                                                       By their attorney,



                                                           a
                                                      Jft�� �
                                                      BBO# 546695
                                                      Law Office of John D. Prumer
                                                       199 Wells Avenue, Suite 301
                                                      Newton, MA 02459
                                                      Tel: (617) 233-9147
                                                       jdfrnmer@{rumerlaw.com

Dale:    2jI1-12.."'2..                .




                                                     24
      Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 26 of 314




                               CERTIFICATE OF SERVICJ<:




                                                     �
       This is to cc11ify that on this 9th day of March, 2022, l     m ailed   by IJ. S. Postal Service,
postage prepaid. a copy of the foregoing Complaint and Exhibits 1-9. inclusive, to the
Montgomciy. PA Sheri If for scn·icc upon the Dcfondants.          ��\   !


                                                                  J.L._1�
                                                    -
                                                    .I       n D. Frumer
                                                         I

Dated: March 9. 2022
Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 27 of 314




        EXHIBIT

                             1
                    Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 28 of 314
            NEW
                                Mount Vernon Fire Insurance Company
   Renewal of Number
                                 1190 Devon Park Drive, Wayne, Pennsylvania 19087
POLICY DECLARATIONS
                               A Member Company of United States Liability Insurance Group

No. ND02557425


NAMED INSURED AND ADDRESS:

Nahant Preservation Trust
PO Box 30
Nahant, MA 01908




POLICY PERIOD: (MO. DAY YR.)        From:   06/19/2018 To: 06/19/2019                            12:01 A.M. STANDARD TIME AT YOUR
                                                                                                   MAILING ADDRESS SHOWN ABOVE



BUSINESS DESCRIPTION: Non-Profit Directors and Officers

           IN RETURN FOR THE PAYMENT OF THE PREMIUM AND SUBJECT TO ALL THE TERMS OF THIS POLICY WE AGREE

                               WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.




                                                                                                PREMIUM

           Directors And Officers Liability Coverage Part                                        $744.00




                                                      TOTAL:                                     $744.00




Coverage Form(s) and Endorsement(s) made a part of this policy at time of   issue
                                             See Endorsement EOD (1/95)

Agent:      MCGOWAN, DONNELLY & OBERHEU, LLC (1818)                                   Issued:   06/21/2018 10:38 AM
            106 East 6th Street, Suite 520
            Austin, TX 78701

 Broker:
                                                                                By:


                    THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
          _         COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF,
   UPD (08 07)
                    COMPLETE THE ABOVE NUMBERED POLICY.
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                                      EXTENSION OF DECLARATIONS


Policy No. ND02557425                                                        Effective Date:   06/19/2018

                                                                                                       12:01 AM STANDARD TIME

FORMS AND ENDORSEMENTS



     The following forms apply to the Directors And Officers Liability coverage part
     Endt#               Revised                         Description of Endorsements

     D0-100               04107                Coverage Part A. Non Profit Directors and Officers Liability

     D0-201               01/94                Accreditation, Certification, Standard Setting Exclusion Endorsement

     D0-209               01/94                General Professional E & 0 Exclusion Endorsement

     D0-224A              12/13                Abuse/Molestation Exclusion Endorsement

     D0-233               05/95                Builder I Developer Exclusion Endorsement

     D0-283               01/14                Data & Security+ Endorsement

     D0-291               01/11                Excess Benefit Transaction Excise Tax Endorsement

     D0-293               06/13                Amended Lifetime Occurrence Reporting Provision Endorsement

     D0-294               04/14                Amended Notice/Claim And Circumstance Reporting Provisions

     NPPLA                05/12                Non Profit Professional Liability Application

     DO Jacket            09/10                Non Profit Professional Liability Policy

     USL-DOJ              03108                Non Profit Professional Liability Common Conditions




   EOD (01195)                            All other terms and cond1t1ons remain unchanged.                   Page       of   1
                   Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 30 of 314
                           PROFESSIONAL LIABILITY COVERAGE PART DECLARATIONS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425                                                                Effective Date: 06/19/2018
                                                                                                   12:01 AM STANOARD TIME

  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS

      Nahant Preservation Trust
      PO Box 30
      Nahant, MA 01908




  ITEM II. POLICY PERIOD: (MM/DD/YYYY)                From:   06/19/2018 To: 06/19/2019

  Coverage Part A: Non Profit Directors and Officers Liability
      ITEM Ill. LIMITS OF LIABILITY

             a. Non Profit Directors & Officers          $1,000,000         EACH CLAIM

                 b. Non Profit Directors & Officers      $1,000,000         IN THE AGGREGATE




      ITEM IV. RETENTION:                                $0                 EACH CLAIM

      ITEM V. PREMIUM:                                   $744




 Coverage Part B: Employment Practices Liability
       ITEM Ill. LIMITS OF LIABILITY
             a. Employment Practices                      NOT COVERED

             b. Employment Practices

       ITEM IV. RETENTION:                                NOT COVERED

       ITEM V. PREMIUM:                                   NOT COVERED




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.


D0-150 (02/09)                                                                                                   Page   1 Of   2
                 Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 31 of 314
                        PROFESSIONAL LIABILITY COVERAGE PART DECLARATIONS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425                                                          Effective Date:   06/19/2018
                                                                                                12:01 AM STANDARD TIME


  Coverage Part C: Fiduciary Liability
       ITEM I ll. LIMITS OF LIABILITY
              a. Fiduciary Liability              NOT COVERED



       ITEM IV. RETENTION:                        NOT COVERED

       ITEM V. PREMIUM:                           NOT COVERED




       ITEM VI. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
             See Endorsement EOD (01/95)




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.


D0-150 (02/09)                                                                                               Page   2 Of   2
                      Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 32 of 314


                                       UNtTE'O STATE� LIABILll'Y INStJR:A.NCF. GROUP                                                                          USU.COM
                                       � !Qll,,�,1(116 1ilJ"4.ll'MV �-                                                                                    688-523-5545
                                                                                                                    Mount Vernon Fire Insurance Company

Non Profit Professional Liability Application - All States

This Is Bn npplicntion for n clnims mnde poli cy - Please reed your policy carefully. Application for Non Profit Directors & Officers liability Insurance
<Coverage Part Al and Employment PtacUces Uablllty Insurance (OpUonal Coverage Part 8) a nd Fiduciary Uablllty Insurance (Optional)

Now York Disclosure Notice: Under 00 290 NY, DO 281 NY and DO 282 NY, if mado part of your policy, the limits of liability available under this policy n1ay
be completely exhausted by the payment of defense cost!, Defense costs shall be applied against the retention.


 I. INSTANT QUOTE INFORMATION
 Instant QVO?e ts noi availabf& tot accounts with 101�es In the �!I s yea11. II ihere is a lou nistoiv. please complete Sec-Joo 1_ end wbmlt detais 1n a daim supp!cmCril

 Applicant's Name: Nahant Preservation Trust                                                      -         -

 Location Address:         fo f;.Q\I. ?.O                                                                   li:]Same as mailing address or complete section Ill.

 City: Nahant                                                                                 State: MA                                       Zip: 01908

 Web Address:        1.1 �11�....- W-ss£.P-11t:.rr�.e>P<- Email Address of pr1mary contact:                                    }>E:l-l ).)):;,,t-AAfl.   r.> �c.;   tJL 1 r( (..r.>M

    Description of Operations;


        The Nahant Preservation Trust is an all-volunteer, not-for-profit charitable corporatio
I                                                                                                n
        whose mission is to preserve our open spaces, historically significant properties, and
                                                                                               our
        conservation lands for public and community benefit.
                                      -      -- -                                        -


 Tolal Annual Revenue: $162.801                                              (If> $2 million attach the most recent 12-month financial statement)

 If less than 3 years in operation. annual revenue: this year $162.801                                  next year:                               third year:


 Total Fund Balance (Total Assets minus Total               liabilities):    1,810,000


    Full Time Employees: 0                             Part Time: O                           Temporary/Seasonal: 0                                 Volunteers:           Q.c+

 Does the organization perform any operations located outside the U.S.? No                                                                In Existence Since:
                                                                                                                                                                          \9g°i
II. UNDERWRITING INFORMATION

1.     Does the organization have an anti-harassment and anti-discnminatloii policy?                        � S'E � Pr\,.:..(.:       'l-                            0Yes     0No

2.     Does the organization have tax exempt status by the l.R.S.?                                                                                                   0Yes     0No

3.     Ooes the organization have General Lfability Insurance"?                                                                                                     12!Yes    0No

4.     Expiring Information: Carrier       i,!,�"'IA-l           Limits     \M '2,µ.
                                                                                \               Retention       __,).,,.\_.
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                                   (Attach a statement of details for all             "yes"   answers to the following questions)

5.     1s any entity proposed for Insurance Involved in any of the foHowlng:

       a)   Research, development or testing?                                                                                                                       0Yes      [ZJNo

       b)   Certification, accreditation or standard-setting?                                                                                                       Oves      [ZJNo

       c)   Disciplinary actions as a result of peer review activities?                                                                                             0Yes      [ZJNo

       d)   Administration or sponsorship of any insurance programs?                                                                                                 OYes     12JNo

       e)   Lebor/un1on negotiations or collective bargaining?                                                                                                       0Yes     IZJNo

6.     Does the applicant have any chapters or subsidiaries requiring coverage?                                                                                      0Yes     0No




NPPLA 5112- United States Liability Insurance Group                                                                                                           Paga        1   of   2
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      The NPT does not have a spet'ific anti-harassment and anti-discrimination statement but we comply with
      all relevant MA & Federal laws. The NPT is also an IRS, MA Sec of State & MA Attorney General
      approved 501 (c) 3 organization
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COVERAGE PART A. NON PROFIT DIRECTORS AND OFFICERS LIABILITY


NOTICE:     This is a Claims Made Policy.       This Policy only covers those Claims first
made against the Insured during the Policy Period or Extended Reporting Period, if
purchased. Defense Costs shall be applied against the RETENTION.


In consideration of the payment of the premium and reliance upon all statements made
and information furnished to the Company, including the statements made in the
Application and all attachments and materials submitted therewith, and subject to all the
provisions of this Policy, the Company agrees as follows:



I.   INSURING AGREEMENT
A The Company will pay on behalf of the Insured Loss in excess of the RETENTION,
not exceeding the Limit of Liability for which this Coverage Part applies, that the
Insured shall become legally obligated to pay because of Claims first made against the
Insured during the Policy Period or during the Extended Reporting Period, if applicable,
for Wrongful Acts arising solely out of an Insured's duties on behalf of the
Organization.


8. The Company has the right and duty to defend any Claim to which this insurance
applies, even if the allegations of the Claim are groundless, false, or fraudulent.



ll. FULL PRIOR ACTS COVERAGE PROVISION
Coverage shall apply to any Claim made against the Insured for Wrongful Acts arising
solely out of the Insured's duties on behalf of the Organization committed prior to the
expiration date of this Policy, or the effective date of cancellation or non-renewal of this
Policy, provided that the Claim is first made during the Policy Period, or the Extended
Reporting Period if applicable, and written notice of said Claim is reported to the
Company as soon as practicable. There shall be no coverage for any Claim reported to
the Company later than sixty (60) days after the end of the Policy Period or after the
expiration of the Extended Reporting Period, if applicable.


However, coverage shall not apply to any Claim based upon or ansmg out of any
Wrongful Act or circumstance likely to give rise to a Claim of which the person or
persons signing the Application had knowledge, or otherwise had a reasonable basis to
anticipate might result in a Claim, prior to the earlier of:


A. The inception date of this Policy; or


B. The inception date of the first Policy of this type the Company has issued to the
Parent Organization, provided that the Company has written continuous coverage for
the Parent Organization from such date to the inception date of this Policy.




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III. DEFINITIONS
A.    "Application" means:
(I) An application and any material submitted for this Policy and
(2) An application(s), including any material submitted, for all previous Policies issued
by the Company providing continuous coverage until the inception date of this Policy.


The content of (I) and (2) above is incorporated by reference in this Policy as if
physically attached hereto.


B. "Claim" means:
(I) Any written demand seeking money damages; or
(2) Any proceeding initiated against the Insured, including any appeal there from,
before any governmental body legally authorized to render an enforceable judgment or
order for money damages or other relief against such Insured alleging that the Insured
has committed, or is responsible for, a Wrongful Act.


A Claim shall be considered first made when the Insured or its legal representative or
agent first receives notice of the Claim.


C. "Company" means the insurer identified in the Policy Declarations.


D. "Defense Costs" means reasonable and necessary legal fees and expenses incurred by
the Company, or by any attorney designated by the Company to defend the Insureds,
resulting from the investigation, adjustment, defense and appeal of a Claim.         Defense
Costs includes other fees, costs, costs of attachment or similar bonds (without any
obligation on the part of the Company to apply for or furnish such bonds), but does not
include salaries, wages, overhead or benefits expenses of the Insured.


E. "Domestic Partner" means any natural person qualifying as a domestic partner under
the provisions of any applicable federal, state or local law.


F.   "Employee" means any natural person whose labor or service is engaged by and
directed by the Organization while performing duties related to the conduct of the
Organization's business and includes leased, part-time, seasonal and temporary workers,
independent contractors, volunteers and interns.     An Employee's status as an Insured
will be determined as of the date of the Wrongful Act that results in a Claim.


G. "Individual Insureds" means any persons who were, now are, or shall be directors,
trustees, officers, Employees, or committee members of the Organization, including
their estates, heirs, legal representatives or assigns in the event of their death, incapacity
or bankruptcy.


H. "Insured(s)" means the Organization and the Individual Insureds.


I.   "Loss" means damages, settlements, pre-judgment and post judgment interest
awarded by a court and punitive or exemplary damages to the extent such damages are




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insurable under applicable law, but does not include fines, penalties, taxes, the multiplied
portion of any multiple damage award, and other monetary sanctions that are uninsurable
by operation of law.


For the purpose of determining the insurability of punitive damages and exemplary
damages, the laws of the jurisdiction most favorable to the insurability of such damages
shall control, provided that such jurisdiction has a substantial relationship to the relevant
Insured or to the Claim giving rise to the damages.


J.    "Organization" means:
(1) The Parent Organization;
(2) Any Subsidiary of the Parent Organization; or
(3)   Any entity in its capacity as a debtor in possession of (I) or (2) above under the
United States bankruptcy law or equivalent status under the law of any other jurisdiction.


K. "Outside Entity" means any not-for-profit organization that qualifies as such under
Section 501(c) of the Internal Revenue Code of 1986 (as amended).


L. "Parent       Organization"    means   the   entity named in ITEM I.      of the Policy
Declarations.


M. "Personal Injury Act" means any actual or alleged malicious prosecution, invasion
of privacy, wrongful entry or eviction, libel, slander or defamation.


N. "Policy Period" means the period from the effective date of this Policy set forth in
ITEM II    .   of the Policy Declarations, to the expiration date or the effective date of
cancellation or non-renewal date, if any.


0. "Subsidiary"       means any nonprofit entity which is more than 50% owned or
controlled by the Parent Organization as of the effective date of this Policy and 1s
disclosed as a subsidiary in an Application to the Company.


A non profit entity formed or acquired after the effective date of this Policy is a
Subsidiary if:
(I) its assets total less than 25% of the total consolidated assets of the Parent
Organization at the time of formation or acquisition; and
(2) the formation or acquisition with full particulars about the new Subsidiary has been
disclosed to the Company by the Parent Organization as soon as practicable but no
later than the expiration date of the Policy, or effective date of cancellation or non­
renewal of this Policy.


Any non profit entity formed or acquired after the effective date of this Policy whose
assets total more than 25% of the total consolidated assets of the Parent Organization or
any for profit entity formed or acquired after the effective date of this Policy is a
Subsidiary only if:




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(1) the     Parent   Organization   provides written notice      to the   Company      of such
Subsidiary as soon as practicable, but not later than sixty (60) days of the formation or
acquisition of the Subsidiary; and
(2)   the Parent Organization provides the Company with such information as the
Company may deem necessary to determine insurability of the Subsidiary; and
(3)   the   Parent   Organization   accepts   any   special   terms,   conditions,   exclusions,
limitations or premium imposed by the Company; and
(4)   the Company, at its sole discretion, agrees to insure the Subsidiary.


A Subsidiary which is sold or dissolved:
(I) after the effective date of this Policy and which was an Insured under this Policy; or
(2)   prior to the effective date of this Policy and which was an Insured under a prior
Policy issued by the Company;


shall continue to be an Insured, but only with respect to Claims first made during this
Policy Period or Extended Reporting Period, if applicable, arising out of Wrongful Acts
committed or allegedly committed during the time the entity was a Subsidiary of the
Parent Organization.


P. "Wrongful Act" means any actual or alleged act, error, omission, misstatement,
misleading statement, neglect or breach of duties, or Personal Injury Act committed or
allegedly committed;
(I) by the Organization; or
(2)   by the Individual Insureds arising solely from duties conducted on behalf of the
Organization or asserted against an Individual Insured because of (I) above.


It is further agreed that the same Wrongful Act, an interrelated series of Wrongful Acts
or a series of similar or related Wrongful Acts by one or more Insureds shall be deemed
to be one Wrongful Act and to have commenced at the time of the earliest Wrongful
Act.



IV. EXCLUSIONS
The Company shall not be liable to make payment for Loss or Defense Costs in
connection with any Claim made against the Insured arising out of, directly or indirectly
resulting from or in consequence of, or in any way involving:


A. Any actual or alleged bodily injury, sickness, humiliation, mental anguish, emotional
distress, assault, battery, disease or death of any person, or damage to or destruction of
any tangible property including any resulting loss of use. This exclusion shall not apply
to Claim for humiliation, mental anguish or emotional distress resulting from any Claim
from a Personal Injury Act;


B. Any dishonest, fraudulent or criminal Wrongful Act by the Insured, however, this
exclusion shall not apply unless and until a final adjudication or judgment is rendered
against the Insured as to this conduct;




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C. Any of the Insureds gaining any profit, remuneration or advantage to which the
Insured was not legally entitled provided, however, this exclusion shall not apply unless
and until a final adjudication or judgment is rendered against the Insured as to this
conduct;


D. The actual, alleged or threatened discharge, dispersal, release or escape of smoke,
vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or gases, noise, waste
materials, or other irritants, contaminants or pollutants into or upon land, the atmosphere
or any water course or body of water, whether or not such actual, alleged or threatened
discharge, dispersal, release or escape is sudden, accidental or gradual in nature, or any
cost or expense arising out of any request, demand, or order that the Insured or others
test for, monitor, clean up, remove, contain, treat, detoxify or neutralize any pollutants;


E. Any radioactive, toxic or explosive properties of nuclear material which includes, but
is not limited to, source material, "special nuclear material", and "by product material" as
those terms are defined in the Atomic Energy Act of 1954 and any amendments thereto
and any similar provisions by any federal, state or local statutory or common law;


F.    Any pension, profit sharing, welfare benefit or other employee benefit program
established in whole or in part for the benefit of any Individual Insured, or based upon,
arising out of or in any way involving the Employee Retirement Income Security Act of
1974 (or any amendments thereof or regulations promulgated there under) or similar
provisions of any federal, state or local statutory law or common law;


G. Any Claim by, at the behest of, or on behalf of the Organization and/or any
Individual Iusured; provided that this Exclusion shall not apply to:
(I)   any derivative action on behalf of, or in the name or right of the Organization, if
such action is brought and maintained totally independent of, and without the solicitation,
assistance, participation or intervention of, any of the Insureds; or
(2)   a Claim that is brought and maintained by or on behalf of any Individual Insured
for contribution or indemnity which is part of or results directly from a Claim which is
otherwise covered by the terms of this Policy;


H. Any actual or alleged: refusal to employ; termination of employment; employment
related coercion, demotion, evaluation, reassignment, discipline, workplace conditions,
false imprisonment, defamation, harassment, humiliation, or discrimination of
employment; other employment-related practices, policies, acts or omissions; or sexual
harassment by the Insured against any person(s) or entity; or negligence involving any of
the foregoing;


it being understood that this Exclusion applies whether the Insured may be held liable as
an employer or in any other capacity and to any obligation to contribute with or
indemnify another with respect to such Claim;




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l.   Any Claims made against the Insured based upon, arising out of, or in any way
involving any actual or alleged discrimination, including but not limited to discrimination
based on religion, race, creed, color, sex, age, marital status, sexual preference,
pregnancy, handicap or disability;


J.   For actual or alleged liability of the Insured under any express contract or agreement;
provided, however, this exclusion shall not apply to any Claim against an Individual
Insured;


K. Any pending or prior litigation, administrative or regulatory proceeding, claim,
demand, arbitration, decree, or judgment of which the Insured had written notice before
the effective date of this Policy; or any fact, circumstance, event, situation, or Wrongful
Act which before the effective date of this Policy was the subject of any notice to an
Insured under any other similar policy of insurance to the Insured; or any future Claims
or litigation based upon the pending or prior litigation or derived from the same or
essentially the same facts, actual or alleged;


provided that, if this Policy is a renewal of a Policy or Policies previously issued by the
Company and if the coverage provided by the Company was continuous from the
effective date of the first such other Policy to the effective date of this Policy, the
effective date of this Policy will mean the effective date of the first Policy under which
the Company first provided continuous coverage to an Insured;


L. The rendering or failure to render medical, psychological or counseling services or
referrals;


M. Any Claim against any Subsidiary or its Individual Insureds for any Wrongful Act
occurring prior to the date that such entity became a Subsidiary or any Wrongful Act
occurring at any time that such entity is not a Subsidiary;


N. The portion of any Claim covered under any other Coverage Part of this Policy;


No Wrongful Act of any Individual Insured nor any· fact pertaining to any Insured
shall be imputed to any other Individual Insured for purposes of determining the
applicability of exclusions B. and C.



V. LIMITS OF LIABILITY AND RETENTION
Regardless of the number of Insureds under this Policy, Claims made or brought on
account of Wrongful Acts or otherwise, the Company's liability is limited as follows:


A. The LIMIT OF          LIABILITY specified in the Policy Declarations as IN THE
AGGREGATE shall be the maximum liability for Loss from all Claims to which this
Coverage Part applies;




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B. The LIMIT OF LIABILITY specified in the Policy Declarations as the Limit for
EACH CLAIM shall be the maximum liability for Loss for each Claim to which this
Coverage Part applies;


C. Defense Costs shall be in addition to the LIMIT OF LIABILITY as shown in the
Policy Declarations, except for when Item G. below applies;


D. Subject to the Limits of Liability provisions stated above, the Company shall be
liable to pay only Defense Costs and Loss in excess of the RETENTION specified in the
Policy Declarations hereof as respects each and every Claim to which the Coverage Part
applies.


E. The Company shall have no obligation to pay any part or all of the RETENTION
specified in the Policy Declarations for any Claim on behalf of an Insured.         If the
Company, at its sole discretion, elects to pay any part or all of the RETENTION, the
Insureds agree to repay such amounts to the Company upon demand;


F.   The RETENTION shall not apply to Loss paid to or on behalf of an Individual
Insured when the Organization has not indemnified an Individual Insured for such
Loss subject to the terms and conditions of Section VII. INDEMNIFICATION/
WAIVER OF RETENTION;


G. The LIMIT OF LIABILITY for the Extended Reporting Period, if applicable, shall be
a part of and not in addition to the LIMIT OF LIABILITY specified in the Declarations;


H. Claims based upon or arising out of the same Wrongful Act, interrelated Wrongful
Acts, or a series of similar or related Wrongful Acts shall be considered a single Claim
and shall be considered first made during the Policy Period or Extended Reporting
Period, if applicable, in which the earliest Claim arising out of such Wrongful Act(s)
was first made and all Loss for such Claims shall be subject to the one Limit of Liability
that applies to such earliest Claim;


I.   The LIMIT OF LIABILITY for this Coverage Part shall apply separately to each
consecutive annual period starting with the beginning of the Policy Period shown in the
Declarations.   If this Policy is issued for a period of more than twelve (12) months but
less than twenty four (24) months or if the Policy Period is extended after issuance, the
Extended Reporting Period will be deemed part of the last preceding annual period for
the purposes of determining the LIMIT OF LIABILITY.



VI. LIFETIME OCCURRENCE REPORTING PROVISION
If the Parent Organization shall cancel or non-renew this Policy for a reason other than
being sold, acquired or bankrupt, each Individual Insured who was not actively serving
on behalf of the Organization at the time of the cancellation or non-renewal, shall be
provided an unlimited extension of time to report any Claim(s) first made against the
Individual Insured after the effective date of such cancellation or non-renewal.




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However, this extension of time to report Claim(s) shall only be afforded in the event
that the Wrongful Act was committed before the date of cancellation or non-renewal,
and no Directors and Officers Liability policy, or policy providing essentially the same
type of coverage, or extended reporting period, is in effect at the time the Claim is made.



VII. INDEMNIFICATION I WAIVER OF RETENTION
Regardless of whether Loss and Defense Costs resulting fi'om any Claim against an
Individual Insured is actually indemnified by the Organization, the RETENTION set
forth in the Policy Declarations shall apply to any Loss and Defense Costs if
indemnification of the Individual Insured by the Organization is legally permissible.
The certificate of incorporation, charter, articles of association or other organizational
documents of the Organization, including by-laws and resolutions, will be deemed to
have been adopted or amended to provide indemnification to the Individual Insured to
the fullest extent permitted by law.


However, if an Individual Insured is not indemnified for Loss and Defense Costs
solely by reason of the Organization's financial insolvency or because indemnification
is not legally permissible, an Individual Insured's RETENTION as stated on the
Declarations for Coverage Part A. Non Profit Directors and Officers Liability, shall be
amended to $0. This change in Retention shall not affect any other terms or conditions of
this Policy.



VIII. SPOUSAL AND DOMESTIC PARTNER EXTENSION
If a Claim against an Individual Insured includes a Claim against the lawful spouse or
Domestic Partner of such Individual Insured solely by reason of (a) such spousal or
Domestic Partner status; or (b) such spouse's or Domestic Partner's ownership interest
in property or assets that are sought as recovery for Wrongful Acts; any Loss which such
spouse or Domestic Partner becomes legally obligated to pay on account of such Claim
shall be deemed Loss which the Individual Insured becomes legally obligated to pay as
a result of the Claim.


All   definitions,   exclusions,   terms   and   conditions   of   this   Policy,   including   the
RETENTION, applicable to any Claim against or Loss sustained by such Individual
Insured shall also apply to this coverage extension.


The extension of coverage afforded by this Section VIII. shall not apply to the extent the
Claim alleges any Wrongful Act, error, omission, misstatement, misleading statement or
neglect or breach of duties by such spouse or Domestic Partner.



IX. EXTENSION FOR OUTSIDE DIRECTORSHIP ACTIVITIES
Subject to the terms, conditions, exclusions and limitations of this Policy, coverage shall
be extended under this Policy for any Claim against any director, officer or trustee of the




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Organization while acting in the capacity of a director, officer or trustee of any Outside
Entity, and performing duties related to the conduct of the Outside Entity's business,
but only if such service is at the written request of the Organization. Coverage under
this Policy does not extend to any Outside Entity or to any other director, officer,
trustee, Employee, temporary worker, volunteer or intern of such Outside Entity. Any
extension of coverage to any director, officer or trustee of the Organization as provided
in this section shall be considered excess of any other indemnity or insurance available to
or the director, officer or trustee under a Policy issued to the Outside Entity in question.
Any payment for Loss under this extension shall reduce the LIMIT OF LIABILITY for
this coverage part as set forth in the Declaration Page.




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           UNITED STATES LIABILITY INSURANCE GROUP
                             WAYNE, PENNSYLVANIA

                 This endorsement modifies insurance provided under the following:

               NON PROFIT DIRECTORS & OFFICERS LIABILITY




   ACCREDITATION I CERTIFICATION I STANDARD SETTING
                           EXCLUSION ENDORSEMENT



In consideration of the premium paid, it is agreed that the Company shall not be liable to
make any payment for Loss or Defense Costs in connection with any Claim made
against any Insured based upon, arising out of, directly or indirectly resulting from, in
consequence of, or in any way involving any certification, accreditation, or standard
setting activities, acts or errors by any Insured.



All other terms and conditions of this policy remain unchanged. This endorsement is a
part of your policy and takes effect on the effective date of your policy unless another
effective date is shown.




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           UNITED STATES LIABILITY INSURANCE GROUP
                             WAYNE, PENNSYLVANIA

                 This endorsement modifies insurance provided under the following:

         NON PROFIT DIRECTORS & OFFICERS LIABILITY



GENERAL PROFESSIONAL ERRORS & OMISSIONS EXCLUSION
                                    ENDORSEMENT




It is hereby agreed that the Company shall not be liable to make any payment for Loss or
Defense Costs in connection with any Claim made against any Insured based upon,
arising out of, directly or indirectly resulting from, in consequence of or in any way
involving liability arising out of any error or omission, malpractice or mistake of a
professional nature committed or alleged to have been committed by or on behalf of the
Insured in the conduct of any of the activities of the Organization.



All other terms and conditions of this policy remain unchanged. This endorsement is a
part of your policy and takes effect on the effective date of your policy unless another
effective date is shown.




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                  This endorsement modifies insurance provided under the following:


                 NON PROFIT DIRECTORS & OFFICERS LIABILITY
                        EMPLOYMENT PRACTICES LIABILITY




        ABUSE/MOLESTATION EXCLUSION ENDORSEMENT

It is agreed:


D0-100 COVERAGE PART A. NON PROFIT DlRECTORS AND OFFICERS
LIABILITY, III. DEFINITIONS, is amended to add the following definition:
        "Abuse or Molestation" means any actual or alleged illicit sexual or physical
        contact or illicit conduct ofany kind, including but not limited to assault, battery,
        improper touching ofany person or:
            I.   actual or alleged illicit filming, photographing, recording, reproducing or
                 in any manner taking or using or disclosing the image ofany person under
                 eighteen (18) years ofage .
            2.   actual or alleged negligence by any Insured in the hiring, supervision,
                 training or management ofa person alleged to have committed an act of
                 "Abuse or Molestation".
            3.   actual or alleged negligence by any Insured in failing to report or failing
                 to report on a timely basis, any actual or alleged act of"Abuse or
                 Molestation".
        which result directly or indirectly in any actual or alleged physical, emotional or
        mental injury to any person.



D0-100, COVERAGE PART A. NON PROFIT DIRECTORS AND OFFICERS
LIABILITY, IV. EXCLUSIONS, is amended to add the following exclusion:
        "Abuse or Molestation".



DO-IOI, COVERAGE PART B. EMPLOYMENT PRACTICES LIABILITY, III.
DEFINITIONS, is amended to add the following definition:
        "Child Abuse or Molestation" means any actual or alleged illicit sexual or
        physical contact or illicit conduct ofany kind, including but not limited to assault,
        battery, improper touching ofany person under the age ofeighteen (18) or:
                 I.   actual o r alleged illicit filming, photographing, recording, reproducing
                      or in any manner taking or using or disclosing the image ofany person
                      under eighteen (18) years ofage.


                 2.   actual or alleged negligence by any Insured in the hiring, supervision,
                      training or management ofa person alleged to have committed an act
                      of"Child Abuse or Molestation".




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               3. actual or alleged negligence by any Insured in failing to report or
                   failing to report on a timely basis, any actual or alleged act of "Child
                   Abuse or Molestation".
       which result directly or indirectly in any actual or alleged physical, emotional or
       mental injury to any person.



DO-IOI, COVERAGE PART B. EMPLOYMENT PRACTICES LIABILITY, Section
III. DEFINITIONS, S. "Third Party Harassment'', is amended to add the following:
       Third Party Harassment does not include any Claim which in whole or part
       involves "Child Abuse or Molestation".



D0-101, COVERAGE PART B. EMPLOYMENT PRACTICES LIABILITY, Section
IV. EXCLUSIONS, is amended to add the following exclusion:
       "Child Abuse or Molestation"




All other terms and conditions of this Policy remain unchanged. This endorsement is a
part of your Policy and takes effect on the effective date of your Policy unless another
effective date is shown.




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               UNITED STATES LIABILITY INSURANCE GROUP
                                 WAYNE, PENNSYLVANIA



                     This endorsement modifies insurance provided under the following:


                   NON PROFIT DIRECTORS & OFFICERS LIABILITY




                 BUILDER I DEVELOPER EXCLUSION ENDORSEMENT


In consideration of the premium paid, it is agreed that the Company shall not be liable to make
any payment for Loss or Defense Costs in connection with any Claim made against any Insured
based upon, arising out of, directly or indirectly resulting from, in consequence of, any Claim
made by or against any builder and/or developer.


All other terms and conditions of this policy remain unchanged. This endorsement is a part of
your policy and takes effect on the effective date of your policy, unless another effective date is
shown below.




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                         This endorsement modifies insurance provided under the following:

                      NON PROFIT DIRECTORS AND OFFICERS LIABILITY


                                          +
                           DATA & SECURITY ENDORSEMENT


Unless otherwise stated herein, the tenns, conditions, exclusions and other limitations set forth in
this endorsement are solely applicable to coverage afforded by this endorsement. This
endorsement is part ofand subject to the provisions of the Policy to which it is attached.


I.   SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS
     The following is a summary of Coverages and Limits ofLiability provided by this
     endorsement.
     COVERAGE                                                                  LIMIT OF LIABILITY

     A. Data Breach Expense                                                    $50,000 each claim
                                                                               $50,000 in the aggregate

     B. Identity Theft Expense                                                 $50,000 each claim
                                                                               $50,000 in the aggregate

     C. Workplace Violence Expense                                             $50,000 each claim
                                                                               $50,000 in the aggregate

     D. Kidnap Expense                                                         $50,000 each claim
                                                                               $50,000 in the aggregate

     In no event shall the Company pay more than $200,000 in any one Policy Period for any
     combination ofClaims for covered expenses shown above. No retention applies to any
     claim or in the aggregate.


II. COVERAGES:
     Words shown in bold shall have the meaning provided in III. DEFINITIONS ofthis
     endorsement or as provided in COVERAGE PART A. NON PROFIT DIRECTORS AND
     OFFICERS LIABILITY, III. DEFINITIONS, as applicable.


     A. Data Breach Expense
        The Company will pay on behalf ofthe Organization up to the Data Breach Expense
        Limit of Liability stated in the schedule above, for reasonable and necessary expenses in
        item I.   -   6 below incurred by the Organization as a result ofa Data Breach. The Data
        Breach must be first discovered by an Insured during the Policy Period and reported to
        the Company during the Policy Period but in no event later than sixty (60) days after the
        Data Breach is first discovered by an Insured. The expenses below must be incurred
        within one(!) year of the reporting ofsuch Data Breach:
         1.   Development ofa plan to assist the Organization in responding to a Data Breach;
        2.    Data analysis or forensic investigation to assess the scope ofa Data Breach;
        3.    The development, printing and mailing of legally required notification letters to those
              affected by a Data Breach;



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      4.   Development of a website link for use by the Organization in communicating with
           persons affected by a Data Breach after legally required notification letters are sent;

      5.   Development of a customer relationship management system for use by the
           Organization in communicating with persons affected by a Data Breach after
           legally required notification letters are sent;

      6.   Public relations services or crisis management services retained by the Organization
           to mitigate the adverse affect on the Organization's reputation with customers,
           investors and employees resulting from a Data Breach that becomes public and only
           after legally required notification letters are sent.
      The Organization must first report the Data Breach to the Company and use a service
      provider of the Company's choice prior to incurring any of the above costs. The Data
      Breach must first occur during the Policy Period.
   B. Identity Theft Expense

      The Company will pay on behalf of a Director or Officer of the Organization up to the
      Identity Theft Expense Limit of Liability stated in the schedule above, for expenses,
      services or fees noted in item 1. - 3. below incurred by such Director or Officer after he
      or she has become a victim ofldentity Theft. The Identity Theft must be first
      discovered by an Insured during the Policy Period and reported to the Company during
      the Policy Period but in no event later than sixty (60) days after the Identity Theft is first
      discovered by an Insured. The expenses below must be incurred within one (1) year of
      the reporting of such Identity Theft:
      1.   Credit monitoring services provided by a vendor of the Company's choice for the
           affected Director or Officer for up to one year following an Identity Theft;

      2.   Additional application fees paid by a Director or Officer whose loan(s) were rejected
           based on incorrect credit information resulting from an Identity Theft;

      3.   Notary fees, certified and overnight mail expenses paid by a Director or Officer in
           connection with reporting an Identity Theft to financial institutions, credit bureaus
           and agencies and Jaw enforcement authorities.
      Any Director or Officer of the Organization who is a victim ofldentity Theft must first
      report the Identity Theft to the Company and use a service provider of the Company's
      choice prior to incurring any of the above expenses, services or fees. The Identity Theft
      must first occur during the Policy Period. In no event shall the Company's total Policy
      Period payment under this coverage be more than the per claim or aggregate limit shown
      on the Policy Declarations

   C. Workplace Violence Expense
      The Company will reimburse the Organization, up to the Workplace Violence Expense
      Limit of Liability stated in the schedule above, for the following reasonable costs paid by
      the Organization for a period of thirty (30) days following, and as a result of, a
      Workplace Violence Act:
      1.   Counseling services rendered to Employees and persons on the Organization's
           Premises directly affected by a Workplace Violence Act. The counseling services
           must be rendered by a licensed, professional counselor of the Organization's choice.




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        2. Services rendered by an independent public relations consultant of the
             Organization's choice for the purpose of mitigating the adverse affect ofa
             Workplace Violence Act on the Organization.

        To be covered, the Workplace Violence Act must occur during the Policy Period and be
        reported to the Company during the Policy Period but in no event later than sixty (6 0)
        days after the occurrence.
     D. Kidnap Expense

        The Company will reimburse the Organization, up to the Kidnap Expense Limit of
        Liability stated in the schedule above, for the following reasonable costs paid by the
        Organization as a result ofa Kidnapping occurring during the Policy Period and
        reported to the Company during the Policy Period but in no event later than sixty (6 0)
        days after the occurrence.
        1. Retaining an independent negotiator or consultant to facilitate the release ofa
             Kidnapping victim. Nothing herein shall obligate the Company to recommend,
             select, retain or arrange for the retention of such independent negotiator or consultant;

        2. Interest on a loan obtained by the Organization to pay expenses covered under this
             endorsement that is incurred as a result ofa Kidnapping. However, there is no
             coverage for interest accruing prior to thirty   (30) days preceding the date ofsuch
             payment or subsequent to the date the Company pays any portion ofa Kidnap
             Expense or for expenses not covered under this endorsement;
        3. Travel and accommodations incurred by the Organization in direct response to the
             Kidnapping. Nothing herein shall obligate the Company to recommend, select, or
             arrange for such travel and accommodations;
        4. A reward up to $10,000 paid by the     Organization to an informant for information
             which leads to the arrest and conviction ofthe person(s) responsible for the
             Kidnapping;

        5.   The current base salary paid to a Director or Officer ofthe Organization for the
             Director or Officer's work on behalfofthe Organization, who is a victim ofa
             Kidnapping subject to the following:

             (a) salary reimbursement shall commence on the thirty-first     (31'') consecutive day
                after a Kidnapping;
             (b) salary reimbursement shall end when the Director or Officer is released; or is
                confirmed dead; or one hundred and twenty      (120) days after the Director or
                Officer is last confirmed to be alive; or twelve (12) months after the date of the
                Kidnapping, or when the Kidnap Expense Limit of Liability has been exhausted
                by payments made by the Company, whichever occurs first.
        There is no coverage for Kidnap Expense resulting from a Kidnapping planned, carried
        out or participated in, directly or indirectly, by any person who is or was a member ofthe
        victim's family or the Organization.




Ill. DEFINITIONS
     "Data Breach" means the misappropriation or public disclosure, by electronic or non­
     electronic means, by the Organization and without the knowledge of, consent, or



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    acquiescence of the President or member of the Board of Directors or any executive officer,
    of an individual(s) Personally Identifiable Information in the Organization's care, custody
    and control without the authorization or permission of the owner of such information.


"Identity Theft" means        (1) the act of obtaining Personally Identifiable Information      belonging to
 a Director or Officer of the Parent Organization or a Director or Officer of the Parent Organization's
Subsidiary(ies) without that person's authorization, consent or permission; and (2) the use of Personally
Identifiable Information so obtained to make or attempt to make transactions or purchases by
fraudulently assuming that person's identity.


        Identity Theft does not mean any of the above committed directly or indirectly by a Director or
        Officer of the Parent Organization or a Director or Officer of the Parent Organization's
        S ubsidiary(ies) or a family member of a Director or Officer.


   There is no coverage for any Identity Theft Expense unless Personally Identifiable Information
   that is obtained without authorization, consent or permission is used to make or attempt to make
   transactions or purchases by fraudulently assuming the identity of a Director or Officer of the Parent
   Organization or a Director or Officer of the Parent Organization's Snbsidiary(ics).


    "Kidnapping" means an actual or alleged wrongful abduction and involuntary restraint of a
   Director or Officer of the Organization, by one or more persons acting individually or
    collectively in which monetary or non-monetary demands are made to the Organization to
    obtain the Directors or Officers release.


     Personally Identifiable Information means;
             (I) information concerning an individual(s) that would be considered "non-public
             information" within the meaning of Title V of the Gramm-Leach Bliley Act of 1999 (as
             amended) and its implementing regulations including but not limited to Social Security
             numbers or account numbers correlated with names and addresses which is in an Insured's
             care, custody and control; and
             (2) personal information as defined in any U.S. federal, state or local privacy
                    protection law governing the control and use of an individual's personal and confidential
                    information, including any regulations promulgated thereunder; and
              (3)   protected health information as defined by the Health Insurance Portability and
                    Accountability Act of 1996 (Public Law 104-191) ("HIPP A") or the Health
                    Information Technology for Economic and Clinical Health Act of 2009 ("HlTECH")
                    (Public Law 1 I I -   5),   as amended, and any regulations promulgated thereto.
         Personally Identifiable Information does not mean information that is available to the public
              which does not include otherwise protected personal information.


   "Premises" means buildings, facilities or properties leased o r owned by the Organization in
    conducting its operations.
   "Workplace Violence Act" means:
        I.   an actual use of unlawful deadly force, or
        2.   the threatened use of unlawful deadly force involving the display of a lethal weapon,




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  occurring on the Organization's Premises and directed at an Individual Insured, or other
  persons on the Premises of the Organization.
  Where applicable, other terms used in this endorsement shall have the same meaning as
  defined in COVERAGE PART A. NON PROFIT DIRECTORS AND OFFICERS
  LIABILITY.


IV. LIMITS OF LIABILITY AND RETENTION

  The Limit of Liability specified above as in the aggregate shall be the maximum liability for
  all expenses to which the coverage applies.
  The Limit of Liability specified above as the Limit for each claim shall be the maximum
  liability for expenses for each claim to which the coverage applies.
  The maximum Limit of Liability for any expenses provided by this endorsement shall be in
  addition to the LIMIT OF LIABILITY specified in the Declarations IN THE AGGREGATE
  for COVERAGE PART A. NON PROFIT DIRECTORS AND OFFICERS LIABILITY.
  The RETENTION shown on the Policy Declarations shall not apply to the expense coverage
  provided by this endorsement.
  Regardless of the amount of covered expenses incurred by the Organization under this
  endorsement, the maximum Limit of Liability for any one Data Breach, Identity Theft,
  Kidnapping or Workplace Violence Act shall be         $50,000 each   claim and in the aggregate.
  Any one incident, interrelated incidents or series of similar or related incidents for which
  coverage is provided under this endorsement shall be treated as one incident subject to the
  maximum Limit of Liability available under this endorsement at the time the incident(s) is
  first reported to the Company regardless of whether the incident(s) continues and expenses
  are incurred by the Organization in any subsequent Policy Period(s).


V. ADDITIONAL EXCLUSIONS
  The insurance provided by this endorsement does not apply to:
  1.   Expense reimbursement resulting in any Insured gaining any profit, remuneration or
       advantage to which the Insured is not legally entitled.
  2.   Expense(s) arising from any incident(s) of which any Insured had notice before the
       inception date of this Policy; or any fact, circumstance, event, situation or incident which
       before the inception date of this Policy was the subject of any notice under any other
       similar policy of insurance or any future claims for expenses under this Policy based
       upon such pending or prior notice.
  3.   Expenses incurred by any Subsidiary of an Organization occurring prior to the date that
       such entity became a Subsidiary or incurred at any time that such entity is not a
       Subsidiary.

  4.   The portion of any expense(s) covered under this endorsement that is also covered under
       any other coverage part of this Policy.
  5.   Reissuance of credit or debit cards or any other expense not shown in Section II,
       COVERAGES, sub-section A, Data Breach Expense.


VI. COVERAGE LIMITATIONS




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   The following terms, conditions and exclusions in COVERAGE PART A. NON PROFIT
   DIRECTORS AND OFFICERS LIABILITY, do not apply to this endorsement:
   1.   Common Policy Conditions; I. EXTENDED REPORTING PERIOD.
   2.   II. FULL PRIOR ACTS COVERAGE PROVISION.
   3.   IV. EXCLUSION A

   4.   VI. LIFETIME OCCURRENCE REPORTING PROVISION
   5.   VIII. SPOUSAL AND DOMESTIC PARTNER EXTENSION.
   6.   IX. EXTENSION FOR OUTSIDE DIRECTORSHIP ACTIVITIES.
   Otherwise, the terms and conditions of COVERAGE PART A. NON PROFIT DIRECTORS
   AND OFFICERS LIABILITY, shall apply where applicable to give effect to this
   endorsement.




Coverage provided by your Policy and any endorsements attached thereto are amended by this
endorsement where applicable. All other terms and conditions of this Policy remain unchanged.
This endorsement is a part of the Parent Organization's Policy and takes effect on the effective
date of the Parent Organization's Policy unless another effective date is shown.




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               UNITED STATES LIABILITY INSURANCE GROUP
                        WAYNE, PENNSYLVANIA

                    This endorsement modifies insurance provided under the following:

                  NON PROFIT DIRECTORS & OFFICERS LIABILITY


    EXCESS BENEFIT TRANSACTION EXCISE TAX ENDORSEMENT


For purposes ofthis endorsement only, it is agreed:


COVERAGE PART A., 111. DEFINITIONS, I.             "Loss"   is amended to include the following:
   "Loss"  means a ten percent (10%) Excess Benefit Transaction Excise Tax assessed by the
   Internal Revenue Service against any Individual Insured(s) who participated as an
   Organization Manager in connection with an Excess Benefit Transaction.

   "Loss"   does not mean:
       I.   A twenty five percent (25%) Excess Benefit Transaction Excise Tax assessed by the
            Internal Revenue Service against an Individual Insured as a Disqualified Person in
            connection with an Excess Benefit Transaction; or
       2. A two hundred percent (200%) Excess Benefit Transaction Excise Tax assessed by
          the Internal Revenue Service against an Individual Insured as a Disqualified
          Person for failing to correct an Excess Benefit arising out of or resulting from an
            Excess Benefit Transaction.



COVERAGE PART A., Ill. DEFINITIONS is amended by the addition of the following:
       "Excess Benefit Transaction"      means a transaction as defined in Internal Revenue Code,
       Title 26 §4958 (c)(I).
       "Excess Benefit"   means the excess resulting from an Excess Benefit Transaction as
       defined above.
       "Excess Benefits Transaction Excise Tax" is any excise tax imposed by the Internal
       Revenue Service on an Individual Insured who is an Organization Manager as a result
       ofthat Individual Insured's participation in an Excess Benefit Transaction as defined in
       the Internal Revenue Code, Title 26 §4958 (c)(I).
       "Organization Manager"        means a person or persons described in Internal Revenue
       Code, Title 26 §4958(1)(2).
       "Disqualified Person" means a person or persons described in Internal Revenue Code,
       Title 26 §4958(t)( I)(A).


COVERAGE PART A., V. LIMITS OF LIABILITY AND RETENTION is amended by the
addition of the following:
   The maximum Limit ofLiability for Excess Benefit Transaction Excise Tax Claims
   covered by the endorsement shall be part ofand not in addition to the LIMIT OF LIABILITY



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   specified in the Declarations as IN THE AGGREGATE and shall not exceed the lesser of
   such limit or $20,000. Defense Costs as provided above shall be part of and not in addition
   to the LIMIT OF LIABILITY.




All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
the Parent Organization's Policy and takes effect on the effective date of the Parent
Organization's Policy unless another effective date is shown.




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             UNITED STATES LIABILITY INSURANCE GROUP
                                 WAYNE, PENNSYLVANIA


                     This endorsement modifies insurance provided under the following:


            NON PROFIT PROFESSIONAL LIABILITY POLICY


 AMENDED LIFETIME OCCURRENCE REPORTING PROVISION
                                        ENDORSEMENT




It is hereby agreed that:

COVERAGE PART A. NON PROFIT DIRECTORS AND OFFICERS LIABILITY, VI.
LIFETIME OCCURRENCE REPORTING PROVISION is deleted in its entirety and
replaced with the following:


If the   Parent Organization shall cancel or non-renew this Policy for a reason other than
being sold, acquired or bankrupt, each director, officer,
                                                        Employee or conunittee member
who did not serve as such at the time of the cancellation or non-renewal, shall be
provided an unlimited extension of time to report any           Claim(s) first made against such
person after the effective date of such cancellation or non-renewal.


However, this extension of time to report         Claim(s) shall only be afforded in the event
that:
    A. the      Wrongful Act was conunitted before the date of cancellation or non-renewal;
          and
    B. the person was a director, officer,  Employee or committee member during the
          Policy Period of a Policy issued by the Company, provided the Company has
          written continuous coverage for the Parent Organization from the effective date
          of the first Policy to the date of cancellation or non-renewal of this Policy; and
    C. no Directors and Officers Liability policy, or policy providing essentially the
          same type of coverage, or extended reporting period, is in effect at the time the
          Claim is made.

COVERAGE PART B. EMPLOYMENT PRACTICES LIABILITY, Section VI.
LIFETIME OCCURRENCE REPORTING PROVISION is deleted in its entirety and
replaced with the following:


If the   Parent Organization shall cancel or non-renew this Policy for a reason other than
being sold, acquired or bankrupt, each director or officer who did not serve as such at the
time of the cancellation or non-renewal, shall be provided an unlimited extension of time
to report any     Claim(s) first made against such person after the effective date of such
cancellation or non-renewal.




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However, this extension of time to report Claim(s) shall only be afforded in the event
that:
    A. the Wrongful Employment Act was committed before the date of cancellation or
        non-renewal; and
    B. the person was a director or officer during the Policy Period of a Policy issued by
        the Company, provided the Company has written continuous coverage for the
        Parent Organization from the effective date of the first Policy to the date of
        cancellation or non-renewal of this Policy; and
    C. no Directors and Officers Liability or Employment Practices Liability policy, or
        policy providing essentially the same type of coverage, or extended reporting
        period, is in effect at the time the Claim is made.




All other terms and conditions of this Policy remain unchanged. This endorsement is a
part of the Parent Organization's Policy and takes effect on the inception date of the
Parent Organization's Policy unless another inception date is shown.




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                       This endorsement modifies insurance provided under the following:

                     NON PROFIT DIRECTORS & OFFICERS LIABILITY


         Amended Notice/Claim And Circumstance Reporting Provisions

It is agreed:


I. INSURING AGREEMENT, A. ofCOVERAGE PART A. NON PROFIT DIRECTORS AND
OFFICERS LIABILITY is deleted in its entirety and replaced by:
        A.      The Company will pay on behalfofthe Insnred, Loss in excess ofthe Retention not
             exceeding the Limit ofLiability shown on the policy Declarations for which this
             coverage applies that the Insured shall become legally obligated to pay because of
             Claims first made against the Insured during the Policy Period or during any
             Extended Reporting Period, ifapplicable, for Wrongful Acts arising solely out ofan
             Insured's duties on behalfofthe Organization. Such Claim must be reported to the
             Company in accordance with Section IV. NOTICE/CLAIM REPORTING
             PROVISIONS ofthe COMMON POLICY CONDITIONS.


II. FULL PRIOR ACTS COVERAGE PROVISION ofCOVERAGE PART A. NON PROFIT
DIRECTORS AND OFFICERS LIABILITY is deleted in its entirely and replaced by:
        Coverage shall apply to any Claim made against an Insured for Wrongful Acts arising
        solely out ofthe Insured's duties on behalfofthe Organization committed prior to the
        expiration date ofthis Policy or the effective date ofcancellation or non-renewal ofthis
        Policy, ifapplicable, provided that the Claim is first made during the Policy Period, or
        Extended Reporting Period, ifapplicable. Such Claim must be reported to the Company
        in accordance with IV. NOTICE/CLAIM REPORTING PROVISIONS ofthe COMMON
        POLICY CONDITIONS.


        However, coverage shall not apply to any Claim based upon or arising out ofany
        Wrongful Act or circumstance likely to give rise to a Claim of which the person or
        persons signing the Application bad knowledge or otherwise had a reasonable basis to
        anticipate might result in a Claim, prior to the earlier of:
        A. the inception date ofthis Policy; or
        B. the inception date ofthe first Policy ofthis type the Company has issued to the
             Parent Organization, provided that the Company bas written continuous coverage
             for the Parent Organization from such date to the inception date ofthis Policy.


I EXTENDED REPORTING PERIOD, A. ofthe COMMON POLICY CONDITIONS is deleted
in its entirety and replaced by:
I.   EXTENDED REPORTING PERIOD
     A. Iftbc policy expires, is cancelled or non-renewed for any reason other than non-payment
        ofpremium, the Parent Organization shall have the right to purchase an Extended
        Reporting Period to report to the Company as soon as practicable during the Extended
        Reporting Period any Claim (s) being first made against an Insured during the twelve
        (12) months, or twenty-four (24) months or thirty six (36) months after the effective date



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        ofsuch expiration, non-renewal or cancellation (depending upon the Extended Reporting
        Period purchased,). For the purpose ofthis section, any change in premium terms or
        terms on renewal shall not constitute a refusal to renew. An Extended Reporting Period
        shall only apply to a Claim arising from a Wrongful Act or Wrongful Employment Act
        which was committed before the date ofsuch expiration, cancellation or non-renewal.


IV. NOTICE/CLAIM REPORTING PROVISIONS of the COMMON POLICY CONDITIONS
is deleted in its entirety and replaced by:
IV. Notice hereunder shall be given in writing to the Company. Ifmailed, the date of mailing of
   such notice shall constitute the date that such notice was given and proofofmailing shall be
    sufficient proof ofnotice.
   A. Written Notice of a Claim:
        (I) As a condition precedent to exercising any right to coverage under this Policy, an
            Insured shall give to the Company written notice ofa Claim, as soon as practicable
            but:
            (a) ifthe Policy expires, is cancelled or is non-renewed and if no Extended Reporting
                   Period is purchased, no later than sixty (60) days after the expiration date or
               effective date ofsuch cancellation or non-renewal. Coverage for a Claim reported
                   to the Company during the sixty (60) day period after expiration, cancellation or
                non-renewal applies only ifthe Claim is first made against an Insured prior to
                   the Policy expiration or effective date ofcancellation or non-renewal; or
            (b) ifan Extended Reporting Period is purchased, no later than the last day of the
                   Extended Reporting Period;
            provided that ifthe Company sends written notice to the Parent Organization
            stating that this Policy is being terminated for nonpayment ofpremium, an Insured
            shall give to the Company written notice of such Claim prior to the effective date of
            such termination.
        (2) Coverage for a Claim reported to the Company during an Extended Reporting Period
            shall only apply if the Claim arises from a Wrongful Act or Wrongful Employment
            Act committed before the date ofthe Policy expiration, cancellation or non-renewal.
   B.   Written Notice of a Circumstance:
            An Insured shall give to the Company written notice ofa circumstance which could
            reasonably be expected to give rise to a Claim for a Wrongful Act or Wrongful
            Employment Act being made against an Insured as soon as practicable during the
            Policy Period in which an Insured first becomes aware ofthe circumstance.
   C.    Ifwritten notice ofa circumstance which could reasonably be expected to give rise to a
        Claim being made against an Insured for a Wrongful Act or Wrongful Employment
        Act has been given to the Company during the Policy Period, any Claim which is
        subsequently made against an Insured and reported to the Company alleging, arising out
        of, based upon, or attributable to the facts specifically alleged in the reported
        circumstance shall be considered to have been first made at the time such notice ofthe
        circumstance was given to the Company. Coverage for a circumstance reported pursuant
        to this provision applies only ifthe Wrongful Act or Wrongful Employment Act that is
        the subject of the reported circumstance occurs prior to the expiration date or if
        applicable, prior to the effective date ofcancellation or non-renewal ofthe Policy Period




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       in which the circumstance was reported.
   D. Notice ofa circumstance under Section B., above shall include the specific facts ofthe
       actual or alleged Wrongful Act or Wrongful Employment Act including relevant dates
       and identities ofthe persons involved in sufficient detail to allow Company to conduct
       an   investigation.




All other terms and conditions ofthis Policy remain unchanged. This endorsement is part ofthe
Parent Organization's Policy and takes effect on the effective date ofthe Parent
Organization's Policy unless another effective date is shown.




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                                                          NON PROFIT



                                                    PROFESSIONAL



                                                               LIABILITY



                                                                  POLICY

   UNITED STATES LIABILITY
        INSURANCE GROUP
            A   BERKSHIRE HATHAWAY COMPANY
                                                   This policy jacket together with the policy declarations,
                  1190 Devon Park Drive
                                                    coverage forms and endorsements, if any, complete
                 Wayne, PA 19087-2191
                                                                          this policy.
                 888-523-5545 USLl.COM
                             -




                                                     The enclosed declarations designates the issuing
                                                                          company.




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                        NON PROFIT PROFESSIONAL LIABILITY POLICY



                                   Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested.           Where required by law,
 this Policy shall not be valid unless countersigned by a duly authorized representative of the company.

 Secretary                                                        President




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                       UNITED STATES LIABILITY INSURANCE GROUP
                                         WAYNE, PENNSYLVANIA


                            NON PROFIT PROFESSIONAL LIABILITY POLICY
                                       COMMON POLICY CONDITIONS

 Except for the Common Policy Conditions, the terms            C. All premium paid with respect to an Extended
and conditions of each Coverage Part shall apply                  Reporting Period shall be deemed fully
only to that Coverage Part unless otheiwise provided.             earned as of the first day of the Extended
If any provision in these Common Policy Conditions                Reporting Period.
is inconsistent or in conflict with the terms and
conditions of any Coverage Part, the terms and                 D. The Limits of Liability available during the
conditions of such Coverage Part shall control for the            Extended Reporting Period shall not exceed
purposes of that Coverage Part. Any defined term                  the balance of the Limits of Liability available
referenced in these Common Policy Conditions but                  on the expiration date or effective date of the
defined in a Coverage Part shall, for the purposes of             cancellation or non-renewal of the Policy.
coverage under that Coverage Part have the
meaning set forth in that Coverage Part.                       E. Coverage for Claim(s) first received and
                                                                  reported during the Extended Reporting
I. EXTENDED REPORTING PERIOD                                      Period shall be in excess over any other valid
   A.       If the Policy expires, is cancelled or non­           and collectible insurance providing coverage
           renewed for any reason other than non                  for such Claim(s).
         . payment      of    premium,    the    Parent
           Organization shall have the right to              II. DEFENSE AND SETTLEMENT
           purchase an Extended Reporting Period to            A. The Insured shall not demand or agree to
           report any Claim(s) first made against an              arbitration of any Claim without the written
           Insured during the twelve (12) months, or              consent of the Company. The Insured shall
           twenty-four (24) months or thirty-six (36)             not, except at personal cost, make any offer,
           months after the effective date of such                any payment, admit any liability, settle any
           expiration, cancellation or non-renewal                Claim, assume any obligation or incur any
           (depending upon the Extended Reporting                 expense without the Company's written
           Period purchased). An Extended Reporting               consent.
           Period shall only apply to a Wrongful Act or
           Wrongful      Employment Act committed              8.   If a Claim is made against an Insured for
           before the date of such expiration,                      Loss that is both covered and uncovered by
           cancellation or non-renewal. For the purpose             this Policy, the Company will pay one
           of this clause, any change in premium terms              hundred percent (100%) of Defense Costs
           or terms on renewal shall not constitute a               for the Claim until such time that the Limits of
           refusal to renew.                                        Liability of this Policy are exhausted by
                                                                    payment of a covered Loss or the Claim for
    8.    The additional premium for the Extended                   the covered Loss is resolved by settlement,
          Reporting Period shall be 30% of the annual               verdict or summary judgment.
          premium set forth in the Policy Declarations
          for the twelve (12) month period, 75% of the         C. The Company, as it deems expedient, has
          annual premium set forth in the Policy                  the right to investigate, adjust, defend,
          Declarations for the twenty-four (24) month             appeal and, with the consent of the Insured,
          period, and 120% of the annual premium set              negotiate the settlement of any Claim
          forth in the Policy Declarations for the thirty­        whether within or above the Retention. If the
          six (36) month period.         The Extended             Insured refuses to consent to a settlement
          Reporting Period begins on the expiration               recommended by the Company; the
          date or the effective date of cancellation or           Company is not obligated to pay any Loss
          non-renewal of the Policy. The Parent                   or defend any Claim after the Limit of
          Organization must notify the Company in                 Liability has been exhausted by payment of
          writing and must pay the additional premium             Loss. The Company's obligation to the
          due above no later than thirty (30) days after          Insured for Defense Costs and Loss
          the effective date of such expiration,                  attributable to such Claim(s) shall be limited
          cancellation or non-renewal.                            to:


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       (a) The amount of the covered Loss in                              In the event payment of Loss is due under this
             excess of the Retention which the                            Policy but the amount of such Loss exceeds the
             Company would have paid in settlement                       remaining available Limit of Liability specified in
             at the time the Insured first refused to                    the Policy Declarations, the Company will:
             settle;
       (b) Plus covered Defense Costs incurred up                        (a) first pay such Loss on behalf of the
             to the date the Insured first refused to                          Individual lnsured(s) for which coverage is
             settle;                                                           provided under Section I. Insuring
       (c) Plus seventy five percent          (75%) of                         Agreement; then
             covered Loss and Defense Costs in                           (b) to the extent of any remaining amount of the
             excess of the first settlement amount                             Limit of Liability available after payment
             recommended by the Company to which                               under (a) above, pay such Loss on behalf of
             the Insured did not consent.                                      the     Organization        for   which        coverage          is
       It is understood that payment of (a), (b) and                           provided         under       Section           I.      Insuring
       (c) above, is the limit of the Company's                                Agreement.
       liability under this Policy on any Claim in
       which the Insured fails or refuses to consent                   IV. NOTICE/ CLAIM REPORTING PROVISIONS
       to the Company's settlement                                        Notice hereunder shall be given in writing to the
       recommendation, subject at all times to the                       Company. If mailed, the date of mailing of such
       Limits of Liability and Retention provisions of                   notice shall constitute the date that such notice
       the applicable coverage section. The                              was given and proof of mailing shall be sufficient
       remaining twenty five percent          (25%)      of Loss         proof of notice.
       and Defense Costs in excess of the amount
       referenced in (a) and (b) above shall be the                      A.    As a condition precedent to exercising any
       obligation of the Insured.                                              right    to    coverage     under       this        Policy,    the
                                                                               Insured shall give to the Company written
  D.   The Insured agrees to cooperate with the                                notice of a Claim as soon as practicable, but:
       Company on all Claims, and provide such                                 (1)   if the Policy expires, is cancelled or is
       assistance and information as the Company                                     non-renewed and if no Extended
       may reasonably request.                      Upon         the                 Reporting Period is purchased, no later
       Company's request, the                 Insured          shall                 than    60 days after the expiration date or
       submit to examination and interrogation by a                                  the effective date of such cancellation or
       representative of the Company, under oath if                                  non-renewal; or
       required,        and     shall     attend      hearings,                (2)   if an Extended Reporting Period is
       depositions and trials and shall assist in the                                purchased, no later than the last day of
       conduct of suits, including but not limited to                                the Extended Reporting Period.
       effecting       settlement,    securing     and        giving
       evidence,        obtaining       the   attendance          of      B.   If written notice of a Claim has been given to
       witnesses, giving written statements to the                             the     Company        pursuant     to        Clause          IV.A.
       Company's representatives and meeting                                   above, then any Claim which is subsequently
       with such representatives for the purpose of                            made against the Insured and reported to
       investigation and/or defense, all of the above                          the Company alleging, arising out of, based
       without charge to the Company.             The                          upon or attributable to the facts alleged in the
       Insured further agrees not to take any action                           Claim for which notice was given or alleging
       which may increase the lnsured's or the                                 any       Wrongful           Act         or          Wrongful
       Company's exposure for Loss or Defense                                  Employment Act which is the same as or
       Costs.                                                                  related to any Wrongful Act or Wrongful
                                                                               Employment Act alleged in the Claim for
  E.   The     Insured        shall     execute    all        papers           which notice was given, shall be considered
       required and shall do everything that may be                            made at the time such notice was given.
       necessary to secure and preserve any rights
       of indemnity, contribution or apportionment                        C.   If during the Policy Period the Insured shall
       which the Insured or the Company may                                    become aware of any circumstances which
       have,     including      the     execution        of    such            could     give rise to a          Claim        being made
       documents as are necessary to enable the                                against the Insured, the Insured shall give
       Company to bring suit in the lnsured's                                  written       notice   to   the    Company              of     the
       name, and shall provide all other assistance                            circumstances          and        the      reasons              for
       and cooperation which the Company may                                   anticipating such a Claim with full particulars
       reasonably require.                                                     as to dates and persons involved.                             Such
                                                                               notice must be given to the Company within
Ill. ORDER OF PAYMENTS                                                         the     Policy   Period.      Any       Claim which              is

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        subsequently made against the Insured and                 and constituting a part of the Policy; (2) those
        reported to the Company as required by the                particulars and statements are material to the
        Policy alleging, arising out of, based upon or            acceptance of the risk assumed by the
        attributable to such circumstances or alleging            Company; and (3) the Policy is issued in
        any      Wrongful      Act     or    Wrongful             reliance   upon      the    truth    of     such
        Employment Act which is the same as or                    representations.
        related to any Wrongful Act or Wrongful
        Employment Act alleged or contained in               B.   Except for material facts or circumstances
        such circumstances, shall be considered                   known to the person or persons signing the
        made at the time such notice of such                      Application,   no     statement    in  the
        circumstances was   first given to the                    Application or knowledge or infoITTlation
        Company.                                                  possessed by an Insured shall be imputed to
                                                                  any other Insured for the purpose of
V. CANCELLATION OR NON-RENEWAL                                    determining the availability of coverage.
   A.   This Policy may be canceled by the Parent
        Organization by either surrender thereof to        Vil. SUBROGATION
        the Company at its address stated in the             In the event of any payment under this Policy, the
        Policy Declarations or by mailing to the             Company shall be subrogated to the lnsured's
        Company      written   notice  requesting            right of recovery therefore against any person or
        cancellation and in either case stating when         entity and the Insured shall execute and deliver
        thereafter   such   cancellation   shall  be         such instruments and papers and do whatever
        effective.    If canceled by the Parent              else is necessary to secure such rights. The
        Organization, the Company shall retain the           Insured shall do nothing to prejudice such rights.
        customary   short   rate   proportion   of   the
        premium.                                           VIII.CHANGES
                                                             Notice to any agent or knowledge by any agent
   B.   The Company may cancel this Policy only in           shall not affect a waiver or change in any part of
        the event of the failure of the Insured to pay       this Policy or stop the Company from asserting
        the premium when due by mailing to the               any right under the terms of this Policy, nor shall
        Parent Organization written notice when,             the teITTls of this Policy be waived or changed
        not less than ten (10) days thereafter, such         except by an endorsement, issued by the
        cancellation shall be effective.                     Company to foITTl a part of this Policy.


   C.   In the event the Company refuses to renew          IX.AUTHORIZATION CLAUSE AND NOTICES
        this Policy, the Company shall mail to the           By acceptance of this Policy, the Insured agrees
        Parent Organization, not less than sixty (60)        that the Parent Organization shall act on behalf
        days prior to the end of the Policy Period,          of all Insureds with respect to the giving and
        written notice of non-renewal. Such notice           receiving of any return premiums that may
        shall be binding on all Insureds.                    become due under the Policy.        Notice to the
                                                             Parent Organization shall be directed to the
   D.   The mailing of notice of cancellation or non­        individual named in the Application, or such
        renewal shall be sufficient notice and the           other person as shall be designated by the
        effective date of cancellation or non-renewal        Parent Organization in writing, at the address of
        stated in any such notice shall become the           the Parent Organization. Such notice shall be
        end of the Policy Period. Delivery of such           deemed to be notice to all Insureds. The Parent
        written notice by the Parent Organization or         Organization shall be the agent of all Insureds
        the Company shall be equivalent to the               to effect changes in the Policy or purchase
        mailing.                                             Extended Reporting Period.

   E.   If the Policy is canceled by the Company,          X. ASSIGNMENT
        earned premium shall be computed pro rata.           Assignment of interest under this Policy shall not
        Premium adjustment may be made at the                bind the Company unless its consent is
        time cancellation is effected, or as soon as         endorsed hereon.
        practicable thereafter.
                                                           XL OTHER INSURANCE
VI. REPRESENTATIONS AND SEVERABILITY                         This Policy shall be excess of and not contribute
   A.   The Insureds represent that the particulars          with other existing insurance, including but not
        and statements contained in the Application          limited to any insurance under which there is a
        are true and agree that (1) those particulars        duty to defend, unless such other insurance is
        and statements are the basis of this Policy          specifically written to be in excess of this Policy.
        and are to be considered as incorporated into

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XII.         TERMS        OF   POLICY    CONFORMED TO           soon as practicable, but not later than thirty (30)
STATUTE                                                         days after the effective date of the Transaction.
       Terms of this Policy which are in conflict with the      The entire premium for this Policy shall be
       statutes of the State wherein this Policy is issued      deemed earned regardless of any Transaction(s)
       are hereby amended to conform to such statutes.          during the Policy Period. In the event of a
                                                                Transaction, the Parent Organization shall have
XIII. CHANGES IN EXPOSURE                                       the right to an offer of coverage by the Company
                                                                for an Extended Reporting Period to report
       If after the Inception Date of this Policy:
                                                                Wrongful Acts or Wrongful Employment Acts

       (1)   the Parent Organization merges into or             occurring prior to the effective date of the

             consolidates with another entity such that the     transaction.
             Parent Organization is not the surviving
             entity; or                                       XIV. ACTION AGAINST THE COMPANY
       (2)   another entity, person or group of entities        A.   No action shall lie against the Company
             and/or persons acting in concert acquires               unless    as   a   condition          precedent   thereto,
             more than fifty percent (50%) of the assets of          there shall have been full compliance with all
             the Parent Organization; or                             of the terms of this Policy, and until the
       (3) another entity, person or group of entities               amount of the lnsured's obligation to pay
             and/or persons acting in concert acquires the           shall have been finally determined either by
             right to elect or select a majority of the              judgment against the Insured after actual
             directors of the Parent Organization; or                trial or by written agreement of the Insured,
       (4)   the Parent Organization sells all or                    the   claimant          or     the     claimant's     legal
             substantially all of its assets,                        representative, and the Company.


       with such events being referred to as a                  B.   Any   person       or    the    legal    representatives
       "Transaction,"                                                thereof who has secured such judgment or
                                                                     written agreement shall thereafter be entitled
       this Policy shall continue in full force and effect           to recover under this Policy to the extent of
       until the expiration date of the policy, or the               the insurance afforded by this Policy.                  No
       effective date of cancellation or non-renewal if              person or entity shall have any right under
       applicable with respect to Wrongful Acts or                   this Policy to join the Company as a party to
   Wrongful Employment Acts occurring before                         any action against the Insured to determine
   the Transaction, but there shall be no coverage                   the   lnsured's          liability,     nor   shall     the
   under this Policy for actual or alleged Wrongful                  Company be impleaded by the Insured or
   Acts or Wrongful Employment Acts occurring                        their legal representatives.   Bankruptcy or
       on and after the Transaction.                                 insolvency of the Insured or their successors
                                                                     in interest shall not relieve the Company of
   The Parent Organization shall give the                            its obligations hereunder.
   Company written notice of the Transaction as




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                 business resource center                                             bizresourcecenter.com




             As a policyholder through USU or Devon Park Specialty, you have access to many services through the
             Business Resource Center that will assist you in growing and protecting your business. Consider the
             following services and associated cost savings when making your decision where to place your insurance!


              HUMAN RESOURCES
             »    Free human resources consultation hotline to be used for personnel issues including harassment and
                 discrimination. the Family and Medical Leave Act. disability, wage and hours regulations and more

             »    Online library with information, forms and articles pertaining to human resources

             »   Discounted human resources management system

             »   Resources for recruiting and training as well as termination and administration




                                                                                                            aa
             PRE-EMPLOYMENT AND TENANT SCREENINGS




@
             »   Discounted background checks, including multi-court criminal database
                 searches. county criminal searches and more (first background check is free)

             »


             »
                 Best practices for performing a background check

                 Discounted tenant and drug screenings and Motor Vehicle Reports (MVRs)                     a•
                                                                                                            Try our cost
             PAYROLL AND TAXES                                                                              savings calculator
                                                                                                            to see how much
             »   Payroll processing and tax services tailored for either a small or large business
                                                                                                            you could save!
             »   Online business tax workshop provided by the Internal Revenue Service (IRS)


             CYBER RISK
             »   Materials about securing personal information and payment card information

             »   Complimentary access to tools and resources that will help you understand your exposure
                 to a data breach and the importance of a response plan

             »   Discounted identity theft monitoring and recovery


             MARKETING
             »   Suggested free and paid services for web marketing for your business, including email campaigns,
                 photo editing, file management and more

             »   Suggested free and paid services for social media platforms. development, management and more

             »   Discounted website package and access to consultants. designers and developers to help in the
                 creation of a website for your business

             »   Suggested free and paid services for building your own website and tracking
                 Search Engine Optimization (SEO)


             SAFET Y
             »   Free on-site safety and occupational health consultation for your business

             »   Free personal credit report

             »   Disaster and emergency preparedness resources

             »   Discounted alcohol safety training for your staff and servers

             »   Youth resources for concussion training, waivers of liability, recognizing the signs and
                 symptoms of child abuse and more




For a full list of vendors, discounts and resources, visit       bizresourcecenter.com.
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In our continuing effort to provide you with excellent claim service, you may now report a claim
and get claim assistance 24 hours a day/7 days a week.




       For claim reporting, call toll free 1-888-875-5231 or visit
              USLl.COM and select the "report a claim" option.


For emergency claims requiring immediate assistance, please use the toll free option. Your call will
be referred to a claims professional who will respond within an hour of your call with direction and
assistance.


Thank you for placing your trust in our company. We pledge to work hard every day to earn
and maintain that trust.




                                                                                               US LI.COM
                                                                                            888-523-5545
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                             0
                   eRis�·o FREE PRIVACY BREACH RISK MANAGEMENT RESOURCES



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                                                                                                                                                    .......


In 2015, according to the Identity Theft Resource Center, more      Key Features of the eRisk Hub® Portal
than 783 breaches were reported and more than 675 million

records were exposed. The eRisk Hub"' portal, powered by
                                                                               Data Breach Calculators - Learn
                                                                       -
                                                                       ---     how to estimate the cost of a breach.
NetDiligence"', is an effective way to combat privacy breaches         ---
                                                                       ---     notification costs and business
and other types of cyber losses.                                       ---     interruption

                                                                               Learning Center - Best practices
 With your USU policy, you will receive                               �        articles, white papers and webinars


                                                                      1111
 instructions on how to access the eRisk Hub®                                  from leading technical and legal
                                                                               experts. Highlighted topics include
 portal and begin using this benefit that is
                                                                               PCI compliance and social
 valued in excess of $1,200 a year!                                            engineering

                                                                               Security Training - Watch videos for
eRisk Hub� is the one-stop shop you need to become educated
                                                                               best practices in security and privacy
and prepared for a privacy breach. This FREE service is available              awareness or download a training
to USLI policyholders.                                                         guide


Using proprietary tools anchored in proven risk management                     Risk Manager Tools -Assists you in
                                                                               managing your cyber risk, including
principals, NetDiligencee provides a full range of enterprise­
                                                                               a self-assessment, a sample website
level information security, e-risk insurability and regulatory                 privacy policy and a tool for HIPAA
compliance assessment and testing services. NetDiligence"'                     compliance

supports and is endorsed by some of the world's largest
                                                                               eRisk Resources -A directory to
                                                                       •
network liability insurance underwriters.                                      quickly find external resources with
                                                                       00      expertise in pre and post-breach
                                                                      •••      disciplines
 HOW TO START USING THIS FREE OFFERING:
      Go to eriskhub.com/usli                                                  Consultation - Breach Coach,
                                                                               HIPAA Coach and Security Coach
      Click "Register Now" to set up a free account
                                                                               available to assist y ou
      Create your own usemame and password; your access

      code is 08451

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                                                                                                                                                                                                        USU.COM
                                                                                                                                                                                                  888-523-5545




 Check Out Your New Employment Practices Liability Risk
 Management Toolkit from PeopleSystems


Free Employment Practices Liability (EPL) Helpline                                                                    Online Human Resources Center
1-888-811-4182                                                                                                       www.peoplesystems.com/USLI
(8 a.m. to 7:30 p.m. Eastern Time)
                                                                                                                     To access the USU policyholder features, click on
                                                                                                                     "Request for client login" and complete with your information. Please
If a human resource consulting firm offered you their time and                                                       take a moment to become familiar with the new PeopleSystems
expertise for free, would you lock their phone number and email                                                      Resource Center's information.
address in a drawer and never call? Of course not! Do you have
                                                                                                                        ,..   Helpline to email your human resource questions: Now you
questions such as:                                                                                                            can email your questions via this web portal.
  •          What are the current federal and state employment laws I need                                              -.    Human resource news center and recent employment law
             to know?
                                                                                                                              changes:The news center keeps you up-to-date with recent
  •          What are "wage and hour" regulations? What does "exempt"                                                         changes in state and federal employment laws and what they
             versus "non-exempt" mean?                                                                                        mean to you as well as pertinent articles on employment issues

  1r-        How should I handle terminating, suspending or warning an                                                        you need to know about.

             employee?                                                                                                  ..    Human resource manual and employment forms: You

  ll>        What type of human resources policies should l have in place?                                                    will find "Best Practices" helpful for handling common human
                                                                                                                              resource issues. Issues may include conducting employee
  •          How should I properly document performance issues and
                                                                                                                              evaluations and understanding employment laws such as
             disciplinary actions in an employee's file?
                                                                                                                              FLSA, FMLA and COBRA.
  r.         What are appropriate and inappropriate questions to ask during
                                                                                                                        ..    Human resource recommendations: You will also find
             an employment interview?
                                                                                                                              sample human resource policies regarding discrimination,
  �          What guidelfnes should I use to investigate a complaint of                                                       harassment, employment at-will and electronic
             discrimination or harassment?                                                                                    communications.


PeopleSystems is just a free phone call or email away!




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        EXHIBIT

                            2
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     ND02557425
                                           ***    RENEWAL CERTIFICATE                  ***
   Renewal of Number
                                     Mount Vernon Fire Insurance Company
POLICY DECLARATIONS
                                         1190 Devon Park Drive, Wayne, Pennsylvania 19087
No. ND02557425A                     A Member Company of United States Liability Insurance Group


NAMED INSURED AND ADDRESS:

NAHANT PRESERVATION TRUST
PO BOX30
NAHANT, MA 01908




POLICY PERIOD: (MO. DAY YR.)             From:   06/19/2019 To: 06/19/2020                  12:01 AM. STANDARD TIME AT YOUR
                                                                                              MAILING ADDRESS SHOWN ABOVE



BUSINESS DESCRIPTION: Non-Profit Directors and Officers

     IN CONSIDERATION OF THE RENEWAL PREMIUM STATED BELOW EXPIRING POLICY NUMBER ND02557425 IS RENEWED

      FOR THE POLICY PERIOD STATED ABOVE PLEASE ATTACH THIS RENEWAL CERTIFICATE TO YOUR EXPIRING POLICY

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.




                                                                                           PREMIUM
           Non Profit Management Liability Coverage Parts                                   $744.00




                                                         T OTAL :                            $744.00




Coverage Form(s) and Endorsement(s) made a part of this policy at time of issue

                                                  See Endorsement EOD (1/95)

 Agent:     MCGOWAN, DONNELLY & OBERHEU, LLC (1818)                                 Issued: 0611912019 1: 05 PM
            2700 Via Fortuna Drive, Suite 145
            Austin, TX 78746

 Broker:
                                                                              By:


                     THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
                     COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF,
   UPC (OB-07)
                     COMPLETE THE ABOVE NUMBERED POLICY.
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                                                EXTENSION OF DECLARATIONS


Policy No. ND02557425A                                                                   Effective Date:     06/19/2019

                                                                                                                       12:01 AM STANDARD TIME

FORMS AND ENDORSEMENTS



      The following forms apply to the Management Liability coverage part
      Endt#                     Revised                              Description of Endorsements


      •DO Jacket                  06/17                   Non Profit Management Liability Policy Jacket

      •D0-100                     05/17                   Directors and Officers Coverage Part

      •D0-201                     05/17                   Accreditation/Certification/Standard Setting Exclusion

      •D0-209                     05/17                   Absolute Professional Liability Exclusion

      *   D0-224A                 05/17                   Sexual Abuse Exclusion

      •D0-233                     05/17                   Builder or Developer Exclusion

      •D0-283                     05/17                   Data and Security Plus Endorsement

      •D0-298                     05/17                   Amendment of Prior or Pending Litigation Exclusion

      *   DO-GTC                  05/17                   General Terms and Conditions




  Endorsements marked with an asterisk(*) have been added to this policy or have a new edition date and are attached with this certificate.

    EOD (01195)                                       All other terms and cond1t1ons remain unchanged.                         Page           of   1
                  Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 75 of 314
                  NON PROFIT MANAGEMENT LIABILITY COVERAGI:: 1-'AR I DECLARATIONS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No. ND02557425A                                                                Effective Date:   06/19/2019
                                                                                                     12:01 AM STANDARD TIME


  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS

      NAHANT PRESERVATION TRUST
      PO BOX 30
      NAHANT, MA 01908




  ITEM II. POLICY PERIOD: (MM/DD/YYYY)               From:   06/19/2019 To: 06/19/2020

  Non Profit Directors and Officers Liability Coverage Part

      ITEM Ill. LIMITS OF LIABILITY

             a.    Non Profit Directors & Officers      $1,000,000         EACH CLAIM

             b. Non Profit Directors & Officers         $1,000,000         IN THE AGGREGATE




      ITEM IV. RETENTION:                               $0                 EACH CLAIM

      ITEM V. PREMIUM:                                  $744

      RETROACTIVE DATE:                                 Full Prior Acts

      PRIOR OR PENDING LITIGATION                       See form D0-298

  Employment Practices Liability Coverage Part
       ITEM Ill. LIMITS OF LIABILITY
             a. Employment Practices                     NOT COVERED

                 b. Employment Practices

       ITEM IV. RETENTION:                               NOT COVERED

       ITEM V. PREMIUM:                                  NOT COVERED




   THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.


D0-150 (02/09)                                                                                                    Page   1 Of   2
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                   NON PROFIT MANAGEMENT LIABILITY             \.,U.   -   �ft.'..:-E PAKT DECLARATlu1�s


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425A                                                           Effective Date: 06/19/2019
                                                                                               12:01 AM STANDARD TIME


  Fiduciary Liability Coverage Part
       ITEM Ill. LIMITS OF LIABILITY
                 a. Fiduciary Liability           NOT COVERED



       ITEM IV. RETENTION:                        NOT COVERED

       ITEM V. PREMIUM:                           NOT COVERED




       ITEM VI. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
             See Endorsement EOD (01/95)




   THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.


D0-150 (02/09)                                                                                               Page   2 Of   2
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                                                      NON PROFIT



                                                  MANAGEMENT



                                                           LIABILITY



                                                              POLICY

   UNITED STATES LIABILITY
         INSURANCE GROUP
          A BERKSHIRE HATHAWAY COMPANY

                                               This policy jacket together with the policy declarations,
               1190 Devon Park Drive
                                                coverage forms and endorsements, if any, complete
              Wayne, PA 19087-2191
                                                                      this policy.
              888-523-5545 - USU .COM

                                                 The enclosed declarations designates the issuing
                                                                   company.




DO Jacket (06-17)                                                                           Page 1 of 2
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                         NON PROFIT MANAGEMENT LIABILITY POLICY



                                   Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested.         Where required by law,
 this Policy shall not be valid unless countersigned by a duly authorized representative of the company.


 Secretary                                                        President




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      Non-Profit Management Liability Policy                    Directors and Officers Coverage Part


      In consideration of payment of the premium and subject to the Policy Declarations, General
      Terms and Conditions, and the limitations, conditions, provisions and all other terms of this
      Coverage Part, the Company and the Insureds agree as follows:


      Words that are in bold have special meaning and are defined in Section III. DEFINITIONS of
      this Coverage Part, or in Section I. DEFINITIONS of the General Terms and Conditions,
      incorporated in or attached to this Coverage Part, as applicable.


I.    INSURING AGREEMENTS


      A. Individual Insured- Non­            The Company will pay, on behalf of an Individual
         Indemnified Coverage                Insured, Loss and Defense Costs resulting from a
                                 I
                                             Claim first made against an Individual Insured during
                                             the Policy Period, or Extended Reporting Period, if
                                             applicable, to the extent such Individual Insured is not
                                             indemnified by the Organization for such Loss and
                                             Defense Costs.


      B. Individual Insured -                The Company will pay, on behalf of the Organization,
         Indemnified Coverage                Loss and Defense Costs resulting from a Claim first
                                             made against an Individual Insured during the Policy
                                             Period, or Extended Reporting Period, if applicable, but
                                             on!y to the extent the Organization indemnifies such
                                             Individual Insured for such Loss and Defense Costs as
                                             permitted or required by law.


      C. Organization Coverage               The Company will pay, on behalf of the Organization,
                                             Loss and Defense Costs resulting from a Claim first
                                             made against the Organization during the Policy
                                             Period, or the Extended Reporting Period, if applicable.


JI.   INDIVIDUAL INSURED- NON-INDEMNIFIED COVERAGE ADDITIONAL LIMIT


      "Dedicated Limit- Insuring             The Company shall pay an additional limit of liability,
      Agreement A"                           not to exceed an aggregate of $1,000,000 per Policy
                                             Period, solely for Loss covered under Section I.
                                             INSURING AGREEMENT, Subsection A. Individual
                                             Insured Non-Indemnified Coverage. This additional
                                             limit of liability shall be paid only after the applicable
                                             Limit of Liability for Individual Insured- Non­
                                             Indemnified Coverage of the Directors & Officers
                                             Liability Coverage Part shown in the Policy
                                             Declarations is completely exhausted by payment of
                                             Loss.



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III.   DEFINITIONS


       Claim                           means any:


                                          1. written demand for monetary damages or non­
                                                monetary relief, including injunctive relief;
                                          2. civii proceeding commenced by service of a
                                                complaint or similar pleading;
                                          3. criminal proceeding commenced by the return of
                                                an indictment;
                                          4. administrative or regulatory proceeding
                                                commenced by the filing of a formal written
                                                notice of charges, notice of violations, notice of
                                                investigation, cease and desist or similar action;
                                          5. arbitration, mediation or other alternative dispute
                                                resolution proceeding in which the Insured is
                                                obligated to participate if the Insured agrees to
                                                participate with the Company's prior written
                                                consent; or
                                          6. other proceeding initiated before any
                                                governmental body which is authorized to render
                                                an enforceable judgment, order for monetary
                                                damages or other relief;


                                                received by, or brought or initiated against any
                                                Insured alleging a Wrongful Act, including any
                                                appeal therefrom.


                                                Claim also means any:


                                          7. written request, first received by an Insured to
                                                toll or waive a statute of limitations relating to a
                                                potential Claim as described in subparagraphs I.
                                                through 6. above.

                                       A Claim shall be deemed made on the earliest of the
                                       date of service upon, or receipt by, any Insured of a
                                       potential Claim as described in subparagraphs I.
                                       through 7. above.


       Defense Costs                   means:


                                           I. reasonable and necessary legal fees and expenses
                                                incurred by the Company, or by any attorney
                                                designated by the Company to defend the
                                                Insured; and



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                                  2. all other fees, costs, costs of attachment or
                                     similar bonds (without any obligation on the
                                      Company's part to apply for or furnish such
                                     bonds);


                                  resulting from the investigation, adjustment, defense
                                  and appeal of a Claim. Defense Costs does not
                                  include Loss or the Insured 's salaries, wages,
                                  overhead or benefits expenses.



Employed Attorney Services    means legal services provided by any Individual
                              Insured, but only to the extent that such services are
                              performed direct!y to the Organization and in the
                              Individual Insured's capacity as an Employee of the
                              Organization.


                              Any services rendered by an Individual Insured for any
                              party other than the Organization shall not constitute
                              Employed Attorney Services.


Employee                      means any natural person whose labor or service is
                              engaged and directed by the Organization while
                              performing duties related to the conduct of the
                              Organization's business and includes leased, part-time,
                              seasonal and temporary workers, independent
                              contractors, volunteers and interns.


Executive                     means any natural persons who are directors, trustees,
                              officers, managing members, advisory board members
                              or committee members or any equivalent position of the
                              Organization.


Excess Benefit Transaction    means a transaction as defined in Internal Revenue
                              Code, Title 26 §4958 (c)(I).


Excess Benefit Transaction    means any excise tax imposed by the Internal Revenue
Excise Tax                    Service, pursuant to Section 4958(a)(2) of the Internal
                              Revenue Code, 26 U.S.C. § 4958(a)(2), against an
                              Individual Insured who participated as an
                              Organization Manager in connection with an Excess
                              Benefit Transaction.


Individual Insured            means any past, present or future:


                                  I. Executive;
                                  2. Employee; or



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                                  3. the estates, heirs, legal representatives or assigns
                                      of   I. and 2., above in the event of their death,
                                      incapacity or bankruptcy.


Loss                           means the amount the Insured becomes legally
                               obligated to pay as a result of a Claim, including:


                                   I. damages, settlements and judgments;
                                   2. pre-judgment and post judgment interest;
                                  3. punitive or exemplary damages to the extent such
                                      damages are insurable under applicable law,
                                      statute or regulation;
                                   4. the multiplied portion of any multiple damage
                                      award to the extent such damages are insurable
                                      under applicable law, statute or regulation; and
                                   5. any ten percent (10%) Excess Benefit
                                      Transaction Excise Tax assessed by the Internal
                                      Revenue Service against any Individual
                                      Insured, subject to a $100,000 maximum
                                      sublimit of liability per Policy Period for Loss
                                      and Defense Costs, combined provided, however
                                      that indemnification by the Organization for
                                      such taxes is not expressly prohibited in the
                                      bylaws, certificate of incorporation or other
                                      governing documents of the Organization. This
                                      sublimit of liability is part of and not in addition
                                      to the applicable Directors and Officers Limit of
                                      Liability as set forth on the Policy Declarations.


                                   For the purpose of determining the insurability of
                                   damages in items 3. and 4. above, the laws of the
                                   jurisdiction most favorable to the insurability of such
                                   damages shall control; provided that such
                                   jurisdiction has a substantial relationship to the
                                   relevant Insured or to the Claim giving rise to the
                                   damages.


                               However, Loss does not include:


                                   I. fines, penalties, sanctions and forfeitures;
                                   2. taxes, except for any ten percent    (I 0%) Excess
                                      Benefit Transaction Excise Tax as outlined in
                                      subparagraph 5. above of this definition of
                                      "Loss'', or as otherwise provided by
                                      endorsement;
                                   3. any amount uninsurable under the law pursuant




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                                        to which this Policy is construed;
                                   4. cost of compliance with any order for, grant of or
                                        agreement to provide non-monetary or injunctive
                                        relief;
                                   5.   any unpaid salary, wages, commissions,
                                        severance, bonus or incentive compensation that
                                        is due or alleged to be due to any person; or
                                   6. any amount for which an Individual Insured is
                                        absolved from payment by reason of any
                                        covenant, agreement or court order.


Organization Manager           means a person or persons described in Internal Revenue
                               Code, Title 26 §4958(f).


Outside Entity                 means any not-for-profit organization that qualifies as
                               such under Section 50l(c) of the Internal Revenue Code
                               of1986 (as amended), that is not an Insured.


Outside Capacity               means the service, other than Employed Attorney
                               Services, of an Individual Insured while acting in the
                               capacity of director, officer, trustee, managing member
                               or any equivalent position of an Outside Entity, but
                               only if such service is provided on behalf of the Outside
                               Entity with the specific knowledge, request, consent or
                               direction of the Named Insured.


Personal Injury Wrongful Act   means any actual or alleged false arrest, wrongful
                               detention, malicious prosecution, invasion of privacy,
                               wrongful entry or eviction, libel, slander or defamation.


Pollutants                     means any solid, liquid, gaseous, bacterial, fungal,
                               electromagnetic, thermal or other substance, smoke,
                               vapor, soot, fumes, acids, alkalis, chemicals, toxic
                               materials, 'Volatile Organic Compound', 'Organic
                               Pathogen', 'Silica', asbestos, lead and gases therefrom,
                               radon, combustion byproducts, noise and 'Waste'.
                               Specific examples include, but are not limited to diesel,
                               kerosene, and other fuel oils, carbon monoxide, and
                               other exhaust gases, mineral spirits and other solvents,
                               tetrachloroethylene, perchloroethylene (PERC),
                               trichloroethylene (TCE), methylene chloroform, and
                               other dry cleaning chemicals, chlorofluorocarbons,
                               chlorinated hydrocarbons, adhesives, pesticides,
                               insecticides, and all substances specifically listed,
                               identified, or described by one or more of the following
                               references:




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                                 I.   Comprehensive Environmental Response,
                                      Compensation, and Liability Act (CERCLA)
                                      Priority List Hazardous Substances (1997 and all
                                      subsequent editions); or
                                 2.   Agency for Toxic Substances And Disease
                                      Registry ToxFAQs™; or
                                 3.   U.S. Environmental Protection Agency EMCI
                                      Chemical References Complete Index.


                             For the purposes of this definition;


                                 I.   'Volatile Organic Compound' means any
                                      compound which discharges organic gases as it
                                      decomposes or evaporates, examples of which
                                      include but are not limited to formaldehyde,
                                      pesticides, adhesives, construction materials
                                      made with organic chemicals, solvents, paint
                                      varnish and cleaning products.
                                 2.   'Organic Pathogen' means any organic irritant or
                                      contaminant, including but not limited to mold,
                                      fungus, bacteria or virus, including but not
                                      limited to their byproduct such as mycotoxin,
                                      mildew, or biogenic aerosol.
                                 3.   'Silica' means silica in any form and any of its
                                      derivatives, including but not limited to silica
                                      dust, silicon dioxide, crystalline silica, quartz, or
                                      non-crystalline (amorphous) silica.
                                 4.   'Waste' means any property intended to be
                                      disposed, recycled, reused or reclaimed by the
                                      owner or user thereof.


Publisher Wrongful Act       means any infringement of copyright, trademark,
                             unauthorized use of title, or plagiarism or
                             misappropriation of ideas.


Wrongful Act                 means any:


                                 I.   actual or alleged act, error, omission,
                                      misstatement, misleading statement, neglect, or
                                      breach of duties;
                                 2.   Personal Injury Wrongful Act;
                                 3.   Publisher Wrongful Act; or
                                 4.   Employed Attorney Services


                             committed or allegedly committed by:




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                                                         a.    the Organization;
                                                         b.    any Individual Insured, arising solely from
                                                               duties conducted on behalf of the
                                                               Organization or asserted against an
                                                               Individual Insured because of1. above; or
                                                         c.    any Individual Insured while acting in an
                                                               Outside Capacity.


IV.   EXCLUSIONS


      A. The Company shall not be liable to make payment for Loss or Defense Costs in connection
         with any Claim made against the Insured arising out of, directly or indirectly resulting from,
         in consequence of, or in any way involving any actual or alleged:


      Conduct                                       I.    deliberately fraudulent act, omission, criminal
                                                          act, or willful violation of any statute or
                                                          regulation by any Insured; or
                                                   2.     any Insured having gained any profit,
                                                          remuneration or other advantage to which such
                                                          Insured was not legally entitled;


                                                 provided that this exclusion will not apply to Defense
                                                 Costs incurred until:


                                                          a.    a final, non-appealable adjudication in any
                                                                underlying proceeding or action establishes
                                                                such conduct; or
                                                          b.   the Insured has admitted, stipulated or
                                                               pleaded no contest to such conduct;


      Bodily Injury/Property                       1.     bodily injury, assault, battery, sickness, disease,
      Damage                                              death, mental anguish, humiliation or emotional
                                                          distress of any person; or
                                                   2.     damage to or destruction of any tangible property
                                                          including any resulting loss of use thereof;


                                             ·   provided that this exclusion shall not apply to any
                                                 mental anguish, humiliation or emotional distress
                                                 asserted in an otherwise covered Claim alleging a
                                                 Personal Injury Wrongful Act.



      Employee Benefits                          pension, profit sharing, welfare benefit or other
                                                 employee benefit program established in whole or in
                                                 part for the benefit of any Individual Insured, or based
                                                 upon, arising out of or in any way involving the
                                                 Employee Retirement Income Security Act of1974 (or




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                               any amendments thereof or regulations promulgated
                               there under) or similar provisions of any federal, state
                               or local statutory law or common law;


Insured vs Insured             Claim brought by or on behalf of any Insured;
                               provided that this exclusion shall not apply to:


                                 1. any derivative action on behalf of, or in the name
                                      or right of the Organization, if such action is
                                      brought and maintained independent of and
                                      without the solicitation, assistance, participation
                                      or intervention of any Insured;
                                 2.   any Claim in the form of a cross claim, third
                                      party claim or other claim for contribution or
                                      indemnity by any Individual Insured which is
                                      part of or results directly from a Claim which is
                                      not otherwise excluded under this Policy;
                                 3.   any Claim brought or maintained by or on behalf
                                      of a bankruptcy or insolvency trustee, examiner,
                                      liquidator, receiver, rehabilitator, or creditors
                                      committee for an Organization; or
                                 4.   any Claim brought and maintained by or on
                                      behalf of any former Executive, but only if such
                                      Claim does not arise out of, directly or indirectly
                                      result from, is in consequence of, or in any way
                                      involves any Wrongful Act, responsibilities,
                                      actions or failure to act by any Insured during
                                      the tenure of service of such former Executive.


Employment Practices           refusal to employ, termination of employment, or
                               employment related coercion, demotion, evaluation,
                               reassignment, discipline, workplace conditions, false
                               imprisonment, defamation, harassment, humiliation, or
                               discrimination of employment, or other employment­
                               related practices, policies, acts or omissions or sexual
                               harassment by any Insured against any person(s) or
                               entity; or negligence involving any of the foregoing;


                               it being understood that this exclusion applies whether
                               the Insured may be held liable as an employer or in any
                               other capacity and to any obligation to contribute with
                               or indemnify another with respect to such Claim;


Discrimination                 discrimination, including but not limited to
                               discrimination based on religion, race, creed, color, sex,
                               age, marital status, sexual preference, pregnancy,




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                               handicap or disability;


Outside Entity vs. Insured     Claim made by or on behalf of an Outside Entity or
                               one or more of the Outside Entity's directors, officers,
                               trustees, managing members or any equivalent position
                               against an Individual Insured acting in an Outside
                               Capacity, provided, however that this exclusion shall
                               not apply to:


                                 I.    any Claim brought derivatively on behalf of the
                                       Outside Entity, independently and without the
                                       direct solicitation, participation, intervention or
                                       assistance of the Outside Entity or any Insured
                                       in an Outside Capacity;
                                 2.    any Claim in the form of a cross claim, third
                                       party claim or other claim for contribution or
                                       indemnity by an Insured acting in an Outside
                                       Capacity and which is part of or results directly
                                       from a Claim which is not otherwise excluded
                                       under this Policy; and
                                  3.   any Claim brought or maintained by or on behalf
                                       of a bankruptcy or insolvency trustee, examiner,
                                       liquidator, receiver, rehabilitator, or creditors
                                       committee for an Outside Entity against an
                                       Insured acting in an Outside Capacity for such
                                       Outside Entity.


Pollution                        1. discharge, emission, release, seepage, migration,
                                       dispersal or escape of Pollutants or any threat
                                       thereof, including nuclear reaction, radiation or
                                       contamination; or
                                 2.    treatment, removal or disposal of any Pollutants;
                                  3.   regulation, order, direction or request to test for,
                                       monitor, clean up, remove, contain, treat,
                                       detoxify or neutralize any Pollutants; or any
                                       voluntary decision to do so; or
                                 4.    actual or alleged property damage including loss
                                       of use, bodily inj ury, sickness, disease or death of
                                       any person, or financial loss to an Organization
                                       or Outside Entity, their security holders, or their
                                       creditors resulting from any of the
                                       aforementioned matters in I., 2., or 3. above of
                                       this Exclusion.




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Prior or Pending Litigation           litigation, demand, claim, arbitration, decree, judgment,
                                      proceeding, or investigation against any Insured, which
                                      was pending on or prior to the Prior or Pending
                                      Litigation date referenced on the Policy Declarations, or
                                      any such action based on the same or essentially the
                                      same fact, circumstance, matter, situation, transaction
                                      or event underlying or alleged therein;


Prior Notice                            1.   fact, circumstance, matter, situation, transaction,
                                             event, or Wrongful Act that, before the effective
                                             date of this Policy, was the subject of any notice
                                             given under any similar policy of insurance; or
                                        2.   other fact, circumstance, matter, situation,
                                             transaction, event, or Wrongful Act whenever
                                             occurring, which together with a fact,
                                             circumstance, matter, situation, transaction,
                                             event, or Wrongful Act described in
                                             subparagraph 1. above, would constitute
                                             Interrelated Wrongful Acts;


Prior Wrongful Acts of Subsidiaries     1.   Wrongful Act committed by an Individual
                                             Insured of any Subsidiary, or by such
                                             Subsidiary, occurring before the date such entity
                                             became a Subsidiary; or
                                        2.   other fact, circumstance, matter, situation,
                                             transaction, event, or Wrongful Act whenever
                                             occurring, which together with a fact,
                                             circumstance, matter, situation, transaction,
                                             event, or Wrongful Act described in
                                             subparagraph 1. above, would constitute
                                             Interrelated Wrongful Acts;


Professional Services                 rendering or failure to render legal (except Employed
                                      Attorney Services), medical, psychological, counseling
                                      services or referrals, if the Claim is brought by or on
                                      behalf of any individual and/or entity for whom such
                                      services were, now are, or shall be performed;


                                      provided that this exclusion shall not apply to that part
                                      of a Claim against an Individual Insured which
                                      alleges that the Individual Insured, in his or her
                                      capacity as such, failed to supervise those who
                                      performed such services.




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      B. The Company shall not be liable to make payment for Loss or Defense Costs in connection
         with any Claim made against the Insured for actual or alleged:


      Contract                                   liability of the Insured under any express contract or
                                                 agreement to which an Organization is a party,
                                                 provided that this exclusion shall not apply to:

                                                   1.  the extent that such Organization would have
                                                      been liable in the absence of such contract or
                                                      agreement; and
                                                   2. any Claim against an Individual Insured.


      No Wrongful Act of one or more Insureds shall be imputed to any other Insured for the
      purpose of determining the applicability of any of the above exclusions in Section A. or B.
      above.

V.    ORDER OF PAYMENTS

                                        In the event of Loss arising from a Claim for which payment
                                        is concurrently due under Insuring Agreement A., Individual
                                        Insured - Non-Indemnified Coverage, and one or more of the
                                        other Insuring Agreements of this Coverage Part, the
                                        Company shall:


                                            I. first pay Loss for which coverage is provided under
                                               Insuring Agreement A., Individual Insured - Non­
                                               Indemnified Coverage; then
                                            2. with respect to whatever remaining amount of the
                                               Limit of Liability is available after payment above,
                                               pay such Loss for which coverage is provided under
                                               any other Insuring Agreement.

                                        Except as otherwise provided above, the Company may pay
                                        covered Loss as it becomes due under this Coverage Part
                                        without regard to the potential for other future payment
                                        obligations under this Coverage Part.

VI.   LIFETIME OCCURRENCE REPORTING PROVISION

                                             A. If this Policy is cancelled or not renewed by the
                                                Named Insured for any reason other than being sold,
                                                acquired, or declaring bankruptcy, each Individual
                                                Insured who did not serve as such at the time of the
                                                cancellation or non-renewal, shall be provided with an
                                                unlimited extension of time to report any Claim first



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                                        made against such Individual Insured after the
                                        effective date of such cancellation or non-renewal,
                                        subject to the following conditions:


                                        I. the Claim results from a Wrongful Act committed
                                             by the Individual Insured before the effective
                                             date of cancellation or non-renewal; and
                                        2. the Wrongful Act was actually or allegedly
                                             committed during a Policy Period of a Policy
                                             issued by the Company; and
                                        3. such Individual Insured was serving in such
                                             capacity during the Policy Period of a Policy
                                             issued by the Company; and
                                        4. no Directors & Officers Liability policy, or similar
                                             policy providing essentially the same type of
                                             coverage, or extended reporting period, is in effect
                                             at the time the Claim is first made against such
                                             Individual Insured; and
                                        5. the Claim is not otherwise excluded by the Policy
                                             issued by the Company in effect at the time the
                                             Wrongful Act actually or allegedly occurred; such
                                             Policy shall be the Policy under which coverage is
                                             applicable including all terms, conditions, limits,
                                             retentions, and endorsements therein.
                                        6. the Company will have written continuous
                                             coverage for Named Insured from the effective
                                             date of the first Policy the Company issued to the
                                             date of cancellation or non-renewal of this Policy.


                                     B. The LIFETIME OCCURRENCE REPORTING
                                        PROVISION described herein shall not apply to any
                                        Claim made against any Individual Insured caused
                                        by, arising or resulting, directly or indirectly from or
                                        in consequence of the Individual lnsured's serving in
                                        an Outside Capacity for an Outside Entity.


VII.   TIMELY NOTICE AND RESOLUTION INCENTIVE


       Retention Forgiveness         In the event of a Claim, the Company shall waive the
                                     applicable retention under this Coverage Part, up to a
                                     maximum of $10,000, if each of the following conditions
                                     are met:


                                        1.   The Claim is reported to the Company within
                                             thirty (30) days of first receipt by an Insured; and
                                        2.   The Company successful! y negotiates a



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                                              settlement of the Claim within the Limits of
                                              Liability of this Coverage Part; and
                                         3.   The Insured consents to the settlement of the
                                              Claim without condition within thirty (30) days
                                              after notice of the settlement is provided to the
                                              Insured by the Company; and
                                        4.    Settlement of the Claim is finalized by the
                                              Company within ninety (90) days of the Claim
                                              being first reported to the Company.



VIII.   OUTSIDE DIRECTORSHIP PROVISION


                                     In the event a Claim is made against any Individual
                                     Insured arising out of their service as a director, officer,
                                     trustee, managing member or any equivalent positions of
                                     an Outside Entity, coverage afforded under this Policy
                                     shall be excess of any indemnification provided by the
                                     Outside Entity and any insurance provided to the
                                     Outside Entity which covers its directors, trustees,
                                     officers, managing members or any equivalent position.




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                    This Endorsement modifies insurance provided under the fo1lowing:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


          ACCREDITATION/CERTIFICATION/ST AND ARD SETTING
                                          EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. is amended by the addition of the following:


Accreditation/Certification/Standard       accreditation, certification, standard setting, or similar
Setting                                    such activities by or on behalf of any Insured;



All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


            ABSOLUTE PROFESSIONAL LIABILITY EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. "Professional Services", is deleted in its entirety and replaced by the following:


Professional Services                       I.   rendering or failure to render any
                                                 professional services by any Insured,
                                                 whether or not such services are rendered
                                                 for a fee; or
                                            2.   Employed Attorney Services


It is further agreed that the Directors and Officers Coverage Part, Section Ill. DEFINITIONS,
Wrongful Act is amended by the deletion of Item 4. Employed Attorney Services.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement mcxlifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


                             SEXUAL ABUSE EXCLUSION

It is hereby agreed that theDirectors and OfficersCoverage Part, Section IV. EXCLUSIONS,
SubsectionA. is amended by the addition of thefollowing:

Abuse/Molestation                            sexual misconduct, sexual molestation, or physical or
                                             mental abuse of any person.

It is also agreed that the EmploymentPractices LiabilityCoverage Part, Section II.
DEFINITIONS, is amended by the addition of thefollowing:

Child Molestation                           means sexual misconduct, sexual molestation, or
                                            physical or mental abuse of any 'Child'. For the
                                            purposes of this definition:

                                            'Child' shall mean any natural person who was under
                                             eighteen( 18) years of age at the time an act ofChild
                                            Molestation is first committed.


It is also agreed that the Employment Practices LiabilityCoveragePart, SectionJI.
DEFINITIONS, "Wrongfnl Third Party Act" is amended by the addition of thefollowing:

                                            This definition does not meanChild Molestation.

It is further agreed that theEmployment Practices LiabilityCoverage Part, Section III.
EXCLUSIONS, SubsectionB. is amended by the addition of thefollowing:

ChildMolestation                            Child Molestation, including any actual or alleged
                                            negligence in the hiring, supervision, training, screening
                                            or management of a person alleged to have committed
                                            an act ofChild Molestation as well as any actual or
                                            allegedfailure to report orfailure to report in a timely
                                            manner any such act.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
yourPolicy and takes effect on the effective date of yourPolicy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


                     BUILDER OR DEVELOPER EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A., is amended by the addition of the following:


Builder or Developer                       acts, errors or omissions by or on behalf of any builder
                                           or developer, or any Claim made against any Insured
                                           by any builder or developer or by any person or entity
                                           acting on their behalf.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                       This Endorsement modifies insurance provided under the following:


                    NON PROFIT MANAGEMENT LIABILITY POLICY


                         DATA & SECURITY+ ENDORSEMENT

It is hereby agreed:

Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth in
this endorsement are solely applicable to coverage afforded by this endorsement. This
endorsement is part of and subj ect to the provisions of the Policy to which it is attached.

I.   SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS

The following is a summary of coverages and Limits of Liability provided by this
endorsement.

COVERAGE                                                    LIMIT OF LIABILITY

A. Data Breach Expense                                     $50,000 each claim
                                                              $50,000 in the aggregate

B. Identity Theft Expense                                  $50,000 each claim
                                                              $50,000 in the aggregate

C. Workplace Violence Act Expense                                  $50,000 each claim
                                                                $50,000 in the aggregate

D. Kidnapping Expense                                      $50,000 each claim
                                                              $50,000 in the aggregate

The maximum aggregate per Policy Period for A. through D. above shall be $200,000 in the
aggregate.

No retentions shall apply to the sublimits shown above.

II. COVERAGES:

     A. Data Breach Expense
        The Company will pay on behalf of the Organization up to the Data Breach Expense
        Limit of Liability stated in the schedule above, for reasonable and necessary expenses in
        items 1. through 6. below:
        1. Development of a plan to assist the Organization in responding to a Data Breach;
        2. Data analysis or forensic investigation to assess the scope of a Data Breach;
        3. The development, printing and mailing of legally required notification letters to those
            affected by a Data Breach;



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       4.   Development of a website link for use by the Organization in communicating with
            persons affected by a Data Breach after legally required notification letters are sent;
      5.    Development of a customer relationship management system for use by the
            Organization in communicating with persons affected by a Data Breach after
            legally required notification letters are sent;
       6.   Public relations services or crisis management services retained by the Organization
            to mitigate the adverse affect on the Organization's reputation resulting from a Data
            Breach that becomes public and only after legally required notification letters are
            sent.


   incurred by the Organization as a result of a Data Breach. The Data Breach must be first
   occur, be discovered by an Insured, and reported to the Company during the Policy Period
   but in no event later than sixty (60) days after the Data Breach is first discovered by an
   Insured. The expenses below must be incurred within one       (I) year of the reporting of such
   Data Breach:


   The Organization must first report the Data Breach to the Company and use a service
   provider of the Company's choice prior to incurring any of the above costs.


B. Identity Theft Expense


   The Company will pay on behalf of a director or officer of the Organization up to the
   Identity Theft Expense Limit of Liability stated in the schedule above, for expenses,
   services or fees noted in items 1. through 3. below:
       I.   Credit monitoring services provided by a vendor of the Company's choice for the
            affected director or officer for up to one year following an Identity Theft;
      2.    Additional application fees paid by a director or officer whose loan(s) were rejected
            based on incorrect credit information resulting from an Identity Theft;
      3.    Notary fees, certified and overnight mail expenses paid by a director or officer in
            connection with reporting an Identity Theft to financial institutions, credit bureaus
            and agencies and law enforcement authorities.


   incurred by such director or officer after he or she has become a victim of Identity Theft.
   The Identity Theft must first occur, be first discovered by an Insured, and reported to the
   Company during the Policy Period but in no event later than sixty (60) days after the
   Identity Theft is first discovered by an Insured. The expenses above must be incurred
   within one   (I) year of the reporting of such Identity Theft:

   Any director or officer of the Organization who is a victim of Identity Theft must first
   report the Identity Theft to the Company and use a service provider of the Company's
   choice prior to incurring any of the above expenses, services or fees .


C. Workplace Violence Act Expense
   The Company will reimburse the Organization, up to the Workplace Violence Act
   Expense Limit of Liability stated in the schedule above, for the following reasonable costs
   paid by the Organization for a period of thirty (30) days following, and as a result of, a




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   Workplace Violence Act:
       I.   Counseling services rendered to Employees and persons on the Organization's
            Premises direct!y affected by a Workplace Violence Act. The counseling services
            must be rendered by a licensed, professional counselor of the Organization's choice.
       2.   Services rendered by an independent public relations consultant of the
            Organization's choice for the purpose of mitigating the adverse affect of a
            Workplace Violence Act on the Organization.


   To be covered, the Workplace Violence Act must occur during the Policy Period and be
   reported to the Company during the Policy Period but in no event later than sixty (60)
   days after the occurrence.


D. Kidnapping Expense
   The Company will reimburse the Organization, up to the Kidnapping Expense Limit of
   Liability stated in the schedule above, for the following reasonable costs paid by the
   Organization as a result of a Kidnapping:
       I.   Retaining an independent negotiator or consultant to facilitate the release of a
            Kidnapping victim. Nothing herein shall obligate the Company to recommend,
            select, retain or arrange for the retention of such independent negotiator or consultant;
       2.   Interest on a loan obtained by the Organization to pay expenses covered under this
            endorsement that is incurred as a result of a Kidnapping. However, there is no
            coverage for interest accruing prior to thirty (30) days preceding the date of such
            payment or subsequent to the date the Company pays any portion of a Kidnapping
            Expense or for expenses not covered under this endorsement;
      3.    Travel and accommodations incurred by the Organization in direct response to the
            Kidnapping. Nothing herein shall obligate the Company to recommend, select, or
            arrange for such travel and accommodations;
      4.    A reward up to $1 0,000 paid by the Organization to an informant for information
            which leads to the arrest and conviction of the person(s) responsible for the
            Kidnapping;
      5.    The current base salary paid to a director or officer of the Organization for the
            director or officer's work on behalf of the Organization, who is a victim of a
            Kidnapping subject to the following:
            a.   salary reimbursement shall commence on the thirty-first (31st) consecutive day
                 after a Kidnapping;
            b.   salary reimbursement shall end when the director or officer is released; or is
                 confirmed dead; or one hundred and twenty (120) days after the director or
                 Officer is last confirmed to be alive; or twelve (12) months after the date of the
                 Kidnapping, or when the Kidnapping Expense Limit of Liability has been
                 exhausted by payments made by the Company, whichever occurs first.
                 There is no coverage for Kidnapping Expense resulting from a Kidnapping
                 planned, carried out or participated in, directly or indirectly, by any person who is
                 or was a member of the victim's family or the Organization.


   The Kidnapping must occur and be reported to the Company during the Policy Period but
   in no event later than sixty (60) days after the occurrence.




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III. ADDITIONAL DEFINITIONS


It is hereby agreed that the Directors and Officers Coverage Part, Section III. DEFINITIONS, is
amended by the addition of the following definitions:


Data Breach                            means the misappropriation or public disclosure, by
                                       electronic or non-electronic means, by the Organization
                                       and without the knowledge of, consent, or acquiescence
                                       of the president, member of the board of directors or any
                                      executive officer, of an individual(s) Personally
                                      Identifiable Information in the Organization's care,
                                       custody and control without the authorization or
                                       permission of the owner of such information.


Identity Theft                        Means:
                                           I.   the act of obtaining Personally Identifiable
                                                Information belonging to a director or officer of
                                                the Organization without that person's
                                                authorization, consent or permission; and
                                           2.   the use of Personally Identifiable Information
                                                so obtained to make or attempt to make
                                                transactions or purchases by fraudulently
                                                assuming that person's identity.


                                       Identity Theft does not mean any of the above
                                       committed directly or indirectly by a director or
                                       officer of the Organization, or by a family member of
                                       any director or officer.


                                       There is no coverage for any Identity Theft Expense
                                       unless Personally Identifiable Information
                                       that is obtained without authorization, consent or
                                       permission is used to make or attempt to make
                                       purchases or conduct transactions by fraudulently
                                       assuming the identity of a director or officer of the
                                       Organization.


Kidnapping                             means an actual or alleged wrongful abduction and
                                       involuntary restraint of a director or officer of the
                                       Organization, by one or more persons acting
                                       individually or collectively in which monetary or non­
                                       monetary demands are made to the Organization to
                                       obtain the director's or officer's release.




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Personally Identifiable                   means:
Information                                    I. information concerning an individual(s) that
                                                   would be considered "non-public information"
                                                   within the meaning of Title V of the Gramm­
                                                   Leach Bliley Act of 1999 (as amended) and its
                                                   implementing regulations including but not
                                                   limited to Social Security numbers or account
                                                   numbers correlated with names and addresses
                                                   which is in an Insured's care, custody and
                                                   control; and
                                              2. personal information as defined in any U.S.
                                                   federal, state or local privacy protection law
                                                   governing the control and use of an individual's
                                                   personal and confidential information, including
                                                   any regulations promulgated thereunder; and
                                              3. protected health information as defined by the
                                                   Health Insurance Portability and Accountability
                                                   Act of 1996 (Public Law 104-191) ("HIPPA") or
                                                   the Health Information Technology for
                                                   Economic and Clinical Health Act of 2009
                                                   ("HITECH") (Public Law 111- 5), as amended,
                                                   and any regulations promulgated thereto.
                                                   Personally Identifiable Information does not
                                                   mean information that is available to the public
                                                   which does not include otherwise protected
                                                   personal information.



Premises                                  means buildings, facilities or properties leased or owned
                                          by the Organization in conducting its operations.


Workplace Violence Act                    means an actual use of unlawful deadly force, or
                                          the threatened use of unlawful deadly force involving
                                          the display of a lethal weapon, occurring on the
                                          Organization's Premises and directed at an Individual
                                          Insured, or other persons on the Premises of the
                                          Organization.



IV. LIMITS OF LIABILITY AND RETENTION


   I.    The maximum Limit of Liability for any expenses provided by this endorsement shall be
         in addition to the Limits of Liability as set forth in the Policy Declarations for the
         Directors and Officers Coverage Part.
   2.   Any one incident, interrelated incidents or series of similar or related incidents for which
         coverage is provided under this endorsement shall be treated as one incident subject to




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          the maximum Limit of Liability available under this endorsement at the time the
          incident(s) is first reported to the Company regardless of whether the incident(s)
          continues and expenses are incurred by the Organization in any subsequent Policy
          Period(s).


V. ADDITIONAL EXCLUSIONS


It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS, is
amended by the addition of the following:


Data Breach Related                           I.   Expense reimbursement resulting i n any
                                                   Insured gaining any profit, remuneration
                                                   or advantage to which the Insured is not
                                                   legally entitled;
                                              2.   expenses incurred by any Subsidiary of
                                                   an Organization occurring prior to the
                                                   date that such entity became a Subsidiary
                                                   or incurred at any time that such entity is
                                                   not a Subsidiary;
                                              3.   expenses arising from any incident(s) of
                                                   which any Insured had notice before the
                                                   inception date of this Policy; or any fact,
                                                   circumstance, event, situation or incident
                                                   which before the inception date of this
                                                   Policy was the subject of any notice under
                                                   any other similar policy of insurance or
                                                   any future claims for expenses under this
                                                   Policy based upon such pending or prior
                                                   notice;
                                              4.   The portion of any expenses covered
                                                   under this endorsement that is also
                                                   covered under any other coverage part of
                                                   this Policy;
                                              5.   Reissuance of credit or debit cards or any
                                                   other expense not shown in Section II,
                                                   COVERAGES, sub-section A, Data
                                                   Breach Expense.




VI. COVERAGE LIMITATIONS


The following terms, conditions and exclusions in the General Terms and Conditions and the
Directors and Officers Coverage Part do not apply to this endorsement:
    I.    General Terms and Conditions
          a.   Section IL EXTENDED REPORTING PERIOD
          b.   Section XI. SPOUSAL AND DOMESTIC PARTNER EXTENSION




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   2.    Directors and Officers Coverage Part
         a.   Section IV. EXCLUSIONS, Subsection A. "Bodily Injury/Property Damage"
         b.   Section VI. LIFETIME OCCURRENCE REPORTING PROVISION
         c.   Section VIII. OUTSIDE DIRECTORSHIP PROVISION




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


   AMENDMENT OF PRIOR OR PENDING LITIGATION EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. "Prior or Pending Litigation" is deleted and replaced by the following:


Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                       essentially the same facts, circumstances, matters,
                                       situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                       effective date of this Policy;


                                       provided that, if this Policy is a renewal of a Policy
                                       previously issued by the Company .in a continuous
                                       succession of Policies with no lapses in coverage,
                                        the effective date of this Policy will mean the
                                       effective date of the first Policy issued by the
                                       Company in such succession of Policies.


It is also agreed that the Employment Practices Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. "Prior or Pending Litigation" is deleted and replaced by the
following:


Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                        essentially the same facts, circumstances, matters,
                                        situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                        effective date of this Policy;


                                       provided that, if this Policy is a renewal of a Policy
                                        previously issued by the Company in a continuous
                                        succession of Policies with no lapses in coverage,
                                        the effective date of this Policy will mean the
                                        effective date of the first Policy issued by the
                                        Company in such succession of Policies.


It is also agreed that the Fiduciary Liability Coverage Part (if purchased), Section Ill.
EXCLUSIONS, Subsection B. "Prior or Pending Litigation" is deleted and replaced by the
following:




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Prior or Pending Litigation           Any litigation, demand, claim, arbitration, decree,
                                      judgment, proceeding, or investigation against any
                                      Insured, or any such action based upon the same or
                                      essentially the same facts, circumstances, matters,
                                      situations, transactions or events underlying or
                                      alleged therein which was pending on or prior to the
                                      effective date of this Policy;


                                      provided that, if this Policy is a renewal of a Policy
                                      previously issued by the Company in a continuous
                                      succession of Policies with no lapses in coverage,
                                      the effective date of this Policy will mean the
                                      effective date of the first Policy issued by the
                                      Company in such succession of Policies.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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     Non-Profit Management Liability Policy                           General Terms and Conditions
     In consideration of the payment of the premium and reliance upon all statements made and
     information furnished to the Company, including the statements made in the Application and
     subject to all the provisions of this Policy, the Company and the Insureds agree as follows:


     NOTICE: This is a Claims Made Policy. This means the Company will cover only those
     Claims first made against the Insured during the Policy Period or, where applicable, the
     Extended Reporting Period.


     If any provision in these General Terms and Conditions is inconsistent or in conflict with the
     terms and conditions of any Coverage Part, the terms and conditions of such Coverage Part
     shall control for the purposes of that Coverage Part.


     Any bolded term in a Coverage Part that is defined in these General Terms and Conditions shall
     have the meaning set forth in these General Terms and Conditions. Any bolded term in a
     Coverage Part that is defined in that Coverage Part shall have the meaning set forth in such
     Coverage Part.


     The descriptions in the headings and subheadings of this Policy are solely for convenience and
     form no part of the terms and conditions of coverage, and do not serve to express, confirm, alter
     or provide coverage.


I.   DEFINITIONS


     Application                        means:


                                           I.   an application and any materials submitted for this
                                                Policy; and
                                           2.   an application and any materials submitted for all
                                                previous Policies issued by the Company providing
                                                uninterrupted coverage.


                                        The content of I. and 2. above are incorporated by reference
                                       in this Policy as if physically attached hereto.


     Claim                              shall have the meaning as defined in the applicable Coverage
                                        Part.


     Company                            means the insurance company identified in the Policy
                                        Declarations.


     Coverage Part                      means individually or collectively, as applicable, the
                                        purchased coverage parts as set forth in the Policy
                                        Declarations as included and attached to and made a part of
                                        this Policy.




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Defense Costs                shall have the meaning as defined in the applicable Coverage
                             Part.


Domestic Partner             means any natural person qualifying as a domestic partner
                             under the provision of any applicable federal, state or local
                             laws.


Employee                     shall have the meaning as defined in the applicable Coverage
                             Part.


Financial Impairment         means:


                                I.   the appointment by any federal or state official, agency
                                     or court of any receiver, conservator, liquidator, trustee,
                                     rehabilitator, creditors committee or similar official to
                                     take control of, supervise, manage or liquidate the
                                     Organization and provided that the court or other
                                     judicial or administrative body overseeing the
                                     receivership, conservatorship, liquidation,
                                     rehabilitation, bankruptcy or equivalent proceeding has
                                     denied a request by the Organization to indemnify an
                                     Individual Insured for a Loss; or
                                2.   the Organization becoming a debtor in possession
                                     under the United States bankruptcy law or the
                                     equivalent of a debtor in possession under the law of
                                     any other country.


Insured                      means any Organization and any Individual Insured.


Individual Insured           shall have the meaning as defined in the applicable Coverage
                             Part.


Interrelated Wrongful Acts   means any Wrongful Acts based upon, arising from, or in
                             consequence of the same or related facts, circumstances,
                             situations, transactions or events, or that are logically or
                             causally connected by reason of any common or related series
                             of facts, circumstances, situations, transactions or events.


Loss                         shall have the meaning as defined in the applicable Coverage
                             Part.


Management Control           means:


                                1. control of more than fifty percent (50%) of the voting
                                     rights representing the right to appoint, elect, or
                                     designate the majority of the board of directors, board




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                                    of trustees, or board of managers; or
                               2. control of exactly fifty percent (50%) of the voting
                                    rights representing the right to appoint, elect, or
                                    designate the majority of the board of directors, board
                                    of trustees, or board of managers; and pursuant to a
                                    written contract solely controls the management and
                                    operations of such entity.


Named Insured               means the entity named in Item I. of the Policy Declarations.


Organization                means:


                               I.   the Named Insured and any Subsidiary; and
                               2. any entity as debtor in possession under United States
                                    bankruptcy law or equivalent status under the law of
                                    any other jurisdiction.


Plan                        shall have the meaning as defined in the applicable Coverage
                            Part.

Policy                      means collectively the Policy Declarations, General Terms
                            and Conditions, applicable Coverage Parts, applicable
                            endorsements, and the Application.


Policy Period               means the period of time from the effective date and time of
                            this Policy to the date and time of expiration as shown in the
                            Policy Declarations, or its earlier cancellation or termination
                            date. If the length of the Policy Period is the same as the
                            Policy Year, the terms Policy Period and Policy Year are
                            used interchangeably herein.


Policy Year                 means the period of one (I) year following the effective date
                            of the Policy Period or any subsequent one-year anniversary
                            thereof; or


                            In the event the Policy expires less than one (I) year following
                            the effective date of the Policy Period; or more than one (I)
                            year but less than two (2) years following the effective date of
                            the Policy Period; then Policy Year shall mean any such
                            period.


Subsidiary                  means:

                               I. any not-for-profit entity in which the Named Insured
                                    has Management Control directly or indirectly
                                    through one or more Subsidiaries on or before the




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                                        effective date of this Policy; and is disclosed as a
                                        Subsidiary in an Application to the Company; or
                                  2.    any other entity added as a Subsidiary by written
                                        endorsement to this Policy.


      Takeover                  means:


                                   I.   the acquisition by another entity or person or group of
                                        entities or persons acting in concert of:
                                        a.   the Management Control of the Named Insured;
                                             or
                                        b.   the acquisition of more than fifty percent ( 50%) of
                                             the total consolidated assets of the Named Insured
                                             as of the date of the Named lnsured's most recent
                                             consolidated financial statements prior to such
                                             acquisition;
                                  2.    the merger of the Named Insured into another entity
                                        such that the Named Insured is not the surviving
                                        entity;
                                  3.    the consolidation of the Named Insured with another
                                        entity; or
                                  4.    the loss, forfeiture, or suspension of the Named
                                        Insured's tax exempt status.


      Wrongful Act              shall have the meaning as defined in the applicable Coverage
                                Part.


II.   EXTENDED REPORTING PERIOD


      Right to Purchase         If the Policy expires, is cancelled or not renewed for any
                                reason other than non-payment of premium, then the
                                Named Insured shall have the right to purchase an
                                Extended Reporting Period to report to the Company, as
                                soon as practicable prior to the expiration date of the
                                purchased Extended Reporting Period, any Claim against
                                an Insured.


                                An Extended Reporting Period shall only apply to
                                Claims arising from a Wrongful Act which was actually
                                or allegedly committed before the date of expiration,
                                cancellation or non-renewal of this Policy, or prior to the
                                effective date of any Takeover. For the purpose of this
                                clause, the offer of renewal terms and conditions or
                                premiums by the Company different from those in effect
                                prior to renewal shall not constitute a refusal to renew.




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       Options                     The additional premium for the Extended Reporting
                                   Period shall be a percentage of the total annual premium
                                   as shown in the Policy Declarations. The Named
                                   Insured may elect any one of the following options:


                                      I.   Twelve (12) month period   -   30% of the annual
                                           prernmrn;
                                     2. Twenty Four (24) month period - 75% of the
                                           annual premium; or
                                     3. Thirty Six (36) month period - 120% of the annual
                                           prernmrn.


                                   The Extended Reporting Period begins on the expiration
                                   date of the Policy, or if cancelled or non-renewed, the
                                   effective date of such cancellation or non-renewal of the
                                   Policy.


       Payment & Notice to the     As a condition precedent to the right to purchase an
       Company                     Extended Reporting Period, the total earned premium for
                                   this Policy must have been paid to the Company. Any
                                   premium paid with respect to an Extended Reporting
                                   Period shall be deemed fully earned as of the first day of
                                   the Extended Reporting Period. The right to elect the
                                   Extended Reporting Period will terminate unless written
                                   notice of such election, together with payment of the
                                   additional premium as set forth above, is received by the
                                   Company within sixty (60) days of the effective date of
                                   the expiration, nonrenewal or cancellation of this Policy.


       Extended Reporting Period   The Extended Reporting Period will not provide a new,
       Limits                      separate or additional Limit of Liability. The remainder
       & Other Insurance           of the Limit of Liability applicable to the Policy Year in
                                   effect as of the effective date of the expiration,
                                   cancellation, or non-renewal is the maximum Limit of
                                   Liability for all Claims reported during the Extended
                                   Reporting Period.


III.   DEFENSE & SETTLEMENT


       Duty To Defend              The Company shall have the right and duty to
                                   defend any Claim covered by this Policy even if the
                                   allegations are groundless, false or fraudulent. The
                                   Company shall have the right to appoint counsel of
                                   its choice with respect to such Claim. The
                                   Company's obligation to defend any Claim or pay
                                   any Loss or Defense Costs shall be completely




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                           fulfilled and extinguished if the applicable Limit of
                           Liability has been exhausted by payment of Loss.


Consent to Settle          The Company, as it deems necessary, has the right
                           to investigate, adjust, defend, appeal and, with the
                           consent of the Insured, negotiate the settlement of
                           any Claim whether within or in excess of the
                           Retention. If the Insured refuses to consent to a
                           settlement recommended by the Company, the
                           Company's obligation to the Insured for Loss and
                           Defense Costs attributable to such Claim shall be
                           limited to:


                                 a.   The amount of the covered Loss in excess
                                      of the Retention which the Company
                                      would have paid in settlement at the time
                                      the Insured first refused to settle; plus
                                 b.   covered Defense Costs incurred up to the
                                      date the Insured first refused to settle;
                                      plus
                                 c.   eighty percent (80%) of covered Loss and
                                      Defense Costs in excess of the first
                                      settlement amount recommended by the
                                         Company to which the Insured did not
                                      consent.


                           It is understood that payment of a., b. and c. above
                           is the limit of the Company's liability under this
                           Policy for any Claim in which the Insured fails or
                           refuses to consent to the Company's settlement
                           recommendation, subject at all times to Section IX.
                           LIMITS OF LIABILITY and Section X.
                           RETENTIONS AND PRESUMPTIVE
                           INDEMNIFICATION of these General Terrns and
                           Conditions. The remaining twenty percent (20%) of
                           Loss and Defense Costs in excess of the amount
                           referenced in a. and b. above shall be the obligation
                           of the Insured.


                           In no event shall the Company be obligated to pay
                           any Loss or Defense Costs after the applicable
                           Limit of Liability shown in the Policy Declarations
                           has been exhausted by payment of Loss.




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      Consent of the Company    The Insured shall not demand or agree to
                                arbitration of any Claim without the Company's
                                written consent. The Insured shall not, except at
                                personal cost, make any offer or payment, admit any
                                liability, settle any Claim, assume any obligation, or
                                incur any expense without the Company's written
                                consent.


      Cooperation               The Insured agrees to cooperate with the Company
                                with respect to all Claims, and provide such
                                assistance and information as the Company may
                                reasonably request. Upon the Company's request,
                                the Insured shall submit to examination and
                                interrogation by the Company's representative,
                                under oath if required, and shall attend hearings,
                                depositions, trials and shall assist in the conduct of
                                suits, including but not limited to effecting
                                settlement, securing and giving evidence, obtaining
                                the attendance of witnesses, giving written
                                statements to the Company's representatives and
                                meeting with such representatives for the purpose of
                                investigation and/or defense, all of the above
                                without charge to the Company. The Insnred
                                further agrees not to take any action which may
                                increase the lnsured's or the Company's exposure
                                under this Policy.


      Papers/Documents          The Insured shall execute all papers required and
                                shall do everything that may be necessary to secure
                                and preserve any rights of indemnity, contribution
                                or apportionment which the Insured or the
                                Company may have, including the completion of
                                such documents as are necessary to enable the
                                Company to bring suit in the lnsured's name, and
                                shall provide all other assistance and cooperation
                                which the Company may reasonably require.


IV.   ALLOCATION OF DEFENSE COSTS


                                If   a   Claim is made against an Insured for both Loss that
                                is covered by this Policy and loss that is not covered by
                                this Policy, the Company will pay as follows:


                                     I.    One hundred percent ( 100%) of Defense Costs on
                                           account of such Claim; and




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                                   2.   all remaining loss from such Claim shall be
                                        apportioned between covered Loss and uncovered
                                        loss based on the relative legal exposures of the
                                        parties to such matters.
                                   3.   Items I. and 2. above of this Section JV. shall not
                                        apply to any Insured for whom coverage is
                                        excluded pursuant to Section VII.
                                        REPRESENTATIONS AND SEVERABILITY.


V.   NOTICE AND CLAIM REPORTING PROVISIONS


                                 Notice hereunder shall be given in writing to the
                                 Company. If mailed, the date of mailing of such notice
                                 shall constitute the date that such notice was given and
                                 proof of mailing shall be sufficient proof of notice.


     Written Notice of a Claim     l.   As a condition precedent to exercising any right to
                                        coverage under this Policy, the Insured shall give
                                        to the Company written notice of a Claim as soon
                                        as practicable after any Chief Executive Officer,
                                        Chief Financial Officer, Chief Operating Officer,
                                        Chairperson, Executive Director, Human Resources
                                        Manager, In-House General Counsel, Managing
                                        Member or Fiduciary of any Plan becomes aware of
                                        such Claim, however:
                                        a.   if the Policy expires, is cancelled or is non­
                                             renewed and no Extended Reporting Period is
                                             purchased, no later than ninety (90) days after
                                             the expiration date or the effective date of such
                                             cancellation or non-renewal; or
                                        b.   if an Extended Reporting Period is purchased,
                                             no later than the last day of the Extended
                                             Reporting Period.


                                 However, if the Policy is cancelled for non-payment of
                                 premium, notice shall be provided by the Insured to the
                                 Company no later than the effective date of cancellation.


                                   2.   Coverage for a Claim reported to the Company
                                        during the automatic 90 day period noted in 1. a.
                                        above shall only apply if the Claim is first made
                                        prior to the date of the Policy expiration,
                                        cancellation, or non-renewal.




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      Written Notice of a             I.   If during the Policy Period, or any applicable
      Circumstance                         Extended Reporting Period, the Insured becomes
                                           aware of circumstances which could give rise to a
                                           Claim and gives written notice of such
                                           circumstances to the Company as soon as
                                           practicable during the Policy Period, or Extended
                                           Reporting Period if applicable, in which the
                                           Insured first becomes aware of such circumstances,
                                           then any Claim subsequently arising from such
                                           circumstances shall be deemed made against the
                                           Insured during the Policy Year in which such
                                           circumstances were first reported to the Company.
                                           Such subsequent Claim must be reported to the
                                           Company in accordance with this Section V.
                                           NOTICE AND CLAIM REPORTING
                                           PROVISIONS, "Written Notice of Claim" above.
                                      2.   When reporting a circumstance to the Company, an
                                           Insured shall give the names of any potential
                                           claimant; a description of the specific circumstances
                                           that could give rise to a Claim; the identity of the
                                           specific Insureds allegedly involved in such
                                           circumstance; the nature of the potential damages
                                           (monetary and non-monetary); and the specifics as
                                           to how the Insureds first became aware of such
                                           circumstance.


      Interrelated Claims           More than one Claim involving the same Wrongful Act
                                    or Interrelated Wrongful Acts shall be considered as one
                                    Claim which shall be deemed made on the earlier of:


                                      1. the date on which the earliest Claim was first made;
                                           or
                                      2.   the first date valid notice was given by the Insured
                                           to the Company, in accordance with applicable
                                           reporting provisions, under this Policy or under any
                                           prior policy, of any Wrongful Act or any fact,
                                           circumstance, situation, transaction or event which
                                           underlies such Claim.


VJ.   CANCELLATION OR NON-RENEW AL


      Cancellation by the Insured   This Policy may be cancelled by the Named Insured
                                    by either surrender thereof to the Company at its
                                    address stated in the Policy Declarations or by mailing
                                    to the Company written notice requesting cancellation
                                    and in either case stating when thereafter such




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                                    cancellation shall be effective. Earned premium shall
                                    be computed pro rata at the time cancellation is
                                    effected or as soon as practicable thereafter.


      Cancellation By the           The Company may cancel this Policy only in the
      Company                       event of the lnsured's failure to pay the premium
                                    when due. The Company will mail to the Named
                                    Insured, written notice stating when cancellation shall
                                    take effect. The effective date of such cancellation
                                    shall not be less than twenty (20) days after the date of
                                    mailing. Earned premium shall be computed pro rata at
                                    the time cancellation is effected or as soon as
                                    practicable thereafter.


      Non-Renewal                   In the event the Company non-renews this Policy, the
                                    Company shall mail to the Named Insured, not less
                                    than sixty (60) days prior to the end of the Policy
                                    Period, written notice of non-renewal. Such notice
                                    shall be binding on all Insureds.


      Delivery of Notice            The Company shall mail notice of cancellation or non­
                                    renewal with a certificate of mailing stating the
                                    effective date of cancellation or non-renewal which
                                    shall become the end of the Policy Period. Mailing of
                                    such notice shall be sufficient notice of cancellation or
                                    non-renewal.


VIL   REPRESENTATIONS AND SEVERABILITY


      Representations               The Insured represents that the particulars and
                                    statements contained in the Application are true and
                                    agree that:


                                      1. those particulars and statements are the basis of
                                           this Policy and are to be considered as
                                           incorporated into and constituting a part of the
                                           Policy;
                                      2. those particulars and statements are material to the
                                           acceptance of the risk assumed by the Company;
                                           and
                                      3.   the Policy is issued in reliance upon the truth of
                                           such representations.


      Severability of Application   An Application for coverage shall be construed as a
                                    separate Application for coverage by each Individual
                                    Insured. With respect to the particulars and statements




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                                   contained in the Application, no fact pertaining to or
                                   knowledge possessed by any Individual Insured shall
                                   be imputed to any other Individual Insured for the
                                   purpose of determining if coverage is available.


                                   In the event that such Application contains any
                                   misrepresentations which materially affects either the
                                   acceptance of the risk or the hazard assumed by the
                                   Company under this Policy, then no coverage shall be
                                   afforded for any Claim based upon, arising out of,
                                   related to or in consequence of any such
                                   misrepresentation with respect to:


                                     I.   any Individual Insured who knew of such
                                          misrepresentations or knew of the facts or
                                          circumstances relating to such misrepresentations,
                                          or any Organization to the extent it indemnifies
                                          any such Individual Insured. Such knowledge
                                          possessed by such Individual Insured shall not
                                          be imputed to any other Individual Insured; or
                                     2.   any Organization if any past or present Chief
                                          Executive Officer, Chief Financial Officer, Chief
                                          Operating Officer, Chairperson, Executive
                                          Director, Human Resources Manager, In-House
                                          General Counsel, Managing Member or Fiduciary
                                          of any Plan or any equivalent position of the
                                          Named Insured, or the signer of the Application,
                                          knew of such misrepresentations or knew of the
                                          facts or circumstances relating to such
                                          misrepresentations.


VIII.   CHANGES IN EXPOSURE


        Creation, Acquisition of     I.   If, after the effective date of this Policy:
        or Merger with Another            a.   the Organization creates, acquires,
        Entity                                 consolidates or merges with another nonprofit
                                               entity incorporated under the laws of a
                                               jurisdiction within the territorial United
                                               States, (hereafter referred to as "other entity")
                                               such that the Organization is the surviving
                                               entity, and if as a result of such creation,
                                               acquisition, consolidation or merger, the other
                                               entity becomes a Subsidiary of the
                                               Organization, then coverage shall be
                                               provided for the other entity as an Insured
                                               solely for Wrongful Acts committed or




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                                     allegedly committed after the effective date of
                                     such creation, acquisition, consolidation or
                                     merger. The Insured shall disclose full
                                     particulars of such a change to the Company
                                     as soon as practicable but not later than the
                                     expiration date of the Policy Year, or
                                     effective date of cancellation or non-renewal
                                     of this Policy.
                                b.   However, if at the time of an event described
                                     in Paragraph 1, a., above:
                                      1.   the assets of the other entity exceed thirty
                                           five percent (35%) of the total assets of
                                           the Organization as reflected in the
                                           Organization's most recent annual
                                           financial statements; or
                                     11.   if the Employment Practices Liability
                                           Coverage Part is attached to this Policy,
                                           the total number of employees of the
                                           other entity exceeds thirty five (35%) of
                                           the total number of Employees of the
                                           Organization immediately prior to such
                                           event, then:


                                           the Named Insured shall provide to the
                                           Company written notice of such
                                           creation, acquisition, consolidation or
                                           merger, containing full details thereof, as
                                           soon as practicable but within sixty (60)
                                           days of such event. The Company, at its
                                           sole discretion, may require additional
                                           premium and may alter the terms,
                                           conditions or limitations of coverage.
                                           The Company reserves the right to
                                           refuse any extension of coverage to such
                                           entity.
                           2.   If, after the effective date of this Policy, the
                                Organization creates, acquires, consolidates or
                                merges with a for-profit entity, or any entity
                                incorporated outside of the territorial United
                                States, such that the Organization is the
                                surviving entity, and if as a result of such
                                creation, acquisition, consolidation or merger,
                                such for-profit or foreign entity becomes a
                                Subsidiary of the Organization, then:


                                the Named Insured shall provide to the




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                                    Company written notice of such creation,
                                    acquisition, consolidation or merger, containing
                                    full details thereof, as soon as practicable but
                                    within sixty (60) days of such event. The
                                    Company, at its sole discretion, may require
                                    additional premium and may alter the terms,
                                    conditions or limitations of coverage. The
                                    Company reserves the right to refuse any
                                    extension of coverage to such entity.


Cessation of Subsidiaries   If during the Policy Period any Subsidiary ceases to be
                            a Subsidiary, then coverage under this Policy shall
                            continue for such Subsidiary and its Individual
                            Insureds until the expiration of this Policy or the last
                            Policy in an uninterrupted series of policies issued by
                            the Company, but solely for Claims arising out of
                            Wrongful Acts committed or allegedly committed by
                            such Subsidiary or its Individual Insureds while such
                            Subsidiary was a Subsidiary and prior to the effective
                            date of such cessation. There shall be no coverage for
                            Claims arising out of actual or alleged Wrongful Acts
                            occurring on or after the effective date of cessation.

Takeover of the             In the event of a Takeover of the Named Insured:
Named Insured
                               l.   coverage under this Policy shall continue until
                                    the earlier of:
                                    a.   the expiration of the Policy Year; or
                                    b.   if the Policy is cancelled or non-renewed, the
                                         effective date of cancellation or non-renewal;


                                         but only with respect to Claims arising out of
                                         Wrongful Acts that occurred or allegedly
                                         occurred prior to the effective date of the
                                         Takeover. There shall be no coverage for
                                         Claims arising out of actual or alleged
                                         Wrongful Acts occurring on or after the date
                                         of Takeover;


                              2.    the Named Insured shall give the Company
                                    written notice of the Takeover as soon as
                                    practicable, but not later than sixty (60) days after
                                    the effective date of the Takeover; and
                               3.   the premium for the Policy Year in which the
                                    Takeover occurred shall be deemed to be fully



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                                    earned. The Named Insured shall have the right
                                    to purchase an Extended Reporting Period,
                                    subject to Section II . EXTENDED REPORTING
                                    PERIOD herein, to report Claims arising out of
                                    Wrongful Acts occurring prior to the effective
                                    date of any Takeover.


Merger, Sale, Transfer or   If after the inception date of the Fiduciary Liability
Termination of a Plan       Coverage Part, or the date the Fiduciary Liability
                            Coverage Endorsement is added to this Policy:


                               I.   the sponsorship of a Plan is transferred so that an
                                    Organization is no longer the sole employer
                                    sponsor of such Plan;
                              2.    a Plan is merged with another plan for which
                                    coverage is not afforded under the Fiduciary
                                    Liability Coverage Part;
                               3.   a Plan is terminated or sold; or
                              4.    the Pension Benefit Guaranty Corporation
                                    (PBGC) becomes the Trustee of a Plan;


                              then:


                                    a.   in the case of paragraphs I.,2. and 3. above,
                                         the Fiduciary Liability Coverage Part or the
                                         Fiduciary Liability Coverage Endorsement, as
                                         applicable, shall continue to apply to such
                                         transferred, merged, terminated or sold Plan,
                                         but solely for Claims based upon or arising
                                         out of Wrongful Acts that occurred or
                                         allegedly occurred prior to the date of such
                                         transfer, merger, termination or sale. There
                                         shall be no coverage for Claims arising out of
                                         actual or alleged Wrongful Acts occurring on
                                         or after the date of merger, transfer,
                                         termination or sale of any Plan as described
                                         in paragraphs I.,2. and 3. above; or
                                    b.   in the case of paragraph 4. above, the
                                         Fiduciary Liability Coverage Part or the
                                         Fiduciary Liability Coverage Endorsement
                                         shall continue to apply to such Plan for those
                                         who were Insureds at the time the PBGC
                                         became the Trustee of such Plan but solely
                                         for Claims based upon or arising out of
                                         Wrongful Acts that occurred or allegedly
                                         occurred prior to the date the PBGC became




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                                             the Trustee of such Plan. There shall be no
                                             coverage for Claims arising out of actual or
                                             alleged Wrongful Acts occurring on or after
                                             the date the PBGC becomes the Trustee of
                                             any Plan.


      Cancellation of the Policy   If the Named Insured requests cancellation of this
                                   Policy as a result of a "Creation, Acquisition of or
                                   Merger with Another Entity", "Cessation of
                                   Subsidiaries", or 'Takeover of the Named Insured", the
                                   Company shall compute earned premium on a pro rata
                                   basis and return any unearned premium to such entity as
                                   of the effective date of such cancellation as long as
                                   notice of the event is provided to the Company as soon
                                   as practicable but not later than sixty (60) days after
                                   such event, together with such information as the
                                   Company may require.


IX.   LIMITS OF LIABILITY


      "Each Claim"                 The "Each Claim" Limit of Liability shown on the
                                   Policy Declarations is the Company's maximum
                                   liability for Loss for each Claim to which the applicable
                                   Coverage Part applies, during each Policy Year.


      "Jn the Aggregate"           The "In the Aggregate" Limit of Liability shown on the
                                   Policy Declarations is the Company's maximum
                                   liability for Loss for all Claims to which the applicable
                                   Coverage Part applies, during each Policy Year.


      Policy Year Limits           The Limits of Liability for any Policy Year may not be
                                   aggregated or transferred, in whole or in part, so as to
                                   provide any additional coverage with respect to Claims
                                   first made or deemed made, as provided in Section V.
                                   NOTICE AND CLAIM REPORTING PROVISIONS of
                                   these General Terms and Conditions during any other
                                   Policy Year. If the applicable Limits of Liability for
                                   any Policy Year are exhausted, the Company's
                                   obligation for that Policy Year shall be deemed
                                   completely fulfilled and extinguished.


      Extended Reporting           The Extended Reporting Period will not provide a new,
      Period Limits                separate or additional Limit of Liability. The remainder
                                   of the Limit of Liability applicable to the Policy Year in
                                   effect as of the date of expiration, cancellation, or non­
                                   renewal is the maximum Limit of Liability for all




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                               Claims reported during the Extended Reporting Period.


     Defense Costs             Defense Costs shall be in addition to the Limits of
                               Liability for each Coverage Part purchased as shown
                               on the Policy Declarations, unless as otherwise provided
                               within that Coverage Part or by endorsement.


     Interrelated Claims       More than one Claim involving the same Wrongful Act
                               or Interrelated Wrongful Acts shall be considered as
                               one Claim pursuant to Section V. NOTICE AND
                               CLAIM REPORTING PROVISIONS, "Interrelated
                               Claims" and shall be subject to the Limit of Liability in
                               effect when the Claim was first made.


X.   RETENTIONS AND PRESUMPTIVE INDEMNIFICATION


     Retentions                Retentions set forth in the Policy Declarations for each
                               Coverage Part shall apply per Claim per Policy Year
                               under each respective Coverage Part.


                               If more than one Retention applies to any one Claim
                               then each applicable Retention shall be applied to the
                               applicable part of such Claim, but the sum of such
                               Retentions shall not exceed the highest of such
                               applicable Retentions.


                               Claims shall be subject to the Retention applicable to
                               the Policy Year during which the Claims are first made
                               as provided in Section V. NOTICE AND CLAIM
                               REPORTING PROVISIONS.


                               Except as otherwise provided by Section VII. TIMELY
                               NOTICE AND RESOLUTION INCENTIVE of the
                               Directors and Officers Coverage Part:


                                 I.   the Company shall be liable to pay only Loss and
                                      Defense Costs in excess of the applicable
                                      Retention for the Coverage Part to which the
                                      Claim applies;
                                 2.   the Company shall have no obligation to pay any
                                      part or all of such Retention on the Insured's
                                      behalf; and
                                 3.   if the Company, at its sole discretion, elects to
                                      pay any part of or all of such Retention, the
                                      Insured agrees to repay such amounts to the
                                      Company upon demand.




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      Presumptive Indemnification   Regardless of whether Loss or Defense Costs resulting
                                    from any Claim against an Individual Insured is
                                    actually indemnified by the Organization, the
                                    applicable Retention set forth in the Policy Declarations
                                    shall apply to any Loss and Defense Costs if
                                    indemnification of the Individual Insured by the
                                    Organization is legally permissible. The certificate of
                                    incorporation, charter, articles of association or other
                                    organizational documents of the Organization,
                                    including by-laws and resolutions, will be deemed to
                                    have been adopted or amended to provide
                                    indemnification to the Individual Insured to the fullest
                                    extent permitted by law.


                                    However, if an Individual Insured is not indemnified
                                    for Loss or Defense Costs solely by reason of:


                                      1. Financial Impairment;       or
                                      2.   a good faith determination by the Organization
                                           that such indemnification is not permitted by
                                           common or statutory law; then


                                    an Individual Insured's Retention for this Coverage
                                    Part shall be amended to   $0.

XI.   SPOUSAL AND DOMESTIC PARTNER EXTENSION


                                    If a Claim against an Individual Insured includes a
                                    Claim against the lawful spouse or Domestic Partner
                                    of such Individual Insured solely by reason of:


                                      1.   such spousal or Domestic Partner status; or
                                      2.   such spouse's or Domestic Partner's ownership
                                           interest in property or assets that are sought as
                                           recovery for Wrongful Acts; then


                                    any Loss which such spouse or Domestic Partner
                                    becomes legally obligated to pay on account of such
                                    Claim shall be deemed Loss which the Individual
                                    Insured becomes legally obligated to pay as a result of
                                    the Claim.


                                    This extension of coverage shall not apply to the extent a
                                    Claim alleges any Wrongful Act, error, omission,
                                    misstatement, misleading statement or neglect or breach




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                                 of duties by such spouse or Domestic Partner.


XII.    SUBROGATION


                                 In the event of payment under this Policy, the Company
                                 shall be subrogated to the Insureds' rights of recovery.
                                 The Insured shall do everything necessary to secure
                                 such rights, including the execution of such documents
                                 necessary to enable the Company to effectively bring
                                 suit in the name of any Company.


                                 In no event, however, shall the Company exercise its
                                 rights to subrogation against an Individual Insured
                                 under this Policy unless such Individual Insured:


                                    1.   has been convicted of a deliberate criminal act; or
                                   2.    has been determined by a final adjudication
                                         adverse to the Individual Insured to have
                                         committed a deliberate fraudulent act, or to have
                                         obtained any profit, advantage or remuneration to
                                         which such Individual Insured was not legally
                                         entitled.


                                 In the event the Company shall for any reason pay
                                 indemnifiable Loss on behalf of an Individual Insured,
                                 the Company shall have the contractual right hereunder
                                 to recover from the Organization or any Subsidiary the
                                 amount of such Loss equal to the amount of the
                                 Retention not satisfied by the Organization or any
                                 Subsidiary and shall be subrogated to rights of the
                                 Individual Insureds hereunder.


XIII.   CHANGES


                                 Notice to any agent or knowledge by any agent shall not
                                 affect a waiver or change in any part of this Policy or
                                 stop the Company from asserting any right under the
                                 terms of this Policy, nor shall the terms of this Policy be
                                 waived or changed except by an endorsement, issued by
                                 the Company to form a part of this Policy.


XIV.    AUTHORIZATION CLAUSE AND NOTICES


                                 By acceptance of this Policy, the Insured agrees that the
                                 Named Insured shall act on behalf of all Insureds with
                                 respect to:




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                                  I.   the payment of premiums or the receipt of any
                                       return premiums that may become due under the
                                       Policy;
                                 2.    the cancellation or non-renewal of this Policy;
                                 3.    the effecting of any changes to the Policy or
                                       purchasing of an Extended Reporting Period; or
                                 4.    the giving and receiving of all notices and
                                       correspondence.


                               Any notice given to the Named Insured by the
                               Company pursuant to Section VI. CANCELLATION
                               OR NON-RENEWAL shall be deemed to be notice to
                               all Insureds.



XV.    ASSIGNMENT


                               Assignment of interest under this Policy shall not bind
                               the Company until the Company's consent is endorsed
                               hereon.


XVI.   OTHER INSURANCE


                               This Policy is excess of other valid and collectable
                               insurance, unless such other insurance is specifically
                               written to be in excess of this Policy. For purposes of
                               this provision, "other valid and collectable insurance"
                               means insurance provided by an entity or organization
                               other than the Company.


                               When it is determined that both this insurance and other
                               insurance or self-insurance apply to any Claim on the
                               same basis, whether primary, excess or contingent, the
                               Company shall not be liable under this Policy for a
                               greater proportion of the Loss and Defense Costs than
                               the applicable Limit of Liability under the Policy for
                               such Loss and Defense Costs bears to the total
                               applicable Limit of Liability of all valid and collectible
                               insurance against such Claims.


XVII. TERMS OF POLICY
       CONFORMED TO
       STATUTE


                               Terms of this Policy which are in conflict with the
                               statutes of the state or territory wherein this Policy is




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                                 issued are hereby amended to conform to such statutes.


XVIII. ACTION AGAINST THE COMPANY


       Compliance                No action shall lie against the Company unless, as a condition
                                 precedent thereto, there has been full compliance with all of
                                 the terms of this Policy, and until the amount of the lnsured's
                                 obligation to pay shall have been finally determined either by
                                 judgment against the Insured after actual trial or by the
                                 lnsured's written agreement, the claimant or the claimant's
                                 legal representative, and the Company.


       Rights to Recover         Any person or the legal representatives thereof who has
                                 secured such judgment or written agreement shall thereafter be
                                 entitled to recover under this Policy to the extent of the
                                 insurance afforded by this Policy. No person or entity shall
                                 have any right under this Policy to join the Company as a
                                 party to any action against the Insured to determine the
                                 Insured's liability, nor shall the Company be impleaded by
                                 the Insured or the Insured's legal representatives.
                                 Bankruptcy or insolvency of the Insured or the Insured's
                                 successors in interest shall not relieve the Company of its
                                 obligations hereunder.


XIX.   POLICY TERRITORY


                                 This Policy shall apply worldwide.


XX.    COORDINATION OF COVERAGE


                                 Subject always to the applicable Limit of Liability, should two
                                 or more Coverage Parts apply to the same Claim, the
                                 Company will not pay more than the actual Loss incurred by
                                 the Insureds.


XXL    ACCEPTANCE


                                 This Policy embodies all agreements existing between the
                                 parties hereunder or any of their agents relating to this
                                 insurance.


XXII. LIBERALIZATION


                                 If within forty-five   (45) days of binding this Policy, the
                                 Company broadens coverage under any Coverage Part
                                 or the General Terms & Conditions attached to this



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                         Policy, and;


                           I.   such broadened coverage applies to policies in the
                                state or territory in which this Policy is written;
                           2.   the effective date of the policies which are to
                                receive the broadened coverage is after the
                                effective date of this Policy; and
                           3.   there is no additional premium charged for such
                                broadened coverage;


                         then the Company shall apply the broadened coverage
                         to this Policy as applicable for no additional premium,
                         but only for a Wrongful Act which first occurs after the
                         effective date of such broadened coverage.




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                  business resource center                                             bizresourcecenter.com




             As a policyholder through USLI or Devon Park Specialty, you have access to many services through the
             Business Resource Center that will assist you in growing and protecting your business. Consider the
             following services and associated cost savings when making your decision where to place your insurance'


             HUMAN RESOURCES
             »    Free human resources consultation hotline to be used for personnel issues including harassment and
                  discrimination, the Family and Medical Leave Act. disability, wage and hours regulations and more

             »    Online library with information. forms and articles pertaining to human resources

             »    Discounted human resources management system

             »    Resources for recruiting and training as well as termination and administration




                                                                                                             aa
             PRE-EMPLOYMENT AND TENANT SCREENINGS




@
             »    Discounted background checks, including multi-court criminal database
                  searches, county criminal searches and more (first background check is free)

             »


             »
                  Best practices for performing a background check

                  Discounted tenant and drug screenings and Motor Vehicle Reports (MVRs)                     13
                                                                                                             Try our cost
             PAYROLL AND TAXES                                                                               savings calculator
                                                                                                             to see how much
             »    Payroll processing and tax services tailored for either a small or large business
                                                                                                             you could save!
             »    Online business tax workshop provided by the Internal Revenue Service (IRS)


             CYBER RISK
             »    Materials about securing personal information and payment card information

             »    Complimentary access to tools and resources that will help you understand your exposure
                  to a data breach and the importance of a response plan

             »    Discounted identity theft monitoring and recovery


             MARKETING
             »    Suggested free and paid services for web marketing for your business. including email campaigns.
                  photo editing, file management and more

             »    Suggested free and paid services for social media platforms, development. management and more

             »    Discounted website package and access to consultants. designers and developers to help in the
                  creation of a website for your business

             »    Suggested free and paid services for building your own website and tracking
                  Search Engine Optimization (SEO)


             SAFETY
             »    Free on-site safety and occupational health consultation for your business

             »    Free personal credit report

             »    Disaster and emergency preparedness resources

             »    Discounted alcohol safety training for your staff and servers

             »    Youth resources for concussion training. waivers of liability, recognizing the signs and
                  symptoms of child abuse and more




For a full list of vendors, discounts and resources, visit        bizresourcecenter.com.
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In our continuing effort to provide you with excellent claim service, you may now report a claim
and get claim assistance 24 hours a day/7 days a week.




       For claim reporting, call toll free 1-888-875-5231 or visit
              USLl.COM and select the "report a claim" option.


For emergency claims requiring immediate assistance, please use the toll free option. Your call will
be referred to a claims professional who will respond within an hour of your call with direction and
assistance.


Thank you for placing your trust in our company. We pledge to work hard every day to earn
and maintain that trust.




                                                                                               US LI.COM

                                                                                            888-523-5545
                                                                                                       CRF 1i-�t
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                              ('I
                     cRisk�·o FREE PRIVACY BREACH RISK MANAGEMENT RESOURCES




                                                                                                                        -




In   2015, according to the Identity Theft Resource Center, more    Key Features of the eRisk Hub® Portal
than   783 breaches were reported and more than 675 million
records were exposed. The eRisk Hube portal, powered by
                                                                               Data Breach Calculators - Learn
                                                                       -
                                                                       ---     how to estimate the cost of a breach,
NetDiligence®, is an effective way to combat privacy breaches          ---
                                                                       ---     notification costs and business
and other types of cyber losses.                                       ---     interruption

                                                                               Learning Center - Best practices
With your USLI policy, you will receive                              /">....   articles, white papers and webinars
 instructions on how to access the eRisk Hub®
                                                                      1111
                                                                               from leading technical and legal
                                                                               experts. Highlighted topics include
 portal and begin using this benefit that is
                                                                               PCI compliance and social
 valued in excess of $1,200 a year!                                            engineering


eRisk Hub"' is the one-stop shop you need to become educated
                                                                               Security Training - Watch videos for
                                                                               best practices in security and privacy
and prepared for a privacy breach. This FREE service is available              awareness or download a training
to USU policyholders.                                                          guide


Using proprietary tools anchored in proven risk management                     Risk Manager Tools - Assists you in
                                                                               managing your cyber risk, including
principals, NetDiligence"' provides a full range of enterprise­
                                                                               a self-assessment, a sample website
level information security, e-risk insurability and regulatory                 privacy policy and a tool for HIPAA
compliance assessment and testing services. NetDiligence"'                     compliance

supports and is endorsed by some of the world's largest
                                                                               eRisk Resources -A directory to
                                                                       •
network liability insurance underwriters.                                      quickly find external resources with
                                                                      00       expertise in pre and post-breach
                                                                      •••      disciplines
 HOW TO START USING THIS FREE OFFERING:

        Go to eriskhub.com/usli                                                Consultation   - Breach Coach,
                                                                               HIPAA Coach and Security Coach
        Click "Register Now" to set up a free account
                                                                               available to assist you
        Create your own usemame and password; your access

        code is   08451
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                                                                                                                                                                                                                   USLl.COM
                                                                                                                                                                                                             888-523-5545



 Check Out Your New Employment Practices Liability Risk
 Management Toolkit from PeopleSystems


Free Employment Practices Liability (EPL) Helpline                                                                    Online Human Resources Center
1-888-811-4182                                                                                                        www.peoplesystems.com/USLI
(8 a.m. to 7:30 p.m. Eastern Time)                                                                                    To access the USU policyholder features, click on
                                                                                                                      "Request for client login" and complete with your information. Please
If a human resource consulting firm offered you their time and                                                        take a moment to become familiar with the new PeopleSystems
expertise for free, would you lock their phone number and email                                                       Resource Center's information.
address in a drawer and never call? Of course not! Do you have
                                                                                                                          •       Helpline to email your human resource questions: Now you
questions such as:                                                                                                                can email your questions vla this web portal.
  •     What are the current federal and state employment laws I need                                                     •       Human resource news center and recent employment law
        to know?
                                                                                                                                  changes: The news center keeps you up-to-date with recent
  ..    What are "wage and hour" regulations? What does "exempt"                                                                  changes in state and federal employment laws and what they
        versus "non-exempf mean?                                                                                                  mean to you as well as pertinent articles on employment issues

  ,.    How should I handle terminating, suspending or warning an                                                                you need to know about

        employee?                                                                                                         �       Human resource manual and employment forms: You

  .-    What type of human resources policies should I have in place?                                                             will find "Best Practices" helpful for handling common human
                                                                                                                                 resource issues. Issues may include conducting employee
  ,.    How should I properly document performance issues and
                                                                                                                                 evaluations and understanding employment laws such as
        disciplinary actions in an employee's file?
                                                                                                                                 FLSA, FMLA and COBRA.
  ,.    What are appropriate and inappropriate questions to ask during
                                                                                                                         ;.      Human resource recommendations: You will also find
        an employment interview?
                                                                                                                                 sample human resource policies regarding discrimination,
  •     What guidelines s)1ould I use to investigate a complaint of                                                              harassment, employment at-will and electronic
        discrimination or harassment?                                                                                            communications.


PeopleSystems is just a free phone call or email away!




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        EXHIBIT

                             3
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    ND02557425A
                                  Mount Vernon Fire Insurance Company
   Renewal of Number
                                  1190 Devon Park Drive, Wayne, Pennsylvania 19087
POLICY DECLARATIONS              A Member Company of United States Liability Insurance Group

No. ND02557425B


NAMED INSURED AND ADDRESS:
NAHANT PRESERVATION TRUST
PO BOX30
NAHANT, MA 01908




POLICY PERIOD: (MO. DAY YR.)          From:   06/19/2020 To: 06/19/2021                     12:01 A.M. STANDARD TIME AT YOUR
                                                                                              MAILING ADDRESS SHOWN ABOVE



BUSINESS DESCRIPTION: Non-Profit Directors and Officers

           IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
                                WITH YOU TO PROVIDE THE INSURANCE AS S T ATED IN THIS POLICY.

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM I S I ND ICATED            .




                                                                                          PREMIUM

           Non Profit Management Liability Coverage Parts                                   $698.00




                                                       TOTAL:                                $698.00




Coverage Form(s) and Endorsement(s) made a part of this policy at time of issue

                                               See Endorsement EOD (1/95)

Agent:      MCGOWAN, DONNELLY & OBERHEU, LLC (1818)                                 Issued: 06/22/2020 10:16 AM
            2700 Via Fortuna Drive, Suite 145
            Austin, TX 78746

 Broker:
                                                                              By:


                      THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
                      COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISS UED TO FORM A PART THEREOF,
   UPD      (OS-O?)   COMPLETE THE ABOVE NUMBERED POLICY.
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                                     EXTENSION OF DECLARATIONS


Policy No. ND025574258                                                     Effective Da te:   06/19/2020

                                                                           12:01   AM STANDARD TIME AT YOUR MAILING ADDRESS


FORMS AND ENDORSEMENTS


     The following forms apply to the Management Liability coverage part
     Endt#                 Revised                      Description of Endorsements

     DO Jacket              06/17            Non Profit Management Liability Policy Jacket
     D0-100                 05/17            Directors and Officers Coverage Part
     D0-201                 05/17            Accreditation/Certification/Standard Setting Exclusion
     D0-209                 05/17            Absolute Professional Liability Exclusion

     D0-224A                05/17            Sexual Abuse Exclusion

     D0-233                 05/17            Builder or Developer Exclusion

     D0-283                 05/17            Data and Security Plus Endorsement
     D0-298                 05/17            Amendment of Prior or Pending Litigation Exclusion

     DO-GTC                 05/17            General Terms and Conditions




   EOD   (01/95)                        All other terms and conditions remain unchanged.                   Page     of   1
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                  NON PROFIT MANAGEMt:.NT LIAt:11LI I Y COVERAGE PART DECLARATluNS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425B                                                              Ef fective Date:   06/19/2020
                                                                                                      12:01 AM STANDARD TIME


  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS

      NAHANT PRESERVATION TRUST
      PO BOX30
      NAHANT, MA 01908




  ITEM II. POLICY PERIOD: (MM/DD/YYYY)               From:   06/19/2020 To: 06/19/2021

  Non Profit Directors and Officers Liability Coverage Part
      ITEM Ill. LIMITS OF LIABILITY

             a.    Non Profit Directors & Officers      $1,000,000         EACH CLAIM

             b. Non Profit Directors & Officers         $1,000,000         IN THE AGGREGATE




      ITEM IV. RETENTION:                               $0                 EACH CLAIM

      ITEM V. PREMIUM                                   $698

      RETROACTIVE DATE:                                 Full Prior Acts

      PRIOR OR PENDING LITIGATION                       See form D0-298

 Employment Practices Liability Coverage Part
       ITEM Ill. LIMITS OF LIABILITY
                 a. Employment Practices                 NOT COVERED

             b. Employment Practices

       ITEM IV. RETENTION:                               NOT COVERED

       ITEM V. PREMIUM:                                  NOT COVERED




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

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                  NON PROFIT MANAGEMENT LIABILITY COVERAGE PART DECLARATIONS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425B                                                         Effective Date:   06/19/2020
                                                                                                12:01 AM STANDARD TIME


  Fiduciary Liability Coverage Part
       ITEM Ill. LIMITS OF LIABILITY
                 a. Fiduciary Liability           NOT COVERED



       ITEM IV. RETENTION:                        NOT COVERED

       ITEM V. PREMIUM:                           NOT COVERED




       ITEM VI. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
             See Endorsement EOD (01/95)




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.


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                 business resource center                                            bizresourcecenter.com




As a policyholder through USU or Devon Park Specialty, you have access to many free and discounted services through
the Business Resource Center that will assist you in operating, growing and protecting your business. Consider the
following services and associated cost savings when deciding where to place your insurance!



              HUMAN RESOURCES
                »   Free human resources consultation hotline to be used for personnel issues. including
                    harassment and discrimination. the Family and Medical Leave Act, disability, wage and
                    hours regulations and more

                »   Online library with information, forms and articles pertaining to human resources

                »   Discounted sexual harassment training and more

                »   Resources for recruiting and training as well as termination and administration


              PRE-EMPLOYMENT AND TENANT SCREENINGS

                                                                                                          aa
@
                »   Discounted background checks. including multi-court criminal database
                    searches, county criminal searches and more (first background check is free)

                    Best practices for performing a background check

                                                                                                          a•
                »

                »   Discounted tenant and drug screenings and motor vehicle reports (MVRs)

                                                                                                          Try our cost-savings




@
              PAYROLL AND TAXES                                                                           calculator to see
                                                                                                          how much you
                »   Discounted payroll processing and tax services tailored for either a small
                                                                                                          could save!
                    or large business


              CYBER RISK



@
                »   Materials about securing personal and payment card information

                »   Complimentary access to tools and resources that will help you understand your exposure
                    to a data breach and the importance of a response plan


              MARKETING
                »   Suggested free and paid services. including email campaigns. photo editing. file management and
                    more. for web marketing for your business

                »   Suggested free and paid services for social media platforms. development. management and more

                »   Discounted promotional items. giveaways and signage


              SAFETY
                »   Free on-site safety and occupational health consultation for your business

                »   Free personal credit report

                »   Disaster and emergency preparedness resources

                »   Discounted alcohol and food server safety training for your staff and servers

                »   Discounted CPR and first aid training

                »   Youth resources for concussion training, waivers of liability, recognizing the signs and
                    symptoms of child abuse, and more




For a full list of vendors, discounts and resources, visit            bizresourcecenter.com.
                                                                                                               BRC·Ou.:>te and Policy 3/20
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In our continuing effort to provide you with excellent claim service, you may now report a claim
and get claim assistance 24 hours a day/7 days a week.




       For claim reporting, call toll free 1-888-875-5231 or visit
              USLl.COM and select the "report a claim" option.


For emergency claims requiring immediate assistance, please use the toll free option. Your call will
be referred to a claims professional who will respond within an hour of your call with direction and
assistance.


Thank you for placing your trust in our company. We pledge to work hard every day to earn
and maintain that trust.




                                                                                               US LI.COM

                                                                                            888-523-5545
                                                                                                       CkF i2. ii:.
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                                         ('I
                                cRisk.Jl'o FREE PRIVACY BREACH RISK MANAGEMENT RESOURCES

                                                                                                                 '




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             ...,
   t




       In   2015, according to the Identity Theft Resource Center, more   Key Features of the eRisk Hub® Portal
   than 783 breaches were reported and more than 675 million
                                                                                     Data Breach Calculators - Learn
   records were exposed. The eRisk Hub" portal, powered by                   -
                                                                             ---     how to estimate the cost of a breach,
   NetDiligence"', is an effective way to combat privacy breaches            ---     notification costs and business
                                                                             ---
   and other types of cyber losses.                                          ---     interruption

                                                                                     Learning Center - Best practices
        With your USLI policy, you will receive                            /"':>..   articles, white papers and webinars


                                                                            1111
        instructions on how to access the eRisk Hub®                                 from leading technical and legal
                                                                                     experts. Highlighted topics include
        portal and begin using this benefit that is
                                                                                     PCI compliance and social
        valued in excess of $1,200 a year!                                           engineering

                                                                                     Security T raining -Watch videos for
   eRisk Hub'" is the one-stop shop you need to become educated
                                                                                     best practices in security and privacy
   and prepared for a privacy breach. This FREE service is available                 awareness or download a training
   to USU policyholders.                                                             guide


       Using proprietary tools anchored in proven risk management                    Risk Manager Tools -Assists you in
                                                                                     managing your cyber risk, including
       principals. NetDiligence"' provides a full range of enterprise­
                                                                                     a self-assessment, a sample website
       level information security, e-risk insurability and regulatory                privacy policy and a tool for HIPAA
       compliance assessment and testing services. NetDiligence"
                                                                                     compliance

       supports and is endorsed by some of the world's largest
                                                                                     eRisk Resources -A directory to
                                                                              •
       network liability insurance underwriters.                                     quickly find external resources with
                                                                             00      expertise in pre and post-breach
                                                                            •••      disciplines
         HOW TO START USING THIS FREE OFFERING:

                    Go to eriskhub.com/usli                                          Consultation - Breach Coach,
                                                                                     HIPAA Coach and Security Coach
                    Click "Register Now" to set up a free account
                                                                                     available to assist you
                    Create your own username and password; your access

                    code is 08451
                                                                                                     .   "
                                                                                                             j       i
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                                                                                                                                        USLl.COM
                                                                                                                                   888-523-5545




 Check Out Your New Employment Practices Liability Risk
 Management Toolkit from PeopleSystems


Free Employment Practices Liability (EPL) Helpline                       Online Human Resources Center
1-888-811-4182                                                           www.peoplesystems.com/USLI
(8 a.m. to 7:30 p.m. Eastern Time)
                                                                         To access the USLI policyholder features, click on
                                                                         "Request for client login" and complete with your information. Please
If a human resource consulting firm offered you their time and           take a moment to become familiar with the new PeopleSystems
expertise for free, would you lock their phone number and email          Resource Center's information.
address in a drawer and never call? Of course not! Do you have
                                                                           •     Helpline to email your human resource questions: Now you
questions such as:                                                               can email your questions via this web portal.
  •     What are the current federal and state employment laws I need      •     Human resource news center and recent employment law
        to know?                                                                 changes:The news center keeps you up-to-date with recent
  .,.   What are "wage and hour" regulations? What does "exempt"                 changes in state and federal employment laws and what they
        versus "non-exempt" mean?                                                mean to you as well as pertinent articles on employment issues

  .,.   How should I handle terminating, suspending or warning an                you need to know about.

        employee?                                                          _.,   Human resource manual and employment forms: You

  .,.   What type of human resources policies should I have in place?            will find "Best Practices" helpful for handling common human
                                                                                 resource issues. Issues may include conducting employee
 ,.     How should I properly document performance issues and
                                                                                 evaluations and understanding employment laws such as
        disciplinary actions in an employee's file?
                                                                                 FLSA, FMLA and COBRA.
 fl>    What are appropriate and inappropriate questions to ask during
                                                                           ,..   Human resource recommendations: You will also find
        an employment interview?
                                                                                 sample human resource policies regarding discrimination,
 .,     What guidelines should I use to investigate a complaint of               harassment, employment at-will and electronic
        discrimination or harassment?                                            communications.


PeopleSystems is just a free phone call or email away!




                                                                                                                                 E?l. Hel,-li'1e Policy S!17
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                                                     NON PROFIT



                                                 MANAGEMENT



                                                          LIABILITY



                                                             POLICY

   UNITED STATES LIABILITY
     INSURANCE GROUP
          A BERKSHIRE HATHAWAY COMPANY

                                              This policy jacket together with the policy declarations,
               1190 Devon Park Drive
                                               coverage forms and endorsements, if any, complete
              Wayne, PA 19087-21 9 1
                                                                     this policy.
              888-523-5545   -   USU.COM

                                                The enclosed declarations designates the issuing
                                                                     company.




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                       NON PROFIT MANAGEMENT LIABILITY POLICY



                                Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested. Where required by law,
 this Policy shall not be valid unless countersigned by a duly authorized representative of the company.


 Secretary                                                  President




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     Non-Profit Management Liability Policy                    Directors and Officers Coverage Part


     In consideration of payment of the premium and subject to the Policy Declarations, General
     Terms and Conditions, and the limitations, conditions, provisions and all other terms of this
     Coverage Part, the Company and the Insureds agree as follows:


     Words that are in bold have special meaning and are defined in Section III. DEFINITIONS of
     this Coverage Part, or in Section I. DEFINITIONS of the General Terms and Conditions,
     incorporated in or attached to this Coverage Part, as applicable.


I.   INSURING AGREEMENTS


     A. Individual Insured - Non­           The Company will pay, on behalf of an Individual
        Indemnified Coverage                Insured, Loss and Defense Costs resulting from a
                                            Claim first made against an Individual Insured during
                                            the Policy Period, or Extended Reporting Period, if
                                            applicable, to the extent such Individual Insured is not
                                            indemnified by the Organization for such Loss and
                                            Defense Costs.


     B. Individual Insured -                The Company will pay, on behalf of the Organization,
        Indemnified Coverage                Loss and Defense Costs resulting from a Claim first
                                            made against an Individual Insured during the Policy
                                            Period, or Extended Reporting Period, if applicable, but
                                            only to the extent the Organization indemnifies such
                                            Individual Insured for such Loss and Defense Costs as
                                            permitted or required by law.


     C. Organization Coverage               The Company will pay, on behalf of the Organization,
                                            Loss and Defense Costs resulting from a Claim first
                                            made against the Organization during the Policy
                                            Period, or the Extended Reporting Period, if applicable.


IL   INDIVIDUAL INSURED - NON-INDEMNIFIED COVERAGE ADDITIONAL LIMIT


     "Dedicated Limit - Insuring            The Company shall pay an additional limit of liability,
     Agreement A"                           not to exceed an aggregate of $1,000,000 per Policy
                                            Period, solely for Loss covered under Section I.
                                            INSURING AGREEMENT, Subsection A. Individual
                                            Insured Non-Indemnified Coverage. This additional
                                            limit of liability shall be paid only after the applicable
                                            Limit of Liability for Individual Insured- Non­
                                            Indemnified Coverage of the Directors & Officers
                                            Liability Coverage Part shown in the Policy
                                            Declarations is completely exhausted by payment of
                                            Loss.



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III.   DEFINITIONS


       Claim                        means any:


                                       1. written demand for monetary damages or non­
                                             monetary relief, including injunctive relief;
                                       2. civil proceeding commenced by service of a
                                             complaint or similar pleading;
                                       3. criminal proceeding commenced by the return of
                                             an indictment;
                                       4. administrative or regulatory proceeding
                                             commenced by the filing of a formal written
                                             notice of charges, notice of violations, notice of
                                             investigation, cease and desist or similar action;
                                       5. arbitration, mediation or other alternative dispute
                                             resolution proceeding in which the Insured is
                                             obligated to participate if the Insured agrees to
                                             participate with the Company's prior written
                                             consent; or
                                       6.    other proceeding initiated before any
                                             governmental body which is authorized to render
                                             an enforceable judgment, order for monetary
                                             damages or other relief;


                                             received by, or brought or initiated against any
                                             Insured alleging a Wrongful Act, including any
                                             appeal therefrom.


                                             Claim also means any:


                                       7. written request, first received by an Insured to
                                             toll or waive a statute of limitations relating to a
                                             potential Claim as described in subparagraphs 1.
                                             through 6. above.

                                    A Claim shall be deemed made on the earliest of the
                                    date of service upon, or receipt by, any Insured of a
                                    potential Claim as described in subparagraphs 1.
                                    through 7. above.


       Defense Costs                means:


                                        I. reasonable and necessary legal fees and expenses
                                             incurred by the Company, or by any attorney
                                             designated by the Company to defend the
                                             Insured; and



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                                 2. all other fees, costs, costs of attachment or
                                    similar bonds (without any obligation on the
                                    Company's part to apply for or furnish such
                                    bonds);

                                 resulting from the investigation, adjustment, defense
                                 and appeal of a Claim. Defense Costs does not
                                 include Loss or the Insured 's salaries, wages,
                                 overhead or benefits expenses.



Employed Attorney Services   means legal services provided by any Individual
                             Insured, but only to the extent that such services are
                             performed directly to the Organization and in the
                             Individual Insured's capacity as an Employee of the
                             Organization.


                             Any services rendered by an Individual Insured for any
                             party other than the Organization shall not constitute
                             Employed Attorney Services.


Employee                     means any natural person whose labor or service is
                             engaged and directed by the Organization while
                             performing duties related to the conduct of the
                             Organization's business and includes leased, part-time,
                             seasonal and temporary workers, independent
                             contractors, volunteers and interns.

Executive                    means any natural persons who are directors, trustees,
                             officers, managing members, advisory board members
                             or committee members or any equivalent position of the
                             Organization.


Excess Benefit Transaction   means a transaction as defined in Internal Revenue
                             Code, Title 26 §4958 (c)( l).

Excess Benefit Transaction   means any excise tax imposed by the Internal Revenue
Excise Tax                   Service, pursuant to Section 4958(a)(2) of the Internal
                             Revenue Code, 26 U.S.C. § 4958(a)(2), against an
                             Individual Insured who participated as an
                             Organization Manager in connection with an Excess
                             Benefit Transaction.


Individual Insured           means any past, present or future:

                                 I.   Executive;
                                 2. Employee; or


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                                   3. the estates, heirs, legal representatives or assigns
                                      of 1. and 2., above in the event of their death,
                                      incapacity or bankruptcy.


Loss                           means the amount the Insured becomes legally
                               obligated to pay as a result of a Claim, including:


                                   I. damages, settlements and judgments;
                                   2. pre-judgment and post judgment interest;
                                   3. punitive or exemplary damages to the extent such
                                      damages are insurable under applicable law,
                                      statute or regulation;
                                  4. the multiplied portion of any multiple damage
                                      award to the extent such damages are insurable
                                      under applicable law, statute or regulation; and
                                   5. any ten percent (10%) Excess Benefit
                                      Transaction Excise Tax assessed by the Internal
                                      Revenue Service against any Individual
                                      Insured, subject to a $100,000 maximum
                                      sublimit of liability per Policy Period for Loss
                                      and Defense Costs, combined provided, however
                                      that indemnification by the Organization for
                                      such taxes is not expressly prohibited in the
                                      bylaws, certificate of incorporation or other
                                      governing documents of the Organization. This
                                      sublimit of liability is part of and not in addition
                                      to the applicable Directors and Officers Limit of
                                      Liability as set forth on the Policy Declarations.


                                   For the purpose of determining the insurability of
                                   damages in items 3. and 4. above, the laws of the
                                   jurisdiction most favorable to the insurability of such
                                   damages shall control; provided that such
                                  jurisdiction has a substantial relationship to the
                                   relevant Insured or to the Claim giving rise to the
                                                               ·



                                   damages.


                               However, Loss does not include:


                                   I. fines, penalties, sanctions and forfeitures;
                                   2. taxes, except for any ten percent ( 10%) Excess
                                      Benefit Transaction Excise Tax as outlined in
                                      subparagraph 5. above of this definition of
                                      "Loss", or as otherwise provided by
                                      endorsement;
                                   3. any amount uninsurable under the law pursuant




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                                        to which this Policy is construed;
                                   4. cost of compliance with any order for, grant of or
                                        agreement to provide non-monetary or injunctive
                                        relief;
                                   5. any unpaid salary, wages, commissions,
                                        severance, bonus or incentive compensation that
                                        is due or alleged to be due to any person; or
                                   6.   any amount for which an Individual Insured is
                                        absolved from payment by reason of any
                                        covenant, agreement or court order.


Organization Manager           means a person or persons described in Internal Revenue
                               Code, Title 26 §4958(f).


Outside Entity                 means any not-for-profit organization that qualifies as
                               such under Section 50l(c) of the Internal Revenue Code
                               of 1986 (as amended), that is not an Insured.


Outside Capacity               means the service, other than Employed Attorney
                               Services, of an Individual Insured while acting in the
                               capacity of director, officer, trustee, managing member
                               or any equivalent position of an Outside Entity, but
                               only if such service is provided on behalf of the Outside
                               Entity with the specific knowledge, request, consent or
                               direction of the Named Insured.


Personal Injury Wrongful Act   means any actual or alleged false arrest, wrongful
                               detention, malicious prosecution, invasion of privacy,
                               wrongful entry or eviction, libel, slander or defamation.


Pollutants                     means any solid, liquid, gaseous, bacterial, fungal,
                               electromagnetic, thermal or other substance, smoke,
                               vapor, soot, fumes, acids, alkalis, chemicals, toxic
                               materials, 'Volatile Organic Compound', 'Organic
                               Pathogen', 'Silica', asbestos, lead and gases therefrom,
                               radon, combustion byproducts, noise and 'Waste'.
                               Specific examples include, but are not limited to diesel,
                               kerosene, and other fuel oils, carbon monoxide, and
                               other exhaust gases, mineral spirits and other solvents,
                               tetrachloroethylene, perchloroethylene (PERC),
                               trichloroethylene (TCE), methylene chloroform, and
                               other dry cleaning chemicals, chlorofluorocarbons,
                               chlorinated hydrocarbons, adhesives, pesticides,
                               insecticides, and all substances specifically listed,
                               identified, or described by one or more of the following
                               references:




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                                 I. Comprehensive Environmental Response,
                                    Compensation, and Liability Act (CERCLA)
                                    Priority List Hazardous Substances (1997 and all
                                    subsequent editions); or
                                 2. Agency for Toxic Substances And Disease
                                    Registry ToxFAQsTM; or
                                 3. U.S. Environmental Protection Agency EMCI
                                    Chemical References Complete Index.

                             For the purposes of this definition;

                                 I. 'Volatile Organic Compound' means any
                                    compound which discharges organic gases as it
                                    decomposes or evaporates, examples of which
                                    include but are not limited to formaldehyde,
                                    pesticides, adhesives, construction materials
                                    made with organic chemicals, solvents, paint
                                    varnish and cleaning products.
                                 2. 'Organic Pathogen' means any organic irritant or
                                    contaminant, including but not limited to mold,
                                    fungus, bacteria or virus, including but not
                                    limited to their byproduct such as mycotoxin,
                                    mildew, or biogenic aerosol.
                                 3. 'Silica' means silica in any form and any of its
                                    derivatives, including but not limited to silica
                                    dust, silicon dioxide, crystalline silica, quartz, or
                                    non-crystalline (amorphous) silica.
                                 4. 'Waste' means any property intended to be
                                    disposed, recycled, reused or reclaimed by the
                                    owner or user thereof.

Publisher Wrongful Act       means any infringement of copyright, trademark,
                             unauthorized use of title, or plagiarism or
                             misappropriation of ideas.

Wrongful Act                 means any:

                                 I.   actual or alleged act, error, omission,
                                      misstatement, misleading statement, neglect, or
                                      breach of duties;
                                 2.   Personal Injury Wrongful Act;
                                 3. Publisher Wrongful Act; or
                                 4.   Employed Attorney Services


                              committed or allegedly committed by:




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                                                      a.    the Organization;
                                                      b.    any Individual Insured, arising solely from
                                                            duties conducted on behalf of the
                                                            Organization or asserted against an
                                                            Individual Insured because of 1. above; or
                                                      c.    any Individual Insured while acting in an
                                                            Outside Capacity.


IV.   EXCLUSIONS


      A. The Company shall not be liable to make payment for Loss or Defense Costs in connection
         with any Claim made against the Insured arising out of, directly or indirectly resulting from,
         in consequence of, or in any way involving any actual or alleged:


      Conduct                                    I.    deliberately fraudulent act, omission, criminal
                                                       act, or willful violation of any statute or
                                                       regulation by any Insured; or
                                                 2.    any Insured having gained any profit,
                                                       remuneration or other advantage to which such
                                                       Insured was not legally entitled;


                                              provided that this exclusion will not apply to Defense
                                              Costs incurred until:


                                                       a.   a final, non-appealable adjudication in any
                                                            underlying proceeding or action establishes
                                                            such conduct; or
                                                       b.   the Insured has admitted, stipulated or
                                                            pleaded no contest to such conduct;


      Bodily Injury/Property                     1.    bodily injury, assault, battery, sickness, disease,
      Damage                                           death, mental anguish, humiliation or emotional
                                                       distress of any person; or
                                                 2.    damage to or destruction of any tangible property
                                                       including any resulting loss of use thereof;


                                              provided that this exclusion shall not apply to any
                                              mental anguish, humiliation or emotional distress
                                              asserted in an otherwise covered Claim alleging a
                                              Personal Injury Wrongful Act.


      Employee Benefits                       pension, profit sharing, welfare benefit or other
                                              employee benefit program established in whole or in
                                              part for the benefit of any Individual Insured, or based
                                              upon, arising out of or in any way involving the
                                              Employee Retirement Income Security Act of 1974 (or




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                               any amendments thereof or regulations promulgated
                               there under) or similar provisions of any federal, state
                               or local statutory law or common law;


Insured vs Insured             Claim brought by or on behalf of any Insured;
                               provided that this exclusion shall not apply to:


                                  I.   any derivative action on behalf of, or in the name
                                       or right of the Organization, if such action is
                                       brought and maintained independent of and
                                       without the solicitation, assistance, participation
                                       or intervention of any Insured;
                                 2.    any Claim in the form of a cross claim, third
                                       party claim or other claim for contribution or
                                       indemnity by any Individual Insured which is
                                       part of or results directly from a Claim which is
                                       not otherwise excluded under this Policy;
                                 3.    any Claim brought or maintained by or on behalf
                                       of a bankruptcy or insolvency trustee, examiner,
                                       liquidator, receiver, rehabilitator, or creditors
                                       committee for an Organization; or
                                 4.    any Claim brought and maintained by or on
                                       behalf of any former Executive, but on!y if such
                                       Claim does not arise out of, directly or indirectly
                                       result from, is in consequence of, or in any way
                                       involves any Wrongful Act, responsibilities,
                                       actions or failure to act by any Insured during
                                       the tenure of service of such former Executive.


Employment Practices           refusal to employ, termination of employment, or
                               employment related coercion, demotion, evaluation,
                               reassignment, discipline, workplace conditions, false
                               imprisonment, defamation, harassment, humiliation, or
                               discrimination of employment, or other employment­
                               related practices, policies, acts or omissions or sexual
                               harassment by any Insured against any person(s) or
                               entity; or negligence involving any of the foregoing;


                               it being understood that this exclusion applies whether
                               the Insured may be held liable as an employer or in any
                               other capacity and to any obligation to contribute with
                               or indemnify another with respect to such Claim;


Discrimination                 discrimination, including but not limited to
                               discrimination based on religion, race, creed, color, sex,
                               age, marital status, sexual preference, pregnancy,




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                               handicap or disability;


Outside Entity vs. Insured     Claim made by or on behalf of an Outside Entity or
                               one or more of the Outside Entity's directors, officers,
                               trustees, managing members or any equivalent position
                               against an Individual Insured acting in an Outside
                               Capacity, provided, however that this exclusion shall
                               not apply to:


                                 I.   any Claim brought derivatively on behalf of the
                                      Outside Entity, independently and without the
                                      direct solicitation, participation, intervention or
                                      assistance of the Outside Entity or any Insured
                                      in an Outside Capacity;
                                 2.   any Claim in the form of a cross claim, third
                                      party claim or other claim for contribution or
                                      indemnity by an Insured acting in an Outside
                                      Capacity and which is part of or results directly
                                      from a Claim which is not otherwise excluded
                                      under this Policy; and
                                 3.   any Claim brought or maintained by or on behalf
                                      of a bankruptcy or insolvency trustee, examiner,
                                      liquidator, receiver, rehabilitator, or creditors
                                      committee for an Outside Entity against an
                                      Insured acting in an Outside Capacity for such
                                      Outside Entity.


Pollution                        I.   discharge, emission, release, seepage, migration,
                                      dispersal or escape of Pollutants or any threat
                                      thereof, including nuclear reaction, radiation or
                                      contamination; or
                                 2.   treatment, removal or disposal of any Pollutants;
                                 3. regulation, order, direction or request to test for,
                                      monitor, clean up, remove, contain, treat,
                                      detoxify or neutralize any Pollutants; or any
                                      voluntary decision to do so; or
                                 4.   actual or alleged property damage including loss
                                      of use, bodily injury, sickness, disease or death of
                                      any person, or financial loss to an Organization
                                      or Outside Entity, their security holders, or their
                                      creditors resulting from any of the
                                      aforementioned matters in1., 2., or 3. above of
                                      this Exclusion.




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Prior or Pending Litigation           litigation, demand, claim, arbitration, decree, judgment,
                                      proceeding, or investigation against any Insured, which
                                      was pending on or prior to the Prior or Pending
                                      Litigation date referenced on the Policy Declarations, or
                                      any such action based on the same or essentially the
                                      same fact, circumstance, matter, situation, transaction
                                      or event underlying or alleged therein;


Prior Notice                            I.   fact, circumstance, matter, situation, transaction,
                                             event, or Wrongful Act that, before the effective
                                             date of this Policy, was the subject of any notice
                                             given under any similar policy of insurance; or
                                        2.   other fact, circumstance, matter, situation,
                                             transaction, event, or Wrongful Act whenever
                                             occurring, which together with a fact,
                                             circumstance, matter, situation, transaction,
                                             event, or Wrongful Act described in
                                             subparagraph I. above, would constitute
                                             Interrelated Wrongful Acts;


Prior Wrongful Acts of Subsidiaries     I.   Wrongful Act committed by an Individual
                                             Insured of any Subsidiary, or by such
                                             Subsidiary, occurring before the date such entity
                                             became a Subsidiary; or
                                        2.   other fact, circumstance, matter, situation,
                                             transaction, event, or Wrongful Act whenever
                                             occurring, which together with a fact,
                                             circumstance, matter, situation, transaction,
                                             event, or Wrongful Act described in
                                             subparagraph I. above, would constitute
                                             Interrelated Wrongful Acts;


Professional Services                 rendering or failure to render legal (except Employed
                                      Attorney Services), medical, psychological, counseling
                                      services or referrals, if the Claim is brought by or on
                                      behalf of any individual and/or entity for whom such
                                      services were, now are, or shall be performed;


                                      provided that this exclusion shall not apply to that part
                                      of a Claim against an Individual Insured which
                                      alleges that the Individual Insured, in his or her
                                      capacity as such, f ailed to supervise those who
                                      performed such services.




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      B. The Company shall not be liable to make payment for Loss or Defense Costs in connection
          with any Claim made against the Insured for actual or alleged:


      Contract                                   liability of the Insured under any express contract or
                                                 agreement to which an Organization is a party,
                                                 provided that this exclusion shall not apply to:


                                                   1.   the extent that such Organization would have
                                                        been liable in the absence of such contract or
                                                        agreement; and
                                                   2.   any Claim against an Individual Insured.


      No Wrongful Act of one or more Insureds shall be imputed to any other Insured for the
      purpose of determining the applicability of any of the above exclusions in Section A. or B.
      above .


V.    ORDER OF PAYMENTS


                                        In the event of Loss arising from a Claim for which payment
                                         is concurrently due under Insuring Agreement A., Individual
                                        Insured - Non-Indemnified Coverage, and one or more of the
                                        other Insuring      Agreements of      this Coverage Part,       the
                                         Company shall:


                                            I.    first pay Loss for which coverage is provided under
                                                  Insuring Agreement A., Individual Insured - Non­
                                                 Indemnified Coverage; then
                                            2.    with respect to whatever remaining amount of the
                                                  Lintit of Liability is available after payment above,
                                                  pay such Loss for which coverage is provided under
                                                  any other Insuring Agreement.


                                        Except as otherwise provided above, the Company may pay
                                         covered Loss as it becomes due under this Coverage Part
                                         without regard to the potential for other future payment
                                        obligations under this Coverage Part.


VI.   LIFETIME OCCURRENCE REPORTING PROVISION


                                             A. If this Policy is cancelled or not renewed by the
                                                  Named Insured for any reason other than being sold,
                                                  acquired, or declaring bankruptcy, each Individual
                                                  Insured who did not serve as such at the time of the
                                                  cancellation or non-renewal, shall be provided with an
                                                   unlimited extension of time to report any Claim first




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                                       made against such Individual Insured after the
                                       effective date of such cancellation or non-renewal,
                                       subject to the following conditions:


                                        I. the Claim results from a Wrongful Act committed
                                           by the Individual Insured before the effective
                                           date of cancellation or non-renewal; and
                                       2. the Wrongful Act was actually or allegedly
                                           committed during a Policy Period of a Policy
                                           issued by the Company; and
                                       3. such Individual Insured was serving in such
                                           capacity during the Policy Period of a Policy
                                           issued by the Company; and
                                       4. no Directors & Officers Liability policy, or similar
                                           policy providing essentially the same type of
                                           coverage, or extended reporting period, is in effect
                                           at the time the Claim is first made against such
                                           Individual Insured; and
                                        5 . the Claim is not otherwise excluded by the Policy
                                           issued by the Company in effect at the time the
                                           Wrongful Act actually or allegedly occurred; such
                                           Policy shall be the Policy under which coverage is
                                           applicable including all terms, conditions, limits,
                                           retentions, and endorsements therein.
                                       6. the Company will have written continuous
                                           coverage for Named Insured from the effective
                                           date of the first Policy the Company issued to the
                                           date of cancellation or non-renewal of this Policy.


                                    B. The LIFETIME OCCURRENCE REPORTING
                                       PROVISION described herein shall not apply to any
                                        Claim made against any Individual Insured caused
                                       by, arising or resulting, directly or indirectly from or
                                       in consequence of the Individual Insured's serving in
                                       an Outside Capacity for an Outside Entity.


VII.   TIMELY NOTICE AND RESOLUTION INCENTIVE


       Retention Forgiveness        In the event of a Claim, the Company shall waive the
                                    applicable retention under this Coverage Part, up to a
                                    maximum of $10,000, if each of the following conditions
                                    are met:


                                        I. The Claim is reported to the Company within
                                           thirty (30) days of first receipt by an Insured; and
                                       2. The Company successfully negotiates a



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                                              settlement of the Claim within the Limits of
                                              Liability of this Coverage Part; and
                                         3.   The Insured consents to the settlement of the
                                              Claim without condition within thirty (30) days
                                              after notice of the settlement is provided to the
                                              Insured by the Company; and
                                         4.   Settlement of the Claim is finalized by the
                                              Company within ninety (90) days of the Claim
                                              being first reported to the Company.



VIII.   OUTSIDE DIRECTORSHIP PROVISION


                                      In the event a Claim is made against any Individual
                                      Insured arising out of their service as a director, officer,
                                      trustee, managing member or any equivalent positions of
                                      an Outside Entity, coverage afforded under this Policy
                                      shall be excess of any indemnification provided by the
                                      Outside Entity and any insurance provided to the
                                      Outside Entity which covers its directors, trustees,
                                      officers, managing members or any equivalent position.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


          ACCREDITATION/CERTIFICATION/STANDARD SETTING
                                          EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. is amended by the addition of the following:


Accreditation/Certification/Standard       accreditation, certification, standard setting, or similar
Setting                                    such activities by or on behalf of any Insnred;



All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


            ABSOLUTE PROFESSIONAL LIABILITY EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. "Professional Services", is deleted in its entirety and replaced by the following:


Professional Services                       I.   rendering or failure to render any
                                                 professional services by any Insured,
                                                 whether or not such services are rendered
                                                 for a fee; or
                                            2.   Employed Attorney Services


It is further agreed that the Directors and Officers Coverage Part, Section III. DEFINITIONS,
Wrongful Act is amended by the deletion of Item 4. Employed Attorney Services.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                    NON PROFIT MANAGEMENT LIABILITY POLICY


                             SEXUAL ABUSE EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. is amended by the addition of the following:


Abuse/Molestation                          sexual misconduct, sexual molestation, or physical or
                                           mental abuse of any person.


It is also agreed that the Employment Practices Liability Coverage Part, Section II.
DEFINITIONS, is amended by the addition of the following:


Child Molestation                          means sexual misconduct, sexual molestation, or
                                           physical or mental abuse of any 'Child'. For the
                                           purposes of this definition:


                                            'Child' shall mean any natural person who was under
                                           eighteen (18) years of age at the time an act of Child
                                           Molestation is first committed.


It is also agreed that the Employment Practices Liability Coverage Part, Section II.
DEFINITIONS, "Wrongful Third Party Act" is amended by the addition of the following:


                                            This definition does not mean Child Molestation.


It is further agreed that the Employment Practices Liability Coverage Part, Section III.
EXCLUSIONS, Subsection B. is amended by the addition of the following:


Child Molestation                          Child Molestation, including any actual or alleged
                                           negligence in the hiring, supervision, training, screening
                                           or management of a person alleged to have committed
                                           an act of Child Molestation as well as any actual or
                                           alleged failure to report or failure to report in a timely
                                           manner any such act.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorse1nent modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


                     BUILDER OR DEVELOPER EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A., is amended by the addition of the following:


Builder or Developer                        acts, errors or omissions by or on behalf of any builder
                                            or developer, or any Claim made against any Insured
                                            by any builder or developer or by any person or entity
                                            acting on their behalf.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                       This Endorsement modifies insurance provided under the following:


                       NON PROFIT MANAGEMENT LIABILITY POLICY


                         DATA & SECURITY+ ENDORSEMENT

It is hereby agreed:


Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth in
this endorsement are solely applicable to coverage afforded by this endorsement. This
endorsement is part of and subject to the provisions of the Policy to which it is attached.


I.   SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS


The following is a summary of coverages and Limits of Liability provided by this
endorsement.


COVERAGE                                                   LIMIT OF LIABILITY


A. Data Breach Expense                                     $50,000 each claim
                                                                $50,000 in the aggregate


B. Identity Theft Expense                                  $50,000 each claim
                                                                $50,000 in the aggregate


C. Workplace Violence Act Expense                                   $50,000 each claim
                                                                $50,000 in the aggregate


D. Kidnapping Expense                                      $50,000 each claim
                                                                $50,000 in the aggregate


The maximum aggregate per Policy Period for A. through D. above shall be $200,000 in the
aggregate.


No retentions shall apply to the sublimits shown above.


IL COVERAGES:


     A. Data Breach Expense
        The Company will pay on behalf of the Organization up to the Data Breach Expense
        Limit of Liability stated in the schedule above, for reasonable and necessary expenses in
        items 1. through 6. below:
        I.   Development of a plan to assist the Organization in responding to a Data Breach;
        2.   Data analysis or forensic investigation to assess the scope of a Data Breach;
        3.   The development, printing and mailing of legally required notification letters to those
             affected by a Data Breach;




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      4.   Development of a website link for use by the Organization in communicating with
           persons affected by a Data Breach after legally required notification letters are sent;
      5. Development of a customer relationship management system for use by the
           Organization in communicating with persons affected by a Data Breach after
           legally required notification letters are sent;
      6. Public relations services or crisis management services retained by the Organization
           to mitigate the adverse affect on the Organization's reputation resulting from a Data
           Breach that becomes public and only after legally required notification letters are
           sent.


   incurred by the Organization as a result of a Data Breach. The Data Breach must be first
   occur, be discovered by an Insured, and reported to the Company during the Policy Period
   but in no event later than sixty (60) days after the Data Breach is first discovered by an
   Insured. The expenses below must be incurred within one      (1) year of the reporting of such
   Data Breach:


   The Organization must first report the Data Breach to the Company and use a service
   provider of the Company's choice prior to incurring any of the above costs.


B. Identity Theft Expense


   The Company will pay on behalf of a director or officer of the Organization up to the
   Identity Theft Expense Limit of Liability stated in the schedule above, for expenses,
   services or fees noted in items I. through 3. below:
       1. Credit monitoring services provided by a vendor of the Company's choice for the
           affected director or officer for up to one year following an Identity Theft;
      2.   Additional application fees paid by a director or officer whose loan(s) were rejected
           based on incorrect credit information resulting from an Identity Theft;
      3.   Notary fees, certified and overnight mail expenses paid by a director or officer in
           connection with reporting an Identity Theft to financial institutions, credit bureaus
           and agencies and law enforcement authorities.


   incurred by such director or officer after he or she has become a victim ofldentity Theft.
   The Identity Theft must first occur, be first discovered by an Insured, and reported to the
   Company during the Policy Period but in no event later than sixty    (60) days after the
   Identity Theft is first discovered by an Insured. The expenses above must be incurred
   within one ( 1) year of the reporting of such Identity Theft:


   Any director or officer of the Organization who is a victim of Identity Theft must first
   report the Identity Theft to the Company and use a service provider of the Company's
   choice prior to incurring any of the above expenses, services or fees.


C. Workplace Violence Act Expense
   The Company will reimburse the Organization, up to the Workplace Violence Act
   Expense Limit of Liability stated in the schedule above, for the following reasonable costs
   paid by the Organization for a period of thirty (30) days following, and as a result of, a




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   Workplace Violence Act:
       I.   Counseling services rendered to Employees and persons on the Organization's
            Premises direct! y affected by a Workplace Violence Act. The counseling services
            must be rendered by a licensed, professional counselor of the Organization's choice.
      2.    Services rendered by an independent public relations consultant of the
            Organization's choice for the purpose of mitigating the adverse affect of a
            Workplace Violence Act on the Organization.


   To be covered, the Workplace Violence Act must occur during the Policy Period and be
   reported to the Company during the Policy Period but in no event later than sixty (60)
   days after the occurrence.


D. Kidnapping Expense
   The Company will reimburse the Organization, up to the Kidnapping Expense Limit of
   Liability stated in the schedule above, for the following reasonable costs paid by the
   Organization as a result of a Kidnapping:
       I.   Retaining an independent negotiator or consultant to facilitate the release of a
            Kidnapping victim. Nothing herein shall obligate the Company to recommend,
            select, retain or arrange for the retention of such independent negotiator or consultant;
      2.    Interest on a loan obtained by the Organization to pay expenses covered under this
            endorsement that is incurred as a result of a Kidnapping. However, there is no
            coverage for interest accruing prior to thirty (30) days preceding the date of such
            payment or subsequent to the date the Company pays any portion of a Kidnapping
            Expense or for expenses not covered under this endorsement;
      3.    Travel and accommodations incurred by the Organization in direct response to the
            Kidnapping. Nothing herein shall obligate the Company to recommend, select, or
            arrange for such travel and accommodations;
      4.    A reward up to $10,000 paid by the Organization to an informant for information
            which leads to the arrest and conviction of the person(s) responsible for the
            Kidnapping;
      5.    The current base salary paid to a director or officer of the Organization for the
            director or officer's work on behalf of the Organization, who is a victim of a
            Kidnapping subject to the following:
            a.   salary reimbursement shall commence on the thirty-first (31st) consecutive day
                 after a Kidnapping;
            b.   salary reimbursement shall end when the director or officer is released; or is
                 confirmed dead; or one hundred and twenty (120) days after the director or
                 Officer is last confirmed to be alive; or twelve (12) months after the date of the
                 Kidnapping, or when the Kidnapping Expense Limit of Liability has been
                 exhausted by payments made by the Company, whichever occurs first.
                 There is no coverage for Kidnapping Expense resulting from a Kidnapping
                 planned, carried out or participated in, directly or indirectly, by any person who is
                 or was a member of the victim's family or the Organization.


   The Kidnapping must occur and be reported to the Company during the Policy Period but
   in no event later than sixty (60) days after the occurrence.




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III. ADDITIONAL DEFINITIONS


It is hereby agreed that the Directors and Officers Coverage Part, Section III. DEFINITIONS, is
amended by the addition of the following definitions:


Data Breach                            means the misappropriation or public disclosure, by
                                       electronic or non-electronic means, by the Organization
                                       and without the knowledge of, consent, or acquiescence
                                       of the president, member of the board of directors or any
                                       executive officer, of an individual(s) Personally
                                       Identifiable Information in the Organization's care;
                                       custody and control without the authorization or
                                       permission of the owner of such information.


Identity Theft                         Means:
                                           I.   the act of obtaining Personally Identifiable
                                                Information belonging to a director or officer of
                                                the Organization without that person's
                                                authorization, consent or permission; and
                                           2.   the use of Personally Identifiable Information
                                                so obtained to make or attempt to make
                                                transactions or purchases by fraudulently
                                                assuming that person's identity.


                                       Identity Theft does not mean any of the above
                                       committed directly or indirectly by a director or
                                       officer of the Organization, or by a family member of
                                       any director or officer.


                                       There is no coverage for any Identity Theft Expense
                                       unless Personally Identifiable Information
                                       that is obtained without authorization, consent or
                                       permission is used to make or attempt to make
                                       purchases or conduct transactions by fraudulently
                                       assuming the identity of a director or officer of the
                                       Organization.


Kidnapping                             means an actual or alleged wrongful abduction and
                                       involuntary restraint of a director or officer of the
                                       Organization, by one or more persons acting
                                       individually or collectively in which monetary or non­
                                       monetary demands are made to the Organization to
                                       obtain the director's or officer's release.




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Personally Identifiable                   means:
Information                                   I. information concerning an individual(s) that
                                                   would be considered "non-public information"
                                                   within the meaning of Title V of the Gramm­
                                                   Leach Bliley Act of 1999 (as amended) and its
                                                   implementing regulations including but not
                                                   limited to Social Security numbers or account
                                                   numbers correlated with names and addresses
                                                   which is in an Insured's care, custody and
                                                   control; and
                                              2. personal information as defined in any U.S.
                                                   federal, state or local privacy protection law
                                                   governing the control and use of an individual's
                                                   personal and confidential information, including
                                                   any regulations promulgated thereunder; and
                                              3.   protected health information as defined by the
                                                   Health Insurance Portability and Accountability
                                                   Act of 1996 (Public Law 104-191) ("HIPPA") or
                                                   the Health Information Technology for
                                                   Economic and Clinical Health Act of 2009
                                                   ("HITECH") (Public Law 111- 5), as amended,
                                                   and any regulations promulgated thereto.
                                                   Personally Identifiable Information does not
                                                   mean information that is available to the public
                                                   which does not include otherwise protected
                                                   personal information.



Premises                                  means buildings, facilities or properties leased or owned
                                          by the Organization in conducting its operations.


Workplace Violence Act                    means an actual use of unlawful deadly force, or
                                          the threatened use of unlawful deadly force involving
                                          the display of a lethal weapon, occurring on the
                                          Organization's Premises and directed at an Individual
                                          Insured, or other persons on the Premises of the
                                          Organization.



JV. LIMITS OF LIABILITY AND RETENTION


   1.    The maximum Limit of Liability for any expenses provided by this endorsement shall be
         in addition to the Limits of Liability as set forth in the Policy Declarations for the
         Directors and Officers Coverage Part.
   2.    Any one incident, interrelated incidents or series of similar or related incidents for which
         coverage is provided under this endorsement shall be treated as one incident subject to




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         the maximum Limit of Liability available under this endorsement at the time the
         incident(s) is first reported to the Company regardless of whether the incident(s)
         continues and expenses are incurred by the Organization in any subsequent Policy
         Period(s).


V. ADDITIONAL EXCLUSIONS


It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS, is
amended by the addition of the following:


Data Breach Related                          1.   Expense reimbursement resulting in any
                                                  Insured gaining any profit, remuneration
                                                  or advantage to which the Insured is not
                                                  legally entitled;
                                             2.   expenses incurred by any Subsidiary of
                                                  an Orgauizatiou occurring prior to the
                                                  date that such entity became a Subsidiary
                                                  or incurred at any time that such entity is
                                                  not a Subsidiary;
                                             3.   expenses arising from any incident(s) of
                                                  which any Insured had notice before the
                                                  inception date of this Policy; or any fact,
                                                  circumstance, event, situation or incident
                                                  which before the inception date of this
                                                  Policy was the subject of any notice under
                                                  any other similar policy of insurance or
                                                  any future claims for expenses under this
                                                  Policy based upon such pending or prior
                                                  notice;
                                             4.   The portion of any expenses covered
                                                  under this endorsement that is also
                                                  covered under any other coverage part of
                                                  this Policy;
                                             5. Reissuance of credit or debit cards or any
                                                  other expense not shown in Section II,
                                                  COVERAGES, sub-section A, Data
                                                  Breach Expense.




VI. COVERAGE LIMITATIONS


The following terms, conditions and exclusions in the General Terms and Conditions and the
Directors and Officers Coverage Part do not apply to this endorsement:
   1.    General Terms and Conditions
         a.   Section II. EXTENDED REPORTING PERIOD
         b.   Section XI. SPOUSAL AND DOMESTIC PARTNER EXTENSION




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   2.    Directors and Officers Coverage Part
         a.   Section IV. EXCLUSIONS, Subsection A. "Bodily Injury/Property Damage"
         b.   Section VI. LIFETIME OCCURRENCE REPORTING PROVISION
         c.   Section VIII. OUTSIDE DIRECTORSHIP PROVISION




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


   AMENDMENT OF PRIOR OR PENDING LITIGATION EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. "Prior or Pending Litigation" is deleted and replaced by the following:

Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                       essentially the same facts, circumstances, matters,
                                       situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                       effective date of this Policy;

                                       provided that, if this Policy is a renewal of a Policy
                                       previously issued by the Company in a continuous
                                       succession of Policies with no lapses in coverage,
                                       the effective date of this Policy will mean the
                                       effective date of the first Policy issued by the
                                       Company in such succession of Policies.


It is also agreed that the Employment Practices Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. "Prior or Pending Litigation" is deleted and replaced by the
following:

Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                       essentially the same facts, circumstances, matters,
                                       situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                       effective date of this Policy;

                                       provided that, if this Policy is a renewal of a Policy
                                       previously issued by the Company in a continuous
                                       succession of Policies with no lapses in coverage,
                                       the effective date of this Policy will mean the
                                       effective date of the first Policy issued by the
                                       Company in such succession of Policies.


It is also agreed that the Fiduciary Liability Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. "Prior or Pending Litigation" is deleted and replaced by the
following:




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Prior or Pending Litigation           Any litigation, demand, claim, arbitration, decree,
                                      judgment, proceeding, or investigation against any
                                      Insured, or any such action based upon the same or
                                      essentially the same facts, circumstances, matters,
                                      situations, transactions or events underlying or
                                      alleged therein which was pending on or prior to the
                                      effective date of this Policy;


                                      provided that, if this Policy is a renewal of a Policy
                                      previously issued by the Company in a continuous
                                      succession of Policies with no lapses in coverage,
                                      the effective date of this Policy will mean the
                                      effective date of the first Policy issued by the
                                      Company in such succession of Policies.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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     Non-Profit Management Liability Policy                           General Terms and Conditions
     Jn consideration of the payment of the premium and reliance upon all statements made and
     information furnished to the Company, including the statements made in the Application and
     subject to all the provisions of this Policy, the Company and the Insureds agree as follows:


     NOTICE: This is a Claims Made Policy. This means the Company will cover only those
     Claims first made against the Insured during the Policy Period or, where applicable, the
     Extended Reporting Period.


     If any provision in these General Terms and Conditions is inconsistent or in conflict with the
     terms and conditions of any Coverage Part, the terms and conditions of such Coverage Part
     shall control for the purposes of that Coverage Part.


     Any bolded term in a Coverage Part that is defined in these General Terms and Conditions shall
     have the meaning set forth in these General Terms and Conditions. Any bolded term in a
     Coverage Part that is defined in that Coverage Part shall have the meaning set forth in such
     Coverage Part.


     The descriptions in the headings and subheadings of this Policy are solely for convenience and
     form no part of the terms and conditions of coverage, and do not serve to express, confirm, alter
     or provide coverage.


I.   DEFINITIONS


     Application                        means:


                                          1.    an application and any materials submitted for this
                                                Policy; and
                                           2.   an application and any materials submitted for all
                                                previous Policies issued by the Company providing
                                                uninterrupted coverage.


                                        The content of I. and 2. above are incorporated by reference
                                        in this Policy as if physically attached hereto.


     Claim                              shall have the meaning as defined in the applicable Coverage
                                        Part.


     Company                            means the insurance company identified in the Policy
                                        Declarations.


     Coverage Part                      means individually or collectively, as applicable, the
                                        purchased coverage parts as set forth in the Policy
                                        Declarations as included and attached to and made a part of
                                        this Policy.




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Defense Costs                shall have the meaning as defined in the applicable Coverage
                             Part.


Domestic Partner             means any natural person qualifying as a domestic partner
                             under the provision of any applicable federal, state or local
                             laws.


Employee                     shall have the meaning as defined in the applicable Coverage
                             Part.


Financial Impairment         means:


                                1.   the appointment by any federal or state official, agency
                                     or court of any receiver, conservator, liquidator, trustee,
                                     rehabilitator, creditors committee or similar official to
                                     take control of, supervise, manage or liquidate the
                                     Organization and provided that the court or other
                                     judicial or administrative body overseeing the
                                     receivership, conservatorship, liquidation,
                                     rehabilitation, bankruptcy or equivalent proceeding has
                                     denied a request by the Organization to indemnify an
                                     Individual Insured for a Loss; or
                               2.    the Organization becoming a debtor in possession
                                     under the United States bankruptcy law or the
                                     equivalent of a debtor in possession under the law of
                                     any other country.


Insured                      means any Organization and any Individual Insured.


Individual Insured           shall have the meaning as defined in the applicable Coverage
                             Part.


Interrelated Wrongful Acts   means any Wrongful Acts based upon, arising from, or in
                             consequence of the same or related facts, circumstances,
                             situations, transactions or events, or that are logically or
                             causally connected by reason of any common or related series
                             of facts, circumstances, situations, transactions or events.


Loss                         shall have the meaning as defined in the applicable Coverage
                             Part.


Management Control           means:


                                I.   control of more than fifty percent (50%) of the voting
                                     rights representing the right to appoint, elect, or
                                     designate the majority of the board of directors, board




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                                    of trustees, or board of managers; or
                               2. control of exactly fifty percent (50%) of the voting
                                    rights representing the right to appoint, elect, or
                                    designate the majority of the board of directors, board
                                    of trustees, or board of managers; and pursuant to a
                                    written contract solely controls the management and
                                    operations of such entity.


Named Insnred               means the entity named in Item 1. of the Policy Declarations.


Organization                means:


                              I. the Named Insured and any Subsidiary; and
                              2. any entity as debtor in possession under United States
                                    bankruptcy law or equivalent status under the law of
                                    any other jurisdiction.


Plan                        shall have the meaning as defined in the applicable Coverage
                            Part.

Policy                      means collectively the Policy Declarations, General Terms
                            and Conditions, applicable Coverage Parts, applicable
                            endorsements, and the Application.


Policy Period               means the period of time from the effective date and time of
                            this Policy to the date and time of expiration as shown in the
                            Policy Declarations, or its earlier cancellation or termination
                            date. If the length of the Policy Period is the same as the
                            Policy Year, the terms Policy Period and Policy Year are
                            used interchangeably herein.


Policy Year                 means the period of one (I) year following the effective date
                            of the Policy Period or any subsequent one-year anniversary
                            thereof; or


                            In the event the Policy expires less than one(!) year following
                            the effective date of the Policy Period; or more than one (I)
                            year but less than two (2) years following the effective date of
                            the Policy Period; then Policy Year shall mean any such
                            period.


Subsidiary                  means:

                               I. any not-for-profit entity in which the Named Insured
                                    has Management Control directly or indirectly
                                    through one or more Subsidiaries on or before the




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                                        effective date of this Policy; and is disclosed as a
                                        Subsidiary in an Application to the Company; or
                                  2.    any other entity added as a Subsidiary by written
                                        endorsement to this Policy.

      Takeover                  means:


                                  1.    the acquisition by another entity or person or group of
                                        entities or persons acting in concert of:
                                        a.   the Management Control of the Named Insured;
                                             or
                                        b.   the acquisition of more than fifty percent ( 50%) of
                                             the total consolidated assets of the Named Insured
                                             as of the date of the Named Insured's most recent
                                             consolidated financial statements prior to such
                                             acquisition;
                                  2.    the merger of the Named Insured into another entity
                                        such that the Named Insured is not the surviving
                                        entity;
                                  3.    the consolidation of the Named Insured with another
                                        entity; or
                                  4.    the loss, forfeiture, or suspension of the Named
                                        Insured's tax exempt status.


      Wrongful Act              shall have the meaning as defined in the applicable Coverage
                                Part.


II.   EXTENDED REPORTING PERIOD


      Right to Purchase         If the Policy expires, is cancelled or not renewed for any
                                reason other than non-payment of premium, then the
                                Named Insured shall have the right to purchase an
                                Extended Reporting Period to report to the Company, as
                                soon as practicable prior to the expiration date of the
                                purchased Extended Reporting Period, any Claim against
                                an Insured.


                                An Extended Reporting Period shall only apply to
                                Claims arising from a Wrongful Act which was actualJy
                                or allegedly committed before the date of expiration,
                                cancellation or non-renewal of this Policy, or prior to the
                                effective date of any Takeover. For the purpose of this
                                clause, the offer of renewal terms and conditions or
                                premiums by the Company different from those in effect
                                prior to renewal shall not constitute a refusal to renew.




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       Options                     The additional premium for the Extended Reporting
                                   Period shall be a percentage of the total annual premium
                                   as shown in the Policy Declarations. The Named
                                   Insured may elect any one of the following options:


                                      I.   Twelve (12) month period   -   30% of the annual
                                           premmm;
                                     2. Twenty Four (24) month period - 75% of the
                                           annual premium; or
                                     3. Thirty Six (36) month period - 120% of the annual
                                           premium.


                                   The Extended Reporting Period begins on the expiration
                                   date of the Policy, or if cancelled or non-renewed, the
                                   effective date of such cancellation or non-renewal of the
                                   Policy.


       Payment & Notice to the     As a condition precedent to the right to purchase an
       Company                     Extended Reporting Period, the total earned premium for
                                   this Policy must have been paid to the Company. Any
                                   premium paid with respect to an Extended Reporting
                                   Period shall be deemed fully earned as of the first day of
                                   the Extended Reporting Period. The right to elect the
                                   Extended Reporting Period will terminate unless written
                                   notice of such election, together with payment of the
                                   additional premium as set forth above, is received by the
                                   Company within sixty (60) days of the effective date of
                                   the expiration, nonrenewal or cancellation of this Policy.


       Extended Reporting Period   The Extended Reporting Period will not provide a new,
       Limits                      separate or additional Limit of Liability. The remainder
       & Other Insurance           of the Limit of Liability applicable to the Policy Year in
                                   effect as of the effective date of the expiration,
                                   cancellation, or non-renewal is the maximum Limit of
                                   Liability for all Claims reported during the Extended
                                   Reporting Period.


III.   DEFENSE & SETTLEMENT


       Duty To Defend              The Company shall have the right and duty to
                                   defend any Claim covered by this Policy even if the
                                   allegations are groundless, false or fraudulent. The
                                   Company shall have the right to appoint counsel of
                                   its choice with respect to such Claim. The
                                   Company's obligation to defend any Claim or pay
                                   any Loss or Defense Costs shall be completely




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                          fulfilled and extinguished if the applicable Limit of
                          Liability has been exhausted by payment of Loss.


Consent to Settle         The Company, as it deems necessary, has the right
                          to investigate, adjust, defend, appeal and, with the
                          consent of the Insnred, negotiate the settlement of
                          any Claim whether within or in excess of the
                          Retention. If the Insured refuses to consent to a
                          settlement recommended by the Company, the
                          Company's obligation to the Insured for Loss and
                          Defense Costs attributable to such Claim shall be
                          limited to:


                                a.   The amount of the covered Loss in excess
                                     of the Retention which the Company
                                     would have paid in settlement at the time
                                     the Insured first refused to settle; plus
                                b.   covered Defense Costs incurred up to the
                                     date the Insured first refused to settle;
                                     plus
                                c.   eighty percent (80%) of covered Loss and
                                     Defense Costs in excess of the first
                                     settlement amount recommended by the
                                        Company to which the Insured did not
                                     consent.


                          It is understood that payment of a., b. and c. above
                          is the limit of the Company's liability under this
                          Policy for any Claim in which the Insured fails or
                          refuses to consent to the Company's settlement
                          recommendation, subject at all times to Section IX.
                          LIMITS OF LIABILITY and Section X.
                          RETENTIONS AND PRESUMPTIVE
                          INDEMNIFICATION of these General Terms and
                          Conditions. The remaining twenty percent (20%) of
                          Loss and Defense Costs in excess of the amount
                          referenced in a. and b. above shall be the obligation
                          of the Insured.


                          In no event shall the Company be obligated to pay
                          any Loss or Defense Costs after the applicable
                          Limit of Liability shown in the Policy Declarations
                          bas been exhausted by payment of Loss.




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      Consent of the Company    The Insured shall not demand or agree to
                                arbitration of any Claim without the Company's
                                written consent. The Insured shall not, except at
                                personal cost, make any offer or payment, admit any
                                liability, settle any Claim, assume any obligation, or
                                incur any expense without the Company's written
                                consent.


      Cooperation               The Insured agrees to cooperate with the Company
                                with respect to all Claims, and provide such
                                assistance and information as the Company may
                                reasonably request. Upon the Company's request,
                                the Insured shall submit to examination and
                                interrogation by the Company's representative,
                                under oath if required, and shall attend hearings,
                                depositions, trials and shall assist in the conduct of
                                suits, including but not limited to effecting
                                settlement, securing and giving evidence, obtaining
                                the attendance of witnesses, giving written
                                statements to the Company's representatives and
                                meeting with such representatives for the purpose of
                                investigation and/or defense, all of the above
                                without charge to the Company. The Insured
                                further agrees not to take any action which may
                                increase the Insured's or the Company's exposure
                                under this Policy.


      Papers/Documents          The Insured shall execute all papers required and
                                shall do everything that may be necessary to secure
                                and preserve any rights of indemnity, contribution
                                or apportionment which the Insured or the
                                Company may have, including the completion of
                                such documents as are necessary to enable the
                                Company to bring suit in the lnsured's name, and
                                shall provide all other assistance and cooperation
                                which the Company may reasonably require.


IV.   ALLOCATION OF DEFENSE COSTS


                                If a Claim is made against an Insured for both Loss that
                                is covered by this Policy and loss that is not covered by
                                this Policy, the Company will pay as follows:


                                   I.   One hundred percent (I 00%) of Defense Costs on
                                        account of such Claim; and




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                                   2.   all remaining loss from such Claim shall be
                                        apportioned between covered Loss and uncovered
                                        loss based on the relative legal exposures of the
                                        parties to such matters.
                                   3.   Items I. and 2. above of this Section IV. shall not
                                        apply to any Insured for whom coverage is
                                        excluded pursuant to Section VII.
                                        REPRESENTATIONS AND SEVERABILITY.


V.   NOTICE AND CLAIM REPORTING PROVISIONS


                                 Notice hereunder shall be given in writing to the
                                 Company. If mailed. the date of mailing of such notice
                                 shall constitute the date that such notice was given and
                                 proof of mailing shall be sufficient proof of notice.


     Written Notice of a Claim     I.   As a condition precedent to exercising any right to
                                        coverage under this Policy, the Insured shall give
                                        to the Company written notice of a Claim as soon
                                        as practicable after any Chief Executive Officer,
                                        Chief Financial Officer, Chief Operating Officer,
                                        Chairperson, Executive Director, Human Resources
                                        Manager, In-House General Counsel, Managing
                                        Member or Fiduciary of any Plan becomes aware of
                                        such Claim, however:
                                        a.   if the Policy expires, is cancelled or is non­
                                             renewed and no Extended Reporting Period is
                                             purchased, no later than ninety (90) days after
                                             the expiration date or the effective date of such
                                             cancellation or non-renewal; or
                                        b.   if an Extended Reporting Period is purchased,
                                             no later than the last day of the Extended
                                             Reporting Period.


                                 However, if the Policy is cancelled for non-payment of
                                 premium, notice shall be provided by the Insured to the
                                 Company no later than the effective date of cancellation.


                                   2.   Coverage for a Claim reported to the Company
                                        during the automatic 90 day period noted in I. a.
                                        above shall only apply if the Claim is first made
                                        prior to the date of the Policy expiration,
                                        cancellation, or non-renewal.




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      Written Notice of a             I.   If during the Policy Period, or any applicable
      Circumstance                         Extended Reporting Period, the Insured becomes
                                           aware of circumstances which could give rise to a
                                           Claim and gives written notice of such
                                           circumstances to the Company as soon as
                                           practicable during the Policy Period, or Extended
                                           Reporting Period if applicable, in which the
                                           Insured first becomes aware of such circumstances,
                                           then any Claim subsequently arising from such
                                           circumstances shall be deemed made against the
                                           Insured during the Policy Year in which such
                                           circumstances were first reported to the Company.
                                           Such subsequent Claim must be reported to the
                                           Company in accordance with this Section V.
                                           NOTICE AND CLAIM REPORTING
                                           PROVISIONS, "Written Notice of Claim" above.
                                      2.   When reporting a circumstance to the Company, an
                                           Insured shall give the names of any potential
                                           claimant; a description of the specific circumstances
                                           that could give rise to a Claim; the identity of the
                                           specific Insureds allegedly involved in such
                                           circumstance; the nature of the potential damages
                                           (monetary and non-monetary); and the specifics as
                                           to how the Insureds first became aware of such
                                           circumstance.


      Interrelated Claims           More than one Claim involving the same Wrongful Act
                                    or Interrelated Wrongful Acts shall be considered as one
                                    Claim which shall be deemed made on the earlier of:


                                      1.   the date on which the earliest Claim was first made;
                                           or
                                      2.   the first date valid notice was given by the Insured
                                           to the Company, in accordance with applicable
                                           reporting provisions, under this Policy or under any
                                           prior policy, of any Wrongful Act or any fact,
                                           circumstance, situation, transaction or event which
                                           underlies such Claim.


VI.   CANCELLATION OR NON-RENEWAL


      Cancellation by the Insured   This Policy may be cancelled by the Named Insured
                                    by either surrender thereof to the Company at its
                                    address stated in the Policy Declarations or by mailing
                                    to the Company written notice requesting cancellation
                                    and in either case stating when thereafter such




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                                     cancellation shall be effective. Earned premium shall
                                     be computed pro rata at the time cancellation is
                                     effected or as soon as practicable thereafter.


       Cancellation By the           The Company may cancel this Policy only in the
       Company                       event of the Insured's failure to pay the premium
                                     when due. The Company will mail to the Named
                                     Insured, written notice stating when cancellation shall
                                     take effect. The effective date of such cancellation
                                     shall not be less than twenty (20) days after the date of
                                     mailing. Earned premium shall be computed pro rata at
                                     the time cancellation is effected or as soon as
                                     practicable thereafter.


       Non-Renewal                   In the event the Company non-renews this Policy, the
                                     Company shall mail to the Named Insured, not less
                                     than sixty (60) days prior to the end of the Policy
                                     Period, written notice of non-renewal. Such notice
                                     shall be binding on all Insureds.


       Delivery of Notice            The Company shall mail notice of cancellation or non­
                                     renewal with a certificate of mailing stating the
                                     effective date of cancellation or non-renewal which
                                     shall become the end of the Policy Period. Mailing of
                                     such notice shall be sufficient notice of cancellation or
                                     non-renewal.


VII.   REPRESENTATIONS AND SEVERABILITY


       Representations               The Insured represents that the particulars and
                                     statements contained in the Application are true and
                                     agree that:


                                        I. those particulars and statements are the basis of
                                            this Policy and are to be considered as
                                            incorporated into and constituting a part of the
                                            Policy;
                                       2.   those particulars and statements are material to the
                                            acceptance of the risk assumed by the Company;
                                            and
                                       3.   the Policy is issued in reliance upon the truth of
                                            such representations.


       Severability of Application   An Application for coverage shall be construed as a
                                     separate Application for coverage by each Individual
                                     Insured. With respect to the particulars and statements




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                                   contained in the Application, no fact pertaining to or
                                   knowledge possessed by any Individual Insured shall
                                   be imputed to any other Individual Insured for the
                                   purpose of determining if coverage is available.


                                   In the event that such Application contains any
                                   misrepresentations which materially affects either the
                                   acceptance of the risk or the hazard assumed by the
                                   Company under this Policy, then no coverage shall be
                                   afforded for any Claim based upon, arising out of,
                                   related to or in consequence of any such
                                   misrepresentation with respect to:


                                     I.   any Individual Insured who knew of such
                                          misrepresentations or knew of the facts or
                                          circumstances relating to such misrepresentations,
                                          or any Organization to the extent it indemnifies
                                          any such Individual Insured. Such knowledge
                                          possessed by such Individual Insured shall not
                                          be imputed to any other Individual Insured; or
                                     2.   any Organization if any past or present Chief
                                          Executive Officer, Chief Financial Officer, Chief
                                          Operating Officer, Chairperson, Executive
                                          Director, Human Resources Manager, In-House
                                          General Counsel, Managing Member or Fiduciary
                                          of any Plan or any equivalent position of the
                                          Named Insured, or the signer of the Application,
                                          knew of such misrepresentations or knew of the
                                          facts or circumstances relating to such
                                          misrepresentations.


VIII.   CHANGES IN EXPOSURE


        Creation, Acquisition of     I.   If, after the effective date of this Policy:
        or Merger with Another            a.   the Organization creates, acquires,
        Entity                                 consolidates or merges with another nonprofit
                                               entity incorporated under the laws of a
                                               jurisdiction within the territorial United
                                               States, (hereafter referred to as "other entity")
                                               such that the Organization is the surviving
                                               entity, and if as a result of such creation,
                                               acquisition, consolidation or merger, the other
                                               entity becomes a Subsidiary of the
                                               Organization, then coverage shall be
                                               provided for the other entity as an Insured
                                               solely for Wrongful Acts committed or




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                                     allegedly committed after the effective date of
                                     such creation, acquisition, consolidation or
                                     merger. The Insured shall disclose full
                                     particulars of such a change to the Company
                                     as soon as practicable but not later than the
                                     expiration date of the Policy Year, or
                                     effective date of cancellation or non-renewal
                                     of this Policy.
                                b.   However, if at the time of an event described
                                     in Paragraph I, a., above:
                                      1.   the assets of the other entity exceed thirty
                                           five percent (35%) of the total assets of
                                           the Organization as reflected in the
                                           Organization's most recent annual
                                           financial statements; or
                                     11.   if the Employment Practices Liability
                                           Coverage Part is attached to this Policy,
                                           the total number of employees of the
                                           other entity exceeds thirty five (35%) of
                                           the total number of Employees of the
                                           Organization immediately prior to such
                                           event, then:


                                           the Named Insured shall provide to the
                                           Company written notice of such
                                           creation, acquisition, consolidation or
                                           merger, containing full details thereof, as
                                           soon as practicable but within sixty (60)
                                           days of such event. The Company, at its
                                           sole discretion, may require additional
                                           premium and may alter the terms,
                                           conditions or limitations of coverage.
                                           The Company reserves the right to
                                           refuse any extension of coverage to such
                                           entity.
                           2.   If, after the effective date of this Policy, the
                                Organization creates, acquires, consolidates or
                                merges with a for-profit entity, or any entity
                                incorporated outside of the territorial United
                                States, such that the Organization is the
                                surviving entity, and if as a result of such
                                creation, acquisition, consolidation or merger,
                                such for-profit or foreign entity becomes a
                                Subsidiary of the Organization, then:


                                the Named Insured shall provide to the




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                                    Company written notice of such creation,
                                    acquisition, consolidation or merger, containing
                                    full details thereof, as soon as practicable but
                                    within sixty (60) days of such event. The
                                    Company, at its sole discretion, may require
                                    additional premium and may alter the terms,
                                    conditions or limitations of coverage. The
                                    Company reserves the right to refuse any
                                    extension of coverage to such entity.


Cessation of Subsidiaries   If during the Policy Period any Subsidiary ceases to be
                            a Subsidiary, then coverage under this Policy shall
                            continue for such Subsidiary and its Individual
                            Insureds until the expiration of this Policy or the last
                            Policy in an uninterrupted series of policies issued by
                            the Company, but solely for Claims arising out of
                            Wrongful Acts committed or allegedly committed by
                            such Subsidiary or its Individual Insureds while such
                            Subsidiary was a Subsidiary and prior to the effective
                            date of such cessation. There shall be no coverage for
                            Claims arising out of actual or alleged Wrongful Acts
                            occurring on or after the effective date of cessation.


Takeover of the             In the event of a Takeover of the Named Insured:
Named Insured
                               I.   coverage under this Policy shall continue until
                                    the earlier of:
                                    a.   the expiration of the Policy Year; or
                                    b.   if the Policy is cancelled or non-renewed, the
                                         effective date of cancellation or non-renewal;


                                         but only with respect to Claims arising out of
                                         Wrongful Acts that occurred or allegedly
                                         occurred prior to the effective date of the
                                         Takeover. There shall be no coverage for
                                         Claims arising out of actual or alleged
                                         Wrongful Acts occurring on or after the date
                                         of Takeover;


                              2.    the Named Insured shall give the Company
                                    written notice of the Takeover as soon as
                                    practicable, but not later than sixty (60) days after
                                    the effective date of the Takeover; and
                              3.    the premium for the Policy Year in which the
                                    Takeover occurred shall be deemed to be fully



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                                   earned. The Named Insured shall have the right
                                   to purchase an Extended Reporting Period,
                                   subject to Section II. EXTENDED REPORTING
                                   PERIOD herein, to report Claims arising out of
                                   Wrongful Acts occurring prior to the effective
                                   date of any Takeover.

Merger, Sale, Transfer or   If after the inception date of the Fiduciary Liability
Termination of a Plan       Coverage Part, or the date the Fiduciary Liability
                            Coverage Endorsement is added to this Policy:

                              I. the sponsorship of a Plan is transferred so that an
                                 Organization is no longer the sole employer
                                 sponsor of such Plan;
                              2. a Plan is merged with another plan for which
                                 coverage is not afforded under the Fiduciary
                                 Liability Coverage Part;
                              3. a Plan is terminated or sold; or
                              4. the Pension Benefit Guaranty Corporation
                                 (PBGC) becomes the Trustee of a Plan;

                               then:

                                  a. in the case of paragraphs I., 2. and 3. above,
                                     the Fiduciary Liability Coverage Part or the
                                     Fiduciary Liability Coverage Endorsement, as
                                     applicable, shall continue to apply to such
                                     transferred, merged, terminated or sold Plan,
                                     but solely for Claims based upon or arising
                                     out of Wrongful Acts that occurred or
                                     alleged) y occurred prior to the date of such
                                     transfer, merger, termination or sale. There
                                     shall be no coverage for Claims arising out of
                                     actual or alleged Wrongful Acts occurring on
                                     or after the date of merger, transfer,
                                     termination or sale of any Plan as described
                                     in paragraphs I ., 2. and 3. above; or
                                  b. in the case of paragraph 4. above, the
                                     Fiduciary Liability Coverage Part or the
                                     Fiduciary Liability Coverage Endorsement
                                     shall continue to apply to such Plan for those
                                     who were Insureds at the time the PBGC
                                     became the Trustee of such Plan but solely
                                     for Claims based upon or arising out of
                                     Wrongful Acts that occurred or allegedly
                                     occurred prior to the date the PBGC became



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                                             the Trustee of such Plan. There shall be no
                                             coverage for Claims arising out of actual or
                                             alleged Wrongful Acts occurring on or after
                                             the date the PBGC becomes the Trustee of
                                             any Plan.


      Cancellation of the Policy   If the Named Insured requests cancellation of this
                                   Policy as a result of a "Creation, Acquisition of or
                                   Merger with Another Entity", "Cessation of
                                   Subsidiaries", or "Takeover of the Named Insured", the
                                   Company shall compute earned premium on a pro rata
                                   basis and return any unearned premium to such entity as
                                   of the effective date of such cancellation as long as
                                   notice of the event is provided to the Company as soon
                                   as practicable but not later than sixty (60) days after
                                   such event, together with such information as the
                                   Company may require.


IX.   LIMITS OF LIABILITY


      "Each Claim"                 The "Each Claim" Limit of Liability shown on the
                                   Policy Declarations is the Company's maximum
                                   liability for Loss for each Claim to which the applicable
                                   Coverage Part applies, during each Policy Year.


      "In the Aggregate"           The "In the Aggregate" Limit of Liability shown on the
                                   Policy Declarations is the Company's maximum
                                   liability for Loss for all Claims to which the applicable
                                   Coverage Part applies, during each Policy Year.


      Policy Year Limits           The Limits of Liability for any Policy Year may not be
                                   aggregated or transferred, in whole or in part, so as to
                                   provide any additional coverage with respect to Claims
                                   first made or deemed made, as provided in Section V.
                                   NOTICE AND CLAIM REPORTING PROVISIONS of
                                   these General Terms and Conditions during any other
                                   Policy Year. If the applicable Limits of Liability for
                                   any Policy Year are exhausted, the Company's
                                   obligation for that Policy Year shall be deemed
                                   completely fulfilled and extinguished.


      Extended Reporting           The Extended Reporting Period will not provide a new,
      Period Limits                separate or additional Limit of Liability. The remainder
                                   of the Limit of Liability applicable to the Policy Year in
                                   effect as of the date of expiration, cancellation, or non­
                                   renewal is the maximum Limit of Liability for all




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                               Claims reported during the Extended Reporting Period.


     Defense Costs             Defense Costs shall be in addition to the Limits of
                               Liability for each Coverage Part purchased as shown
                               on the Policy Declarations, unless as otherwise provided
                               within that Coverage Part or by endorsement.


     Interrelated Claims       More than one Claim involving the same Wrongful Act
                               or Interrelated Wrongful Acts shall be considered as
                               one Claim pursuant to Section V. NOTICE AND
                               CLAIM REPORTING PROVISIONS, "Interrelated
                               Claims" and shall be subject to the Limit of Liability in
                               effect when the Claim was first made.


X.   RETENTIONS AND PRESUMPTIVE INDEMNIFICATION


     Retentions                Retentions set forth in the Policy Declarations for each
                               Coverage Part shall apply per Claim per Policy Year
                               under each respective Coverage Part.


                               If more than one Retention applies to any one Claim
                               then each applicable Retention shall be applied to the
                               applicable part of such Claim, but the sum of such
                               Retentions shall not exceed the highest of such
                               applicable Retentions.


                               Claims shall be subject to the Retention applicable to
                               the Policy Year during which the Claims are first made
                               as provided in Section V. NOTICE AND CLAIM
                               REPORTING PROVISIONS.


                               Except as otherwise provided by Section VIL TIMELY
                               NOTICE AND RESOLUTION INCENTIVE of the
                               Directors and Officers Coverage Part:


                                  I.   the Company shall be liable to pay only Loss and
                                       Defense Costs in excess of the applicable
                                       Retention for the Coverage Part to which the
                                       Claim applies;
                                 2.    the Company shall have no obligation to pay any
                                       part or all of such Retention on the Insured's
                                       behalf; and
                                 3.    if the Company, at its sole discretion, elects to
                                       pay any part of or all of such Retention, the
                                       Insured agrees to repay such amounts to the
                                       Company upon demand.




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      Presumptive Indemnification   Regardless of whether Loss or Defense Costs resulting
                                    from any Claim against an Individual Insured is
                                    actually indemnified by the Organization, the
                                    applicable Retention set forth in the Policy Declarations
                                    shall apply to any Loss and Defense Costs if
                                    indemnification of the Individual Insured by the
                                    Organization is legally permissible. The certificate of
                                    incorporation, charter, articles of association or other
                                    organizational documents of the Organization,
                                    including by-laws and resolutions, will be deemed to
                                    have been adopted or amended to provide
                                    indemnification to the Individual Insured to the fullest
                                    extent permitted by law.


                                    However, if an Individual Insured is not indemnified
                                    for Loss or Defense Costs solely by reason of:


                                       I.   Financial Impairment; or
                                      2. a good faith determination by the Organization
                                            that such indemnification is not permitted by
                                            common or statutory law; then


                                    an Individual Insured's Retention for this Coverage
                                    Part shall be amended to $0.


XI.   SPOUSAL AND DOMESTIC PARTNER EXTENSION


                                    If a Claim against an Individual Insured includes a
                                    Claim against the lawful spouse or Domestic Partner
                                    of such Individual Insured solely by reason of:


                                       I.   such spousal or Domestic Partner status; or
                                      2. such spouse's or Domestic Partner's ownership
                                            interest in property or assets that are sought as
                                            recovery for Wrongful Acts; then


                                    any Loss which such spouse or Domestic Partner
                                    becomes legally obligated to pay on account of such
                                    Claim shall be deemed Loss which the Individual
                                    Insured becomes legally obligated to pay as a result of
                                    the Claim.


                                    This extension of coverage shall not apply to the extent a
                                    Claim alleges any Wrongful Act, error, omission,
                                    misstatement, misleading statement or neglect or breach




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                                of duties by such spouse or Domestic Partner.


XII.    SUBROGATION


                                In the event of payment under this Policy, the Company
                                shall be subrogated to the Insureds' rights of recovery.
                                The Insured shall do everything necessary to secure
                                such rights, including the execution of such documents
                                necessary to enable the Company to effectively bring
                                suit in the name of any Company.


                                In no event, however, shall the Company exercise its
                                rights to subrogation against an Individual Insured
                                under this Policy unless such Individual Insured:


                                   I.   has been convicted of a deliberate criminal act; or
                                  2.    has been determined by a final adjudication
                                        adverse to the Individual Insured to have
                                        committed a deliberate fraudulent act, or to have
                                        obtained any profit, advantage or remuneration to
                                        which such Individual Insured was not legally
                                        entitled.


                                In the event the Company shall for any reason pay
                                indemnifiable Loss on behalf of an Individual Insured,
                                the Company shall have the contractual right hereunder
                                to recover from the Organization or any Subsidiary the
                                amount of such Loss equal to the amount of the
                                Retention not satisfied by the Organization or any
                                Subsidiary and shall be subrogated to rights of the
                                Individual Insureds hereunder.


XIII.   CHANGES


                                Notice to any agent or knowledge by any agent shall not
                                affect a waiver or change in any part of this Policy or
                                stop the Company from asserting any right under the
                                terms of this Policy, nor shall the terms of this Policy be
                                waived or changed except by an endorsement, issued by
                                the Company to form a part of this Policy.


XIV.    AUTHORIZATION CLAUSE AND NOTICES


                                By acceptance of this Policy, the Insured agrees that the
                                Named Insured shall act on behalf of all Insureds with
                                respect to:




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                                 1. the payment of premiums or the receipt of any
                                      return premiums that may become due under the
                                      Policy;
                                 2.   the cancellation or non-renewal of this Policy;
                                 3.   the effecting of any changes to the Policy or
                                      purchasing of an Extended Reporting Period; or
                                 4.   the giving and receiving of all notices and
                                      correspondence.


                               Any notice given to the Named Insured by the
                               Company pursuant to Section VI. CANCELLATION
                               OR NON-RENEWAL shall be deemed to be notice to
                               all Insureds.



XV.    ASSIGNMENT


                               Assignment of interest under this Policy shall not bind
                               the Company until the Company's consent is endorsed
                               hereon.


XVI.   OTHER INSURANCE


                               This Policy is excess of other valid and collectable
                               insurance, unless such other insurance is specifically
                               written to be in excess of this Policy. For purposes of
                               this provision, "other valid and collectable insurance"
                               means insurance provided by an entity or organization
                               other than the Company.


                               When it is determined that both this insurance and other
                               insurance or self-insurance apply to any Claim on the
                               same basis, whether primary, excess or contingent, the
                               Company shall not be liable under this Policy for a
                               greater proportion of the Loss and Defense Costs than
                               the applicable Limit of Liability under the Policy for
                               such Loss and Defense Costs bears to the total
                               applicable Limit of Liability of all valid and collectible
                               insurance against such Claims.


XVII. TERMS OF POLICY
       CONFORMED TO
       STATUTE


                               Terms of this Policy which are in conflict with the
                               statutes of the state or territory wherein this Policy is




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                                 issued are hereby amended to conform to such statutes.


XVIII. ACTION AGAINST THE COMPANY


       Compliance                No action shall lie against the Company unless, as a condition
                                 precedent thereto, there has been full compliance with all of
                                 the terms of this Policy, and until the amount of the Insured's
                                 obligation to pay shall have been finally determined either by
                                 judgment against the Insured after actual trial or by the
                                 Insured's written agreement, the claimant or the claimant's
                                 legal representative, and the Company.


       Rights to Recover         Any person or the legal representatives thereof who has
                                 secured such judgment or written agreement shall thereafter be
                                 entitled to recover under this Policy to the extent of the
                                 insurance afforded by this Policy. No person or entity shall
                                 have any right under this Policy to join the Company as a
                                 party to any action against the Insured to determine the
                                 Insured's liability, nor shall the Company be impleaded by
                                 the Insured or the Insured's legal representatives.
                                 Bankruptcy or insolvency of the Insured or the Insured's
                                 successors in interest shall not relieve the Company of its
                                 obligations hereunder.


XIX.   POLICY TERRITORY


                                 This Policy shall apply worldwide.


XX.    COORDINA TION OF COVERAGE


                                 Subject always to the applicable Limit of Liability, should two
                                 or more Coverage Parts apply to the same Claim, the
                                 Company will not pay more than the actual Loss incurred by
                                 the Insureds.


XXL    ACCEPTANCE


                                 This Policy embodies all agreements existing between the
                                 parties hereunder or any of their agents relating to this
                                 insurance.


XXII. LIBERALIZATION


                                 If within forty-five   (45)   days of binding this Policy, the
                                 Company broadens coverage under any Coverage Part
                                 or the General Terms & Conditions attached to this



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                         Policy, and;


                           1.   such broadened coverage applies to policies in the
                                state or territory in which this Policy is written;
                           2.   the effective date of the policies which are to
                                receive the broadened coverage is after the
                                effective date of this Policy; and
                           3.   there is no additional premium charged for such
                                broadened coverage;


                         then the Company shall apply the broadened coverage
                         to this Policy as applicable for no additional premium,
                         but only for a Wrongful Act which first occurs after the
                         effective date of such broadened coverage.




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        EXHIBIT
                             4
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     ND02557425B
                                  Mount Vernon Fire Insurance Company
    Renewal of Number
                                  1190 Devon Park Drive, Wayne, Pennsylvania 19087
POLICY DECLARATIONS
                                 A Member Company of United States Liability Insurance Group
No. ND02557425C


NAMED INSURED AND ADDRESS:

NAHANT PRESERVATION TRUST
PO BOX30
NAHANT, MA 01908




POLICY PERIOD: (MO. DAY YR.)          From:   06/19/2021 To: 06/19/2022                     12:01 AM. STANDARD TIME AT YOUR
                                                                                              MAILING ADDRESS SHOWN ABOVE



BUSINESS DESCRIPTION: Non-Profit Directors and Officers

            IN RET U R N FOR THE PAYMENT OF THE PREMIUM AND SU BJECT TO A L L THE TERMS OF THIS POLICY, WE AGREE
                                 WITH YOU TO P ROVIDE THE INSURANCE AS STATED IN THIS POLICY

      THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.




                                                                                          PREMIUM

            Non Profit Management Liability Coverage Parts                                  $698.00




                                                      TOTAL                                 $698.00




Coverage Form(s) and Endorsement(s) made a part of this policy at time of issue

                                               See Endorsement EOD (1/95)

Agent:       M C G OWAN, DONNELLY & OBERHEU, LLC (1818)                             Issued: 051101202112:27 PM
             2700 Via Fortuna Drive, Suite 145
             Austin, JX 78746

 B roker:
                                                                              By:


                    THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
                    COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF,
   UPD (08-07)
                    COMPLETE THE ABOVE NUM BERED POLICY.
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                                     EXTENSION OF DECLARATIONS

Policy No. ND02557425C                                                    Effective Date:   06/19/2021

                                                                          12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS


FORMS AND ENDORSEMENTS



     The following forms apply to the Management Liability coverage part
     Endt#               Revised                       Description of Endorsements


     D0-100               05/17              Directors and Officers Coverage Part

     D0-201               05/17              Accreditation/Certification/Standard Setting Exclusion

     D0-209               05/17              Absolute Professional Liability Exclusion

     D0-224A              05/17              Sexual Abuse Exclusion

     D0-233               05/17              Builder or Developer Exclusion

     D0-283               05/17              Data and Security Plus Endorsement

     D0-298               05/17              Amendment of Prior or Pending Litigation Exclusion

     DO-GTC               05/17              General Terms and Conditions

     Jacket               07/19              Policy Jacket




   EOD (01/95)                           All other terms and cond1t1ons remain unchanged.                Page    of   1
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                  NON PROFIT MANAGEMENT LIABILITY CuVERAGE PART DECLARATIONS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425C                                                             Effective Date: 06/19/2021
                                                                                                 12:01 AM STANDARD TIME


  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS

      NAHANT PRESERVATION TRUST
      PO BOX30
      NAHANT, MA 01908




  ITEM II. POLICY PERIOD: (MM/DD/YYYY)              From:   06/19/2021 To: 06/19/2022

  Non Profit Directors and Officers Liability Coverage Part
      ITEM Ill. LIMITS OF LIABILITY
             a.   Non Profit Directors & Officers      $1,000,000         EACH CLAIM
             b. Non Profit Directors & Officers        $1,000,000         IN THE AGGREGATE




      ITEM IV. RETENTION:                              $0                 EACH CLAIM

      ITEM V. PREMIUM:                                 $698

      RETROACTIVE DATE:                                Full Prior Acts
      PRIOR OR PENDING LITIGATION                      See form D0-298

  Employment Practices Liability Coverage Part
       ITEM Ill. LIMITS OF LIABILITY
             a. Employment Practices                    NOT COVERED

             b. Employment Practices
       ITEM IV. RETENTION:                              NOT COVERED

       ITEM V. PREMIUM:                                 NOT COVERED




   THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

                                                                                                               Page   1 Of   2
D0-150 (02/09)
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                 NON PROFIT MANAGEMENT LIABILITY <.;OVERAGE PART DECLARATIONS


PLEASE READ YOUR POLICY CAREFULLY.

THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No.   ND02557425C                                                         Effective Date:   06/19/2021
                                                                                                12:01 AM STANDARD TIME


  Fiduciary Liability Coverage Part
       ITEM Ill. LIMITS OF LIABILITY
              a. Fiduciary Liability              NOT COVERED



       ITEM IV. RETENTION:                        NOT COVERED

       ITEM V. PREMIUM:                           NOT COVERED




       ITEM VI. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
             See Endorsement EOD (01/95)




   THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

                                                                                                             Page   2 Of   2
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                 business resource center                                            bizresourcecenter.com




As a policyholder through USLI or Devon Park Specialty. you have access to many free and discounted services through
the Business Resource Center that will assist you in operating. growing and protecting your business. Consider the
following services and associated cost savings when deciding where to place your insurance!


              HUMAN RESOURCES
                »   Free human resources consultation hotline to be used for personnel issues. including
                    harassment and discrimination, the Family and Medical Leave Act. disability, wage and
                    hours regulations and more

                »   Online library with information. forms and articles pertaining to human resources

                »   Resources for recruiting and training as well as termination and administration


              PRE-EMPLOYMENT AND TENANT SCREENINGS




@
                »   Discounted background checks. including multi-court criminal database
                    searches, county criminal searches and more (first background check is free)

                »   Best practices for performing a background check

                »   Discounted tenant and drug screenings and motor vehicle reports (MVRs)




@)
              PAYROLL AND TAXES
                                                                                                          Try our cost-savings
                »   Discounted payroll processing and tax services tailored for either a small            calculator to see
                    or large business                                                                     now much you
                                                                                                          could save!

              CYBER RISK




@
                »   Materials about securing personal and payment card information

                »   Complimentary access to tools and resources that will help you understand your exposure
                    to a data breach and the importance of a response plan


              MARKETING
                »   Suggested free and paid services. including email campaigns. photo editing, file management and
                    more. for web marketing for your business

                »   Suggested free and paid services for social media platforms. development. management and more

                »   Discounted promotional items, giveaways and signage


              SAFETY
                »   Free on-site safety and occupational health consultation for your business

                »   Free personal credit report

                »   Disaster and emergency preparedness resources

                »   Discounted alcohol and food server safety training for your staff and servers

                »   Discounted CPR and first aid training

                »   Youth resources for concussion training. waivers of liability, recognizing the signs and
                    symptoms of child abuse, and more




For a full list of vendors, discounts and resources, visit bizresourcecenter.com.
                                                                                                               BRC·Ouote and Po\,cy 7/21
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In our continuing effort to provide you with excellent claim service, you may now report a claim
and get claim assistance 24 hours a day/7 days a week.




       For claim reporting, call toll free 1-888-875-5231 or visit
              USLl.COM and select the "report a claim" option.


For emergency claims requiring immediate assistance, please use the toll free option. Your call will
be referred to a claims professional who will respond within an hour of your call with direction and
assistance.


Thank you for placing your trust in our company. We pledge to work hard every day to earn
and maintain that trust.




                                                                                               US LI.COM
                                                                                            888-523-5545
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�                    erus1)·e FREE PRIVACY BREACH RISK MANAGEMENT RESOURCES



                                                                                                                                               _,.
                                                                                                                                               -




In   2015, according to the Identity Theft Resource Center, more     Key Features of the eRisk Hub® Portal
than   783 breaches were reported and more than 675 million
                                                                                     Data Breach Calculators - Learn
records were exposed. The eRisk Hub'' portal, powered by                 -
                                                                         ---         how to estimate the cost of a breach,
NetDiligence®, is an effective way to combat privacy breaches            ---         notification costs and business
                                                                         ---
and other types of cyber losses.                                         ---         interruption

                                                                                    Learning Center - Best practices
 With your USU policy, you will receive                                .......      articles, white papers and webinars


                                                                       1111
 instructions on how to access the eRisk Hub®                                       from leading technical and legal
                                                                                    experts. Highlighted topics include
 portal and begin using this benefit that is
                                                                                    PCI compliance and social
 valued in excess of $1,200 a year!                                                 engineering


eRisk Hub� is the one-stop shop you need to become educated
                                                                                     Security Training - Watch videos for
                                                                                     best practices in security and privacy
and prepared for a privacy breach. This FREE service is available                    awareness or download a training
to USLI policyholders.                                                               guide


Using proprietary tools anchored in proven risk management                           Risk Manager Tools -Assists you in
                                                                                     managing your cyber risk, including
principals, NetDiligence" provides a full range of enterprise­
                                                                                     a self-assessment, a sample website
level information security, e-risk insurability and regulatory                       privacy policy and a tool for HIPAA
compliance assessment and testing services. NetDiligence"                            compliance

supports and is endorsed by some of the world's largest
                                                                                     eRisk Resources -A directory to
                                                                          •
network liability insurance underwriters.                                            quickly find external resources with
                                                                         00          expertise in pre and post-breach
                                                                        •••          disciplines
 HOW TO START USING THIS FREE OFFERING:

        Go to eriskhub.com/usli                                                      Consultation - Breach Coach,
                                                                                     HIPAA Coach and Security Coach
        Click "Register Now" to set up a free account
                                                                                     available to assist you
        Create your own usemame and password; your access

        code is   08451
                                                                    '..! L / /. / fJ / .! f7 / J // / / L / / / L ./ / / .
                                                                                                               ..1-1•.'   ... ,   �"   ··.,;
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                                                                                                                                                                                                                       USLl.COM
•
                                                                                                                                                                                                                 888-523-5545




     Check Out Your New Employment Practices Liability Risk
     Management Toolkit from PeopleSystems


    Free Employment Practices Liability (EPL) Helpline                                                                     Online Human Resources Center
    1-888-811-4182                                                                                                        www.peoplesystems.com/USLI
    (8 a.m. to 7:30 p.m. Eastern Time)                                                                                    To access the USU policyholder features, click on
                                                                                                                           "Request for client login" and complete with your information. Please
    If a human resource consulting firm offered you their time and                                                         take a moment to become familiar with the new PeopleSystems
    expertise for free, would you lock their phone number and email                                                       Resource Center's information.
    address in a drawer and never call? Of course not! Do you have
                                                                                                                              ""    Helpline to email your human resource questions: Now you
    questions such as:                                                                                                              can email your questions vla this web portal.
      •     What are the current federal and state employment laws I need                                                     •     Human resource news center and recent employment law
            to know?                                                                                                                changes: The news center keeps you up-to-date with recent
      ,.    What are "wage and hour" regulations? What does "exempt"                                                                changes in state and federal employment laws and what they
            versus "non-exempt" mean?                                                                                               mean to you as well as pertinent articles on employment issues

      ,.    How should I handle terminating, suspending or warning an                                                               you need to know about.

            employee?                                                                                                         -.    Human resource manual and employment forms: You

      �     What type of human resources policies should I have in place?                                                           will find "Best Practices" helpful for handling common human
                                                                                                                                    resource issues. Issues may include conducting employee
      �     How should I properly document performance lssues and
                                                                                                                                    evaluations and understanding employment laws such as
            disciplinary actions in an employee's file?
                                                                                                                                    FLSA, FMLA and COBRA
      ,.    What are appropriate and inappropriate questions to ask during
                                                                                                                              ""    Human resource recommendations: You will also find
            an employment interview?
                                                                                                                                    sample human resource policies regarding discrimination,
      ,.    What guidelines should I use to investigate a complaint of                                                              harassment, employment at-will and electronic
            discrimination or harassment?                                                                                           communications.


    PeopleSystems is just a free phone call or email away!




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         Non-Profit Management Liability Policy                    Directors and Officers Coverage Part


         In consideration of payment of the premium and subject to the Policy Declarations, General
         Terms and Conditions, and the limitations, conditions,provisions and all other terms of this
         Coverage Part, the Company and the Insureds agree as follows:


         Words that are in bold have special meaning and are defined in Section III. DEFINITIONS of
         this Coverage Part, or in Section I. DEFINITIONS of the General Terms and Conditions,
         incorporated in or attached to this Coverage Part, as applicable.

I.       INSURING AGREEMENTS

         A. Individual Insured- Non­            The Company will pay, on behalf of an Individual
            Indemnified Coverage                Insured, Loss and Defense Costs resulting from a
                                                Claim first made against an Individual Insured during
                                                the Policy Period, or Extended Reporting Period, if
                                                applicable, to the extent such Individual Insured is not
                                                indemnified by the Organization for such Loss and
                                                Defense Costs.


         B. Individual Insured­                 The Company will pay, on behalf of the Organization,
            Indemnified Coverage                Loss and Defense Costs resulting from a Claim first
                                                made against an Individual Insured during the Policy
                                                Period, or Extended Reporting Period, if applicable, but
                                                only to the extent the Organization indemnifies such
                                                Individual Insured for such Loss and Defense Costs as
                                                permitted or required by law.

         C. Organization Coverage               The Company will pay, on behalf of the Organization,
                                                Loss and Defense Costs resulting from a Claim first
                                                made against the Organization during the Policy
                                                Period, or the Extended Reporting Period, if applicable.


IL   .   INDIVIDUAL INSURED- NON-INDEMNIFIED COVERAGE ADDITIONAL LIMIT

         "Dedicated Limit - Insuring            The Company shall pay an additional limit of liability,
         Agreement A"                           not to exceed an aggregate of $1,000,000per Policy
                                                Period, solely for Loss covered under Section I.
                                                INSURING AGREEMENT,Subsection A. Individual
                                                Insured Non-Indemnified Coverage. This additional
                                                limit of liability shall be paid only after the applicable
                                                Limit of Liability for Individual Insured- Non­
                                                Indemnified Coverage of the Directors & Officers
                                                Liability Coverage Part shown in the Policy
                                                Declarations is completely exhausted by payment of
                                                Loss.



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III.   DEFINITIONS


       Claim                        means any:


                                        I.   written demand for monetary damages or non­
                                             monetary relief, including injunctive relief;
                                       2. civil proceeding commenced by service of a
                                             complaint or similar pleading;
                                       3. criminal proceeding commenced by the return of
                                             an indictment;
                                       4. administrative or regulatory proceeding
                                             commenced by the filing of a formal written
                                             notice of charges, notice of violations, notice of
                                             investigation, cease and desist or similar action;
                                       5. arbitration, mediation or other alternative dispute
                                             resolution proceeding in which the Insured is
                                             obligated to participate if the Insured agrees to
                                             participate with the Company's prior written
                                             consent; or
                                       6.    other proceeding initiated before any
                                             governmental body which is authorized to render
                                             an enforceable judgment, order for monetary
                                             damages or other relief;


                                             received by, or brought or initiated against any
                                             Insured alleging a Wrongful Act, including any
                                             appeal therefrom.


                                             Claim also means any:


                                       7. written request, first received by an Insured to
                                             toll or waive a statute of limitations relating to a
                                             potential Claim as described in subparagraphs I.
                                             through 6. above.

                                    A Claim shall be deemed made on the earliest of the
                                    date of service upon, or receipt by, any Insured of a
                                    potential Claim as described in subparagraphs 1.
                                    through 7. above.


       Defense Costs                means:


                                        I.   reasonable and necessary legal fees and expenses
                                             incurred by the Company, or by any attorney
                                             designated by the Company to defend the
                                             Insured; and



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                                 2. all other fees, costs, costs of attachment or
                                      similar bonds (without any obligation on the
                                      Company's part to apply for or furnish such
                                      bonds);


                                resulting from the investigation, adjustment, defense
                                 and appeal of a Claim. Defense Costs does not
                                 include Loss or the Insured's salaries, wages,
                                 overhead or benefits expenses.



Employed Attorney Services   means legal services provided by any Individual
                             Insured, but only to the extent that such services are
                             performed direct)y to the Organization and in the
                             Individual Insured's capacity as an Employee of the
                             Organization.


                             Any services rendered by an Individual Insured for any
                             party other than the Organization shall not constitute
                             Employed Attorney Services.


Employee                     means any natural person whose labor or service is
                             engaged and directed by the Organization while
                             performing duties related to the conduct of the
                             Organization's business and includes leased, part-time,
                             seasonal and temporary workers, independent
                             contractors, volunteers and interns.


Executive                    means any natural persons who are directors, trustees,
                             officers, managing members, advisory board members
                             or committee members or any equivalent position of the
                             Organization.


Excess Benefit Transaction   means a transaction as defined in Internal Revenue
                             Code, Title 26 §4958 (c)(I).


Excess Benefit Transaction   means any excise tax imposed by the Internal Revenue
Excise Tax                   Service, pursuant to Section 4958(a)(2) of the Internal
                             Revenue Code, 26 U.S.C. § 4958(a)(2), against an
                             Individual Insured who participated as an
                             Organization Manager in connection with an Excess
                             Benefit Transaction.


Individual Insured           means any past, present or future:


                                 I.   Executive;
                                 2.   Employee; or



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                                   3. the estates, heirs, legal representatives or assigns
                                        of I. and 2., above in the event of their death,
                                        incapacity or bankruptcy.


Loss                           means the amount the Insured becomes legally
                               obligated to pay as a result of a Claim, including:


                                   I. damages, settlements and judgments;
                                   2.   pre-judgment and post judgment interest;
                                   3. punitive or exemplary damages to the extent such
                                        damages are insurable under applicable law,
                                        statute or regulation;
                                  4. the multiplied portion of any multiple damage
                                        award to the extent such damages are insurable
                                        under applicable law, statute or regulation; and
                                   5. any ten percent (I 0%) Excess Benefit
                                        Transaction Excise Tax assessed by the Internal
                                        Revenue Service against any Individnal
                                        Insured, subject to a $100,000 maximum
                                        sublimit of liability per Policy Period for Loss
                                        and Defense Costs, combined provided, however
                                        that indemnification by the Organization for
                                        such taxes is not expressly prohibited in the
                                        bylaws, certificate of incorporation or other
                                        governing documents of the Organization. This
                                        sublimit of liability is part of and not in addition
                                        to the applicable Directors and Officers Limit of
                                        Liability as set forth on the Policy Declarations.


                                  For the purpose of determining the insurability of
                                   damages in items 3. and 4. above, the laws of the
                                   jurisdiction most favorable to the insurability of such
                                   damages shall control; provided that such
                                   jurisdiction has a substantial relationship to the
                                   relevant Insured or to the Claim giving rise to the
                                   damages.


                               However, Loss does not include:


                                   I.   fines, penalties, sanctions and forfeitures;
                                   2.   taxes, except for any ten percent (I 0%) Excess
                                        Benefit Transaction Excise Tax as outlined in
                                        subparagraph 5. above of this definition of
                                        "Loss", or as otherwise provided by
                                        endorsement;
                                   3. any amount uninsurable under the law pursuant




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                                      to which this Policy is construed;
                                   4. cost of compliance with any order for, grant of or
                                      agreement to provide non-monetary or injunctive
                                      relief;
                                   5. any unpaid salary, wages, commissions,
                                      severance, bonus or incentive compensation that
                                      is due or alleged to be due to any person; or
                                   6. any amount for which an Individual Insured is
                                      absolved from payment by reason of any
                                      covenant, agreement or court order.


Organization Manager           means a person or persons described in Internal Revenue
                               Code, Title 26 §4958(f).


Outside Entity                 means any not-for- profit organization that qualifies as
                               such under Section 50 I (c) of the Internal Revenue Code
                               of1986 (as amended), that is not an Insured.


Outside Capacity               means the service, other than Employed Attorney
                               Services, of an Individual Insured while acting in the
                               capacity of director, officer, trustee, managing member
                               or any equivalent position of an Outside Entity, but
                               only if such service is provided on behalf of the Outside
                               Entity with the specific knowledge, request, consent or
                               direction of the Named Insured.


Personal Injury Wrongful Act   means any actual or alleged false arrest, wrongful
                               detention, malicious prosecution, invasion of privacy,
                               wrongful entry or eviction, libel, slander or defamation.


Pollutants                     means any solid, liquid, gaseous, bacterial, fungal,
                               electromagnetic, thermal or other substance, smoke,
                               vapor, soot, fumes, acids, alkalis, chemicals, toxic
                               materials, 'Volatile Organic Compound', 'Organic
                               Pathogen', 'Silica', asbestos, lead and gases therefrom,
                               radon, combustion byproducts, noise and 'Waste'.
                               Specific examples include, but are not limited to diesel,
                               kerosene, and other fuel oils, carbon monoxide, and
                               other exhaust gases, mineral spirits and other solvents,
                               tetrachloroethylene, perchloroethylene (PERC),
                               trichloroethylene (TCE), methylene chloroform, and
                               other dry cleaning chemicals, chlorofluorocarbons,
                               chlorinated hydrocarbons, adhesives, pesticides,
                               insecticides, and all substances specifically listed,
                               identified, or described by one or more of the following
                               references:




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                                 I.   Comprehensive Environmental Response,
                                      Compensation, and Liability Act (CERCLA)
                                      Priority List Hazardous Substances (1997 and all
                                      subsequent editions); or
                                2.    Agency for Toxic Substances And Disease
                                      Registry ToxFAQs™; or
                                 3.   U.S. Environmental Protection Agency EMCI
                                      Chemical References Complete Index.


                             For the purposes of this definition;


                                 I.   'Volatile Organic Compound' means any
                                      compound which discharges organic gases as it
                                      decomposes or evaporates, examples of which
                                      include but are not limited to formaldehyde,
                                      pesticides, adhesives, construction materials
                                      made with organic chemicals, solvents, paint
                                      varnish and cleaning products.
                                 2.   'Organic Pathogen' means any organic irritant or
                                      contaminant, including but not limited to mold,
                                      fungus, bacteria or virus, including but not
                                      limited to their byproduct such as mycotoxin,
                                      mildew, or biogenic aerosol.
                                 3.   'Silica' means silica in any form and any of its
                                      derivatives, including but not limited to silica
                                      dust, silicon dioxide, crystalline silica, quartz, or
                                      non-crystalline (amorphous) silica.
                                 4.   'Waste' means any property intended to be
                                      disposed, recycled, reused or reclaimed by the
                                      owner or user thereof.


Publisher Wrongful Act       means any infringement of copyright, trademark,
                             unauthorized use of title, or plagiarism or
                             misappropriation of ideas.


Wrongful Act                 means any:


                                 I.   actual or alleged act, error, omission,
                                      misstatement, misleading statement, neglect, or
                                      breach of duties;
                                 2. Personal Injury Wrongful Act;
                                 3. Publisher Wrongful Act; or
                                 4. Employed Attorney Services


                             committed or allegedly committed by:




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                                                       a.    the Organization;
                                                       b.    any Individual Insured, arising solely from
                                                             duties conducted on behalf of the
                                                             Organization or asserted against an
                                                             Individual Insured because of1. above; or
                                                       c.    any Individual Insured while acting in an
                                                             Outside Capacity.


IV.   EXCLUSIONS


      A. The Company shall not be liable to make payment for Loss or Defense Costs in connection
         with any Claim made against the Insured arising out of, directly or indirectly resulting from,
         .in consequence of, or in any way involving any actual or alleged:


      Conduct                                    1.     deliberately fraudulent act, omission, criminal
                                                        act, or willful violation of any statute or
                                                        regulation by any Insured; or
                                                 2.     any Insured having gained any profit,
                                                        remuneration or other advantage to which such
                                                        Insured was not legally entitled;


                                               provided that this exclusion will not apply to Defense
                                               Costs incurred until:


                                                        a.    a final, non-appealable adjudication in any
                                                              underlying proceeding or action establishes
                                                              such conduct; or
                                                        b.    the Insured has admitted, stipulated or
                                                              pleaded no contest to such conduct;


      Bodily Injury/Property                     1.     bodily injury, assault, battery, sickness, disease,
      Damage                                            death, mental anguish, humiliation or emotional
                                                        distress of any person; or
                                                  2.    damage to or destruction of any tangible property
                                                        including any resulting loss of use thereof;


                                               provided that this exclusion shall not apply to any
                                               mental anguish, humiliation or emotional distress
                                               asserted in an otherwise covered Claim alleging a
                                               Personal Injury Wrongful Act.



      Employee Benefits                        pension, profit sharing, welfare benefit or other
                                               employee benefit program established in whole or in
                                               part for the benefit of any Individual Insured, or based
                                               upon, arising out of or in any way involving the
                                               Employee Retirement Income Security Act of1974 (or




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                               any amendments thereof or regulations promulgated
                               there under) or similar provisions of any federal, state
                               or local statutory law or common law;


Insured vs Insured             Claim brought by or on behalf of any Insured;
                               provided that this exclusion shall not apply to:


                                  1.   any derivative action on behalf of, or in the name
                                       or right of the Organization, if such action is
                                       brought and maintained independent of and
                                       without the solicitation, assistance, participation
                                       or intervention of any Insured;
                                 2.    any Claim in the form of a cross claim, third
                                       party claim or other claim for contribution or
                                       indemnity by any Individual Insured which is
                                       part of or results directly from a Claim which is
                                       not otherwise excluded under this Policy;
                                 3.    any Claim brought or maintained by or on behalf
                                       of a bankruptcy or insolvency trustee, examiner,
                                       liquidator, receiver, rehabilitator, or creditors
                                       committee for an Organization; or
                                 4.    any Claim brought and maintained by or on
                                       behalf of any former Executive, but only if such
                                       Claim does not arise out of, directly or indirectly
                                       result from, is in consequence of, or in any way
                                       involves any Wrongful Act, responsibilities,
                                       actions or failure to act by any Insured during
                                       the tenure of service of such former Executive.


Employment Practices           refusal to employ, termination of employment, or
                               employment related coercion, demotion, evaluation,
                               reassignment, discipline, workplace conditions, false
                               imprisonment, defamation, harassment, humiliation, or
                               discrimination of employment, or other employment­
                               related practices, policies, acts or omissions or sexual
                               harassment by any Insured against any person(s) or
                               entity; or negligence involving any of the foregoing;


                               it being understood that this exclusion applies whether
                               the Insured may be held liable as an employer or in any
                               other capacity and to any obligation to contribute with
                               or indemnify another with respect to such Claim;


Discrimination                 discrimination, including but not limited to
                               discrimination based on religion, race, creed, color, sex,
                               age, marital status, sexual preference, pregnancy,




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                                handicap or disability;


Outside Entity vs. Insured      Claim made by or on behalf of an Outside Entity or
                                one or more of the Outside Entity's directors, officers,
                                trustees, managing members or any equivalent position
                                against an Individual Insured acting in an Outside
                                Capacity, provided, however that this exclusion shall
                                not apply to:


                                  I.    any Claim brought derivatively on behalf of the
                                        Outside Entity, independently and without the
                                        direct solicitation, participation, intervention or
                                        assistance of the Outside Entity or any Insured
                                        in an Outside Capacity;
                                  2.    any Claim in the form of a cross claim, third
                                        party claim or other claim for contribution or
                                        indemnity by an Insured acting in an Outside
                                        Capacity and which is part of or results directly
                                        from a Claim which is not otherwise excluded
                                        under this Policy; and
                                  3.    any Claim brought or maintained by or on behalf
                                        of a bankruptcy or insolvency trustee, examiner,
                                        liquidator, receiver, rehabilitator, or creditors
                                        committee for an Outside Entity against an
                                        Insured acting in an Outside Capacity for such
                                        Outside Entity.


Pollution                          1.   discharge, emission, release, seepage, migration,
                                        dispersal or escape of Pollutants or any threat
                                        thereof, including nuclear reaction, radiation or
                                        contamination; or
                                  2.    treatment, removal or disposal of any Pollutants;
                                  3.    regulation, order, direction or request to test for,
                                        monitor, clean up, remove, contain, treat,
                                        detoxify or neutralize any Pollutants; or any
                                        voluntary decision to do so; or
                                  4.    actual or alleged property damage including loss
                                        of use, bodily injury, sickness, disease or death of
                                        any person, or financial loss to an Organization
                                        or Outside Entity, their security holders, or their
                                        creditors resulting from any of the
                                        aforementioned matters in    1., 2., or 3. above of
                                        this Exclusion.




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Prior or Pending Litigation           litigation, demand, claim, arbitration, decree, judgment,
                                      proceeding, or investigation against any Insured, which
                                      was pending on or prior to the Prior or Pending
                                      Litigation date referenced on the Policy Declarations, or
                                      any such action based on the same or essentially the
                                      same fa ct, circumstance, matter, situation, transaction
                                      or event underlying or alleged therein;


Prior Notice                            1.   fact, circumstance, matter, situation, transaction,
                                             event, or Wrongful Act that, before the effective
                                             date of this Policy, was the subject of any notice
                                             given under any similar policy of insurance; or
                                        2.   other fact, circumstance, matter, situation,
                                             transaction, event, or Wrongful Act whenever
                                             occurring, which together with a fact,
                                             circumstance, matter, situation, transaction,
                                             event, or Wrongful Act described in
                                             subparagraph I. above, would constitute
                                             Interrelated Wrongful Acts;


Prior Wrongful Acts of Subsidiaries     1.   Wrongful Act committed by an Individual
                                             Insured of any Subsidiary, or by such
                                             Subsidiary, occurring before the date such entity
                                             became a Subsidiary; or
                                        2.   other fact, circumstance, matter, situation,
                                             transaction, event, or Wrongful Act whenever
                                             occurring, which together with a fact,
                                             circumstance, matter, situation, transaction,
                                             event, or Wrongful Act described in
                                             subparagraph I. above, would constitute
                                             Interrelated Wrongful Acts;


Professional Services                 rendering or failure to render legal (except Employed
                                      Attorney Services), medical, psychological, counseling
                                      services or referrals, if the Claim is brought by or on
                                      behalf of any individual and/or entity for whom such
                                      services were, now are, or shall be performed;


                                      provided that this exclusion shall not apply to that part
                                      of a Claim against an Individual Insured which
                                      alleges that the Individual Insured, in his or her
                                      capacity as such, failed to supervise those who
                                      performed such services.




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      B. The Company shall not be liable to make payment for Loss or Defense Costs in connection
           with any Claim made against the Insured for actual or alleged:


      Contract                                    liability of the Insured under any express contract or
                                                  agreement to which an Organization is a party,
                                                  provided that this exclusion shall not apply to:


                                                    I.   the extent that such Organization would have
                                                         been liable in the absence of such contract or
                                                         agreement; and
                                                    2.   any Claim against an Individual Insured.


      No Wrongful Act of one or more Insureds shall be imputed to any other Insured for the
      purpose of determining the applicability of any of the above exclusions in Section A. or B.
      above.


V.    ORDER OF PAYMENTS


                                         In the event of Loss arising from a Claim for which payment
                                         is concurrently due under Insuring Agreement A., Individual
                                         Insured - Non-Indemnified Coverage, and one or more of the
                                         other    Insuring Agreements of this        Coverage     Part,   the
                                         Company shall:


                                             I.    first pay Loss for which coverage is provided under
                                                   Insuring Agreement A., Individual Insured - Non­
                                                  Indemnified Coverage; then
                                            2.     with respect to whatever remaining amount of the
                                                  Limit of Liability is available after payment above,
                                                  pay such Loss for which coverage is provided under
                                                   any other Insuring Agreement.


                                         Except as otherwise provided above, the Company may pay
                                         covered Loss as it becomes due under this Coverage Part
                                         without regard to the potential for other future payment
                                         obligations under this Coverage Part.


VI.   LIFETIME OCCURRENCE REPORTING PROVISION


                                             A. If this Policy is cancelled or not renewed by the
                                                   Named Insured for any reason other than being sold,
                                                   acquired, or declaring bankruptcy, each Individual
                                                   Insured who did not serve as such at the time of the
                                                   cancellation or non-renewal, shall be provided with an
                                                    unlimited extension of time to report any Claim first




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                                      made against such Individual Insured after the
                                      effective date of such cancellation or non-renewal,
                                      subject to the following conditions:


                                      1 . the Claim results from a Wrongful Act committed
                                           by the Individual Insured before the effective
                                           date of cancellation or non-renewal; and
                                      2. the Wrongful Act was actually or allegedly
                                           committed during a Policy Period of a Policy
                                           issued by the Company; and
                                      3 . such Individual Insured was serving in such
                                           capacity during the Policy Period of a Policy
                                           issued by the Company; and
                                      4. no Directors & Officers Liability policy, or similar
                                           policy providing essentially the same type of
                                           coverage, or extended reporting period, is in effect
                                           at the time the Claim is first made against such
                                           Individual Insured; and
                                      5. the Claim is not otherwise excluded by the Policy
                                           issued by the Company in effect at the time the
                                           Wrongful Act actually or allegedly occurred; such
                                           Policy shall be the Policy under which coverage is
                                           applicable including all terms, conditions, limits,
                                           retentions, and endorsements therein.
                                      6. the Company will have written continuous
                                           coverage for Named Insured from the effective
                                           date of the first Policy the Company issued to the
                                           date of cancellation or non-renewal of this Policy.


                                   B. The LIFETIME OCCURRENCE REPORTING
                                      PROVISION described herein shall not apply to any
                                      Claim made against any Individual Insured caused
                                      by, arising or resulting, directly or indirectly from or
                                      in consequence of the Individual lnsured's serving in
                                      an Outside Capacity for an Outside Entity.


VIL   TIMELY NOTICE AND RESOLUTION INCENTIVE


      Retention Forgiveness        In the event of a Claim, the Company shall waive the
                                   applicable retention under this Coverage Part, up to a
                                   maximum of $10,000, if each of the following conditions
                                   are met:


                                      I.   The Claim is reported to the Company within
                                           thirty (30) days of first receipt by an Insured; and
                                      2.   The Company successfully negotiates a



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                                              settlement of the Claim within the Limits of
                                              Liability of this Coverage Part; and
                                         3.   The Insured consents to the settlement of the
                                              Claim without condition within thirty (30) days
                                              after notice of the settlement is provided to the
                                              Insured by the Company; and
                                        4.    Settlement of the Claim is finalized by the
                                              Company within ninety (90) days of the Claim
                                              being first reported to the Company.



VIII.   OUTSIDE DIRECTORSHIP PROVISION


                                    In the event a Claim is made against any Individual
                                    Insured arising out of their service as a director, officer,
                                     trustee, managing member or any equivalent positions of
                                    an Outside Entity, coverage afforded under this Policy
                                    shall be excess of any indemnification provided by the
                                    Outside Entity and any insurance provided to the
                                    Outside Entity which covers its directors, trustees,
                                    officers, managing members or any equivalent position .




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


        ACCREDITATION/CERTIFICATION/STANDARD SETTING
                                          EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. is amended by the addition ofthe following:

Accreditation/Certification/Standard       accreditation, certification, standard setting, or similar
Setting                                    such activities by or on behalfof any Insured;


All other terms and conditions ofthis Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date ofyour Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


            ABSOLUTE PROFESSIONAL LIABILITY EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. "Professional Services", is deleted in its entirety and replaced by the following:


Professional Services                       1. rendering or failure to render any
                                                professional services by any Insured,
                                                whether or not such services are rendered
                                                for a fee; or
                                            2. Employed Attorney Services

It is further agreed that the Directors and Officers Coverage Part, Section III. DEFINITIONS,
Wrongful Act is amended by the deletion of Item 4. Employed Attorney Services.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                    NON PROFIT MANAGEMENT LIABILITY POLICY


                             SEXUAL ABUSE EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. is amended by the addition of the following:


Abuse/Molestation                          sexual misconduct, sexual molestation, or physical or
                                           mental abuse of any person.


It is also agreed that the Employment Practices Liability Coverage Part, Section II.
DEFINITIONS, is amended by the addition of the following:


Child Molestation                          means sexual misconduct, sexual molestation, or
                                           physical or mental abuse of any 'Child'. For the
                                           purposes of this definition:


                                            'Child' shall mean any natural person who was under
                                            eighteen (18) years of age at the time an act of Child
                                            Molestation is first committed.


It is also agreed that the Employment Practices Liability Coverage Part, Section II.
DEFINITIONS, "Wrongful Third Party Act" is amended by the addition of the following:


                                            This definition does not mean Child Molestation.


It is further agreed that the Employment Practices Liability Coverage Part, Section III.
EXCLUSIONS, Subsection B. is amended by the addition of the following:


Child Molestation                          Child Molestation, including any actual or alleged
                                           negligence in the hiring, supervision, training, screening
                                           or management of a person alleged to have committed
                                           an act of Child Molestation as well as any actual or
                                           alleged failure to report or failure to report in a timely
                                           manner any such act.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


                     BUILDER OR DEVELOPER EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A., is amended by the addition of the following:


Builder or Developer                       acts, errors or omissions by or on behalf of any builder
                                           or developer, or any Claim made against any Insured
                                           by any builder or developer or by any person or entity
                                           acting on their behalf.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                       This Endorsement modifies insurance provided under the following:


                       NON PROFIT MANAGEMENT LIABILITY POLICY


                         DATA & SECURITY+ ENDORSEMENT

It is hereby agreed:

Unless otherwise stated herein, the tenns, conditions, exclusions and other limitations set forth in
this endorsement are solely applicable to coverage afforded by this endorsement. This
endorsement is part of and subject to the provisions of the Policy to which it is attached.

I.   SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS

The following is a summary of coverages and Limits of Liability provided by this
endorsement.

COVERAGE                                                   LIMIT OF LIABILITY

A. Data Breach Expense                                     $50,000 each claim
                                                              $50,000 in the aggregate

B. Identity Theft Expense                                  $50,000 each claim
                                                              $50,000 in the aggregate

C. Workplace Violence Act Expense                                  $50,000 each claim
                                                                $50,000 in the aggregate

D. Kidnapping Expense                                      $50,000 each claim
                                                              $50,000 in the aggregate

The maximum aggregate per Policy Period for A. through D. above shall be $200,000 in the
aggregate.

No retentions shall apply to the sublimits shown above.

II. COVERAGES:

     A. Data Breach Expense
        The Company will pay on behalf of the Organization up to the Data Breach Expense
        Limit of Liability stated in the schedule above, for reasonable and necessary expenses in
        items 1 . through 6. below:
        1. Development of a plan to assist the Organization in responding to a Data Breach;
        2. Data analysis or forensic investigation to assess the scope of a Data Breach;
        3. The development, printing and mailing of legally required notification letters to those
            affected by a Data Breach;



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       4. Development of a website link for use by theOrganization in communicating with
          persons affected by aData Breach after legally required notification letters are sent;
       5. Development of a customer relationship management system for use by the
          Organization in communicating with persons affected by aData Breach after
          legally required notification letters are sent;
       6. Public relations services or crisis management services retained by theOrganization
          to mitigate the adverse affect on theOrganization's reputation resulting from aData
          Breach that becomes public and only after legally required notification letters are
          sent.

    incurred by theOrganization as a result of a Data Breach. TheData Breach must be first
   occur, be discovered by anInsured, and reported to theCompany during thePolicy Period
    but in no event later than sixty(60) days after theData Breach isfirst discovered by an
   Insured. The expenses below must be incurred within one(1) year of the reporting of such
   Data Breach:


   The Organization mustfirst report the Data Breach to theCompany and use a service
   provider of the Company's choice prior to incurring any of the above costs.

B. Identity Theft Expense


   TheCompany will pay on behalf of a director or officer of the Organization up to the
   Identity Theft ExpenseLimit ofLiability stated in the schedule above, for expenses,
    services or fees noted in items 1. through3. below:
       1. Credit monitoring services provided by a vendor of the Company's choice for the
           affected director or officer for up to one year following anIdentity Theft;
       2. Additional applicationfees paid by a director or officer whose loan(s) were rejected
           based on incorrect credit information resulting from anIdentity Theft;
       3. Notary fees, certified and overnight mail expenses paid by a director or officer in
           connection with reporting anIdentity Theft to financial institutions, credit bureaus
           and agencies and law enforcement authorities.

   . incurred by such director or officer after he or she has become a victim ofIdentity Theft.
   TheIdentity Theft mustfirst occur, be first discovered by anInsured, and reported to the
   Company during the Policy Period but in no event later than sixty(60) days after the
   Identity Theft is first discovered by anInsured. The expenses above must be incurred
     within one(I) year of the reporting of suchIdentity Theft:

   Any director or officer of theOrganization who is a victim ofIdentity Theft must first
    report theIdentity Theft to the Company and use a service provider of the Company's
   choice pri or to incurring any of the above expenses, services or fees.


C. Workplace Violence Act Expense
   The Company will reimburse the Organization, up to the Workplace Violence Act
   ExpenseLimit ofLiability stated in the schedule above, for the following reasonable costs
   paid by theOrganization for a period of thirty(30) daysfollowing, and as a result of, a



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    Workplace Violence Act:
        1.Counseling services rendered to Employees and persons on the Organization's
          Premises directly affected by a Workplace Violence Act. The counseling services
          must be rendered by a licensed, professional counselor of the Organization's choice.
       2. Services rendered by an independent public relations consultant of the
          Organization's choice for the purpose of mitigating the adverse affect of a
          Workplace Violence Act on the Organization.


   To be covered, the Workplace Violence Act must occur during the Policy Period and be
   reported to the Company during the Policy Period but in no event later than sixty (60)
   days after the occurrence.

D. Kidnapping Expense
   The Company will reimburse the Organization, up to the Kidnapping Expense Limit of
   Liability stated in the schedule above, for the following reasonable costs paid by the
   Organization as a result of a Kidnapping:
       I. Retaining an independent negotiator or consultant to facilitate the release of a
           Kidnapping victim. Nothing herein shall obligate the Company to recommend,
           select, retain or arrange for the retention of such independent negotiator or consultant;
      2. Interest on a loan obtained by the Organization to pay expenses covered under this
           endorsement that is incurred as a result of a Kidnapping. However, there is no
           coverage for interest accruing prior to thirty (30) days preceding the date of such
           payment or subsequent to the date the Company pays any portion of a Kidnapping
           Expense or for expenses not covered under this endorsement;
      3. Travel and accommodations incurred by the Organization in direct response to the
           Kidnapping. Nothing herein shall obligate the Company to recommend, select, or
           arrange for such travel and accommodations;
      4. A reward up to $10,000 paid by the Organization to an informant for information
           which leads to the arrest and conviction of the person(s) responsible for the
             Kidnapping;
       5. The current base salary paid to a director or officer of the Organization for the
          director or officer's work on behalf of the Organization, who is a victim of a
          Kidnapping subject to the following:
          a. salary reimbursement shall commence on the thirty-first (31st) consecutive day
              after a Kidnapping;
          b. salary reimbursement shall end when the director or officer is released; or is
              confirmed dead; or one hundred and twenty (120) days after the director or
              Officer is last confirmed to be alive; or twelve (12) months after the date of the
              Kidnapping, or when the Kidnapping Expense Limit of Liability has been
              exhausted by payments made by the Company, whichever occurs first.
              There is no coverage for Kidnapping Expense resulting from a Kidnapping
              planned, carried out or participated in, directly or indirectly, by any person who is
              or was a member of the victim's family or the Organization.

   The Kidnapping must occur and be reported to the Company during the Policy Period but
   in no event later than sixty (60) days after the occurrence.



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III. ADDITIONAL DEFINITIONS

It is hereby agreed that the Directors and Officers Coverage Part, Section III. DEFINITIONS, is
amended by the addition of the following definitions:

Data Breach                           means the misappropriation or public disclosure, by
                                      electronic or non-electronic means, by the Organization
                                      and without the knowledge of, consent, or acquiescence
                                      of the president, member of the board of directors or any
                                      executive officer, of an individual(s) Personally
                                      Identifiable Information in the Organization's care,
                                      custody and control without the authorization or
                                      permission of the owner of such information.

Identity Theft                        Means:
                                          I. the act of obtaining Personally Identifiable
                                             Information belonging to a director or officer of
                                             the Organization without that person's
                                             authorization, consent or permission; and
                                          2. the use of Personally Identifiable Information
                                             so obtained to make or attempt to make
                                             transactions or purchases by fraudulently
                                             assuming that person's identity.

                                      Identity Theft does not mean any of the above
                                      committed directly or indirectly by a director or
                                      officer of the Organization, or by a family member of
                                      any director or officer.

                                      There is no coverage for any Identity Theft Expense
                                      unless Personally Identifiable Information
                                      that is obtained without authorization, consent or
                                      permission is used to make or attempt to make
                                      purchases or conduct transactions by fraudulently
                                      assuming the identity of a director or officer of the
                                      Organization.


Kidnapping                            means an actual or alleged wrongful abduction and
                                      involuntary restraint of a director or officer of the
                                      Organization, by one or more persons acting
                                      individually or collectively in which monetary or non­
                                      monetary demands are made to the Organization to
                                      obtain the director's or officer's release.




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Personally Identifiable                   means:
Information                                   1.   information concerning an individual(s) that
                                                   would be considered "non-public information"
                                                   within the meaning of Title V of the Gramm­
                                                   Leach Bliley Act of 1999 (as amended) and its
                                                   implementing regulations including but not
                                                   limited to Social Security numbers or account
                                                   numbers correlated with names and addresses
                                                   which is in an Insured's care, custody and
                                                   control; and
                                              2.   personal information as defined in any U.S.
                                                   federal, state or local privacy protection law
                                                   governing the control and use of an individual's
                                                   personal and confidential information, including
                                                   any regulations promulgated thereunder; and
                                              3.   protected health information as defined by the
                                                   Health Insurance Portability and Accountability
                                                   Act of 1996 (Public Law 104-191) ("HIPPA") or
                                                   the Health Information Technology for
                                                   Economic and Clinical Health Act of 2009
                                                   ("HITECH") (Public Law 111-5,) as amended,
                                                   and any regulations promulgated thereto.
                                                   Personally Identifiable Information does not
                                                   mean information that is available to the public
                                                   which does not include otherwise protected
                                                   personal information.



Premises                                  means buildings, facilities or properties leased or owned
                                          by the Organization in conducting its operations.


Workplace Violence Act                    means an actual use of unlawful dead! y force, or
                                          the threatened use of unlawful deadly force involving
                                          the display of a lethal weapon, occurring on the
                                          Organization's Premises and directed at an Individual
                                          Insured, or other persons on the Premises of the
                                          Organization.



JV. LIMITS OF LIABILITY AND RETENTION


   I.    The maximum Limit of Liability for any expenses provided by this endorsement shall be
         in addition to the Limits of Liability as set forth in the Policy Declarations for the
         Directors and Officers Coverage Part.
   2.    Any one incident, interrelated incidents or series of similar or related incidents for which
         coverage is provided under this endorsement shall be treated as one incident subject to




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       the maximum Limit of Liability available under this endorsement at the time the
       incident(s) is first reported to the Company regardless of whether the incident(s)
       continues and expenses are incurred by the Organization in any subsequent Policy
       Period(s).

V. ADDITIONAL EXCLUSIONS

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS, is
amended by the addition of the following:

Data Breach Related                       1 . Expense reimbursement resulting in any
                                              Insured gaining any profit, remuneration
                                              or advantage to which the Insured is not
                                              legally entitled;
                                          2. expenses incurred by any Subsidiary of
                                              an Organization occurring prior to the
                                              date that such entity became a Subsidiary
                                              or incurred at any time that such entity is
                                              not a Subsidiary;
                                          3. expenses arising from any incident(s) of
                                              which any Insured had notice before the
                                              inception date of this Policy; or any fact,
                                              circumstance, event, situation or incident
                                              which before the inception date of this
                                              Policy was the subject of any notice under
                                              any other similar policy of insurance or
                                              any future claims for expenses under this
                                              Policy based upon such pending or prior
                                              notice;
                                          4. The portion of any expenses covered
                                              under this endorsement that is also
                                              covered under any other coverage part of
                                              this Policy;
                                          5. Reissuance of credit or debit cards or any
                                              other expense not shown in Section II,
                                              COVERAGES, sub-section A, Data
                                              Breach Expense.




VI. COVERAGE LIMITATIONS

The following terms, conditions and exclusions in the General Terms and Conditions and the
Directors and Officers Coverage Part do not apply to this endorsement:
    1. General Terms and Conditions
       a. Section II. EXTENDED REPORTING PERIOD
       b. Section XL SPOUSAL AND DOMESTIC PARTNER EXTENSION



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   2.    Directors and Officers Coverage Part
         a.   Section IV. EXCLUSIONS, Subsection A. "Bodily Injury/Property Damage"
         b.   Section VI. LIFETIME OCCURRENCE REPORTING PROVISION
         c.   Section VIII. OUTSIDE DIRECTORSHIP PROVISION




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the fo1lowing:


                   NON PROFIT MANAGEMENT LIABILITY POLICY


   AMENDMENT OF PRIOR OR PENDING LITIGATION EXCLUSION

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. "Prior or Pending Litigation" is deleted and replaced by the following:


Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                       essentially the same facts, circumstances, matters,
                                       situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                       effective date of this Policy;


                                        provided that, if this Policy is a renewal of a Policy
                                        previously issued by the Company in a continuous
                                       succession of Policies with no lapses in coverage,
                                        the effective date of this Policy will mean the
                                       effective date of the first Policy issued by the
                                       Company in such succession of Policies.


It is also agreed that the Employment Practices Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. "Prior or Pending Litigation" is deleted and replaced by the
following:


Prior or Pending Litigation             Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                        Insured, or any such action based upon the same or
                                        essentially the same facts, circumstances, matters,
                                        situations, transactions or events underlying or
                                        alleged therein which was pending on or prior to the
                                        effective date of this Policy;


                                        provided that, if this Policy is a renewal of a Policy
                                        previously issued by the Company in a continuous
                                       succession of Policies with no lapses in coverage,
                                        the effective date of this Policy will mean the
                                        effective date of the first Policy issued by the
                                        Company in such succession of Policies.


It is also agreed that the Fiduciary Liability Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. "Prior or Pending Litigation" is deleted and replaced by the
following:




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Prior or Pending Litigation           Any litigation, demand, claim, arbitration, decree,
                                      judgment, proceeding, or investigation against any
                                      Insured, or any such action based upon the same or
                                      essentially the same facts, circumstances, matters,
                                      situations, transactions or events underlying or
                                      alleged therein which was pending on or prior to the
                                      effective date of this Policy;


                                      provided that, if this Policy is a renewal of a Policy
                                      previously issued by the Company in a continuous
                                      succession of Policies with no lapses in coverage,
                                      the effective date of this Policy will mean the
                                      effective date of the first Policy issued by the
                                      Company in such succession of Policies.




All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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     Non-Profit Management Liability Policy                           General Terms and Conditions
     In consideration of the payment of the premium and reliance upon all statements made and
     information furnished to the Company, including the statements made in the Application and
     subject to all the provisions of this Policy, the Company and the Insureds agree as follows:


     NOTICE: This is a Claims Made Policy. This means the Company will cover only those
     Claims first made against the Insured during the Policy Period or, where applicable, the
     Extended Reporting Period.


     If any provision in these General Terms and Conditions is inconsistent or in conflict with the
     terms and conditions of any Coverage Part, the terms and conditions of such Coverage Part
     shall control for the purposes of that Coverage Part.


     Any balded term in a Coverage Part that is defined in these General Terms and Conditions shall
     have the meaning set forth in these General Terms and Conditions. Any balded term in a
     Coverage Part that is defined in that Coverage Part shall have the meaning set forth in such
     Coverage Part.


     The descriptions in the headings and subheadings of this Policy are solely for convenience and
     form no part of the terms and conditions of coverage, and do not serve to express, confirm, alter
     or provide coverage.


I.   DEFINITIONS


     Application                        means:


                                           I.   an application and any materials submitted for this
                                                Policy; and
                                           2.   an application and any materials submitted for all
                                                previous Policies issued by the Company providing
                                                uninterrupted coverage.


                                        The content of I. and 2. above are incorporated by reference
                                        in this Policy as if physically attached hereto.


     Claim                              shall have the meaning as defined in the applicable Coverage
                                        Part.


     Company                            means the insurance company identified in the Policy
                                        Declarations.


     Coverage Part                      means individually or collectively, as applicable, the
                                        purchased coverage parts as set forth in the Policy
                                        Declarations as included and attached to and made a part of
                                        this Policy.




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Defense Costs                shall have the meaning as defined in the applicable Coverage
                             Part.


Domestic Partner             means any natural person qualifying as a domestic partner
                             under the provision of any applicable federal, state or local
                             laws.


Employee                     shall have the meaning as defined in the applicable Coverage
                             Part.


Financial Impairment         means:


                                1.   the appointment by any federal or state official, agency
                                     or court of any receiver, conservator, liquidator, trustee,
                                     rehabilitator, creditors committee or similar official to
                                     take control of, supervise, manage or liquidate the
                                     Organization and provided that the court or other
                                     judicial or administrative body overseeing the
                                     receivership, conservatorship, liquidation,
                                     rehabilitation, bankruptcy or equivalent proceeding has
                                     denied a request by the Organization to indemnify an
                                     Individual Insured for a Loss; or
                                2.   the Organization becoming a debtor in possession
                                     under the United States bankruptcy law or the
                                     equivalent of a debtor in possession under the law of
                                     any other country.


Insured                      means any Organization and any Individual Insured.


Individual Insured           shall have the meaning as defined in the applicable Coverage
                             Part.


Interrelated Wrongful Acts   means any Wrongful Acts based upon, arising from, or in
                             consequence of the same or related facts, circumstances,
                             situations, transactions or events, or that are logically or
                             causally connected by reason of any common or related series
                             of facts, circumstances, situations, transactions or events.


Loss                         shall have the meaning as defined in the applicable Coverage
                             Part.


Management Control           means:


                                I.   control of more than fifty percent (50%) of the voting
                                     rights representing the right to appoint, elect, or
                                     designate the majority of the board of directors, board




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                                    of trustees, or board of managers; or
                              2.    control of exactly fifty percent   (50%) of the voting
                                    rights representing the right to appoint, elect, or
                                    designate the majority of the board of directors, board
                                    of trustees, or board of managers; and pursuant to a
                                    written contract solely controls the management and
                                    operations of such entity.


Named Insured               means the entity named in Item 1. of the Policy Declarations.


Organization                means:


                               I.   the Named Insured and any Subsidiary; and
                              2.    any entity as debtor in possession under United States
                                    bankruptcy law or equivalent status under the law of
                                    any other jurisdiction.


Plan                        shall have the meaning as defined in the applicable Coverage
                            Part.

Policy                      means collectively the Policy Declarations, General Terms
                            and Conditions, applicable Coverage Parts, applicable
                            endorsements, and the Application.


Policy Period               means the period of time from the effective date and time of
                            this Policy to the date and time of expiration as shown in the
                            Policy Declarations, or its earlier cancellation or termination
                            date. If the length of the Policy Period is the same as the
                            Policy Year, the terms Policy Period and Policy Year are
                            used interchangeably herein.


Policy Year                 means the period of one (I) year following the effective date
                            of the Policy Period or any subsequent one-year anniversary
                            thereof; or


                            In the event the Policy expires less than one (I) year following
                            the effective date of the Policy Period; or more than one (I)
                            year but less than two (2) years following the effective date of
                            the Policy Period; then Policy Year shall mean any such
                            period.


Subsidiary                  means:

                              I.    any not-for-profit entity in which the Named Insured
                                    has Management Control directly or indirectly
                                    through one or more Subsidiaries on or before the




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                                        effective date of this Policy; and is disclosed as a
                                        Subsidiary in an Application to the Company; or
                                  2. any other entity added as a Subsidiary by written
                                        endorsement to this Policy.

      Takeover                  means:


                                   I.   the acquisition by another entity or person or group of
                                        entities or persons acting in concert of:
                                        a.   the Management Control of the Named Insured;
                                             or
                                        b.   the acquisition of more than fifty percent   ( 50%) of
                                             the total consolidated assets of the Named Insured
                                             as of the date of the Named Insured's most recent
                                             consolidated financial statements prior to such
                                             acquisition;
                                  2. the merger of the Named Insured into another entity
                                        such that the Named Insured is not the surviving
                                        entity;
                                  3.    the consolidation of the Named Insured with another
                                        entity; or
                                  4.    the loss, forfeiture, or suspension of the Named
                                        Insured's tax exempt status.


      Wrongful Act              shall have the meaning as defined in the applicable Coverage
                                Part.


II.   EXTENDED REPORTING PERIOD


      Right to Purchase         If the Policy expires, is cancelled or not renewed for any
                                reason other than non-payment of premium, then the
                                Named Insured shall have the right to purchase an
                                Extended Reporting Period to report to the Company, as
                                soon as practicable prior to the expiration date of the
                                purchased Extended Reporting Period, any Claim against
                                an Insured.


                                An Extended Reporting Period shall only apply to
                                Claims arising from a Wrongful Act which was actually
                                or allegedly committed before the date of expiration,
                                cancellation or non-renewal of this Policy, or prior to the
                                effective date of any Takeover. For the purpose of this
                                clause, the offer of renewal terms and conditions or
                                premiums by the Company different from those in effect
                                prior to renewal shall not constitute a refusal to renew.




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       Options                     The additional premium for the Extended Reporting
                                   Period shall be a percentage of the total annual premium
                                   as shown in the Policy Declarations. The Named
                                   Insured may elect any one of the following options:


                                      I.   Twelve (12) month period   -   30% of the annual
                                           premmm;
                                     2. Twenty Four (24) month period 75% of the-




                                           annual premium; or
                                     3. Thirty Six (36) month period       -   120% of the annual
                                           premmm.


                                   The Extended Reporting Period begins on the expiration
                                   date of the Policy, or if cancelled or non-renewed, the
                                   effective date of such cancellation or non-renewal of the
                                   Policy.


       Payment & Notice to the     As a condition precedent to the right to purchase an
       Company                     Extended Reporting Period, the total earned premium for
                                   this Policy must have been paid to the Company. Any
                                   premium paid with respect to an Extended Reporting
                                   Period shall be deemed fully earned as of the first day of
                                   the Extended Reporting Period. The right to elect the
                                   Extended Reporting Period will terminate unless written
                                   notice of such election, together with payment of the
                                   additional premium as set forth above, is received by the
                                   Company within sixty (60) days of the effective date of
                                   the expiration, nonrenewal or cancellation of this Policy.


       Extended Reporting Period   The Extended Reporting Period will not provide a new,
       Limits                      separate or additional Limit of Liability. The remainder
       & Other Insurance           of the Limit of Liability applicable to the Policy Year in
                                   effect as of the effective date of the expiration,
                                   cancellation, or non-renewal is the maximum Limit of
                                   Liability for all Claims reported during the Extended
                                   Reporting Period.


III.   DEFENSE & SETTLEMENT


       Duty To Defend              The Company shall have the right and duty to
                                   defend any Claim covered by this Policy even if the
                                   allegations are groundless, false or fraudulent. The
                                   Company shall have the right to appoint counsel of
                                   its choice with respect to such Claim. The
                                   Company's obligation to defend any Claim or pay
                                   any Loss or Defense Costs shall be completely




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                          fulfilled and extinguished if the applicable Limit of
                          Liability has been exhausted by payment of Loss.


Consent to Settle         The Company, as it deems necessary, has the right
                          to investigate, adjust, defend, appeal and, with the
                          consent of the Insured, negotiate the settlement of
                          any Claim whether within or in excess of the
                          Retention. If the Insured refuses to consent to a
                          settlement recommended by the Company, the
                          Company's obligation to the Insured for Loss and
                          Defense Costs attributable to such Claim shall be
                          limited to:


                                a.   The amount of the covered Loss in excess
                                     of the Retention which the Company
                                     would have paid in settlement at the time
                                     the Insured first refused to settle; plus
                                b.   covered Defense Costs incurred up to the
                                     date the Insured first refused to settle;
                                     plus
                                c.   eighty percent   (80%) of covered Loss and
                                     Defense Costs in excess of the first
                                     settlement amount recommended by the
                                        Company to which the Insured did not
                                     consent.


                          It is understood that payment of a., b. and c. above
                          is the limit of the Company's liability under this
                          Policy for any Claim in which the Insured fails or
                          refuses to consent to the Company's settlement
                          recommendation, subject at all times to Section IX.
                          LIMITS OF LIABILITY and Section X.
                          RETENTIONS AND PRESUMPTIVE
                          INDEMNIFICATION of these General Terms and
                          Conditions. The remaining twenty percent (20%) of
                          Loss and Defense Costs in excess of the amount
                          referenced in a. and b. above shall be the obligation
                          of the Insured.


                          In no event shall the Company be obligated to pay
                          any Loss or Defense Costs after the applicable
                          Limit of Liability shown in the Policy Declarations
                          has been exhausted by payment of Loss.




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      Consent of the Company    The Insured shall not demand or agree to
                                arbitration of any Claim without the Company's
                                written consent. The Insured shall not, except at
                                personal cost, make any offer or payment, admit any
                                liability, settle any Claim, assume any obligation, or
                                incur any expense without the Company's written
                                consent.


      Cooperation               The Insured agrees to cooperate with the Company
                                with respect to all Claims, and provide such
                                assistance and information as the Company may
                                reasonably request. Upon the Company's request,
                                the Insured shall submit to examination and
                                interrogation by the Company's representative,
                                under oath if required, and shall attend hearings,
                                depositions, trials and shall assist in the conduct of
                                suits, including but not limited to effecting
                                settlement, securing and giving evidence, obtaining
                                the attendance of witnesses, giving written
                                statements to the Company's representatives and
                                meeting with such representatives for the purpose of
                                investigation and/or defense, all of the above
                                without charge to the Company. The Insured
                                further agrees not to take any action which may
                                increase the Insured's or the Company's exposure
                                under this Policy.


      Papers/Documents          The Insured shall execute all papers required and
                                shall do everything that may be necessary to secure
                                and preserve any rights of indemnity, contribution
                                or apportionment which the Insured or the
                                Company may have, including the completion of
                                such documents as are necessary to enable the
                                Company to bring suit in the lnsured's name, and
                                shall provide all other assistance and cooperation
                                which the Company may reasonably require.


IV.   ALLOCATION OF DEFENSE COSTS


                                If a Claim is made against an Insured for both Loss that
                                is covered by this Policy and loss that is not covered by
                                this Policy, the Company will pay as follows:


                                  1.   One hundred percent (100%) of Defense Costs on
                                       account of such Claim; and




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                                   2.   all remaining loss from such Claim shall be
                                        apportioned between covered Loss and uncovered
                                        Joss based on the relative legal exposures of the
                                        parties to such matters.
                                   3. Items I. and 2. above of this Section IV. shall not
                                        apply to any Insured for whom coverage is
                                        excluded pursuant to Section VII.
                                        REPRESENTATIONS AND SEVERABILITY.


V.   NOTICE AND CLAIM REPORTING PROVISIONS


                                 Notice hereunder shall be given in writing to the
                                 Company. If mailed, the date of mailing of such notice
                                 shall constitute the date that such notice was given and
                                 proof of mailing shall be sufficient proof of notice.


     Written Notice of a Claim     I.   As a condition precedent to exercising any right to
                                        coverage under this Policy, the Insured shall give
                                        to the Company written notice of a Claim as soon
                                        as practicable after any Chief Executive Officer,
                                        Chief Financial Officer, Chief Operating Officer,
                                        Chairperson, Executive Director, Human Resources
                                        Manager, In-House General Counsel, Managing
                                        Member or Fiduciary of any Plan becomes aware of
                                        such Claim, however:
                                        a.   if the Policy expires, is cancelled or is non­
                                             renewed and no Extended Reporting Period is
                                             purchased, no later than ninety (90) days after
                                             the expiration date or the effective date of such
                                             cancellation or non-renewal; or
                                        b.   if an Extended Reporting Period is purchased,
                                             no later than the last day of the Extended
                                             Reporting Period.


                                 However, if the Policy is cancelled for non-payment of
                                 premium, notice shall be provided by the Insured to the
                                 Company no later than the effective date of cancellation.


                                   2. Coverage for a Claim reported to the Company
                                        during the automatic 90 day period noted in 1. a.
                                        above shall only apply if the Claim is first made
                                        prior to the date of the Policy expiration,
                                        cancellation, or non-renewal.




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      Written Notice of a             1. If during the Policy Period, or any applicable
      Circumstance                       Extended Reporting Period, the Insured becomes
                                           aware of circumstances which could give rise to a
                                           Claim and gives written notice of such
                                           circumstances to the Company as soon as
                                           practicable during the Policy Period, or Extended
                                           Reporting Period if applicable, in which the
                                           Insured first becomes aware of such circumstances,
                                           then any Claim subsequently arising from such
                                           circumstances shall be deemed made against the
                                           Insured during the Policy Year in which such
                                           circumstances were first reported to the Company.
                                           Such subsequent Claim must be reported to the
                                           Company in accordance with this Section V.
                                           NOTICE AND CLAIM REPORTING
                                           PROVISIONS, "Written Notice of Claim" above.
                                      2.   When reporting a circumstance to the Company, an
                                           Insured shall give the names of any potential
                                           claimant; a description of the specific circumstances
                                           that could give rise to a Claim; the identity of the
                                           specific Insureds allegedly involved in such
                                           circumstance; the nature of the potential damages
                                           (monetary and non-monetary); and the specifics as
                                           to how the Insureds first became aware of such
                                           circumstance.


      Interrelated Claims           More than one Claim involving the same Wrongful Act
                                    or Interrelated Wrongful Acts shall be considered as one
                                    Claim which shall be deemed made on the earlier of:

                                      I.   the date on which the earliest Claim was first made;
                                           or
                                      2.   the first date valid notice was given by the Insured
                                           to the Company, in accordance with applicable
                                           reporting provisions, under this Policy or under any
                                           prior policy, of any Wrongful Act or any fact,
                                           circumstance, situation, transaction or event which
                                           underlies such Claim.


VI.   CANCELLATION OR NON-RENEWAL


      Cancellation by the Insured   This Policy may be cancelled by the Named Insured
                                    by either surrender thereof to the Company at its
                                    address stated in the Policy Declarations or by mailing
                                    to the Company written notice requesting cancellation
                                    and in either case stating when thereafter such




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                                     cancellation shall be effective. Earned premium shall
                                     be computed pro rata at the time cancellation is
                                     effected or as soon as practicable thereafter.


       Cancellation By the           The Company may cancel this Policy only in the
       Company                       event of the lnsured's failure to pay the premium
                                     when due. The Company will mail to the Named
                                     Insured, written notice stating when cancellation shall
                                     take effect. The effective date of such cancellation
                                     shall not be less than twenty (20) days after the date of
                                     mailing. Earned premium shall be computed pro rata at
                                     the time cancellation is effected or as soon as
                                     practicable thereafter.


       Non-Renewal                   In the event the Company non-renews this Policy, the
                                     Company shall mail to the Named Insured, not less
                                     than sixty (60) days prior to the end of the Policy
                                     Period, written notice of non-renewal. Such notice
                                     shall be binding on all Insureds.


       Delivery of Notice            The Company shall mail notice of cancellation or non­
                                     renewal with a certificate of mailing stating the
                                     effective date of cancellation or non-renewal which
                                     shall become the end of the Policy Period. Mailing of
                                     such notice shall be sufficient notice of cancellation or
                                     non-renewal.


VII.   REPRESENTATIONS AND SEVERABILITY


       Representations               The Insured represents that the particulars and
                                     statements contained in the Application are true and
                                     agree that:


                                        I. those particulars and statements are the basis of
                                            this Policy and are to be considered as
                                            incorporated into and constituting a part of the
                                            Policy;
                                       2.   those particulars and statements are material to the
                                            acceptance of the risk assumed by the Company;
                                            and
                                       3.   the Policy is issued in reliance upon the truth of
                                            such representations.


       Severability of Application   An Application for coverage shall be construed as a
                                     separate Application for coverage by each Individual
                                     Insured. With respect to the particulars and statements




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                                   contained in the Application, no fact pertaining to or
                                   knowledge possessed by any Individual Insured shall
                                   be imputed to any other Individual Insured for the
                                   purpose of determining if coverage is available.


                                   In the event that such Application contains any
                                   misrepresentations which materially affects either the
                                   acceptance of the risk or the hazard assumed by the
                                   Company under this Policy, then no coverage shall be
                                   afforded for any Claim based upon, arising out of,
                                   related to or in consequence of any such
                                   misrepresentation with respect to:


                                     I.    any Individual Insured who knew of such
                                           misrepresentations or knew of the facts or
                                           circumstances relating to such misrepresentations,
                                           or any Organization to the extent it indemnifies
                                           any such Individual Insured. Such knowledge
                                           possessed by such Individual Insured shall not
                                           be imputed to any other Individual Insured; or
                                     2.    any Organization if any past or present Chief
                                           Executive Officer, Chief Financial Officer, Chief
                                           Operating Officer, Chairperson, Executive
                                           Director, Human Resources Manager, In-House
                                           General Counsel, Managing Member or Fiduciary
                                           of any Plan or any equivalent position of the
                                           Named Insured, or the signer of the Application,
                                           knew of such misrepresentations or knew of the
                                           facts or circumstances relating to such
                                           misrepresentations.


VIII.   CHANGES IN EXPOSURE


        Creation, Acquisition of      I.   If, after the effective date of this Policy:
        or Merger with Another             a.   the Organization creates, acquires,
        Entity                                  consolidates or merges with another nonprofit
                                                entity incorporated under the laws of a
                                                j urisdiction within the   territorial United
                                                States, (hereafter referred to as "other entity")
                                                such that the Organization is the surviving
                                                entity, and if as a result of such creation,
                                                acquisition, consolidation or merger, the other
                                                entity becomes a Subsidiary of the
                                                Organization, then coverage shall be
                                                provided for the other entity as an Insured
                                                solely for Wrongful Acts committed or




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                                     allegedly committed after the effective date of
                                     such creation, acquisition, consolidation or
                                     merger. The Insured shall disclose full
                                     particulars of such a change to the Company
                                     as soon as practicable but not later than the
                                     expiration date of the Policy Year, or
                                     effective date of cancellation or non-renewal
                                     of this Policy,
                                b.   However, if at the time of an event described
                                     in Paragraph 1, a., above:
                                      1.   the assets of the other entity exceed thirty
                                           five percent (35%) of the total assets of
                                           the Organization as reflected in the
                                           Organization's most recent annual
                                           financial statements; or
                                     11.   if the Employment Practices Liability
                                           Coverage Part is attached to this Policy,
                                           the total number of employees of the
                                           other entity exceeds thirty five (35%) of
                                           the total number of Employees of the
                                           Organization immediately prior to such
                                           event, then:


                                           the Named Insured shall provide to the
                                           Company written notice of such
                                           creation, acquisition, consolidation or
                                           merger, containing full details thereof, as
                                           soon as practicable but within sixty (60)
                                           days of such event. The Company, at its
                                           sole discretion, may require additional
                                           premium and may alter the terms,
                                           conditions or limitations of coverage.
                                           The Company reserves the right to
                                           refuse any extension of coverage to such
                                           entity.
                           2.   If, after the effective date of this Policy, the
                                Organization creates, acquires, consolidates or
                                merges with a for-profit entity, or any entity
                                incorporated outside of the territorial United
                                States, such that the Organization is the
                                surviving entity, and if as a result of such
                                creation, acquisition, consolidation or merger,
                                such for-profit or foreign entity becomes a
                                Subsidiary of the Organization, then:


                                the Named Insured shall provide to the




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                                    Company written notice of such creation,
                                    acquisition, consolidation or merger, containing
                                    full details thereof, as soon as practicable but
                                    within sixty (60) days of such event. The
                                    Company, at its sole discretion, may require
                                    additional premium and may alter the terms,
                                    conditions or limitations of coverage. The
                                    Company reserves the right to refuse any
                                    extension of coverage to such entity.


Cessation of Subsidiaries   If during the Policy Period any Subsidiary ceases to be
                            a Subsidiary, then coverage under this Policy shall
                            continue for such Subsidiary and its Individual
                            Insureds until the expiration of this Policy or the last
                            Policy in an uninterrupted series of policies issued by
                            the Company, but solely for Claims arising out of
                            Wrongful Acts committed or allegedly committed by
                            such Subsidiary or its Individual Insureds while such
                            Subsidiary was a Subsidiary and prior to the effective
                            date of such cessation. There shall be no coverage for
                            Claims arising out of actual or alleged Wrongful Acts
                            occurring on or after the effective date of cessation.


Takeover of the             In the event of a Takeover of the Named Insured:
Named Insured
                               I.   coverage under this Policy shall continue until
                                    the earlier of:
                                    a.   the expiration of the Policy Year; or
                                    b.   if the Policy is cancelled or non-renewed, the
                                         effective date of cancellation or non-renewal;


                                         but only with respect to Claims arising out of
                                         Wrongful Acts that occurred or allegedly
                                         occurred prior to the effective date of the
                                         Takeover. There shall be no coverage for
                                         Claims arising out of actual or alleged
                                         Wrongful Acts occurring on or after the date
                                         of Takeover;


                               2.   the Named Insured shall give the Company
                                    written notice of the Takeover as soon as
                                    practicable, but not later than sixty (60) days after
                                    the effective date of the Takeover; and
                               3.   the premium for the Policy Year in which the
                                    Takeover occurred shall be deemed to be fully



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                                    earned. The Named Insured shall have the right
                                    to purchase an Extended Reporting Period,
                                    subject to Section II. EXTENDED REPORTING
                                    PERIOD herein, to report Claims arising out of
                                    Wrongful Acts occurring prior to the effective
                                    date of any Takeover.


Merger, Sale, Transfer or   If after the inception date of the Fiduciary Liability
Termination of a Plan       Coverage Part, or the date the Fiduciary Liability
                            Coverage Endorsement is added to this Policy:


                               I.   the sponsorship of a Plan is transferred so that an
                                    Organization is no longer the sole employer
                                    sponsor of such Plan;
                               2.   a Plan is merged with another plan for which
                                    coverage is not afforded under the Fiduciary
                                    Liability Coverage Part;
                               3.   a Plan is terminated or sold; or
                               4.   the Pension Benefit Guaranty Corporation
                                    (PBGC) becomes the Trustee of a Plan;


                               then:


                                    a.   in the case of paragraphs I., 2. and 3. above,
                                         the Fiduciary Liability Coverage Part or the
                                         Fiduciary Liability Coverage Endorsement, as
                                         applicable, shall continue to apply to such
                                         transferred, merged, terminated or sold Plan,
                                         but solely for Claims based upon or arising
                                         out of Wrongful Acts that occurred or
                                         alleged! y occurred prior to the date of such
                                         transfer, merger, termination or sale. There
                                         shall be no coverage for Claims arising out of
                                         actual or alleged Wrongful Acts occurring on
                                         or after the date of merger, transfer,
                                         termination or sale of any Plan as described
                                         in paragraphs I., 2. and 3. above; or
                                    b.   in the case of paragraph 4. above, the
                                         Fiduciary Liability Coverage Part or the
                                         Fiduciary Liability Coverage Endorsement
                                         shall continue to apply to such Plan for those
                                         who were Insureds at the time the PBGC
                                         became the Trustee of such Plan but solely
                                         for Claims based upon or arising out of
                                         Wrongful Acts that occurred or allegedly
                                         occurred prior to the date the PBGC became




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                                              the Trustee of such Plan. There shall be no
                                             coverage for Claims arising out of actual or
                                             alleged Wrongful Acts occurring on or after
                                              the date the PBGC becomes the Trustee of
                                             any Plan.


      Cancellation of the Policy   If the Named Insured requests cancellation of this
                                   Policy as a result of a "Creation, Acquisition of or
                                   Merger with Another Entity", "Cessation of
                                   Subsidiaries", or "Takeover of the Named Insured", the
                                   Company shall compute earned premium on a pro rata
                                   basis and return any unearned premium to such entity as
                                   of the effective date of such cancellation as long as
                                   notice of the event is provided to the Company as soon
                                   as practicable but not later than sixty (60) days after
                                   such event, together with such information as the
                                   Company may require.


IX.   LIMITS OF LIABILITY


      "Each Claim"                 The "Each Claim" Limit of Liability shown on the
                                   Policy Declarations is the Company's maximum
                                   liability for Loss for each Claim to which the applicable
                                   Coverage Part applies, during each Policy Year.


      "In the Aggregate"           The "In the Aggregate" Limit of Liability shown on the
                                   Policy Declarations is the Company's maximum
                                   liability for Loss for all Claims to which the applicable
                                   Coverage Part applies, during each Policy Year.


      Policy Year Limits           The Limits of Liability for any Policy Year may not be
                                   aggregated or transferred, in whole or in part, so as to
                                   provide any additional coverage with respect to Claims
                                   first made or deemed made, as provided in Section V.
                                   NOTICE AND CLAIM REPORTING PROVISIONS of
                                   these General Terms and Conditions during any other
                                   Policy Year. If the applicable Limits of Liability for
                                   any Policy Year are exhausted, the Company's
                                   obligation for that Policy Year shall be deemed
                                   completely fulfilled and extinguished.


      Extended Reporting           The Extended Reporting Period will not provide a new,
      Period Limits                separate or additional Limit of Liability. The remainder
                                   of the Limit of Liability applicable to the Policy Year in
                                   effect as of the date of expiration, cancellation, or non­
                                   renewal is the maximum Limit of Liability for all




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                                Claims reported during the Extended Reporting Period.


     Defense Costs              Defense Costs shall be in addition to the Limits of
                                Liability for each Coverage Part purchased as shown
                                on the Policy Declarations, unless as otherwise provided
                                within that Coverage Part or by endorsement.


     Interrelated Claims        More than one Claim involving the same Wrongful Act
                                or Interrelated Wrongful Acts shall be considered as
                                one Claim pursuant to Section V. NOTICE AND
                                CLAIM REPORTING PROVISIONS, "Interrelated
                                Claims" and shall be subject to the Limit of Liability in
                                effect when the Claim was first made.


X.   RETENTIONS AND PRESUMPTIVE INDEMNIFICATION


     Retentions                 Retentions set forth in the Policy Declarations for each
                                Coverage Part shall apply per Claim per Policy Year
                                under each respective Coverage Part.


                                If more than one Retention applies to any one Claim
                                then each applicable Retention shall be applied to the
                                applicable part of such Claim, but the sum of such
                                Retentions shall not exceed the highest of such
                                applicable Retentions.


                                Claims shall be subject to the Retention applicable to
                                the Policy Year during which the Claims are first made
                                as provided in Section V. NOTICE AND CLAIM
                                REPORTING PROVISIONS.


                                Except as otherwise provided by Section VII. TIMELY
                                NOTICE AND RESOLUTION INCENTIVE of the
                                Directors and Officers Coverage Part:


                                  1.   the Company shall be liable to pay only Loss and
                                       Defense Costs in excess of the applicable
                                       Retention for the Coverage Part to which the
                                       Claim applies;
                                  2.   the Company shall have no obligation to pay any
                                       part or all of such Retention on the Insured's
                                       behalf; and
                                  3.   if the Company, at its sole discretion, elects to
                                       pay any part of or all of such Retention, the
                                       Insured agrees to repay such amounts to the
                                       Company upon demand.




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      Presumptive Indemnification   Regardless of whether Loss or Defense Costs resulting
                                    from any Claim against an Individual Insured is
                                    actually indemnified by the Organization, the
                                    applicable Retention set forth in the Policy Declarations
                                    shall apply to any Loss and Defense Costs if
                                    indemnification of the Individual Insured by the
                                    Organization is legally permissible. The certificate of
                                    incorporation, charter, articles of association or other
                                    organizational documents of the Organization,
                                    including by-laws and resolutions, will be deemed to
                                    have been adopted or amended to provide
                                    indemnification to the Individual Insured to the fullest
                                    extent permitted by law.


                                    However, if an Individual Insured is not indemnified
                                    for Loss or Defense Costs solely by reason of:


                                       I.   Financial Impairment; or
                                      2.    a good faith determination by the Organization
                                            that such indemnification is not permitted by
                                            common or statutory law; then


                                    an Individual Insnred's Retention for this Coverage
                                    Part shall be amended to    $0.

XI.   SPOUSAL AND DOMESTIC PARTNER EXTENSION


                                    If a Claim against an Individual Insured includes a
                                    Claim against the lawful spouse or Domestic Partner
                                    of such Individual Insured solely by reason of:


                                       1.   such spousal or Domestic Partner status; or
                                      2.    such spouse's or Domestic Partner's ownership
                                            interest in property or assets that are sought as
                                            recovery for Wrongful Acts; then


                                    any Loss which such spouse or Domestic Partner
                                    becomes legally obligated to pay on account of such
                                    Claim shall be deemed Loss which the Individual
                                    Insured becomes legally obligated to pay as a result of
                                    the Claim.


                                    This extension of coverage shall not apply to the extent a
                                    Claim alleges any Wrongful Act, error, omission,
                                    misstatement, misleading statement or neglect or breach




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                                 of duties by such spouse or Domestic Partner.


XII.    SUBROGATION


                                 In the event of payment under this Policy, the Company
                                 shall be subrogated to the Insureds' rights of recovery.
                                 The Insured shall do everything necessary to secure
                                 such rights, including the execution of such documents
                                 necessary to enable the Company to effectively bring
                                 suit in the name of any Company.


                                 In no event, however, shall the Company exercise its
                                 rights to subrogation against an Individual Insured
                                 under this Policy unless such Individual Insured:


                                   I.   has been convicted of a deliberate criminal act; or
                                   2.   has been determined by a final adjudication
                                        adverse to the Individual Insured to have
                                        committed a deliberate fraudulent act, or to have
                                        obtained any profit, advantage or remuneration to
                                        which such Individual Insured was not legally
                                        entitled.


                                 In the event the Company shall for any reason pay
                                 indemnifiable Loss on behalf of an Individual Insured,
                                 the Company shall have the contractual right hereunder
                                 to recover from the Organization or any Subsidiary the
                                 amount of such Loss equal to the amount of the
                                 Retention not satisfied by the Organization or any
                                 Subsidiary and shall be subrogated to rights of the
                                 Individual Insureds hereunder.


XIII.   CHANGES


                                 Notice to any agent or knowledge by any agent shall not
                                 affect a waiver or change in any part of this Policy or
                                 stop the Company from asserting any right under the
                                 terms of this Policy, nor shall the terms of this Policy be
                                 waived or changed except by an endorsement, issued by
                                 the Company to form a part of this Policy.


XIV.    AUTHORIZATION CLAUSE AND NOTICES


                                 By acceptance of this Policy, the Insured agrees that the
                                 Named Insured shall act on behalf of all Insureds with
                                 respect to:




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                                   I.   the payment of premiums or the receipt of any
                                        return premiums that may become due nnder the
                                        Policy;
                                  2.    the cancellation or non-renewal of this Policy;
                                   3.   the effecting of any changes to the Policy or
                                        purchasing of an Extended Reporting Period; or
                                  4.    the giving and receiving of all notices and
                                        correspondence.


                                Any notice given to the Named Insured by the
                                Company pursuant to Section VI. CANCELLATION
                                OR NON-RENEWAL shall be deemed to be notice to
                                all Insureds.



XV.    ASSIGNMENT


                                Assignment of interest under this Policy shall not bind
                                the Company until the Company's consent is endorsed
                                hereon.


XVI.   OTHER INSURANCE


                                This Policy is excess of other valid and collectable
                                insurance, unless such other insurance is specifically
                                written to be in excess of this Policy. For purposes of
                                this provision, "other valid and collectable insurance"
                                means insurance provided by an entity or organization
                                other than the Company.


                                When it is determined that both this insurance and other
                                insurance or self-insurance apply to any Claim on the
                                same basis, whether primary, excess or contingent, the
                                Company shall not be liable under this Policy for a
                                greater proportion of the Loss and Defense Costs than
                                the applicable Limit of Liability under the Policy for
                                such Loss and Defense Costs bears to the total
                                applicable Limit of Liability of all valid and collectible
                                insurance against such Claims.


XVII. TERMS OF POLICY
       CONFORMED TO
       STATUTE


                                Terms of this Policy which are in conflict with the
                                statutes of the state or territory wherein this Policy is




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                                 issued are hereby amended to conform to such statutes.


XVIII. ACTION AGAINST THE COMPANY


       Compliance                No action shall lie against the Company unless, as a condition
                                 precedent thereto, there has been full compliance with all of
                                 the terms of this Policy, and until the amount of the Insured's
                                 obligation to pay shall have been finally determined either by
                                 judgment against the Insured after actual trial or by the
                                 Insured's written agreement, the claimant or the claimant's
                                 legal representative, and the Company.


       Rights to Recover         Any person or the legal representatives thereof who has
                                 secured such judgment or written agreement shall thereafter be
                                 entitled to recover under this Policy to the extent of the
                                 insurance afforded by this Policy. No person or entity shall
                                 have any right under this Policy to join the Company as a
                                 party to any action against the Insured to determine the
                                 lnsured's liability, nor shall the Company be impleaded by
                                 the Insured or the Insured's legal representatives.
                                 Bankruptcy or insolvency of the Insured or the Insured's
                                 successors in interest shall not relieve the Company of its
                                 obligations hereunder.


XIX.   POLICY TERRITORY


                                 This Policy shall apply worldwide.


XX.    COORDINATION OF COVERAGE


                                 Subject always to the applicable Limit of Liability, should two
                                 or more Coverage Parts apply to the same Claim, the
                                 Company will not pay more than the actual Loss incurred by
                                 the Insureds.


XXL    ACCEPTANCE


                                 This Policy embodies all agreements existing between the
                                 parties hereunder or any of their agents relating to this
                                 insurance.


XXII. LIBERALIZATION


                                 If within forty-five   (45) days of binding this Policy, the
                                 Company broadens coverage under any Coverage Part
                                 or the General Terms & Conditions attached to this



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                         Policy, and;

                            I.     such broadened coverage applies to policies in the
                                   state or territory in which this   Policy is written;
                           2. the effective date of the policies which are to
                                   receive the broadened coverage is after the
                                   effective date of this   Policy; and
                            3.     there is no additional premium charged for such
                                   broadened coverage;


                         then the Company shall apply the broadened coverage
                         to thisPolicy as applicable for no additional premium,
                         but only for a Wrongful Act which first occurs after the
                         effective date of such broadened coverage.




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                                                       INSURANCE




                                                               POLICY


   UNITED STATES LIABILITY
     INSURANCE GROUP
                                               This policy jacket together with the policy declarations,
                 A STOCK COMPANY
                                                coverage forms and endorsements, if any, complete
             A BERKSHIRE HATHAWAY COMPANY                          this policy.


               1190 Devon Park Drive             The enclosed declarations designates the issuing
              Wayne, PA 19087-2191                                 company.
             888-523-5545  USU.COM
                           -




Jacket (07-19)                                                                              Page 1 of 2
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                                            INSURANCE POLICY



                                   Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested.         Where required by law,
 this Policy shall not be valid unless countersigned by a duly authorized representative of the company.


 Secretary




Jacket (07-19)                                                                                             Page 2 of 2
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        EXHIBIT

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                      Law Office of John D. Frumer
                           Admitted to Practice in Massachusetts and Maine

                                       199 WELLS AVENUE
                                NEWfON, MASSACHUSETIS 02459
                                         617-233-9147

 jdfrumer@frumerlaw.com                                                                 P.O. Box74
 Fax: 617-830-0615                                                             Brunswick, ME 04011
                                                                                Tel: 207-831-9900


                                                      July 27, 2021
Via Email (newlosses@usli.com)
Mount Vernon Fire Insurance Company
1190 Devon Park Drive
Wayne, PA I9087
Attention: Hayleigh Hunter


Re: Notice of Claim
Insured: Nahant Preservation Trust, PO Box 30, Nahant, MA 01908 (Named Insured)
Individual Insureds: Various, as generally identified herein below. Policy(ies): No.
ND02557425B (andNo. ND02557425A) Policy Period: 06/19/2020-06/19/2021 (as well as
current and any otber applicable periods) (and 6/19/2019--6/19/2020).



Dear Ms. Hunter:


On behalf of your Insureds and my clients, Nahant Preservation Trust, Inc., ("Named Insured"
and "Trust") and various individuals identified herein below ("Individual Insureds" and
"Directors,   Officers,   and/or   Volunteers")     (Named     Insured/Trust   and     Individual
Insureds/Directors, Officers, and/or Volunteers herein collectively referred to as "Insureds"), I
respectfully write to provide you with Notice of a Claim under the Directors and Officers
Liability Coverage Part of the Non Profit Management Liability Policy No. ND02557425B with
a policy period of 6/I 9/202Q-6/I 9/2021 (as well as current and any otber applicable periods)
(collectively "Policy B"), and through an amendatory endorsement in Policy B, Policy No.
ND02557425A witb a:, policy period of 6/19/2019-6/19/2020 ("Policy A") (Policy B and Policy
A collectively "the Policy") issued by Mount Vernon Fire Insurance Company ("Mount
Vernon"). This Notice of Claim, at this time, is for Defense Costs incurred by the Named Insured
to defend tbe Insureds in a Claim brought against the Insureds.


                             EXECUTIVE SUMMARY OF CLAIM


On or about August 9, 2019, Northeastern University ("Northeastern") commenced a lawsuit
naming tbe Trust and Directors, Officers and/or Volunteers as defendants, seeking, inter alia,

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non-monetary relief in the form of a declaratory judgment as to whether or not
Northeastern's proposed East Point property is subject to Article 97 of the Articles of
Amendment to the Massachusetts Constitution ("Article 97").


Based upon definitions within the Policy:   I) The Trust is an "Organization" which is the "Named
Insured;" 2) The Directors, Officers and/or Volunteers of the Trust are "Individual Insureds;"   3)
Mount Vernon has an obligation to "defend any Claim or pay any Loss or Defense Costs" which
obligation is triggered by the commencement of a "Claim" against a "Named Insured" or an
"Individual Insured;" 4) Northeastern's claims within their lawsuit constitute one or more
covered "Claim(s)" alleging a "Wrongful Act" and/or a "Personal Injury Wrongful Act" against
the Insureds; and 5) Therefore, your Insureds are providing this Notice of Claim seeking
payment by Mount Vernon of their Defense Costs.


                                        BACKGROUND


By way of background, the Trust is a not-for-profit charitable corporation under Massachusetts
law that is based in Nahant, Massachusetts. Its mission is to preserve the open spaces,
historically significant properties, and conservation lands of the Town of Nahant ("Town") for
public and community benefit, including but not limited to the approximately 28 acres that
comprise the peninsula of East Point.


Northeastern owns approximately 20 of the 28 acres of East Point, which it acquired without
payment in 1967. Northeastern constructed a Marine Science Center on the property and has
been operating it ever since. The deed to Northeastern expressly reserves a public easement
across Northeastern's property to the remaining eight acres on East Point. In or about 1975,
the Town acquired the remaining eight acres of land on East Point. In 1989, the Town
dedicated that land as Lodge Park, and the Town has since reiterated its intent that the land
remain protected open space.


As supported by substantial evidence, Northeastern made a dedication of approximately 12.5
acres of the undeveloped portions of the Northeastern property for passive recreation and as an
ecological preserve (the "Ecological Preserve"). Thus it is the Trust's well supported position
that the Ecological Preserve constitutes natural resources protected from development under the
provisions of Article 97. Land governed by Article 97 is deemed to be reserved exclusively for
use by the public for passive recreation, open space and other environmental purposes, and
may not be used for any other purposes without the approval of two-thirds of the members of
each house of the Massachusetts state legislature. A person or entity seeking to protect Article
97 property from damage must first give written notice by certified mail to the Attorney
General, and all affected parties at least 21 days before taking action. M.G.L. c. 214, §7A
("Section 7 A").


In 2018, Northeastern publicly proposed to further develop its property by, among other things,
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building a new 55,000 sq. ft. building, with ancillary parking and other improvements in the
midst of the Ecological Preserve, and in June of 2019 in furtherance of that plan Northeastern
began cutting down trees and otheiwise disturbing the natural habitat of the Ecological
Preserve in order to clear cut an access road through land that the Trust believes is protected.


In response to Northeastern's actions, by letter dated July 23, 2019, the Trust, and citizens of
the Town, all of whom are Directors, Officers, and/or Volunteers of the Trust, gave notice to
Northeastern under Section 7A in an effort to prevent further damage to the environment of the
Article 97 protected property that is the Ecological Preserve. Before the Section 7A 21-day
notice period had   run,   on or about August 9, 2019 Northeastern filed a lawsuit captioned
Northeastern University v. Nahant Preservation Trust, Inc. et al., Land Court Docket No. I 9
MISC 000390 ("Northeastern Suit"). In its complaint, a copy of which is attached hereto,
Northeastern sought, among other claims and non-monetary relief, a declaratory judgment as to
whether its East Point property is subject to Article 97.


Effectively as a responsive pleading, on or about August 20, 2019, your Insureds filed a
complaint, a copy of which is attached hereto, captioned Nahant Preservation Trust, Inc .. et al. v.
Northeastern University, Essex Superior Court Docket No. I 977CVO I 211 ("Nahant Suit")
(Northeastern Suit and Nahant Suit collectively "the Lawsuits"), seeking a declaration that
Article 97 has been violated by Northeastern, an injunction to enforce appropriate environmental
regulations, costs of suit, and "such other and further relief as is just and proper."


The Lawsuits have been consolidated and your Insureds have incurred, and continue to incur,
reasonable and necessary legal fees and expenses in their defense. Your Insureds now seekpayment
from Mount Vernon under the Policy for those Defense Costs.


                                             THE POLICY


Mount Vernon issued the Policy which has limits of liability of $1 million each claim; $1 million
in the aggregate; with $0 retention for each claim. The Policy provides coverage for the
"Organization" (the Trust), and "Individual Insureds" (Directors, Officers, and/or Volunteers),
with each term defined in the Directors and Officers Coverage Part of the Policy.


Mount Vernon's defense obligations owed to the Insureds under the Policy include, in relevant
part, the following:

     "Duty To Defend." The Company shall have the right and duty to defend
     any Claim covered by this Policy even if the allegations are groundless, false or
     fraudulent.

      "Defense Costs" means in relevant part:

      I. reasonable and necessary legal fees and expenses incurred by the Company, or by
     any attorney designated by the Company to defend the Insured; and

     2. all other fees, costs...resulting from the investigation, adjustment, defense and

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      appeal of a Claim.

Mount Vernon's defense obligation under the Policy, generally, and specifically under the
"Insuring Agreements," is triggered by a "Claim," which is defined in relevant part as:

     "Claim" means any:

      I. written demand for monetary damages or non-monetary relief, including injunctive
     relief;

     2. civil proceeding commenced by service of a complaint or similar pleading;

      *    *   *   *



     ... received by, or brought or initiated against any Insured alleging a Wrongful Act,
     including any appeal therefrom. (emphasis supplied)
      *    *   *   *



A Claim must allege a "Wrongful Act" which is defined in relevant part as:

     A "Wrongful Act" means any:
      1. actual or alleged act, error, omission, misstatement, misleading statement, neglect,
     orbreach of duties;
     2. Personal Injury Wrongful Act; ...committed or allegedly committed by:
     a. the Organization;
     b. any Individual Insured, arising solely from duties conducted on behalf of the
     Organization or asserted against an Individual Insured because of I. above; . . .
     A "Personal Injury Wrongful Act" means "any actual or alleged false arrest, wrongful
     detention, malicious prosecution, invasion of privacy, wrongful entry or eviction, libel,
     slander or defamation."


As stated on the Policy's Declarations Page, the Policy is a claims-made policy, which means
that "unless otherwise provided herein, the coverage of this form is limited to liability for claims
first made during the Policy Period, or the extension period, if applicable. Defense Costs
shall be applied against the Retention." (emphasis supplied). Additionally, the Policy contains
Prior or Pending Litigation exclusionary language. Both clauses are satisfied and the Exclusion
does not apply because: a) another provision within the Policy does "otherwise provide;" b) the
Retention in the Policy is $0 so Defense Costs   are   to be paid from the outset; and c) the
Exclusion was amended.



The relevant provision of the Policy altering, or "otherwise providing," is contained within the
Endorsement/Amendment of Prior or Pending Litigation Exclusion and reads in pertinent part as
follows:




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      pr01•ided that, if this Policy is a renewal of a Policy previously issued b)' the
      Company in a continuous succession of Policies with no lapses in coverage, the
      effective date of this Policy will mean the effective date of the first Policy issued by
      01e Company in such succession of Policies. (emphasis supplied).

              ALL CONDITIONS PRECEDENT FOR ENTITLEMENT TO THE
            COVERAGE GRANT ARE SATISFIED AND NO EXCLUSIONS APPLY


The Policy imposes upon Mount Vernon a duty lo defend "Claims" made against its Insureds.
Northeastern seeks a declaration of rights as to Anicle 97 and as to tile "dedication"" which is
"non-monetary relief' and is a "civil proceeding commenced by service of a complaint. . . "
These allegations confirm that the Northeastern Suit includes "Claims" within the meaning of
the Policy.

                                                               '
To invoke Mount Vernon's Duty to Defend, a "Claim" must allege 'Wrongful Acts" or "Personal
Injury Wrongful Acts" within the meaning oflhe Policy. The Northeastern Suit docs so. The
basic definition of "Wrongful Act" includes an "actual or alleged act, erro1·, omission.
misstatement, misleading statement, neglect, or breach of duties," and Northeastern expressly
alleges at least an "actual or alleged act" in its allegations as to the Trust's, Directors', Officers'.
and/or Volunteers· actions   a�   to the Section 7A notice. A "Personal Injury Wrongful Act"
includes "any actual or alleged . .. invasion of privacy, wrongful entry or eviction ..." and
Northeastern's allegations certainly can be viewed as alleging that the Trust's, Directors'.
Officers', and/or Volunteers' actions amount to an invasion of privacy, a wrongful entry or a de
facto eviction.


Al!hough Northeastern filed the Northeastern Suit in August 2019. before the inception of Policy
D, to the extent that Policy B was preceded by another Mount Vernon Policy substantially
identical to iL which .it was, the Claims asserted in the Lawsuits are deemed to have been first
made during that earlier Policy, Policy A's. period, and Mount Vernon is obligated lo defend its
Insureds.


Accordingly. your .Insureds respectfully request payment, at your earliest opportunity, of
Defense Costs which they have incurred. and continue to incur, for defense of this Claim under
the Policy.


If you have any questions, please contact me. Thank you in advance for your
anticipated cooperation.


Respectfully submitted,




�����                                            5 of 6
      Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 255 of 314




Attachments: 2
Cc: Emily Potts, President, Nahant Preservation Trust, Inc. (w/ attachments)
Dennis Ma roney Treasurer, Nahant Preservation Trust, Inc. (w/ attachments)
                 ,



Board of Directors, Nahant Preservation Trust, Inc. (w/ attachments)




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        EXHIBIT
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                                          �])1:1-:v·
                                          WsPECIALTY oN PARK                                  INSURANCE




                                                    August 3, 2021


VIA EMAIL at jdfrumer@frumerlaw.com

Nahant Preservation Trust
cfo John Frumer, Esq.
Law Office of John D. Frumer
199 Wells Ave.
Newton, MA 02459


RE:     Insured:            Nahant Preservation Trust
        Claimant(s): Northeastern University
        Reported:           July 28, 2021
        Policy:             ND02557425C
        Effective:          6/19/2021 - 6/19/2022
        Our File:           0-11119


Dear Mr. Frumer:


Mount Vernon Fire Insurance Company acknowledges receipt of correspondence on July
28, 2021, enclosing a Complaint filed by Northeastern University against Nahant
Preservation Trust in the Land Court Department of the Trial Court of Essex County,
Massachusetts. We also confirm issuing the above-referenced Non Profit Management
Liability Policy ("the Policy"). We regret to inform you there is no coverage, either defense
or indemnification, under the Policy for the Northeastern University's claim.


According to the Court's Order of October 24, 2019, Northeastern University filed its
Complaint on August 9, 2019, seeking a declaration that it has not made a dedication of
its property in the Town of Nahant (town) to the town or to the public, and that the property
is not subject to Article 97 of the Massachusetts Constitution. Nahant Preservation Trust
filed an Answer on September 16, 2019, seeking a declaration that Northeastern has
made a dedication of its property to the town or the public. Nahant Preservation Trust
now reports Northeastern University's claim seeking reimbursement of the defense costs
it has incurred.


Bearing this in mind, please refer to the Insuring Agreements of the Policy, which read:


        L         INSURING AGREEMENTS


A       Individual Insured - Non­                         The Company will pay, on behalf of an
        Indemnified Coverage                              Individual Insured, Loss and Defense Costs
                                                          resulting from a Claim first made against an
                                                          Individual Insured during

                                            BERKSHIRE HATHAWAY COMPANIES
            1190 DEVON PARK DRIVE• P.O. BOX6700 •WAYNE,                   •61!!-688-2535 • 888-523-5545 •FAX 61"688-4391


      United States Liability Insurance Company• Mount Vernon Fire Insurance Company• U.S. Underwriters Insurance Company
                              Mount Vernon Specialty Insurance Co.   •   Radnor Specialty Insurance Co.

                                     USU.COM• DEVONPARKSPECIALTY.COM
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                                          the Policy Period, or Extended Reporting
                                          Period, if applicable, to the extent such
                                          Individual Insured is not
                                          indemnified by the Organization for such Loss
                                          and Defense Costs.


B.     Individual Insured -               The Company will pay, on behalf of the
       Indemnified Coverage               Organization, Loss and Defense Costs
                                          resulting from a Claim first made against an
                                          Individual Insured during the Policy Period,
                                          or Extended Reporting Period, if applicable, but
                                          only to the extent the Organization
                                          indemnifies such Individual Insured for such
                                          Loss and Defense Costs as permitted or
                                          required by law.


C.     Organization Coverage              The Company will pay, on behalf of the
                                          Organization, Loss and Defense Costs
                                          resulting from a Claim first made against the
                                          Organization during the Policy Period, or the
                                          Extended Reporting Period, if applicable.


Per the Insuring Agreements, the D&O coverage is a "Claims Made" coverage form,
which means that coverage only exists for a "Claim first made... during the Policy Period".
The Policy incepted on June 19, 2021, and the Policy Period began on that date. Nahant
Preservation Trust filed its Answer on September 16, 2019. Logic dictates that Nahant
Preservation Trust must have received notice of Northeastern University's Complaint on
or before September 16, 2019, prior to the beginning of the Policy Period and
Northeastern University's claim was not first made against Nahant Preservation Trust
during the Policy Period.


To the extent you might inquire if coverage exists for Northeastern University's claim
under policy ND02557425A, in effect from June 19, 2019 to June 19, 2020, and which
was in force at the time Northeastern University first made its claim against Nahant
Preservation Trust, please refer to paragraph A in the Notice/Claim Reporting Provisions
in the Common Policy Conditions of policy ND02557425A, as modified by the Amended
Notice/Claim and Circumstance Reporting Provisions endorsement attached to that
policy, which reads:


       IV.    Notice hereunder shall be given in writing to the Company. If mailed, the
             date of mailing of such notice shall constitute the date that such notice
              was given and proof of mailing shall be sufficient proof of notice.


              A.       Written Notice of a Claim:


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                     (1)    As a condition precedent to exercising any right to coverage
                            under this Policy, an Insured shall give to the Company
                            written notice of a Claim, as soon as practicable but:


                            (a)    if the Policy expires, is cancelled or is non-renewed
                                   and if no Extended Reporting Period is purchased, no
                                   later than sixty (60) days after the expiration date or
                                   effective date of such cancellation or non-renewal.
                                   Coverage for a Claim reported to the Company
                                   during the sixty (60) day period after expiration,
                                   cancellation or non-renewal applies only if the Claim
                                   is first made against an Insured prior to the Policy
                                   expiration or effective date of cancellation or non­
                                   renewal; or


                            (b)    if an Extended Reporting Period is purchased, no
                                   later than the last day of the Extended Reporting
                                   Period;

                            provided that if the Company sends written notice to the
                            Parent Organization stating that this Policy is being
                            terminated for nonpayment of premium, an Insured shall
                            give to the Company written notice of such Claim prior to
                            the effective date of such termination.


              (2)    Coverage for a Claim reported to the Company during an
                     Extended Reporting Period shall only apply if the Claim arises from
                     a Wrongful Act or Wrongful Employment Act committed before
                     the date of the Policy expiration, cancellation or non-renewal.

              •                           •                           •




Per the Notice/Claim Reporting Provisions, reporting a claim within 60 days after the
expiration of policy ND02557425A is a condition precedent to coverage. Because
Northeastern University first made its claim while policy ND02557425A was in force,
Nahant Preservation Trust had until August 18, 2020, to report Northeastern University's
claim. Nahant Preservation Trust did not report that claim until July 28, 2021. Nahant
Preservation Trust's failure to report Northeastern University's claim within 60 days after
the expiration of policy ND02557425A is a breach of a condition precedent to coverage
under that policy and it negates any coverage that might have otherwise existed under
policy ND02557425A that claim. Therefore, there is also no coverage under that policy
for Northeastern University's Complaint.




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Because no coverage exists for Northeastern University's Complaint under either the
Policy or policy ND02557425A, this Company can neither defend nor indemnify Nahant
Preservation Trust in this matter, and we must also politely decline Nahant Preservation
Trust's request for reimbursement of the fees it incurred to date.


This determination is based upon all information presently available to us.     If you have
any questions regarding the foregoing or have any information that may bear upon the
Company's position, please do not hesitate to contact me at (610) 902-9515. Should you
choose to, you may refer any questions to the Commonwealth of Massachusetts Division
of Insurance located at One South Station, Boston, Massachusetts 02110. The contents
of this letter should not be construed as a waiver of any other rights or defenses that this
Company has or may have in the future under the Policy with respect to this matter.




                                     ��   Matthew Rubin
                                          Assistant Vice President
                                          Coverage Specialist


C:     Kimmi Cantwell
       McGowan, Donnelly & Oberheu
      Via email at kcantwell@mdoinsurance.com




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 ·      EXHIBIT

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                           Law Office of John D. Frumer
                                Admitted to Practice in Massachusetts and Maine

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                                       NEWfON, MASSACHUSETIS 02459
                                                    617-233-9147

jdfrumer@frumerlaw.com                                                                                  P.O. Box74
 Fax: 617-830-0615                                                                             Brunswick, ME 04011
                                                                                                 Tel: 207-831-9900




                                                  August 6, 2021




VIA E-MAIL (mruhin@USLl.com)
Mount Vernon Fire Insurance Company
1190 Devon Park Drive
Wayne, PA 19087
Attention: Matthew Rubin, Assistant Vice President



RE:     Insured: Nahant Preservation Trust, PO Box 30, Nahant, MA 01908 (Named Insured)
        Individual Insureds: Various, as generally identified in prior communication
        Policies: No. ND0255742SA, No. ND02SS742SB, and No. ND02SS742SC
        Policy Period: 06/19/2019-06/19/2022
        USLI File: #0-11119



Dear Mr. Rubin:


        I am in receipt of your letter dated August 3, 2021 on behalf of Mount Vernon', declining coverage to
my clients, the Insureds, for Defense Costs incurred and to be incurred in defense of the Lawsuits.


        You identified only two grounds for denial of coverage for the Claim:      I) the Lawsuits commenced prior
to the current Policy Period, and; 2) the Insureds did not give notice of the Claim to Mount Vernon within 60
days after Policy A "expired." These contentions misconstrue both the Insureds' position and the relevant
language within the Policy. The Insureds are entitled to coverage under the Policy because the Amendment of
Prior or Pending Litigation Exclusion Endorsement ("Endorsement") and other relevant language within the
Policy amend the effective date of the Policy to be identical to the effective date stated in Policy A.


        Although you assert that two conditions precedent apply to an otherwise covered Claim (I) the Claim must
have been first made during the Policy Period, and 2) the Insureds must give written notice of the Claim to Mount
Vernon no later than 60 days after the expiration date of the Policy), your analysis ignores among other factors
that, for purposes of the Claim, the Endorsement changes both the effective date and expiration date of the Policy



   All defined terms herein have the same meanings utilized in my Notice of Claim Letter dated July 27, 2021 to Mount
   Vernon, which is incorporated by reference herein.
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                                                                               Mount Vcmon Fire Insurance Company
                                                                                                    August 6. 2021
                                                                                                               Page 2


Period. and thus the dates within which conditions precedent must be fulfilled. The Endorsement reads in relevant
part:


        Prior or Pending Litigation.       Any litigation, demand. claim. arbitration, decree, judgmen�
        proceeding. or investigation against any Insured. or any such action based upon the same or
        essentially the same facts, circumstances, maucrs, situations, transactions or e v ents underlying or
        alleged therein which was pending on or prior to the effective date of this Policy;


        provided that, if this Policy is a renewal of a Policy previously issued by the Company in a
        continuous succession of Polic i es with no lapses in coverage. the effective date of this Policy \\ill
        mean the effective dale of the first Policy issued by the Company in such succession of Policies.
        (emphasis s upplied).

        Per the Declarations Page, the Policy is "a claims made policy coverage form and unless otherwise
provided herein, the coverage of this fonn is limited to liability for claims first made during the Policy Period, or
the extension period, if applicnblc." Policy Period is defined as "the period of time from the effective date and
time of this Policy to the date and time of expirntion as shown in the Policy Declarations. or its earlier cancellation
or termination date." (emphasis supplied).


        The Endorsement c ha nges the effective dale of the current Policy to lhc effective date of the earliest Policy
issued by Mount Vernon--6/19/2019. Because each iteration oflhe Policy is substantially identical, and there is a
continuous succession of Policies with no lapses in coverage, the plain meaning of the relevant language of the
Policy, including but not lim i ted to the Endorsement. as well as logic, dictate that the effective date of the current
iteration of the Policy is 6/19/2019, while t h e expiration date is as stated on the Declarations Page of the current
Policy-6119/2022. Thus, the Claim first asserted against the Insureds on or about August 9, 2019 was made during
the Policy Period. and the Insureds' writt e n Notice of the Claim given on July 27. 2021 was provided prior to t he
expiry of the Policy (6/19/2022).


        In surnrnary. the Clai1n \Vas first 1nade, and Notice \Vas lirst gi ven, \vithin the Policy Pe riod as defined in
t11e Policy. Accordingly, the Insureds reiterate their demand that Mount Vernon accept and honor its duty to defend
and pay Defense Costs for the Lawsuits. The Ins ureds reserve their rights to assert additional grounds for covera£e.
However, at this time, Mount Vernon's duty to defend is clear.


        I look forward to receipt of Mount Vernon's reconsidered coverage position given the Policy language
focused upon herein, which obligates Mount Vernon to defend the Lawsuits.



                                                   Respectfully submitted.




                                                   .I
                                                        (\ CfJ. J;�
                                                        )HN D. FRUMER


cc:     Emily Potts, President. Nahant Preservation Trust. Inc.
        Dennis Maroney, Treasurer. Nahant Preservation Trust, Inc.
        Board of Directors. Nahant Preser v ation Trust. Inc.
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        EXHIBIT
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jdfrumer@frumerlaw.com

From:                               Matt Rubin <mrubin@USU.com>
Sent:                               Wednesday, August 25, 2021 10:06 AM
To:                                 'John D. Frumer '
Subject:                            RE: (EXTERNAL) Northeastern University v. Nahant Preservation Trust; USU File 0-11119



CAUTION EXTERNAL EMAIL. This email originated outside of USU.


Hello Mr. Frumer,
I apologize for the delay in responding. This Company stands by its position. The provision you referenced in your letter
of August 6, modifies the Prior or Pending Litigation exclusion to clarify that the exclusion only applies if a claim is made,
or litigation is filed, against the Policyholder prior to issuance of the first policy we issued to the Policyholder. We are not
relying on the Prior or Pending Litigation exclusion and the modified language does not change the Insuring Agreements,
it does not change the nature of the policy from a "claims made" policy, and it does not change the reporting
requirements or the definition of "Policy Period" elsewhere in the Policy.
Mathew Rubin




Matthew Rubin, J.D., R.P.L.U., C.P.C.U.
Assistant Vice President
Coverage Specialist
Claims Department




From: John D. Frumer [mailto:jdfrumer@frumerlaw.com]
Sent: Monday, August 23, 2021 5:41 PM
To: Matt Rubin <mrubin@USU.com>
Subject: Re: (EXTERNAL) Northeastern University v. Nahant Preservation Trust; USU File 0-11119


CAUTION EXTERNAL EMAIL. This email originated outside of USU.


Dear Mr. Rubin:
Please advise as to the status of your reconsidered position in this matter. Regards,
John


Sent from my iPhone


On Aug 6, 2021, at 4:36 PM, John D. Frumer <jdfrumer@frumerlaw.com> wrote:


         Thank you.


         Sent from my iPhone


         On Aug 6, 2021, at 4:10 PM, Matt Rubin <mrubin@USU.com> wrote:


                  CAUTION EXTERNAL EMAIL. This email orig inated outside of USU.


                  Thank you, Mr. Frumer. I'll take another look and get back to you shortly.
                  Matthew Rubin

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Matthew Rubin, J.D., R.P.L.U., C.P.C.U.
Assistant Vice President
Coverage Specialist
Claims Department



<image001.jpg>

                                    ·--------------·--·                  ----




From: jdfrumer@frumerlaw.com [mailto:jdfrumer@frumerlaw.com]
Sent: Friday, August 6, 2021 4:02 PM
To: Matt Rubin <mrubin@USLl.com>
Cc: jdfrumer@frumerlaw.com
Subject: (EXTERNAL) Northeastern University v. Nahant Preservation Trust; USLI File 0-
11119


CAUTION EXTERNAL EMAIL. This email originated outside of USU.


Dear Mr. Rubin:
Please see the attached response to your letter dated August 3, 2021.
Respectfully submitted,
John D. Frumer




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        EXHIBIT
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                                      COMMONWEALTH OF MASSACHUSETTS


 ESSEX                        , SS.                      LAND COURT DEPARTMENT
                                                         OF THE TRIAL COURT




                                                         )
 NORTHEASTERN UNIVERSITY,                                )
                              Plaintiff,                 )
                                                         )
 V.
                                                         )         MISC. CASE NO.
                                                                                        --�
                                                         )
 NAHANT PRESERVATION                                     )
 TRUST, INC., CHRISIAN BAUTA,    )
 TESS BAUTA, ELIZABETH K. BERMAN,)
 ANNE BROMER, CANDACE CAHILL,                            )
MICHELLE CAPANO, ALICE CORT,                             )
MARK CULLINAN, CARL JENKINS,                             )
MARILYN MAHONEY,                                         )
DAN McMACKIN, DIANE MONTEITH,                            )
ANDREA MURPHY, JEFFREY                                   )
MUSMAN,PAT O'REILLY,MARJE                                )
ELIZABETH PASINSKI, M.D.,                                )
ROGER PASINSIK,M.D.,                                     )
VJ PATEK, LINDA PIVACEK, LAURA                           )
POULIN, PETER ROGAL, PEGGY                               )
SILVA, SUSAN SOLOMON, PAUL                               )
SPJRN, DONNA STEINBERG,and                               )
JIM WALSH                                                )
                                                         )
                              Defendants.                )



                                                 COMPLAINT


                    This is an action pursuant to Mass. Gen. L.   c.   231A, §I and c. 185, § l(k) in


which Northeastern University ("Northeastern") seeks a declaratory judgment in its favor


and against a claim made by defendants Nahant Preservation Trust ("NPT") and certain


individuals. In a letter io Northeastern dated July 23, 2019, Defendants through their


counsel have threatened to sue Northeastern and to assert a claim that property owned by




  .......
·.-                   .....
            ;v.,... ;:.
    Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 269 of 314




 Northeastern and located in Nahant, MA, has been dedicated by Northcastem to the


Town of Nahant and, therefore, that the land owned by Northeastern is actually public


 land that Northeastern may not develop without legislative approval. Northeastern denies


 defendants' claim that it made a dedication of its property to the Town of Nahant.


                                                   PARTIES


               I.        Plaintiff Northeastern is a not-for-profit educational institution with an


 address of716 Columbus Avenue, Boston, MA 02115.


              2.         Defendant Nahant Preservation Trust, Inc., on information and belief, is a


not-for-profit charitable corporation with an address of 41 Valley Rd, Nahant, MA


01908.


              3.         Defendant Christian H. Bauta is an individual, who, on information and


belief, resides at 3 Swallow Cave Road, Nahant, MA 0 J 908.


              4.         Defendant Tess M. Bauta is an individual, who, on information and belief,


resides at 3 Swallow Cave Road, Nahant, MA 01908.


             5.          Defendant Elizabeth Berman is an individual, who, on information and


belief, resides at 44 Spring Road, Nahant, MA 01908.


              6.         Defendant Anne Bramer is an individual, who, on information and belief,


resides at 29 Willow Road, Nahant, MA 01908.


             7.          Defendant Candace Cahill is an individual, who, on information and


belief, resides at 20 Rollins Avenue, Nahant, MA 01908


              8.         Defendant Michelle Capano is an individual, who, on information and


belief, resides at 29 Ocean Street, Nahant, MA 01908.




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          9.       Defendant Alice Cort is an individual, who, on information and belief,


resides at 7 Valley Road, Nahant, MA 01908.


          10.      Defendant Mark Cullinan is an individual, who, on information and belief,


resides at 38 Ocean Street, Nahant, MA 01908.


          11.      Defendant Carl Jenkins is an individual, who, on information and belief,


resides at 339 Nahani Road, Nahant, MA 01908.


         12.       Defendant Marilyn Mahoney is an individual, who, on information and


belief, resides at 6 Maolis Road, Nahant, MA OJ 908.


         13.       Defendant William Mahoney is an individual, who, on information and


belief, resides at 6 Maolis Road.


         14.       Defendant Daniel McMackin is an individual, who, on infomlation and


belief, resides at I I 8-120 Bass Point Road, Nahant, MA 01908.


         15.       Defendant Diane Monteith is an individual, who, on information and


belief, resides at 33 W.intcr Street, Nahant, MA 01908.


         16.       Defendant Andrea Murphy is an individual, who, on information and


bel.ief, resides at 8 Wendell Road Ex, Nahant, MA 01908.


         I 7.      Jeffrey Musman is an individual, who, on information and belief, resides


at 15 Trimountain Road, Nahant, MA 01908.


         18.       Defendant Patrick O'Reilly is an individual, who, on information and


belief, resides at I Harris Street, Nahant, MA 01908.


         19.       Defendant Marie Elizabeth Pasinski, M.D. is an individual, who, on


information and belief, resides at 36 Swallow Cave Road, Nahant, MA 01908.




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          20.      Defendant Roger Pasinski, M.D. is an individual, who, on infonnation and


belief, resides at 36 Swallow Cave Road, Nahant, MA 01908.


          21.      Defendant Viola Patek is an individual, who, on information and belief,


resides al 172 Willow Road, Nahant, MA OI 908.


          22.      befendant Linda Pivaeek is an individual, who, on infonnation and belief,


resides at 41 Little Naliant Road, Nahant, MA OI 908.


         23.       Defendant Emily Potts is an individual, who, on infonnation and belief,


resides at I 14 Pond Street, Nahant, MA 01908.


         24.       Defendant Laura Poulin is an individual, who, on information and belief,


resides at 182 Wilson Road, Nahant, MA 01908.


         25.       Defendant Peter Rogal is an individual, who, on infonnation and belief,


resides at 391 Nahant Road, Nahant, MA 01908.


         26.       Defendant Peggy Silva is an individual, who, on information and belief,


resides at 7 Burpee Road, Nahant, MA 01908.


         27.       Defendant Susan Solomon is an individual, who, on infonnation and


beliet; resides at 5 Wendell Road, Nalmnt, MA 01908.


         28.       Defendant Paul Spim is an individual, who, on infonnation and belief,


resides at 36 Maolis Road, Nahant, MA 01908.


         29.       Defendant Donna Steinberg is an individual, who, on infonnation and


belief, resides at 33 Winter Street, Nahant, MA 01908.


         30.       Defendant Jim Walsh is an individual, who, on information and belief,


resides at 29 Karolyn Circle, Nahant, MA OJ 908.




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                                                        .JURISDICTION


                      31.         Jurisdiction is proper in this Court pursuant to G.L. c. 23 l A, § 1 and c.


  185, § I (k) and because all of the parties, on information and belief, are domiciled in


 Massachusetts.


                                                             FACTS


                      32.         Pursuant to a deed from Harmon P. Elliott dated October 18, 1965 and a


 deed from the United States of America acting by and through the Secretary of Health,


 Education and Welfare dated February 23, 1966, Northeastern is owner of property


 located al East Point, at the end of Nahant Road east of Swallow Cave Road, Nahant,


 Massachusetts (the "Property"). The referenced deeds are attached hereto collectively as


 Exhibit A.


                     33.          In all, the Property comprises approximately 20.4 acres in the East Point


area of Nahant.


                     34.          In furtherance of its educational purposes, Northeastern acquired the


Property in order to build and operate on it a marine science research and teaching center.


                     35.          Prior to Northeastem's acquisition of the Property, the site was owned and


operated by the United States Department of Defense as a coastal defense site known as


East Point Military Reservation.


                     36.          During the First and Second World Wars the site was improved with


bunkers and other military facilities and equipment. From 1955 to 1962, the site was a


Nike Missile base, housing among other things, anti-aircraft missiles and associated


facilities and equipment.




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          3 7.     In the early 1960s, the United States military decided it no longer needed


 the Property and offered the Property to the Town of Nahant.


          38.      The Town declined to purchase the Property.


          39.      Thereafter, the Property was offered to Northeastern, and Northeastern


acquired it.


          40.      The deed to Northeastern reserved an easement to an 8-acre adjacent


parcel at the tip of East Point that was also owned by the U.S. Government.


          41.      In 1974, the Town acquired that adjacent 8-acre parcel.


          42.      Jn 1989, the Town voted to create a park ("Lodge Park") on that parcel.


Lodge Park was opened in the mid- l 990s.


          43.      After it acquired the Property, in approximately 1967, Northeastern began


to develop and use the Property for its Marine Science Center, converting the fonner


barracks in the northwest portion of the site into the a research building (the "Edwards


Laboratory"), and developing the largest of the three bunkers (the "Murphy Bunker") in


the north-central portion of the site into classrooms and lab space. The Northeastern


Marine Science Center has operated on the Property ever since.


          44.      At the time that Northeastern acquired the Property, it was relatively


barren.


          45.      Over the years, Northeastern has allowed flora and fauna to return to the


previously barren areas of the Property. Northeastern has also used these open areas for


research on bees and plant pollination, among other things.


          46.      Northeastern now proposes to construct a 60,000 sf addition to the


Murphy Bunker to expand the laboratory space. Northeastern also proposes the




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relocation of an existing site access drive, the construction of addilional parking and the


replacement of an existing seawater inlake system used by the Marine Science Center,


including the construction of a new pump house (collectively, lhe "Project").


         47.       The easement across the Prope11y to Lodge Park will be preserved and wi II


not be impacted in any material way by the Project.


         48.       Jn connection with the Project, Northeastern is seeking or will soon seek


certain municipal and state level approvals.


         49.       By letter dated July 23, 2019, NPT and 29 individuals who purport to live


in Nahant, advised Northeastern of their intent to commence a 10-citizens suit against


Northeastern pursuant to G.L. c. 214, § 7A and to seek injunctive relief to prevent


Nort.hcastem from proceeding with the Project. In order to commence an action under c.


214, § 7A, plaintiffs are required to provide a 21-day notice of their intent to sue. The


letter dated July 23, 2019, purports to be that notice (the "Notice Letter").


         50.       In the Notice Letter, NPT and the individuals claim, among other things,


that Northeastern made a dedication of its Property to the Town of Nahant, and that the


Property therefore is subject to the provisions of Article 97 of the Massachusetts


Constitution ("Article 97") and that Northeastern has no right to proceed with the Project


without obtaining a 2/3rds vote of the Legislature.


         51.       Nortl1eastern denies that it ever made a dedication of the Property to the


Town of Nahant or that the Property is subject to Article 97.


                         COUNT I FOR D.ECLARATORY RELIEF

         52.       Northeastern repeats and re-alleges the allegations of paragraphs 1 through


51 as if set forth herein.




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                       53.          An actual controversy exists between Northeastern, NPT and the


individuals listed in the Appendix ofNPT's Notice Letter regarding the status of


Northeastern's right to use and develop its Property.


                       54.          The rendering of a declaratory judgment as to whether Northeastern has


dedicated its Property to the Town of Nahant and to the public and whether


Northeastern's Property is subject to Article 97 of the Ma�sachusctts Constitution will


resolve this controversy.


                   WHEREFORE, Northeastern respectfully requests that the Court enter judgment:


                   A.               Decreeing, declaring and adjudging that Northeastern has not made a
                                    dedication of its Property lo the Town of Nahant or the public;


                   B.               Decreeing, declaring and adjudging that Northeastern's Property is not
                                    subject to Article 97 of the Massachusetts Constitution and is not so-called
                                    Article 97 land; and


                   C.               Awarding Northeastern such other and further relief as the Court deems
                                    just artd proper under the circumstances.



                                                                  NORTHEASTERN UNIVERSITY,


                                                                  By its attorneys,



                                                               � 0J GJ(p�'6
                                                                  Kevin P. O'Flaherty (BBO# 561869)
                                                                  GOULSTON & STORRS PC                 .
                                                                  400 Atlantic Avenue
                                                                  Boston, MA 02110-3333
                                                                  (617) 482-1776



Dated: August                       l_, 2019




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                       EXHIBIT A




                                 .9.

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                                     I, llARMON P.                     ELLIOTr, of Stuart, Martin County,                                                 Florida,

                        be ing married, for conoideration paid,                                                                   grant t� NO.RTHEASTERN.

                       UNI VtRS.ITY, . a corporation organi zed under the laws of the Common­

                       wealth of Massachusetts, and located in Boston within said Co1M1on­

                       wea lth, with quitclaim covenants, the land in Nahant,                                                                                  in the Count


          •
                       of Essex, in said                               Commonw ealt h, bounded and described as follows:

 ..  , �.
           ,
      '   ,


     r
                                                  B�ginnipg at a point on the former division line between
          �

\'·f�:                  land of A, D. Hill, et al., Trustees, and land of the Estate of
 ·   ..   �J;
      _)\              Henry Cabot Lodge, now land of the United States of America, said

                       point of beginning being at the Easterly end of the discontinued

                        portion of Nahant Road;                                               thence by the Southerly line of the dis­

                       continued portion of Nahant Road by land formerly of A,                                                                                       D, Hill,

                       et al,, Trustees, now la nd of the United States of America, on the

                        f ollowin g courses and distances:                                                               by a     curve to the r� ght a dis­

                       tance of Se vente en· and 9�/100 (17.9�) feet ;                                                                      North 67°·          -     34' West,

                        Forty-nine and l/10                                   (49,l) feet;                               North 11°         -    47' We�t, Thirty-fou
                                                                                                                                                           '

                       Anrl nallD CO,Pl..f.�..� 441 West, One Hundl'od
                       Forty-se ven and 2/ lO ( llf ·1. � 1 re.et t. t..v .a *'"'""" .. - • -·- ,. __ ·-- -..

                                                                                                                                               thence Nol'th 4°           -
                        of tho d i scontin u ed portion of Na h a nt Road!
                                                                                                                                                                              161

                                                                               portion of
                        SO" East by the said Westerly end of the di scontinued

                        Nahant Road about Twenty-f our                                                           (24) feet to the center line of said

                        r oad 1               thence Southeasterl y by the center                                                         li ne of :the discontinued

                        portion of Nahant                               � ad a�out                          Two      Hundred and fifty (250) fe�J to

                                                                            the E otat e of
                        the Easterly end of said road. to land form.,rly of

                                                                            now land of the United States of America;                                                         thenc
                        H enry Cabot Lodge,

                        Southwesterly by the said East er l y end of the
                                                                         discontinued portion


                        of Naha nt Road, by l                                     ..;,d       formerly of the E�tate of                                 Henr y Cabot'Lodge

                        now land of the Unit e d States of America,                                                                       about Ten       (10) feet t o

                        the point of beginning.

                                                  Containi� g 0.14 of an acre more or less.


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                      The above-described parcel of land is a portion of the

         land shown upon Land Co urt Plan numbered 6Bl3 - 6814A,. as modi­

         fied and app roved �y the Land Court,       filed in tho Land Registra­

         tion Office, a copy of a portion of which is filed with or�ginal

         Certificates of Title    12635 and #2636 in said Registry end the
                                                                              "C11
         above-described parcel is shown thereon as e portion of Lot
                                                                                     •




                      The above-described parcel of land is subj ect to the

         restrictions and.eas ements and has the benefit of the restrictions
                                                  "�''+
         and rights, as noted on Certificate     ll«!llli, to the extent that the

         same are now in fo rce and are applicable.


                      By this deed, it is my intention to convey to the said

         Northeastern University all of my -land in the said Nahant describe

         in said Certificate #.62B4, which land, by inadvertence, was not

         taken by the United States of America as a result of the Declara­

         tion of Taking and the Judgment on the De c laration of Taking, the

         said Declaration and the said Judgment each being dated November 7,

         19�1, ahd entered in the Docket and papers in Hiscellaneous Civil

         Case Numbor 6439 in the District Court of the United Staes for the

         District of Massachusetts.



                                                 .
                      For my title, see Certificate     8*
                                                        ·     of the Land Regis-

         tration Office.



                      The consideration for this deed bein g less than One Hun­

         dred Dollars    ($100,00), no Federal Documentary Stamps or Massachu­

         setts Deed Excise Stamps are .affixed hereto.


                      I, NELLIE ELLIOTT, wife of said Granter, release to oaid

         'grantee all r� ghte of Dower and Homestead 4nd other interests

         't.hQ�ein.




         1965.
                      WITNESS our hands and seals this      .i1_
                                                               day of   (}�rc/:.t:Je.
                            Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 279 of 314


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  I                                                                         ..

         STATE OF FLORIDA. I
     '
       1 COUNTY OF MARTIN  j av.
      I

                    I, Dorothy Pierce, Clerk of the County of Martin and also Clerk of the Circuit Court for
          •

      'the said County, the same being a Court of Re cord, DO HEREBY CERTIFY, That....................... .
                  ... . .
          .. B G . ..Le.l.gh.ton., ....J.r...........................whose name is subscribed to the Certificate of the proof
          of acknowledgment of the ennexed instrument and ·thereon written was, at the time of taking
          such proof and acknowleagment a Notary Public, in and for said County, residing therein, duly
          cotnmlssioned and sworn, and authorized b y the laws of said State to take the acknowledgments
          and proofs of deeds or conveyances, for lllnd tenements or heredltaments in said State, to be re­
          corded therein. And further. that I am well acquainted with the handwriting of such Notary
          Public, and verily believe that the Signature to said cert                 . ificate of proof or acknowledgment ls
          genuine.
              I further Certify that the impression of the seal of a Notary Publlc is not required by law
          to be filed in this office.
             IN TESTIMONY WHEREOF, I have hereunto set my hand end affixed the seal of the said
          Court and County, t he 18th day of   . October                   1 9 65             ·




                                                                       DOROTHY PIERCE, Clerk of Circuit Court.

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/" ..                                                                  car�Yi·r·S�-�;puty. ci;i-k:                              .
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                                                STATE OF FLORIDA

                   County of     Htt12,1"1 J
                          Then personally appeared the above-named                  IfI>. r:::'1 o"1         ft:       J..J../ (>

                    ; AfE1../.1. E   �... 1.101"1"'   and acknowledged the foregoing                            instru-

                   ment to be �free




                                                           My   commission           expires------
                                                                  NOTAllY 1'119110 SlllT[•f FLORIOA Of Wal
                                                                  MY C:OMMISSIDH EXPIRES JULY. 29. mi
                                                                   •OHllJIO THllOUIJll l'lll!O W, l>!l:ITIC�ffORlif'




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                  tlJro\lgh the f111Dg or          A     Doclar&Uon ot raking on Pe"'oruary 3, l.9�1 entitled,

                  "UDJ.ted. Btate11 of IG:Dilrioa �tit1onar                  va.    13,98 Ao.res or Land, More or teas,

                  Situate· in N�t, Eeeex comrty Mueacbusetts and ll.C. t.odge Eetate, D&tend­

                  ant, Civil 11o.     6�1,"        ond abt"1nillg tiJ>al judpont tboreon in the United

                  atatea niatrtct Court 1n and tor 'the Diatriot ot M&eeachu.aetta.

                                                              TRACT A        (l\>roal.      fl.)
                           A certdn S>V'Qel ot land. situated in tba 'llow of Nahant1 County Cf

                           h11e.z, ·emmnonWa.lth ot Msenachueetts, b1?1ng more J)a.rticularly bounded

                           an4 4eaor1bed.         1111   follova:

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                               �y b)' l8D'! now or t'bnm'l.¥ ot Tbamae P. 'Baal et el,
                               !l'l'ult<leo, '1•1l.OUJ'ill8 on tho upl."114 ninet;v OM ond 9.0/100 (91,90)
               TJ-\            teeti

              J �.             IClR'1'BEAB'1'E bf NUaao:buaette                    Bo.y;
                               B� by llDd. of the Un1tc4 Sta.tee ot                                      /lm.erica   :tiw
                               lnmdrod and ell.own (5ll) teet r:aore or loseJ

                               S� bY land of the �ted. States of Amerio& 1evelity
                               0114 98/loo (70,98) creet;




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                                         60lll'RWESTERLY b)'" lOlld. uov or formerly ot A.D. HUl e:t
                                         al, Trustees t•'O hundred tifty-thro• .tmd 92/100 (253,92)
                                         feet b;y l'lu'oel ia;
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                                         S011l'l!l!?S'l'EY by l&ld nov or to-rly ot A.D, Blll ot
                                         ol, Tru1toe1, ooo bundrlld o1ghty-oue ""4 10/100 (lSl., lO)
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                                        tbro" N>4 62/100 (73,62) teot,                     .
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                      through           the tUi.ns ot   a   Deolarnt1on ot Taking on 1'ovember ·71 1941, eAtitled

                       ''fJD1t04. Bta.tee ot America, Petitioner                vo.    14.46 Aotda ot t.rt:oA, Hore     or   Latus,

                       ettu6to 1n Eanox CoUD.ty, Btato � M&G•&ahuDetta at.d Raluton P. l'!llJ.ott,

                      Dereu4ant, Civil ?to, 6439," end obta11lina t11lRl Ju4siiien t tbeNon t.n trm.te4

                      statee Diot.r1at Court i.D lfl.4 tor the Diatriot ot                     M&eee.cbueetta.



                       !Xiettns e&Aemente tor public roads Bild }nlbl1c ut1l1t1en therel.11.




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                                        004 4iot&0ce• South 630 44• East l47.2 toet1 SOUth 71°
                                        47• i:n•t 34.o toeti SOUth 67" 34• East 49.1 toot end
                                        'ti7 a o\U"le .to the Utt l7.94 teet1

                                         tbence by tho foll� oouraee · &nd diatanaee south
                                         56° 20' 45" Eaet l8l..10 het Dy 1.a.ud. :nov or tomOl'�
                                         ot the HeJJry C&.bot Lodge EstD.te by Parcel· fl; South
    Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 284 of 314

•                                                                                     "


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                account of fees, or costs incurred in connection with the
                 crantfer of said property for surveys, title searches, appraisals,
                reeordation of instruments, or escrow costs.




             A true copy.




                 ATTEST




     March l, 1966




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         Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 285 of 314


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                                                     Maa8achu1ett& �;

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                                                ot A. D. B1U, et al, 'l'ruet.ee1, and. is sbO\m as JIU"t ot Lot 0

                                                Oll LaJJ4 Court Plan 16813      •    6Bl4A m>4 the tvo loto of land shovn

                                                 on eaid plan     eJI   belonging   to Thomaa P. Curti11 and 7ro.no1s I.




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                         JI      l.Nld o! .A. D. Rill, at &11 'l'nurtees and. land ot the-
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                 /I'             R1tate Of Be1:lr1 Cal>ot Lodge, J:lOV lmd ot the U'nited
                                     JI.......
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       IC'Y �·       �Cl .,.,, , laotal7 - of tbo 41oeantimlt4 portion of l!olumt Roo4J

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                                                     .thence lfartb �o161 5011 Ea11t bi: tbe .said Yel'Jterly cmd
                                                     or tba <ltecontinuod ;portion ot llabli.Zit Road o'bout 24
                                                     teet to the oanter line ot 111&14 road;

                                                     thence Bouthos.eterly by the cent.or line o t the d.111-
                                                     continued portion ot lnhant Roa4 a.bout 250 faet to
                                                     the Jtaeterly eD4 ot co.id rocd e.t l&nd :tormerJ.y or
                                                     t he Estate ot tlonr';r Cabot I.odge, nov land ct tb•
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Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 286 of 314


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                    ot tbe Estate ot Remy Cabot Lodge, now la.a.d ot the
                    United Sta.te• ot .b:ar1c5.ti:iout 10 foot to the poitlt of
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        Eascmet1te, b;y c.o. 11&1.rd, Jr., Ci� D:l._gta.eer, 360 mJ.Q.tington AwntJ.B,
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        Boeton, M&aa&chusetts, Bce.l.e l"           •   401, June l, 1965, •          attached here to       .,


        Md: me,rked. Bl.oak 8, .Bchodul.e D, to aJ.l.oV a.cceusa tram Nahant Road to                         !
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        a!Ud rema1.niug land. or tbe OAited. St11.tcs,of America, BhtMl                   en   ee.1cl Plan
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       to coaipriee 8.30 acres.           The loca.tion at sai.4 eaeaent and right ot ve;y
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        it1 ebovn on       t1a.14 plan as en    "m:istina road".        Together Vith the right to

       enter    upon the above d.eaaribed Pn:'o:ele Nos. 1, 2 and 3 so :f'&l" tJ.s io

        reauona.bl7 11ttca11a1U7 tor the: m&inten.Mce, repair,               or   replaocent ot

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       und.er the abova d.eecr.i'bed PB.reel.a l, 2 tmd. 31             ae   ebovn on eaid Plan,

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        rep&ir      or   re,pl.acemeut,




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Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 287 of 314




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      F\lture cnmer of' Parcel• l, '2 and. 3, hereo.:ttar referred. to u the grantee,

      it e auooea1or11 ad u1ign11, � ha.w. the right tb                     relo cate       8D;)" or 6U

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      State• of America of eaid ea eetLant•.



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      work and it no agreement wtth reepeat to the 1a14. wrlt 1e reached Within

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      •hllll be     a44H:eaed.   to the Director, liov Eb8J.an4 Division, Bureau. ot

      T-=rda and Dooka, 4.95 Sli::Mr Street, lloaton, Mae•aohUeetts,                02210, IU14

      it to tbt!I grantee, to the t.Adt"ttee of the arantee.
Case 1:22-cv-10486-LTS Document 7 Filed 04/06/22 Page 288 of 314




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       W1tll J'ea}»Ot to 4amase1 to          OJ'   4e1tnotion ot     Ul1 propttty         ot the gnmtee,

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